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    ·1· · · · · · IN THE UNITED STATES DISTRICT COURT                   ·1· · · · · · · · ·IT IS HEREBY STIPULATED AND AGREED by
    · · · · · · ·FOR THE EASTERN DISTRICT OF MISSOURI
                                                                        ·2· ·and between counsel for the Plaintiffs and counsel
    ·2· · · · · · · · · · ·EASTERN DIVISION
                                                                        ·3· ·for the Defendant that this deposition may be taken
    ·3
                                                                        ·4· ·in shorthand by Tammie A. Heet, RPR, CSR, CCR and
    ·4· ·KATARZYNA FOULGER, et al.,
                                                                        ·5· ·notary public, and afterwards transcribed into
    ·5· · · · ·Plaintiffs,
                                                                        ·6· ·printing, and signature by the witness expressly
    ·6· ·vs.· · · · · · · · · · · · · · · · Case No. 4:22-CV-00878
                                                                        ·7· ·reserved.
    ·7· ·AVERTEST, LLC d/b/a AVERHEALTH,
                                                                        ·8· · · · · · · · THE VIDEOGRAPHER:· We are now on the
    ·8· · · · ·Defendant.
                                                                        ·9· ·record.· Today's date is July the 8th, 2024.· The
    ·9
                                                                        10· ·time's approximately 9:15 a.m., Central Standard
    10· · · · · · · · · · · · · · · · VIDEO-RECORDED DEPOSITION
                                                                        11· ·Time.· This begins the video-recorded deposition of
    11· ·OF DOMINIQUE DELAGNES, produced, sworn, and examined
                                                                        12· ·Dominique Delagnes in the matter of Foulger v.
    12· ·on JULY 8, 2024, between the hours of eight o'clock

    13· ·in the forenoon and six o'clock in the afternoon of
                                                                        13· ·Avertest, Case Number 4:22-CV-00878 in the United

    14· ·that day, at the office of Armstrong Teasdale, 7700
                                                                        14· ·States District Court for the Eastern District of
    15· ·Forsyth Boulevard, St. Louis, Missouri, before
                                                                        15· ·Missouri.
    16· ·Tammie A. Heet, a Registered Professional Reporter,            16· · · · · · · · This deposition is being held at the
    17· ·Certified Shorthand Reporter and Notary Public                 17· ·law offices of Armstrong Teasdale.· The reporter's
    18· ·within and for the states of Illinois and Missouri,            18· ·name is Tammie Heet.· My name's David Doell and I
    19· ·in a certain cause now pending before the United               19· ·am the legal videographer.· We are here with
    20· ·States District Court for the Eastern District of              20· ·Lexitas.· Would the attorneys attending please
    21· ·Missouri, Eastern Division in re: Katarzyna Foulger,           21· ·introduce yourselves and the parties you represent?
    22· ·et al. vs. Avertest, LLC d/b/a Averhealth; on behalf           22· · · · · · · · MR. CORNFELD:· I'm Rick Cornfeld. I
    23· ·of the Plaintiffs.                                             23· ·represent the plaintiffs.
    24                                                                  24· · · · · · · · MR. PLEBAN:· J.C. Pleban for the
    25                                                                  25· ·plaintiffs.

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    ·1· · · · · · · · · · · ·APPEARANCES
    ·2
                                                                        ·1· · · · · · · · MR. CEJAS:· Nick Cejas and Colleen
    · · ·For the Plaintiffs:                                            ·2· ·Kinsey on behalf of the defendants.
    ·3
    · · · · · ·Mr. Richard S. Cornfeld, Esq.                            ·3· · · · · · · · THE VIDEOGRAPHER:· Would the court
    ·4· · · · ·GOLDENBERG HELLER ANTOGNOLI, PC
    · · · · · ·2227 South State Route 157                               ·4· ·reporter please swear in the witness and we may
    ·5· · · · ·Edwardsville, Illinois 62025
    · · · · · ·618/656-5150
                                                                        ·5· ·proceed.
    ·6· · · · ·rick@ghalaw.com                                          ·6· · · · · · · · · · · · * * * * *
    ·7· · · · ·Mr. J.C. Pleban, Esq.
    · · · · · ·PLEBAN & ASSOCIATES LAW                                  ·7· · · · · · · · · ·DOMINIQUE DELAGNES,
    ·8· · · · ·2010 South Big Bend Boulevard
    · · · · · ·St. Louis, Missouri 63117                                ·8· ·of lawful age, produced, sworn, and examined on
    ·9· · · · ·314/645-6666
    · · · · · ·jc@plebanlaw.com
                                                                        ·9· ·behalf of Plaintiffs, deposes and says:
    10                                                                  10· · · · · · · · · · · EXAMINATION
    · · · · · ·Mr. Anthony Jenkins, Esq.
    11· · · · ·ARIAS SANGUINETTI WANG & TEAM, LLP                       11· ·QUESTIONS BY MR. CORNFELD:
    · · · · · ·6701 Center Drive West, 14th Floor
    12· · · · ·Los Angeles, California· 90045                           12· · · · · Q.· · Good morning, Ms. Delagnes.
    · · · · · ·310/844-9696
    13· · · · ·anthony@aswtlawyers.com
                                                                        13· · · · · A.· · Good morning.
    14                                                                  14· · · · · Q.· · We just met.· I just introduced
    · · ·For the Defendant:
    15                                                                  15· ·myself to you.· I am Rick Cornfeld.· I represent
    · · · · · ·Mr. Nicholas P. Cejas, Esq.
    16· · · · ·Ms. Colleen Kinsey, Esq.                                 16· ·the plaintiffs in this lawsuit.· I assume you've
    · · · · · ·ARMSTRONG TEASDALE, LLP
    17· · · · ·7700 Forsyth Boulevard, Suite 1800
                                                                        17· ·had your deposition taken before.
    · · · · · ·St. Louis, Missouri 63105                                18· · · · · A.· · I have not had my deposition taken
    18· · · · ·314/342-8040
    · · · · · ·ncejas@atllp.com                                         19· ·before.· I've been -- I've testified in one
    19· · · · ·ckinsey@atllp.com
    20                                                                  20· ·course -- in one court hearing.
    · · ·Reported/Video-Recorded By:
    21
                                                                        21· · · · · Q.· · Okay.· I assume you've had the ground
    · · · · · ·Ms. Tammie A. Heet, RPR, CSR(IL), CCR(MO)                22· ·rules explained to you.
    22· · · · ·Mr. David Doell, Legal Videographer
    · · · · · ·LEXITAS LEGAL                                            23· · · · · A.· · Yes.
    23· · · · ·711 North 11th Street
    · · · · · ·St. Louis, Missouri 63101                                24· · · · · Q.· · Okay.· And you know that I'll be
    24· · · · ·314/644-2191
    25
                                                                        25· ·asking you questions?

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    ·1· · · · · A.· · Yes.                                             ·1· · · · · Q.· · Before I start -- before I start
    ·2· · · · · Q.· · And you'll be answering the questions            ·2· ·asking any other questions, on -- on last
    ·3· ·under oath?                                                   ·3· ·Wednesday, before the holiday, I had three boxes of
    ·4· · · · · A.· · Yes.                                             ·4· ·documents delivered for use during the deposition
    ·5· · · · · Q.· · Okay.· And if any time you don't                 ·5· ·and I have them here.· When I arrived this morning,
    ·6· ·hear, you think you didn't hear my question right             ·6· ·the seals of those boxes had been broken,
    ·7· ·or you didn't understand it, will you let me know             ·7· ·indicating that the boxes were opened, and I just
    ·8· ·immediately so that I can either restate it or                ·8· ·want to confirm, you have not gone through any of
    ·9· ·rephrase it to make it understandable?                        ·9· ·those documents, have you?
    10· · · · · A.· · Yes.                                             10· · · · · A.· · I have not.
    11· · · · · Q.· · All right.· And if at any time you'd             11· · · · · Q.· · Okay.· And nobody else who may have
    12· ·like to take a break, just let me know.· My only              12· ·gone through those documents, did anybody tell you
    13· ·stipulation is that you wait until if there's a               13· ·what any of those documents were?
    14· ·question pending, you answer the question first.              14· · · · · A.· · No.
    15· · · · · A.· · Understood.                                      15· · · · · Q.· · Did anybody ask you about any
    16· · · · · Q.· · I've never done this before.                     16· ·specific documents?
    17· · · · · · · · That was -- just for the record, for             17· · · · · A.· · No.
    18· ·the printed record, that was a joke because my                18· · · · · Q.· · Okay.· And nobody told you they
    19· ·microphone keeps falling off.                                 19· ·expected that I would be asking about any specific
    20· · · · · · · · Ms. Delagnes, let me hand you what's             20· ·documents?
    21· ·been marked as Exhibit 1 to this deposition.· This            21· · · · · A.· · No.
    22· ·is a document entitled Plaintiffs' Second-Amended             22· · · · · Q.· · Okay.· In preparation for the
    23· ·Notice of Rule 30(b)6 Deposition directed to                  23· ·deposition, what did you do?
    24· ·Defendant Avertest, LLC, d/b/a Averhealth.                    24· · · · · A.· · Obviously, I've looked at the
    25· · · · · · · · Do you see that?                                 25· ·Complaint, our responses to the Complaint, I've

                                                             Page 10                                                              Page 12
    ·1· · · · · A.· · Yes.                                             ·1· ·reviewed SOPs, I've reviewed documentation around
    ·2· · · · · Q.· · Are you familiar with this document?             ·2· ·our inspection notices, the Klette report, the
    ·3· · · · · A.· · Yes.                                             ·3· ·Wagner report.· I think I'd said our standard
    ·4· · · · · Q.· · And you know that this is the                    ·4· ·operating procedures, information about employees
    ·5· ·deposition notice that will govern the proceedings            ·5· ·and -- that worked in the various collection areas,
    ·6· ·today?                                                        ·6· ·as well as documents and communication that
    ·7· · · · · A.· · Yes.                                             ·7· ·occurred at the laboratory.
    ·8· · · · · Q.· · All right.· And you understand that              ·8· · · · · · · · I'm sure that there's many other
    ·9· ·you are here testifying in the capacity of a                  ·9· ·things that I've looked at, but quite a few
    10· ·representative of Averhealth to answer questions              10· ·documentations that -- all of the data packs and
    11· ·pertaining to the topics in the deposition notice?            11· ·assisted with putting together the data packs of
    12· · · · · A.· · Yes.                                             12· ·the test results.
    13· · · · · Q.· · All right.· And you will be answering            13· · · · · Q.· · You said you reviewed the SOPs, and
    14· ·questions not on behalf of yourself, Ms. Delagnes,            14· ·then you said something about notices.· What
    15· ·but on behalf of Averhealth to tell us what                   15· ·notices were you referring to?· I don't think I
    16· ·Averhealth knows in response to the -- to my                  16· ·heard you.
    17· ·questions?                                                    17· · · · · A.· · I'm not exactly sure what I said
    18· · · · · A.· · Yes.                                             18· ·about notices.· I had indicated the Complaint.
    19· · · · · Q.· · All right.· And if -- if I, in a                 19· · · · · Q.· · Inspection notices?
    20· ·question refer to "you," if I use the word "you,"             20· · · · · A.· · Oh, sorry, inspection documentation.
    21· ·unless I specify that, I am talking about you as an           21· ·So CAP/CLIA inspection documents.
    22· ·individual, Ms. Delagnes, I am referring to you as            22· · · · · Q.· · And you mentioned the data packs.
    23· ·Averhealth.                                                   23· · · · · A.· · Uh-huh.
    24· · · · · · · · Will you understand that?                        24· · · · · Q.· · And you said you put them together?
    25· · · · · A.· · Yes.                                             25· · · · · A.· · I assisted with the teams to pull the

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    ·1· ·documentation.                                                 ·1· · · · · A.· · Not specific performance evaluations,
    ·2· · · · · Q.· · Okay.· That wasn't specifically for               ·2· ·but if there was any -- I don't even know what we
    ·3· ·in preparation for this deposition, I assume, since            ·3· ·call that -- you know, documentation as far as if
    ·4· ·we received those data packs some time ago.                    ·4· ·they were retrained or if they had some sort of
    ·5· · · · · A.· · Correct.                                          ·5· ·performance eval -- or performance review done on
    ·6· · · · · Q.· · Okay.· Did you review the data packs              ·6· ·those.
    ·7· ·in preparation for the deposition?                             ·7· · · · · Q.· · Were those documents documents that
    ·8· · · · · A.· · I did not.                                        ·8· ·have been produced to the plaintiffs?
    ·9· · · · · Q.· · Okay.· Have you reviewed the data                 ·9· · · · · A.· · Yes.
    10· ·packs since you assisted in putting them together?             10· · · · · Q.· · Did you find anything of interest in
    11· · · · · A.· · I have not.                                       11· ·any of those documents, the ones about the
    12· · · · · Q.· · Okay.· Did you review any of the                  12· ·laboratory employees?
    13· ·plaintiffs' test results in preparation for the                13· · · · · A.· · Can you clarify what you mean "of
    14· ·deposition?                                                    14· ·interest"?
    15· · · · · A.· · I did not.                                        15· · · · · Q.· · Anybody receive a bad performance
    16· · · · · Q.· · Did you review any of the plaintiffs'             16· ·review?
    17· ·test results since putting the data -- or assisting            17· · · · · A.· · There were -- individuals are
    18· ·in putting the data packs together?                            18· ·continuously retrained, so there was some
    19· · · · · A.· · I don't believe so.                               19· ·documentation around retraining.
    20· · · · · Q.· · How much time did you spend reviewing             20· · · · · Q.· · Did you meet with counsel -- and
    21· ·documents in preparation for the deposition?                   21· ·don't tell me what counsel said -- but did you meet
    22· · · · · A.· · Probably 20 hours or more.                        22· ·with counsel in preparation for the deposition?
    23· · · · · Q.· · You said that you reviewed                        23· · · · · A.· · Yes.
    24· ·information about employees.· Can you explain that?            24· · · · · Q.· · And when was that?
    25· · · · · A.· · Sure.· So what was going to be                    25· · · · · A.· · There's been several meetings.· There

                                                              Page 14                                                             Page 16
    ·1· ·covered today was -- and part of what we pulled                ·1· ·was one that was in person in St. Louis two weeks
    ·2· ·for, to provide to you as part of discovery was                ·2· ·ago.· We've had -- in addition to a conference call
    ·3· ·information about our employees in Massachusetts,              ·3· ·that I had had with them last week.
    ·4· ·in Arizona, as well as the laboratory.· So one of              ·4· · · · · Q.· · Okay.· Two meetings?
    ·5· ·the items that I reviewed was to see any                       ·5· · · · · A.· · The -- the in-person were over two
    ·6· ·documentation in HR files that applied to employees ·6· ·days.· So more than two meetings.
    ·7· ·that work at the laboratory in Massachusetts and in            ·7· · · · · Q.· · Okay.· How -- how long altogether did
    ·8· ·Arizona.                                                       ·8· ·you meet with them?
    ·9· · · · · Q.· · Were those -- were those documents in             ·9· · · · · A.· · Specific to the deposition?
    10· ·the HR files, have they been produced to the                   10· · · · · Q.· · Yes.
    11· ·plaintiffs in this case?                                       11· · · · · A.· · Around 10 hours.
    12· · · · · A.· · Yes.                                              12· · · · · Q.· · Okay.· I'm going to start with
    13· · · · · Q.· · And what -- what did you review about             13· ·questions that I usually begin with when it's not a
    14· ·employees in the laboratory?                                   14· ·corporate designee deposition.
    15· · · · · A.· · Similarly, I would have seen -- you               15· · · · · · · · You're employed by Averhealth,
    16· ·know, so back to their HR files, for employees                 16· ·correct?
    17· ·around the -- the time of -- of -- that were                   17· · · · · A.· · Yes.
    18· ·working in the time frame that spans for this                  18· · · · · Q.· · What is your position?
    19· ·issue.                                                         19· · · · · A.· · I'm the chief executive officer.
    20· · · · · Q.· · And what were you looking for?                    20· · · · · Q.· · How long have you been the chief
    21· · · · · A.· · Just wanted to see if there was any               21· ·executive officer?
    22· ·kind of written -- write-ups or correspondence                 22· · · · · A.· · Since May.
    23· ·about the performance of those individuals.                    23· · · · · Q.· · Since May of this year?
    24· · · · · Q.· · Performance evaluations, you're                   24· · · · · A.· · Correct.
    25· ·talking about?                                                 25· · · · · Q.· · You succeeded Mark Johnson?

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    ·1· · · · · A.· · Correct.                                         ·1· ·plaintiff in this case was in August of 2019.
    ·2· · · · · Q.· · All right.· And why did Mr. Johnson              ·2· · · · · A.· · Uh-huh.
    ·3· ·leave the position of CEO?                                    ·3· · · · · Q.· · From August 2019 until the last test
    ·4· · · · · A.· · I'm not sure.                                    ·4· ·of a plaintiff in this case, which was in March of
    ·5· · · · · Q.· · Do you know where he is now?                     ·5· ·2022, did you have any oversight over HR?
    ·6· · · · · A.· · No, I do not.                                    ·6· · · · · A.· · I did.
    ·7· · · · · Q.· · Do you have any idea or have you been            ·7· · · · · Q.· · For how long?
    ·8· ·told?                                                         ·8· · · · · A.· · I believe the entire time besides
    ·9· · · · · A.· · I have not been told.                            ·9· ·when Mark Johnson had joined.· When Mark Johnson
    10· · · · · Q.· · Or whether he is employed by somebody            10· ·had joined, human resources fell under him.· And
    11· ·else?                                                         11· ·then when he departed, it fell back under me.
    12· · · · · A.· · I don't know.                                    12· ·There was dotted lines, so there's always been some
    13· · · · · Q.· · Before you were CEO, you were the                13· ·dotted-line responsibility for human resources
    14· ·chief operating officer?                                      14· ·since 2019, either directly or dotted line.
    15· · · · · A.· · Correct, yes.                                    15· · · · · Q.· · What do you mean by "dotted line"?
    16· · · · · Q.· · How long were you the chief operating            16· · · · · A.· · I mean, it's a common term used in
    17· ·officer?                                                      17· ·companies, meaning that I had very close
    18· · · · · A.· · I started with Averhealth in January             18· ·interaction with -- often, our HR representatives
    19· ·of 2014.                                                      19· ·were, you know, asking me for information, advice
    20· · · · · Q.· · As COO?                                          20· ·on handling situations, so the individual almost
    21· · · · · A.· · Yes.                                             21· ·had dual responsibility.
    22· · · · · Q.· · And you understand COO means chief               22· · · · · Q.· · When did Mr. Johnson join the
    23· ·operating officer?                                            23· ·company?
    24· · · · · A.· · Yes.                                             24· · · · · A.· · In October of -- it was a
    25· · · · · Q.· · I'm sorry, that was January of what              25· ·year-and-a-half ago, so in 2014, so October of

                                                             Page 18                                                              Page 20
    ·1· ·year?                                               ·1· ·2022.
    ·2· · · · · A.· · 2014.                                  ·2· · · · · Q.· · All right.· So that was after the
    ·3· · · · · Q.· · All right.· So you -- for the events   ·3· ·last of the -- of the lab tests on any of the
    ·4· ·that are relevant to this lawsuit, you were the     ·4· ·plaintiffs in this case?
    ·5· ·chief operating officer the entire time, correct?   ·5· · · · · A.· · Correct.
    ·6· · · · · A.· · Yes.                                   ·6· · · · · Q.· · Ms. Delagnes, handing you two
    ·7· · · · · Q.· · What were your responsibilities as     ·7· ·exhibits that have been marked as Exhibits 2 and 3
    ·8· ·COO?                                                ·8· ·to this deposition.· The first one is titled
    ·9· · · · · A.· · I had oversight over the patient care  ·9· ·Commonwealth of Massachusetts Standard Contract
    10· ·centers, the field operations, the customer service 10· ·Form and the second is entitled Attachment A, Scope
    11· ·department, the laboratory, and at certain times,   11· ·of Services.· And they have the Bates number on the
    12· ·human resources fell under me.· There's -- when I 12· ·lower right-hand corner of the first page of each,
    13· ·started, it did not, then it did for a while, so    13· ·AH0081607 and AH01 -- excuse me, AH0081618.
    14· ·there's been times that human resources reported 14· · · · · · · · Do you recognize these as
    15· ·directly into me.                                   15· ·Averhealth's contracts with the Commonwealth of
    16· · · · · Q.· · When was that?                         16· ·Massachusetts?
    17· · · · · A.· · I don't know all the dates,            17· · · · · A.· · Yes.
    18· ·unfortunately.· I'd have to go back and look. I     18· · · · · Q.· · And were these -- was this contract
    19· ·don't know.                                         19· ·in effect during the entire relevant period,
    20· · · · · Q.· · What -- what's your best estimate?     20· ·meaning the period from the first plaintiffs' test
    21· · · · · A.· · Over 10 years, it's really hard for    21· ·in August 2019 through the last plaintiffs' test in
    22· ·me to specify the -- the various dates of when it   22· ·March of 2022?
    23· ·did and did not.· I honestly don't -- I can't tell  23· · · · · A.· · Yes.
    24· ·you that.                                           24· · · · · Q.· · So according to Exhibit 2,
    25· · · · · Q.· · The first laboratory test of a         25· ·Averhealth's responsibilities were -- to the

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    ·1· ·Commonwealth of Massachusetts, actually began on              ·1· ·correct?
    ·2· ·September 1st, 2016; is that right?                           ·2· · · · · A.· · Yes.
    ·3· · · · · A.· · Yes.                                             ·3· · · · · Q.· · And then table 1 lists various
    ·4· · · · · Q.· · And if you look at attachment A,                 ·4· ·assays.· An assay is simply a test for a certain
    ·5· ·Scope of Services, that's Exhibit 3, do you see               ·5· ·contaminant or item or drug that is contained in a
    ·6· ·that this exhibit provides the scope of the                   ·6· ·sample that's being tested, correct?
    ·7· ·services that Averhealth was going to provide and             ·7· · · · · A.· · I'm not sure I understand your
    ·8· ·did provide to -- agreed to provide to the                    ·8· ·question.· What do you mean?
    ·9· ·Commonwealth of Massachusetts?                                ·9· · · · · Q.· · What do you mean, what is meant by
    10· · · · · A.· · Yes.                                             10· ·assay?
    11· · · · · Q.· · If you could go down to paragraph 8,             11· · · · · A.· · Assay would be, yes, an individual
    12· ·which is on the third page of Exhibit 3, it says --           12· ·either drug class or specific metabolite within
    13· ·it's titled Results Reporting, and says the                   13· ·that.
    14· ·provider, and if I can stop there.                            14· · · · · Q.· · That's -- that is being tested in a
    15· · · · · · · · Averhealth was the provider under its            15· ·sample that's provided to Averhealth?
    16· ·contract with Massachusetts, correct?                         16· · · · · A.· · Correct.
    17· · · · · A.· · Yes.                                             17· · · · · Q.· · A sample of a person who provided
    18· · · · · Q.· · It says:· The provider shall report              18· ·that sample such as my clients?
    19· ·all test results and related information via the              19· · · · · A.· · Correct.
    20· ·IMS.                                                          20· · · · · Q.· · Who prepared table 1?
    21· · · · · · · · Do you see that?                                 21· · · · · A.· · I assume that it would have been our
    22· · · · · A.· · Yes.                                             22· ·proposal writer.
    23· · · · · Q.· · What is the IMS?                                 23· · · · · Q.· · That would -- this would have been
    24· · · · · A.· · The Information Management System                24· ·part of your proposal?
    25· ·that's referenced in number 1.                                25· · · · · A.· · Correct.
                                                             Page 22                                                        Page 24
    ·1· · · · · Q.· · All right.· And that was an            ·1· · · · · Q.· · Okay.· And -- and Massachusetts
    ·2· ·information management system or a computer system ·2· ·accepted that?
    ·3· ·that Averhealth provided to Massachusetts under     ·3· · · · · A.· · Yes.
    ·4· ·this contract?                                      ·4· · · · · Q.· · And table 1 has four columns, doesn't
    ·5· · · · · A.· · Correct.· It's a web-based results     ·5· ·it?· It has columns headed Assay, Specimen, Screen
    ·6· ·reporting -- reportal.                              ·6· ·Cutoff, and Confirmation Cutoff, correct?
    ·7· · · · · Q.· · And then if we go to subparagraph D,   ·7· · · · · A.· · Yes.
    ·8· ·under paragraph 8, one of the items that Averhealth ·8· · · · · Q.· · If we could look at the first line,
    ·9· ·was to provide assistance to Massachusetts          ·9· ·the first item in table 1, that's for an assay for
    10· ·regarding was to assist with results                10· ·amphetamines?
    11· ·interpretation?                                     11· · · · · A.· · For an amphetamine urine test, yes.
    12· · · · · A.· · Correct.                               12· · · · · Q.· · The assay is amphetamines, the
    13· · · · · Q.· · So that means if you -- if you         13· ·specimen is urine, correct?
    14· ·provided a result in a laboratory test, you were to 14· · · · · A.· · Yes.
    15· ·assist Massachusetts in interpreting that result,   15· · · · · Q.· · The table actually has also specimens
    16· ·correct?                                            16· ·of hair and oral fluid and breath, correct?
    17· · · · · A.· · Yes.                                   17· · · · · A.· · Yes.
    18· · · · · Q.· · Now if we go back up to paragraph 6,   18· · · · · Q.· · All right.· And then the third
    19· ·this provides that part of the scope of services    19· ·column, if we look at amphetamines, it says:· The
    20· ·that Averhealth was to provide in its contract with 20· ·screen cutoff is 1,000 ng/ml, correct?
    21· ·Massachusetts was laboratory testing, correct?      21· · · · · A.· · Uh-huh, yes.
    22· · · · · A.· · Yes.                                   22· · · · · Q.· · What is meant by screen cutoff?
    23· · · · · Q.· · And it says:· The provider shall --    23· · · · · A.· · That's an amino assay screen.
    24· ·and if we skip down to paragraph H -- test assays   24· · · · · Q.· · And that's the first stage in the
    25· ·at the cutoff levels listed in table 1 below,       25· ·test that you performed for Massachusetts?

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    ·1· · · · · A.· · For the urine, yes.                              ·1· · · · · · · · MS. KINSEY:· It's the oral fluid one.
    ·2· · · · · Q.· · All right.· And then the -- the last             ·2· · · · · Q.· · (BY MR. CORNFELD)· Well, while
    ·3· ·column is Confirmation Cutoff.· What is meant by              ·3· ·Colleen looks for that --
    ·4· ·confirmation?                                                 ·4· · · · · A.· · Yes.
    ·5· · · · · A.· · That's the confirmation cutoff by                ·5· · · · · Q.· · -- what -- what was the cutoff
    ·6· ·LC-MS/MS.                                                     ·6· ·changed to?
    ·7· · · · · Q.· · LC-MS/MS stands --                               ·7· · · · · A.· · If we can pull up the hair result, I
    ·8· · · · · A.· · Liquid Chromatography tandem mass                ·8· ·can tell you.· I believe -- and I don't want to
    ·9· ·spectrometry.                                                 ·9· ·guess, but I believe it's a hundred picograms per
    10· · · · · Q.· · And let's go down to cocaine.                    10· ·milligram.
    11· · · · · A.· · Okay.                                            11· · · · · Q.· · What is a picogram?
    12· · · · · Q.· · And do you see -- to cocaine tested              12· · · · · A.· · It's a unit of measure.
    13· ·in hair, about midway or -- or a little more than             13· · · · · Q.· · It's a trillionth of a gram, correct?
    14· ·midway down the table.                                        14· · · · · A.· · I believe so.
    15· · · · · A.· · Uh-huh.                                          15· · · · · Q.· · All right.· It could be converted to
    16· · · · · Q.· · And this is on the page Bates H --               16· ·other units, such as a nanogram, or a billionth of
    17· ·AH0081620.                                                    17· ·a gram, correct?
    18· · · · · · · · Do you see that?                                 18· · · · · A.· · Yes.
    19· · · · · A.· · I do.                                            19· · · · · Q.· · So 500 picograms per milligram would
    20· · · · · Q.· · All right.· And it -- and it says                20· ·be the equivalent of .5 nanograms per milligram,
    21· ·that the cutoff for the screen is 500 pg/mg, and              21· ·correct?
    22· ·for confirmation, it's also 500 pg/mg; is that                22· · · · · A.· · Yes.
    23· ·right?                                                        23· · · · · Q.· · Okay.· Why was the cutoff changed to
    24· · · · · A.· · Yes.· That is what it was when we                24· ·100 picograms per milligram?
    25· ·entered into this contract in 2016.                           25· · · · · A.· · Because for testing, our customers

                                                             Page 26                                                        Page 28
    ·1· · · · · Q.· · All right.· And -- and throughout     ·1· ·typically will ask us to see what analytically
    ·2· ·the -- we have not seen an update of the contract. ·2· ·is -- that we're capable of doing, but also have
    ·3· · · · · A.· · We -- so at the time where we entered ·3· ·the lowest amount possible, that is analytically
    ·4· ·into this contract, we were outsourcing our hair   ·4· ·possible, so they have an accurate picture of if
    ·5· ·testing to Omega Laboratories.· We brought the     ·5· ·there might be drugs in there.
    ·6· ·testing in-house and we actually changed both how ·6· · · · · Q.· · Is it Averhealth's position that a
    ·7· ·it was being done as well as the cutoffs.          ·7· ·level of cocaine in hair above 100 picograms per
    ·8· · · · · Q.· · Is there an update to the contract    ·8· ·milligram, but below 500 picograms per milligram,
    ·9· ·where that was changed?                            ·9· ·indicates use of cocaine?
    10· · · · · A.· · I don't believe we actually got a     10· · · · · A.· · What we know is that that drug was in
    11· ·contract amendment on that when we brought it      11· ·there.
    12· ·in-house.                                          12· · · · · Q.· · In the sample?
    13· · · · · Q.· · When was that?                        13· · · · · A.· · In the specimen that we received,
    14· · · · · A.· · I would have to check.· I don't know  14· ·correct.
    15· ·off the top of my head, but I look into it and     15· · · · · Q.· · Or in the specimen that you tested?
    16· ·follow up.                                         16· · · · · A.· · In the specimen that we received and
    17· · · · · Q.· · Was it before or after my clients'    17· ·tested, yes.
    18· ·first test?                                        18· · · · · Q.· · Well, it could have somehow got into
    19· · · · · A.· · Before.· I believe it was sometime in 19· ·the specimen after you received it before it was
    20· ·2018.· We could --                                 20· ·tested.· What you know is it was in there when you
    21· · · · · · · · THE WITNESS:· Colleen, if we looked   21· ·tested it.
    22· ·at the -- when we first introduced the hair SOP.   22· · · · · · · · MR. CEJAS:· Object to form.
    23· ·And I don't know if it --                          23· · · · · · · · THE WITNESS:· I don't agree with
    24· · · · · · · · MR. CEJAS:· Is that just the binder   24· ·that.
    25· ·of SOPs, Colleen?                                  25· · · · · · · · MR. CEJAS:· Assumes facts not in

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    ·1· ·evidence.                                                     ·1· · · · · · · · MR. PLEBAN:· I can pull up a digital.
    ·2· · · · · · · · Go ahead.                                        ·2· · · · · · · · MR. CEJAS:· That's what I'm going to
    ·3· · · · · Q.· · (BY MR. CORNFELD)· You didn't test it            ·3· ·do.· I'm going to put digital in front of her.
    ·4· ·immediately upon receipt, did you, the specimen?              ·4· ·I'll show you what I'm -- it's the hair test.
    ·5· · · · · A.· · We did not test it immediately upon              ·5· · · · · · · · MR. PLEBAN:· Yep.
    ·6· ·receipt, no.                                                  ·6· · · · · · · · THE WITNESS:· I don't want to get
    ·7· · · · · Q.· · What you know about when -- when the             ·7· ·water on anybody.· Now I'm afraid to spill the
    ·8· ·specimen contained a given level is that it was               ·8· ·water.· I guess that's safe there.
    ·9· ·there when you tested it, correct?                            ·9· · · · · · · · MR. PLEBAN:· I don't have it because
    10· · · · · A.· · When we received it --                           10· ·I don't know what my name and password would be.
    11· · · · · Q.· · You know it was --                               11· ·Let's -- let's go off for just a second.
    12· · · · · A.· · -- put it through our appropriate                12· · · · · · · · MR. CEJAS:· Sure.
    13· ·handling processes, analyzed it, and reported it.             13· · · · · · · · THE VIDEOGRAPHER:· Time is 9:47 a.m.
    14· · · · · Q.· · Assuming the specimen stayed intact              14· ·We are off the record.
    15· ·until it was tested, then the specimen would have             15· · · · · · · · (A discussion was held off the
    16· ·had that amount when it was received.· Is that what           16· ·record.)
    17· ·you're saying?                                                17· · · · · · · · THE VIDEOGRAPHER:· The time is
    18· · · · · A.· · I don't understand your question.                18· ·9:50 a.m.· We are back on the record.
    19· · · · · Q.· · You -- the only time you tested                  19· · · · · Q.· · (BY MR. CORNFELD)· Is there a record
    20· ·this -- the specimen was sometime after you                   20· ·that reflects the change in the cutoff for cocaine
    21· ·received it, correct?                                         21· ·in hair from 500 to 100?
    22· · · · · A.· · That is correct.                                 22· · · · · A.· · A record where?
    23· · · · · Q.· · All right.· Since you changed the                23· · · · · Q.· · In -- in Averhealth's documents.
    24· ·cutoff for cocaine in hair sometime before my                 24· ·Because I can tell you I searched Averhealth
    25· ·client was tested in August 2019, have you changed            25· ·documents for 100 pg/mg and didn't find anything

                                                             Page 30                                                        Page 32
    ·1· ·it again?                                                     ·1· ·other than what was in test results.
    ·2· · · · · A.· · We have not.                                     ·2· · · · · A.· · I don't believe that there was.
    ·3· · · · · Q.· · So it would have been that level in              ·3· · · · · Q.· · Is -- was there any communication
    ·4· ·March of 2021, 100 picograms her milligram?                   ·4· ·made to Massachusetts on the fact that that cutoff
    ·5· · · · · A.· · I believe so.                                    ·5· ·was changed from what was in the contract and why?
    ·6· · · · · · · · THE WITNESS:· Colleen, did you find              ·6· · · · · A.· · I don't recall.· I'd have to look
    ·7· ·the our LC-MS?                                                ·7· ·into that.
    ·8· · · · · · · · MS. KINSEY:· It's the LC-MS.                     ·8· · · · · Q.· · All right.· I would ask you to do
    ·9· · · · · · · · THE WITNESS:· It's the hair testing              ·9· ·that.
    10· ·SOP, which would have been an LC-MS method.                   10· · · · · A.· · Okay.
    11· · · · · · · · MS. KINSEY:· I have Bates number                 11· · · · · Q.· · Because as I said, if it -- if that
    12· ·AH0086829, the hair testing SOP from April 1st,               12· ·communication had included the phrase 100 pg/mg, I
    13· ·2018.                                                         13· ·would have found it --
    14· · · · · · · · MR. CEJAS:· 86829.                               14· · · · · A.· · Uh-huh.
    15· · · · · · · · MR. PLEBAN:· Was that just from the              15· · · · · Q.· · -- and I didn't --
    16· ·Friday?                                                       16· · · · · A.· · Okay.
    17· · · · · · · · MS. KINSEY:· I don't believe so.                 17· · · · · Q.· · -- so I would request that.
    18· · · · · · · · (A discussion was held off the                   18· · · · · A.· · Okay.
    19· ·record.)                                                      19· · · · · Q.· · Do -- do you recall making a -- a
    20· · · · · · · · MR. CEJAS:· All right.· So I will --             20· ·proposal to Luzerne County for a forensic drug
    21· ·I'll go ahead and put that in front of her.                   21· ·testing program in March of 2021?
    22· · · · · · · · MR. PLEBAN:· Yeah, 86829 was the                 22· · · · · A.· · I don't recall.· You can provide the
    23· ·first one.                                                    23· ·document to me, but I don't recall.
    24· · · · · · · · MR. CEJAS:· Yeah.· Do you have a copy            24· · · · · Q.· · Sure.
    25· ·of that, J.C.?· Can you pull that up?                         25· · · · · · · · MS. KINSEY:· Can I just clarify

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    ·1· ·something really quickly?· It -- that document did             ·1· · · · · Q.· · Yeah.
    ·2· ·come Friday.· It was something Rick had identified             ·2· · · · · A.· · Would you like to give me a different
    ·3· ·with having some corrupt pages, so we reproduced               ·3· ·copy?
    ·4· ·it.                                                            ·4· · · · · Q.· · Yeah.· Here, would you mind putting
    ·5· · · · · · · · MR. PLEBAN:· I see.                               ·5· ·this sticker on?
    ·6· · · · · · · · MS. KINSEY:· So we did produce it                 ·6· · · · · · · · MR. PLEBAN:· Would you put it over
    ·7· ·before, but you got it again.                                  ·7· ·the red writing?
    ·8· · · · · · · · MR. PLEBAN:· Understood.· Thank you.              ·8· · · · · · · · THE WITNESS:· Over the -- yes.
    ·9· · · · · Q.· · (BY MR. CORNFELD)· Handing you what's             ·9· · · · · · · · MR. PLEBAN:· Yes, please, thank you.
    10· ·been marked as Exhibit 4 to this deposition.· Do               10· · · · · · · · THE WITNESS:· Absolutely.
    11· ·you recognize this as a proposal that Averhealth               11· · · · · Q.· · (BY MR. CORNFELD)· And you see that
    12· ·made to Luzerne County for a forensic drug testing             12· ·proposal?
    13· ·program in March of 2021?                                      13· · · · · A.· · I do, yes.
    14· · · · · A.· · This says Kings County on it.                     14· · · · · Q.· · Okay.· And this is a proposal to --
    15· · · · · Q.· · Oh, did I give you the one for Kings              15· ·Exhibit 4 is a proposal to Kings County dated
    16· ·County?· Let me give you Luzerne County.                       16· ·February 24, 2021.
    17· · · · · · · · Handing you what's been marked as                 17· · · · · A.· · I do see that, yes.
    18· ·Exhibit 5.· Do you recognize that as a proposal                18· · · · · Q.· · All right.· And this contains the
    19· ·made to Luzerne County for forensic drug testing               19· ·same supposed administrative error that says that
    20· ·program dated March 23, 2021?                                  20· ·the cutoff for hair -- for cocaine in hair is 500
    21· · · · · A.· · I do.                                             21· ·for both screen and confirmation?
    22· · · · · Q.· · And this has Bates number on the                  22· · · · · A.· · That is correct.
    23· ·first page of 18473.· And from now on, I'll try                23· · · · · Q.· · Do you recall entering into a
    24· ·just to read the last digits excluding the AH and              24· ·contract for testing services with Samaritan
    25· ·the 00.                                                        25· ·Recovery Community, Inc.?
                                                              Page 34                                                                Page 36
    ·1· · · · · A.· · Okay.                                             ·1· · · · · A.· · I don't recall off the top of my
    ·2· · · · · Q.· · Would you look at page 7?                         ·2· ·head, but if you show me a document, I'm sure I can
    ·3· · · · · A.· · Of Luzerne?                                       ·3· ·confirm that that's the case.
    ·4· · · · · Q.· · Yes.· Do you see that?                            ·4· · · · · Q.· · Handing you what's been marked as
    ·5· · · · · A.· · I do.                                             ·5· ·Exhibit 6.
    ·6· · · · · Q.· · This contains a table of cutoffs that             ·6· · · · · A.· · You gave me two of them.
    ·7· ·you were proposing for Luzerne County?                         ·7· · · · · Q.· · Oh, let me have one.
    ·8· · · · · A.· · I do.                                             ·8· · · · · · · · Do you see that this is a contract
    ·9· · · · · Q.· · And do you see that the cutoff for                ·9· ·between Averhealth and Samaritan Recovery
    10· ·cocaine in hair was -- for both screen and                     10· ·Community, Inc. dated May 1st, 2021?
    11· ·confirmation was 500 pg/mg?                                    11· · · · · A.· · I do.
    12· · · · · A.· · I do.                                             12· · · · · Q.· · And if you would look at the page
    13· · · · · Q.· · So apparently it went back to 500.                13· ·Bates numbered 18755 towards the back.· Do you see
    14· · · · · A.· · We did not.· This is an                           14· ·that you agreed in your contract with Samaritan
    15· ·administrative error that they must have -- that  15· ·Recovery Community, Inc. in May of 2021 to do
    16· ·the person who put this together pulled the wrong 16· ·cocaine testing and hair with a cutoff for both
    17· ·cutoff.· We've stayed at the 100.                 17· ·screen and confirmation of 500?
    18· · · · · Q.· · Would you look at the one for Kings  18· · · · · A.· · I do see that it's listed that way,
    19· ·County and confirm that that also says 500?                    19· ·yes.
    20· · · · · A.· · Sure.· What page?· Page 24?                       20· · · · · Q.· · Handing you what's been marked as
    21· · · · · Q.· · Okay.                                             21· ·Exhibit 7 of this deposition.· Do you see that this
    22· · · · · A.· · You tabbed it for me very nicely.                 22· ·is a contract between Averhealth and Jerry Ambrose
    23· · · · · Q.· · Oh.                                               23· ·Veteran's Council dated August 1, 2021?
    24· · · · · A.· · That's your tab?· Is that yours? I                24· · · · · A.· · Yeah, it's an MOU, a memorandum --
    25· ·got your copy.                                                 25· ·these are -- I guess I should have clarified.

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     ·1· ·These are memorandum of understandings, not                   ·1· · · · · A.· · No.
     ·2· ·contracts, but yes.                                           ·2· · · · · Q.· · Are you familiar with the Society of
     ·3· · · · · Q.· · Okay.· These are agreements you                  ·3· ·Hair Testing?
     ·4· ·entered into?                                                 ·4· · · · · A.· · Yes.
     ·5· · · · · A.· · Agreements, yes.                                 ·5· · · · · Q.· · What is it?
     ·6· · · · · Q.· · Okay.· And if you would look at pages            ·6· · · · · A.· · It is a body that talks about the
     ·7· ·19577 and 19578, do you see the table of assays and           ·7· ·testing of hair.
     ·8· ·cutoffs -- and actually, on 19579, do you see that            ·8· · · · · Q.· · It's a scientific organization of the
     ·9· ·the cutoff for cocaine in hair in your agreement              ·9· ·top experts in hair testing from around the world,
     10· ·with Jerry Ambrose Veteran's Council was also 500             10· ·correct?
     11· ·pg/mg?                                                        11· · · · · A.· · I don't know if it's top in the
     12· · · · · A.· · Yes.                                             12· ·world.· It is an organization that talks about hair
     13· · · · · Q.· · So you were continuing to enter into             13· ·testing.
     14· ·contracts and make proposals with hair tested with            14· · · · · Q.· · Are you aware of any other
     15· ·a cutoff for cocaine of 500 after you lowered                 15· ·organization that publishes standards on hair
     16· ·the -- the cutoff to 100 when you did tests on                16· ·testing, an organization of international experts?
     17· ·people like my client, David Shnitzer.                        17· · · · · A.· · I'm not sure.· I'd need to do some
     18· · · · · · · · MR. CEJAS:· Object to form.                      18· ·research on that.
     19· ·Foundation, assumes facts not in evidence as to a             19· · · · · Q.· · All right.· And the Society of Hair
     20· ·contract.· This is a memorandum of understanding.             20· ·Testing -- which is abbreviated SoHT, correct?
     21· · · · · · · · MR. CORNFELD:· I said agreement.                 21· · · · · A.· · Uh-huh.
     22· · · · · Q.· · (BY MR. CORNFELD)· Go ahead.                     22· · · · · Q.· · They have conference -- you need to
     23· · · · · A.· · I believe you did say contract.                  23· ·say yes rather than uh-huh.
     24· · · · · Q.· · Okay.· Well, in your -- in your --               24· · · · · A.· · I apologize.· Yes.
     25· ·let me -- let me rephrase the question.                       25· · · · · Q.· · Okay.· They have conferences and they
                                                              Page 38                                                        Page 40
     ·1· · · · · · · · You -- you continued to enter into               ·1· ·publish scientific papers, correct?
     ·2· ·agreements and make proposals to customers for                ·2· · · · · A.· · Yes.
     ·3· ·forensic drug testing services in which you said              ·3· · · · · · · · You gave me two again.
     ·4· ·that, and agreed, that the cutoff for cocaine in              ·4· · · · · Q.· · I've handed you what's been marked as
     ·5· ·hair would be 500 milligrams after you changed it             ·5· ·Exhibit 8, which is a paper published in Forensic
     ·6· ·to only 100 for my client, correct?                           ·6· ·Science International entitled Society of Hair
     ·7· · · · · A.· · The cutoff that was listed in the                ·7· ·Testing Guidelines for Drug Testing in Hair.· The
     ·8· ·document did state 500, yes.                                  ·8· ·authors are Gail A.A. Cooper, Robert Kronstrand,
     ·9· · · · · Q.· · Okay.· And that was -- that was what             ·9· ·and Pascal Kintz.
     10· ·you agreed to do with these customers, correct?               10· · · · · · · · Do you have that?
     11· · · · · A.· · It was what was listed --                        11· · · · · A.· · I do.
     12· · · · · Q.· · In your --                                       12· · · · · Q.· · Are you familiar with this?
     13· · · · · A.· · -- and it didn't have the most                   13· · · · · A.· · This is the first time I'm actually
     14· ·up-to-date cutoff.· What we were actually running             14· ·reading this document.
     15· ·was different.                                                15· · · · · Q.· · Okay.· I can tell you there was a
     16· · · · · Q.· · And I -- I could show you additional             16· ·copy in the documents that Averhealth produced, but
     17· ·agreements that you entered into, but you have no             17· ·it wasn't a very good copy, so --
     18· ·doubt that you continued to agree and tell                    18· · · · · A.· · Okay.
     19· ·customers that the cutoff for cocaine in hair would           19· · · · · Q.· · -- I had a better copy produced.
     20· ·be 500 milligrams, correct?· 500 -- 500 picograms             20· · · · · · · · And Averhealth has published a -- a
     21· ·per milligram?                                                21· ·document that it has in its files entitled
     22· · · · · A.· · Our MOUs did list that as the cutoff.            22· ·Scientific References, correct?
     23· · · · · Q.· · Are you aware that the scientific                23· · · · · A.· · Yes.
     24· ·literature and scientific bodies agree that the               24· · · · · Q.· · I've handed you what's been marked as
     25· ·cutoff for cocaine in hair should be 500?                     25· ·Exhibit 9 to this deposition.· Do you recognize

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     ·1· ·that as Averhealth's --                                       ·1· ·fact that they wrote this paper?
     ·2· · · · · A.· · I'm still reading this document, if              ·2· · · · · A.· · I do not.
     ·3· ·that's okay.                                                  ·3· · · · · Q.· · If we look at the introduction of
     ·4· · · · · Q.· · We'll get to it.· I just want to --              ·4· ·Exhibit 8, it says:· Founded in 1995, the Society
     ·5· · · · · A.· · Okay.                                            ·5· ·of Hair Testing, SoHT, has a worldwide network of
     ·6· · · · · Q.· · -- and I'll let you -- we'll go                  ·6· ·members involved in hair testing and has published
     ·7· ·through it, but would you take a look at Exhibit 9,           ·7· ·several guidance documents relating to the
     ·8· ·Ms. Delagnes?                                                 ·8· ·examination of drugs and doping agents in hair.
     ·9· · · · · A.· · Yes.                                             ·9· · · · · · · · Do you see that?
     10· · · · · Q.· · Exhibit 9, which is in front of you.             10· · · · · A.· · I do.· Yes.
     11· ·Is that Averhealth's paper entitled Scientific                11· · · · · Q.· · And it -- and it states:· The SoHT --
     12· ·References?                                                   12· ·if you look down one paragraph.· The SoHT
     13· · · · · A.· · Yes, it is.                                      13· ·understands the importance of setting industry
     14· · · · · Q.· · And do you see that on the last page             14· ·standards to ensure the future of hair testing and
     15· ·under the heading Analysis of Drugs and Hair, it              15· ·its continued acceptance as evidence in court, and
     16· ·lists this document, the Society of Hair Testing,             16· ·actively encourage its members to participate in
     17· ·Guidelines for Drug Testing in Hair?                          17· ·the society's annual proficiency testing scheme.
     18· · · · · A.· · On which page?                                   18· · · · · · · · Do you see that?
     19· · · · · Q.· · On the last page.                                19· · · · · A.· · Yes.
     20· · · · · A.· · Yes.                                             20· · · · · Q.· · And it says:· These guidelines -- if
     21· · · · · Q.· · All right.· Are you familiar -- go               21· ·you look at the bottom of the first column on the
     22· ·back to Exhibit 8.                                            22· ·first page of Exhibit 8:· These guidelines for drug
     23· · · · · · · · Are you familiar with any of these               23· ·testing and hair were reviewed and approved by the
     24· ·authors?                                                      24· ·Board of the Society of Hair Testing at the annual
     25· · · · · A.· · I've heard of them.                              25· ·board meeting held in Sevilla in January 2011.

                                                              Page 42                                                             Page 44
     ·1· · · · · Q.· · Which ones have you heard of?                    ·1· · · · · · · · Do you see that?
     ·2· · · · · A.· · I mean, obviously, it's referenced in            ·2· · · · · A.· · Yes.
     ·3· ·here, right?                                                  ·3· · · · · Q.· · And -- and since you included this
     ·4· · · · · Q.· · Yes.                                             ·4· ·paper in your list of scientific references, you
     ·5· · · · · A.· · That's what I would know about them.             ·5· ·would trust what they state in this paper and what
     ·6· · · · · Q.· · Referencing here, you were pointing              ·6· ·they -- what they approved at their meeting in
     ·7· ·to the Averhealth --                                          ·7· ·Sevilla in January 2011 as set forth in Exhibit 8,
     ·8· · · · · A.· · The Society of -- of Hair Testing                ·8· ·correct?
     ·9· ·guidelines --                                                 ·9· · · · · · · · MR. CEJAS:· Object to -- object to
     10· · · · · Q.· · In -- in --                                      10· ·form.· Vague.
     11· · · · · A.· · -- for Drug Testing in Hair, so                  11· · · · · · · · Subject to that, go ahead.
     12· ·C. Cooper --                                                  12· · · · · · · · THE WITNESS:· Specifically what are
     13· · · · · Q.· · In --                                            13· ·you referring to in the document?
     14· · · · · A.· · -- R. Kronstrand, P. Kintz.                      14· · · · · Q.· · (BY MR. CORNFELD)· Anything in the
     15· · · · · Q.· · In -- in Exhibit 9 entitled The                  15· ·document.· I mean, you put --
     16· ·Scientific References that Averhealth compiled,               16· · · · · A.· · It's a broad document that's
     17· ·correct?                                                      17· ·referenced.· Tell me specifically within the
     18· · · · · A.· · Uh-huh.                                          18· ·document which -- what you're asking me to agree
     19· · · · · · · · MR. CEJAS:· Is that yes?                         19· ·with.
     20· · · · · · · · THE WITNESS:· Yes.· I apologize.                 20· · · · · Q.· · You would trust what they say,
     21· ·Thank you.                                                    21· ·correct?
     22· · · · · · · · MR. CEJAS:· Everybody does it.                   22· · · · · · · · MR. CEJAS:· Same objection.
     23· · · · · · · · THE WITNESS:· I will get used to yes.            23· · · · · · · · THE WITNESS:· Too broad.· Can you be
     24· · · · · Q.· · (BY MR. CORNFELD)· Do you know                   24· ·more specific in your question?
     25· ·anything about any of these authors other than the            25· · · · · Q.· · (BY MR. CORNFELD)· You used it as a

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     ·1· ·reference.                                                    ·1· ·metabolite of it, which is benzoylecgonine, which
     ·2· · · · · A.· · Okay.                                            ·2· ·is what we're testing for as well, and that has
     ·3· · · · · Q.· · Is that right?                                   ·3· ·.05.
     ·4· · · · · A.· · Yes.· It was used as a reference,                ·4· · · · · Q.· · I see that.· That was my next
     ·5· ·yes.                                                          ·5· ·question.
     ·6· · · · · Q.· · And that was so that your employees              ·6· · · · · A.· · Okay.
     ·7· ·would see it and know that this is a source that              ·7· · · · · Q.· · And .05 nanograms per milligram is
     ·8· ·they could go to for authoritative information,               ·8· ·the equivalent of 50 picograms per milligram,
     ·9· ·correct?                                                      ·9· ·correct? 50 nanograms per milligram, I should say.
     10· · · · · · · · MR. CEJAS:· Object to form.                      10· · · · · A.· · It's .05 nanograms per milligram.
     11· · · · · · · · THE WITNESS:· To provide guidance and            11· ·.05.
     12· ·information, yes.                                             12· · · · · Q.· · Oh, I'm sorry, 50 picograms, the
     13· · · · · Q.· · (BY MR. CORNFELD)· All right.· Let's             13· ·equivalent of --
     14· ·look at Table 1 on page 23 of Exhibit 8.· Do you              14· · · · · A.· · Picogram.
     15· ·see Table 1 is entitled:· Recommended Cutoffs for             15· · · · · Q.· · Yeah.· Just so we have a clear
     16· ·Substances and Metabolites in Hair to Identify Use?           16· ·record, what they list in Table 1 of the cutoff for
     17· · · · · A.· · I'm going to read all of 6 first                 17· ·the metabolites of cocaine, such as BZE --
     18· ·before I look at that, if that would be okay, to              18· · · · · A.· · Which is benzoylecgonine.
     19· ·read through the entire testing procedures.                   19· · · · · Q.· · Okay.· And they say -- and that's
     20· · · · · Q.· · Sure.                                            20· ·also sometimes abbreviated BE, correct?
     21· · · · · A.· · Okay.· Thank you.· Thank you for                 21· · · · · A.· · That is correct.
     22· ·giving me that opportunity.                                   22· · · · · Q.· · And they say that the cutoff to
     23· · · · · Q.· · All right.· So you see Table 1 is                23· ·identify use is .05 nanograms per milligram, which
     24· ·entitled:· Recommended Cutoffs for Substances and             24· ·would be the equivalent of 50 picograms per
     25· ·Metabolites in Hair to Identify Use?                          25· ·milligram, correct?

                                                              Page 46                                                        Page 48
     ·1· · · · · A.· · It does say that, yes.                 ·1· · · · · A.· · That is what this chart says, yes.
     ·2· · · · · Q.· · All right.· And this is a table        ·2· ·There is a paragraph above, though, which I had
     ·3· ·that's contained in Exhibit 8, the Society of Hair  ·3· ·stated previously --
     ·4· ·Testing's paper that has guidelines for drug        ·4· · · · · Q.· · You've told us about it.
     ·5· ·testing and hair, correct?                          ·5· · · · · · · · MR. CEJAS:· Let her -- let her
     ·6· · · · · A.· · It does.· It also does say in the      ·6· ·finish, Rick.
     ·7· ·paragraph below that when hair analysis is utilized ·7· · · · · · · · MR. CORNFELD:· My question --
     ·8· ·in DFC cases, lower cutoffs should be employed.     ·8· · · · · · · · MR. CEJAS:· Rick, let her finish.
     ·9· · · · · Q.· · Do you see -- and where is that?       ·9· · · · · Q.· · (BY MR. CORNFELD)· My question was
     10· · · · · A.· · The paragraph above.                   10· ·just that's what the table says.
     11· · · · · Q.· · What are DFC cases?                    11· · · · · A.· · That is what the table says.
     12· · · · · A.· · Department of Family and Children      12· · · · · Q.· · Thank you.
     13· ·Services.                                           13· · · · · A.· · I would like to --
     14· · · · · Q.· · Do you see that under Table 1, it      14· · · · · Q.· · Thank you.
     15· ·says that the -- the recommended cutoffs for        15· · · · · A.· · -- state, though, that --
     16· ·substances and metabolites in hair to identify use  16· · · · · Q.· · You've already --
     17· ·is .5 nanograms per milligram?                      17· · · · · A.· · -- the paragraph above it --
     18· · · · · A.· · I do.                                  18· · · · · Q.· · You've already said that.
     19· · · · · Q.· · And that's the equivalent of 500       19· · · · · A.· · -- indicates that --
     20· ·micrograms per milligram, correct?                  20· · · · · · · · MR. CEJAS:· Let her finish.
     21· · · · · A.· · For cocaine, yes.· And then below      21· · · · · Q.· · (BY MR. CORNFELD)· Let me ask you --
     22· ·that, it has --                                     22· · · · · · · · COURT REPORTER:· Okay.· Okay, guys.
     23· · · · · Q.· · Excuse me, that -- that was my         23· ·We have to do one at a time.
     24· ·question.                                           24· · · · · Q.· · (BY MR. CORNFELD)· Do you believe
     25· · · · · A.· · And below, it talks about the          25· ·that there is a different amount that would

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     ·1· ·identify use in somebody who's involved in a                  ·1· ·for a little over an hour.· Whenever you're ready
     ·2· ·Department of Family and Children's case --                   ·2· ·to change topics, take a break.
     ·3· · · · · A.· · I don't understand your question.                ·3· · · · · · · · MR. CORNFELD:· We can -- we can --
     ·4· · · · · Q.· · I didn't finish it.                              ·4· · · · · · · · MR. CEJAS:· Okay.
     ·5· · · · · A.· · Okay.                                            ·5· · · · · · · · MR. CORNFELD:· I'm changing it right
     ·6· · · · · Q.· · Is there a different amount that                 ·6· ·now.
     ·7· ·would identify use in a Department of Family and              ·7· · · · · · · · MR. CEJAS:· I thought you were. I
     ·8· ·Children's case than in any other case?                       ·8· ·thought you were.
     ·9· · · · · A.· · I still don't -- I apologize, I do               ·9· · · · · · · · THE VIDEOGRAPHER:· Go off?
     10· ·not understand what you're asking.                            10· · · · · · · · MR. PLEBAN:· I think so, yeah.
     11· · · · · Q.· · Does a lower amount in a -- in a --              11· · · · · · · · THE VIDEOGRAPHER:· Time is 10:16 a.m.
     12· ·in somebody involved in a Department of Family and            12· ·We are off the record.
     13· ·Children's case indicate that that person used                13· · · · · · · · (A short break was taken.)
     14· ·cocaine than a person involved in any other type of           14· · · · · · · · THE VIDEOGRAPHER:· The time is 10:29.
     15· ·case?                                                         15· ·We are back on the record.
     16· · · · · A.· · By establishing lower cutoffs, you're  16· · · · · Q.· · (BY MR. CORNFELD)· Ms. Delagnes, you
     17· ·going to be able to potentially check a longer time 17· ·have in front of you what's been marked as
     18· ·frame.· And so we typically see in Department of    18· ·Exhibit 10, which is a document entitled Michigan
     19· ·Children and Family, in probation, those cutoffs              19· ·Proven Quality Averhealth, Smarter Solutions,
     20· ·that are established are much lower than in the               20· ·Better Outcomes.· It has a Bates number 3509 on the
     21· ·workplace world.· So there is a scientific reason             21· ·first page.
     22· ·to establish lower cutoffs for this space.                    22· · · · · · · · Are you familiar with this?
     23· · · · · Q.· · Does cocaine have a different affect             23· · · · · A.· · Yes.
     24· ·on somebody in a Department of Family and                     24· · · · · Q.· · What is this?
     25· ·Children's case than somebody, say, in an                     25· · · · · A.· · This is information that we had

                                                              Page 50                                                             Page 52
     ·1· ·employment case?                                              ·1· ·provided to Michigan.
     ·2· · · · · A.· · Cocaine's going to affect their body             ·2· · · · · Q.· · And did you do that in a
     ·3· ·the same way.                                                 ·3· ·presentation?
     ·4· · · · · Q.· · Thank you.                                       ·4· · · · · A.· · Yes.
     ·5· · · · · · · · And -- and does the laboratory have              ·5· · · · · Q.· · Who was it given to?
     ·6· ·any idea knowing whether somebody's in -- strike              ·6· · · · · A.· · I believe it was to a specific county
     ·7· ·that.                                                         ·7· ·in Michigan that we provided.· We also would have
     ·8· · · · · · · · Are you familiar with the Goldilocks             ·8· ·given it to Amanda Doane, who was the contracting
     ·9· ·Rule?                                                         ·9· ·officer over Michigan.
     10· · · · · A.· · I am.                                            10· · · · · Q.· · If you would, turn to page 3515
     11· · · · · Q.· · Okay.· You -- you named the                      11· ·titled Getting Levels Just Right, the Goldilocks
     12· ·Goldilocks Rule, didn't you?                                  12· ·Rule.
     13· · · · · A.· · Yes.                                             13· · · · · A.· · Yes.
     14· · · · · Q.· · All right.· And that's the rule that             14· · · · · Q.· · And this refers to the Goldilocks
     15· ·a cutoff shouldn't be too high or too low, but just           15· ·Rule that Averhealth developed, correct?
     16· ·right, correct?                                               16· · · · · A.· · I don't know that we developed, but
     17· · · · · A.· · Correct.                                         17· ·yes, this -- this -- we used the phrase the
     18· · · · · Q.· · And you've been talking -- you,                  18· ·Goldilocks -- the Goldilocks Rule.
     19· ·personally, when I say you developed --                       19· · · · · Q.· · All right.· And this page on
     20· · · · · A.· · You mean Averhealth, correct.                    20· ·Exhibit 10 states:· Cutoff levels help to ensure
     21· · · · · Q.· · Yes.· But you, Ms. Delagnes, have                21· ·that drug testing is scientifically valid and
     22· ·been talking about the Goldilocks Rule for some               22· ·forensically defensible by serving as a safeguard
     23· ·time, correct?                                                23· ·designed to ensure the reliability of testing
     24· · · · · A.· · Yes.                                             24· ·results.
     25· · · · · · · · MR. CEJAS:· Rick, we've been going               25· · · · · · · · Correct?

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     ·1· · · · · A.· · Yes.                                             ·1· ·the drug in the specimen and it is above the cutoff
     ·2· · · · · Q.· · And then you've got a little diagram             ·2· ·level that is just right, does that indicate drug
     ·3· ·on the left-hand side of this page that has                   ·3· ·use by the individual?
     ·4· ·three -- are those bowls on the left of it?                   ·4· · · · · A.· · When we talk about giving
     ·5· · · · · A.· · Yes, they are bowls.                             ·5· ·interpretation, drug result interpretation, we will
     ·6· · · · · Q.· · Okay.· Labeled too much, just right,             ·6· ·look at factors that the -- that the caseworker or
     ·7· ·and too little?                                               ·7· ·the defendant indicates as far as what's happening
     ·8· · · · · A.· · Yes.                                             ·8· ·in their environment, what the cutoff levels are,
     ·9· · · · · Q.· · And those are labeled reaction?                  ·9· ·what circumstances are, and we'll make
     10· · · · · A.· · Correct.                                         10· ·determinations whether or not it could possibly --
     11· · · · · Q.· · What is -- what is meant by reaction?            11· ·that it's from use or not.
     12· · · · · A.· · How much of the drug or analyte's                12· · · · · · · · MR. CORNFELD:· Could you read that
     13· ·found in specimen.· So what's the reaction off the            13· ·answer back, please?
     14· ·analyzer.                                                     14· · · · · · · · (The preceding answer was read back.)
     15· · · · · Q.· · All right.· And -- and you show a                15· · · · · · · · THE WITNESS:· The result itself is
     16· ·cutoff level right in the middle of the just right            16· ·forensically defensible.· It -- we found that drug
     17· ·bowl, correct?                                                17· ·in that specimen that was received at the
     18· · · · · A.· · Yes.                                             18· ·laboratory.· That's what our test results show.
     19· · · · · Q.· · And you say that:· If the cutoff is              19· · · · · Q.· · (BY MR. CORNFELD)· Okay.· You said as
     20· ·too high, meaning too much, it would lead to false            20· ·factors as far as environment, circumstances.· What
     21· ·negatives, missed new-use events, and client,                 21· ·did you mean by environment?
     22· ·child, and public safety are in danger.                       22· · · · · A.· · There are times where our customers
     23· · · · · · · · Do you see that?                                 23· ·will ask for interpretation of those results, if
     24· · · · · A.· · Yes.                                             24· ·it's possible that that result could be from
     25· · · · · Q.· · And if the cutoff level is just                  25· ·environmental reasons.· The drug was there, we

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     ·1· ·right, that's scientifically valid and forensically           ·1· ·found it.· We definitively saw that we saw a drug
     ·2· ·defensible?                                                   ·2· ·in the specimen, and then a client may come back to
     ·3· · · · · A.· · Yes.                                             ·3· ·their caseworker and indicate, hey, here's my
     ·4· · · · · Q.· · And if it's too low or too little,               ·4· ·circumstances, and the caseworker will ask our
     ·5· ·that leads to inconclusive results, uncertainty               ·5· ·toxicologist for interpretations, if it could be
     ·6· ·regarding environmental exposure; i.e., not always            ·6· ·possible environmental.
     ·7· ·forensically defensible.· Caseworkers and others              ·7· · · · · Q.· · What do you mean by environmental?
     ·8· ·invest time in futile efforts, and clients develop            ·8· ·Not from -- not from drug use, but there was
     ·9· ·learned helplessness; is that right?                          ·9· ·cocaine in the environment in some fashion?
     10· · · · · A.· · Yes.                                             10· · · · · A.· · Correct.
     11· · · · · Q.· · What is meant by "forensically                   11· · · · · Q.· · Or some other reason why the drug was
     12· ·defensible"?· Does that mean that you can defend              12· ·there other than drug use?
     13· ·the result in a forensic proceeding, such as a                13· · · · · A.· · Correct.
     14· ·legal proceeding, as indicating use by the                    14· · · · · Q.· · All right.· And the right-hand side
     15· ·individual?                                                   15· ·of the Goldilocks page in Exhibit 10, it says,
     16· · · · · A.· · It means that we can forensically                16· ·quote:· From a legal perspective, a specimen that
     17· ·defend that we found that drug in the specimen.               17· ·reduces a reaction just below the cutoff level is
     18· · · · · Q.· · And that it would indicate use by the            18· ·as equally negative as a specimen that produces a
     19· ·individual?                                                   19· ·reaction far below the cutoff level, unquote.
     20· · · · · A.· · What we can attest to is that we                 20· · · · · · · · Do you see that?
     21· ·found that drug in the specimen.                              21· · · · · A.· · I do.
     22· · · · · Q.· · And you're not expressing a view on              22· · · · · Q.· · And is that a true statement?
     23· ·whether it indicates use?                                     23· · · · · A.· · Yes.
     24· · · · · A.· · I don't understand the question.                 24· · · · · Q.· · So it doesn't matter how far below
     25· · · · · Q.· · Are you -- are you -- when you find              25· ·the cutoff level or result is, negative is

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     ·1· ·negative, and it means the drug wasn't there?                 ·1· · · · · Q.· · How would we determine that, or could
     ·2· · · · · A.· · In that specimen.                                ·2· ·we?
     ·3· · · · · Q.· · Is that right?                                   ·3· · · · · A.· · There's a -- in addition, what was
     ·4· · · · · A.· · Yes, in that specimen.                           ·4· ·produced was an Excel file that I believe that
     ·5· · · · · Q.· · I am handing you what's been marked              ·5· ·indicated whether or not historical calibration or
     ·6· ·as Exhibits 11 and 12 to this deposition.· Exhibit            ·6· ·QC was used.
     ·7· ·11 is a document with the number 6219 on the first            ·7· · · · · Q.· · All right.· In -- if we use Exhibit
     ·8· ·page titled Shnitzer Data Pack Accession Number,              ·8· ·11 as an example, the second page of this exhibit,
     ·9· ·and then there's a long number, collection date               ·9· ·and I think all of the data packs, has the
     10· ·8/23/2019.                                                    10· ·full-page lab report of the test, correct?
     11· · · · · · · · And Exhibit 12 is numbered 7649 on               11· · · · · A.· · Yes.
     12· ·the first page entitled Shnitzer Data Pack                    12· · · · · Q.· · And for Mr. Shnitzer, on this test,
     13· ·Accession Number, and then there's a long number,             13· ·it shows or states that it was positive for cocaine
     14· ·and it's collection date 9/23/2019.                           14· ·with a level of 325.67 pg/mg, and positive for
     15· · · · · · · · Do you have those?                               15· ·benzoylecgonine at 60.852 pg/mg, correct?
     16· · · · · A.· · I do.                                            16· · · · · A.· · Yes, benzoylecgonine.
     17· · · · · Q.· · Are you familiar with them?                      17· · · · · Q.· · I --
     18· · · · · A.· · Yes.                                             18· · · · · A.· · I know, it's not an easy word.
     19· · · · · Q.· · These are the data packs for the two             19· · · · · Q.· · I try, I try.
     20· ·tests of David Shnitzer that came back positive,              20· · · · · · · · And on Exhibit 12, the test from
     21· ·correct?                                                      21· ·September 23rd, 2019, the only positive result is
     22· · · · · A.· · Yes.                                             22· ·for cocaine, 127.74 pg/mg compared to a cutoff of
     23· · · · · Q.· · Do these and the other data packs                23· ·100 pg/mg; is that right?
     24· ·that Averhealth produced on the plaintiffs' tests             24· · · · · A.· · Yes.
     25· ·contain all the information that's necessary for an           25· · · · · Q.· · Both of those are under 500 pg/mg,
                                                              Page 58                                                              Page 60
     ·1· ·expert to review and determine that the test                  ·1· ·correct?
     ·2· ·results are valid?                                            ·2· · · · · A.· · Yes.
     ·3· · · · · A.· · Yes.                                             ·3· · · · · Q.· · And so if you had used the cutoff set
     ·4· · · · · Q.· · It is -- do these exhibits and the               ·4· ·forth in the contract with Massachusetts, these
     ·5· ·other data packs contain all the underlying data              ·5· ·tests would have been negative, correct?
     ·6· ·for and evidencing Plaintiff's positive tests for             ·6· · · · · · · · MR. CEJAS:· I'll object to form.
     ·7· ·the presence of illicit substances?                           ·7· ·Foundation, assumes facts not in evidence as to the
     ·8· · · · · A.· · I don't understand your question.                ·8· ·contract.
     ·9· · · · · Q.· · Let me -- let me restate it, or                  ·9· · · · · Q.· · (BY MR. CORNFELD)· Go ahead.
     10· ·re-ask it.                                                    10· · · · · · · · MR. CEJAS:· Subject to that, go
     11· · · · · · · · Has Averhealth produced, with these              11· ·ahead.
     12· ·two exhibits and the other data packs, all the                12· · · · · Q.· · (BY MR. CORNFELD)· Go ahead.
     13· ·underlying data for and evidencing Plaintiff's                13· · · · · A.· · Yes.
     14· ·positive tests for the presence of illicit                    14· · · · · Q.· · Is it your view that these test
     15· ·substances?                                                   15· ·results indicate that David Shnitzer was using
     16· · · · · A.· · Yes.                                             16· ·cocaine?
     17· · · · · Q.· · And that's what's contained in                   17· · · · · A.· · These test results indicate that he
     18· ·Exhibits 11 and 12 for David Shnitzer's tests,                18· ·had cocaine in the hair specimen that we received
     19· ·correct?                                                      19· ·and tested.
     20· · · · · A.· · Yes.                                             20· · · · · Q.· · That wasn't my question.· Does it
     21· · · · · Q.· · Before we go into the data nexus, is             21· ·indicate that he was using cocaine?
     22· ·there any way to tell from them -- and we'll use              22· · · · · A.· · I don't have enough information to
     23· ·Exhibit 11 as an example -- whether historical                23· ·answer that question.· What -- what the test
     24· ·calibrations or historical QCs were used?                     24· ·results tell you is that the drug was present.
     25· · · · · A.· · Not in this data, no.                            25· · · · · Q.· · Under -- under the contract we looked

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     ·1· ·at earlier --                                                 ·1· ·information.
     ·2· · · · · A.· · Uh-huh.                                          ·2· · · · · Q.· · (BY MR. CORNFELD)· That's not in the
     ·3· · · · · Q.· · -- Averhealth was obligated to                   ·3· ·contract that they have to reach out to the
     ·4· ·provide an interpretation to Massachusetts of the             ·4· ·toxicologist, correct?
     ·5· ·test results, correct?                                        ·5· · · · · A.· · It says assist with results
     ·6· · · · · A.· · We provide that service should a                 ·6· ·interpretation.
     ·7· ·caseworker ask us for information, because we'd               ·7· · · · · Q.· · All right.· And -- and is there any
     ·8· ·need additional information from -- about the                 ·8· ·communication that Averhealth made to Massachusetts
     ·9· ·situation or the circumstance.                                ·9· ·to explain what it means when a result for cocaine
     10· · · · · Q.· · All right.· The contract didn't say              10· ·in hair is 127 or 325 below the cutoff level in the
     11· ·that you would provide an interpretation only if              11· ·contract, but above the cutoff level shown in the
     12· ·asked.· It said that you would provide an                     12· ·lab report?
     13· ·interpretation, correct?                                      13· · · · · A.· · No.
     14· · · · · A.· · It says we provide interpretation                14· · · · · Q.· · So Massachusetts was supposed to just
     15· ·assistance.                                                   15· ·guess about that?
     16· · · · · Q.· · Right, but it doesn't say only if                16· · · · · A.· · They saw the cutoff that was listed
     17· ·asked?                                                        17· ·on the lab report when we brought the hair testing
     18· · · · · A.· · I'd need to look to see exactly the              18· ·in-house, and we provided the test results for
     19· ·terms in the contract.                                        19· ·that.
     20· · · · · Q.· · Let's look at page -- at Exhibit 3               20· · · · · Q.· · And they would just have to guess
     21· ·again.                                                        21· ·about what that meant, that it was now above a
     22· · · · · A.· · Okay.                                            22· ·lower cutoff?
     23· · · · · Q.· · And do you see -- do you have that?              23· · · · · · · · MR. CEJAS:· Object to form.
     24· · · · · A.· · I do.                                            24· ·Argumentative.
     25· · · · · Q.· · Okay.· If you would look at                      25· · · · · · · · Go ahead.

                                                              Page 62                                                              Page 64
     ·1· ·page 81620, Section 8, which we looked at before    ·1· · · · · · · · THE WITNESS:· I don't believe they
     ·2· ·states:· The provider shall report all test results ·2· ·had to guess, no.· They knew that if -- if -- for
     ·3· ·and related information via the IMS.· Specifically, ·3· ·any of their test results, if they had a question,
     ·4· ·the provider shall, and then we skip down to        ·4· ·to reach out.
     ·5· ·subparagraph D, Assist with Result Interpretation.  ·5· · · · · Q.· · (BY MR. CORNFELD)· When the -- when
     ·6· · · · · · · · Correct?                               ·6· ·the Society for Hair Testing said that a cutoff
     ·7· · · · · A.· · Uh-huh.                                ·7· ·should -- should be lower in family cases --
     ·8· · · · · · · · MR. CEJAS:· Is that a yes?             ·8· · · · · A.· · Uh-huh.
     ·9· · · · · · · · THE WITNESS:· Yes, sorry.              ·9· · · · · Q.· · -- than the 500 that they said
     10· · · · · · · · MR. CEJAS:· You're okay.               10· ·indicate use, do you have any idea how much lower
     11· · · · · Q.· · (BY MR. CORNFELD)· It doesn't say      11· ·that is?
     12· ·assist with results interpretation if asked or only 12· · · · · A.· · I do not.
     13· ·if asked, correct?                                  13· · · · · Q.· · Whether it could be instead of 500,
     14· · · · · A.· · Those words if asked are not in        14· ·450 or 400 or 350 or anything still above what
     15· ·there, no.· It says assist with interpretation.     15· ·Mr. Shnitzer's levels were?
     16· · · · · Q.· · Okay.· And is there any way            16· · · · · A.· · I do not.
     17· ·Massachusetts would know that they need to ask you 17· · · · · Q.· · What do you think a cutoff level to
     18· ·every time to provide a result interpretation?      18· ·indicate use in a family case should be compared to
     19· · · · · · · · MR. CEJAS:· Object to form.· Calls     19· ·a nonfamily case?
     20· ·for speculation.                                    20· · · · · A.· · Setting cocaine at 100 picograms per
     21· · · · · · · · Go ahead if you know.                  21· ·milligram is a reasonable cutoff level to
     22· · · · · · · · THE WITNESS:· They ask -- they have,   22· ·establish.
     23· ·through their training from us, been educated that 23· · · · · Q.· · Not to establish use, but just to
     24· ·should there be questions about test results, that 24· ·show that it was there in the sample, correct?
     25· ·they can reach out to toxicologists to receive      25· · · · · A.· · To show that it was positive and that

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     ·1· ·the drug was found.                                ·1· ·correct?
     ·2· · · · · Q.· · And that's it, correct?               ·2· · · · · A.· · Yes.
     ·3· · · · · A.· · Yes.                                  ·3· · · · · Q.· · Okay.· Mr. Bailey, what was his
     ·4· · · · · Q.· · Did you establish a different cutoff  ·4· ·position?
     ·5· ·level besides 100 for nonfamily cases?             ·5· · · · · A.· · He's now the regional manager.· At
     ·6· · · · · A.· · No, our cutoff across the board is at ·6· ·the time, he was either a regional manager or an
     ·7· ·100.                                               ·7· ·area manager.· Oh, it says regional manager.· His
     ·8· · · · · Q.· · In your test reports?                 ·8· ·title is on there, so he was regional manager.
     ·9· · · · · A.· · Correct.                              ·9· · · · · Q.· · In charge of Massachusetts?
     10· · · · · Q.· · As opposed to your contracts?         10· · · · · A.· · Yes.
     11· · · · · A.· · I'd have to -- you obviously showed   11· · · · · Q.· · Okay.· And he says:· Good morning,
     12· ·me some MOUs where it was not updated and it still 12· ·Mr. Goldberg.· We wanted to let you know that one
     13· ·listed the higher cutoff.                          13· ·of your clients, D. Shnitzer, e-mailed several
     14· · · · · Q.· · All right.· And I can tell you of the 14· ·members of our management team yesterday with
     15· ·documents that Averhealth produced to us, and I    15· ·concerns about his test results.
     16· ·told you I searched for the phrase 100 pg/mg and   16· · · · · · · · We researched his concerns and found
     17· ·didn't find it.· So there were no contracts, MOUs, 17· ·that information he provided is not accurate.· He
     18· ·proposals, or anything of the like that showed a   18· ·had two positive tests -- two positive hair tests
     19· ·cutoff of cocaine in hair of 100.                  19· ·about a month apart.· Below are his -- are the
     20· · · · · · · · MR. CEJAS:· Object to form.           20· ·concerns he raised and your findings.
     21· · · · · Q.· · (BY MR. CORNFELD)· Do you have any    21· · · · · · · · Do you see that?
     22· ·contrary knowledge?                                22· · · · · A.· · Yes.
     23· · · · · A.· · I'd have to go back and review them.  23· · · · · Q.· · And if we could skip down to
     24· · · · · · · · Are we done with 11 and 12?           24· ·paragraph 4:· He indicated that he had a separate
     25· · · · · Q.· · Not yet.                              25· ·test completed at another collection location and

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     ·1· · · · · A.· · Okay.                                            ·1· ·those results were conflicting to the Averhealth
     ·2· · · · · Q.· · I mean, I'm going to bring you out               ·2· ·test, the Averhealth results.· The cutoffs from
     ·3· ·another exhibit, but we'll get back to them.                  ·3· ·ARCpoint -- and you recognize that as the
     ·4· · · · · A.· · Okay.· Thank you.                                ·4· ·laboratory Mr. Shnitzer went to have to his test
     ·5· · · · · Q.· · I've handed you what's been marked as            ·5· ·done?
     ·6· ·Exhibit 13.· Do you recognize this as an e-mail               ·6· · · · · A.· · I believe that's just a collection
     ·7· ·from Joel Bailey to Scott Goldberg dated                      ·7· ·site.· I don't believe they're a laboratory, but
     ·8· ·October 17, 2019?                                             ·8· ·yes.
     ·9· · · · · A.· · Yes.                                             ·9· · · · · Q.· · Okay.· And it says:· The cutoffs from
     10· · · · · Q.· · And actually, it's a series of                   10· ·ARCpoint are at 500, and the Averhealth cutoff for
     11· ·e-mails, but in -- Mr. Bailey is an employee of               11· ·the same drug is 100 picograms per milligram.· The
     12· ·Averhealth, or was at the time, correct?                      12· ·levels from our -- from our analysis are above our
     13· · · · · A.· · Yes.                                             13· ·cutoff and below their cutoff, which easily
     14· · · · · Q.· · And do you recognize Scott Goldberg              14· ·explains the discrepancy.
     15· ·as the individual with the State of Massachusetts             15· · · · · · · · Do you see that?
     16· ·who oversaw David Shnitzer's case?                            16· · · · · A.· · Yes.
     17· · · · · A.· · Yes.                                             17· · · · · Q.· · There is always a possibility to have
     18· · · · · Q.· · And his title was probation officer.             18· ·discrepancies between two collection events in any
     19· ·It's kind of an odd title because it suggests that            19· ·event.
     20· ·Mr. Shnitzer was involved in a criminal case, but             20· · · · · · · · Do you see that?
     21· ·that's just how they -- what the title that                   21· · · · · A.· · Yes.
     22· ·Massachusetts gives him, even though it wasn't a              22· · · · · Q.· · Why didn't Mr. Bailey tell
     23· ·criminal case.                                                23· ·Mr. Goldberg that all this -- all the Averhealth
     24· · · · · · · · And you understand that Mr. Shnitzer             24· ·results indicated was that it found or claimed to
     25· ·was not involved in a criminal case over drug use,            25· ·find cocaine in Mr. Shnitzer's sample, but that

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     ·1· ·more information would be needed to determine                 ·1· ·Mr. Shnitzer's concern, and nobody from Averhealth
     ·2· ·whether that was indicative of drug use?                      ·2· ·has ever answered his concern about how this result
     ·3· · · · · A.· · That was not a question that was                 ·3· ·could be when he never used cocaine, correct?
     ·4· ·being asked.                                                  ·4· · · · · A.· · The -- anything about test results,
     ·5· · · · · Q.· · Well, Mr. -- Mr. Goldberg didn't ask             ·5· ·we take that -- our contract is with the State of
     ·6· ·any questions.· Mr. Bailey's just giving him                  ·6· ·Massachusetts.· And so when it comes to test
     ·7· ·information, correct?                                         ·7· ·results and interpretation, those would come from
     ·8· · · · · A.· · Correct.· But --                                 ·8· ·the customer themselves asking the question.
     ·9· · · · · Q.· · Providing the -- the assistance in               ·9· · · · · Q.· · You mean Massachusetts?
     10· ·interpretation that is set forth in the contract              10· · · · · A.· · I do mean Massachusetts, yes.
     11· ·with Massachusetts, correct?                                  11· · · · · Q.· · Okay.· You could have answered -- you
     12· · · · · A.· · Mr. Bailey indicated that he was                 12· ·could have answered Mr. Shnitzer's concern through
     13· ·answering concerns that were raised by                        13· ·Massachusetts, correct, as -- as you did with
     14· ·Mr. Shnitzer.· And the question that Mr. Shnitzer             14· ·regard to his concern about the two different
     15· ·raised -- let me read this correctly -- is the fact           15· ·apparently conflicting lab results, correct?
     16· ·that he had a negative test result from ARCpoint              16· · · · · A.· · Had Mr. Goldberg asked the question,
     17· ·and a positive test result from Averhealth.                   17· ·we would have provided that information.
     18· · · · · Q.· · You know, Mr. Shnitzer also said in              18· · · · · Q.· · Mr. Goldberg didn't ask any question,
     19· ·his e-mails that he had never used cocaine,                   19· ·but you still provided the information about how
     20· ·correct?                                                      20· ·you can reconcile those two apparently different
     21· · · · · A.· · Yes.· That is correct.                           21· ·lab results, correct?
     22· · · · · Q.· · All right.· So why didn't Mr. Bailey             22· · · · · A.· · I don't understand that question, I
     23· ·answer that concern about whether this test result            23· ·apologize, what you're asking.
     24· ·indicated that Mr. Shnitzer was not correct when he           24· · · · · Q.· · Well, you -- you just raised the --
     25· ·said he had never used cocaine?                               25· ·the point that, well, Mr. Goldberg didn't ask how

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     ·1· · · · · A.· · Mr. Bailey is a regional manager over            ·1· ·this result can be if Mr. Shnitzer never used
     ·2· ·the operations, he's not a toxicologist.                      ·2· ·cocaine.· But Mr. Goldberg never asked any
     ·3· · · · · Q.· · Well, couldn't he have consulted a               ·3· ·questions, and yet, Mr. Bailey answered the
     ·4· ·toxicologist at Averhealth's headquarters or at               ·4· ·question about how you can reconcile these two
     ·5· ·Averhealth's lab?                                             ·5· ·apparently conflicting lab results.
     ·6· · · · · A.· · He could have.· But that was not the             ·6· · · · · · · · MR. CEJAS:· Object to form.
     ·7· ·question that was being raised.· The question was             ·7· · · · · Q.· · (BY MR. CORNFELD)· That was one of
     ·8· ·about the -- the difference in test results.· The             ·8· ·Mr. Shnitzer's concerns, correct?
     ·9· ·probation officer could have asked the questions.             ·9· · · · · · · · MR. CEJAS:· Object to form.· It's
     10· · · · · Q.· · The -- the question that was --                  10· ·compound, it assumes facts not in evidence.
     11· ·Mr. Shnitzer raised was how can this show that --             11· · · · · Q.· · (BY MR. CORNFELD)· Go ahead.
     12· ·show cocaine when I never used cocaine?· You                  12· · · · · A.· · I -- I'm -- I don't -- I'm -- I still
     13· ·understand that was Mr. Shnitzer's concern?                   13· ·don't understand the question that's in front of
     14· · · · · · · · MR. CEJAS:· Object to form.                      14· ·me.
     15· ·Foundation, calls for speculation.                            15· · · · · Q.· · All right.· Mr. Shnitzer raised at
     16· · · · · · · · Go ahead.                                        16· ·least two concerns.· One is how -- how you can
     17· · · · · · · · THE WITNESS:· In regular, general                17· ·reconcile these two lab results, correct?
     18· ·practice, our regional managers are not going to              18· · · · · A.· · He raised the fact that one was
     19· ·answer that question.                                         19· ·negative and one was positive, yes.
     20· · · · · Q.· · (BY MR. CORNFELD)· Okay.· But they               20· · · · · Q.· · Okay.· So asking.· Okay.
     21· ·could consult with a toxicologist?                            21· · · · · A.· · He raised one was negative and one
     22· · · · · A.· · They could, yes.                                 22· ·was positive.
     23· · · · · Q.· · He didn't, did he?                               23· · · · · Q.· · He also said how can this result be
     24· · · · · A.· · No.                                              24· ·since I never used cocaine.· You've already agreed
     25· · · · · Q.· · So he was not in a position to answer            25· ·that that was one of his concerns, correct?

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     ·1· · · · · A.· · Yes.                                   ·1· ·he would answer Mr. Shnitzer's question to
     ·2· · · · · Q.· · All right.· He raised those directly   ·2· ·Mr. Goldberg regarding how to reconcile the two lab
     ·3· ·with Averhealth, correct?                           ·3· ·results and say nothing about how his result could
     ·4· · · · · A.· · Yes.                                   ·4· ·have come out the way it did when he never used
     ·5· · · · · Q.· · Mr. Goldberg never raised either       ·5· ·cocaine?
     ·6· ·concern with Averhealth, did he?                    ·6· · · · · · · · MR. CEJAS:· Object to form.· Assumes
     ·7· · · · · A.· · We provided Mr. Shnitzer's --          ·7· ·facts not in evidence.
     ·8· · · · · Q.· · Excuse me.                             ·8· · · · · · · · THE WITNESS:· I -- I can't speak on
     ·9· · · · · A.· · -- concerns --                         ·9· ·behalf of Mr. Bailey.
     10· · · · · · · · MR. CEJAS:· Let -- let her answer --   10· · · · · Q.· · (BY MR. CORNFELD)· And you know that
     11· · · · · · · · MR. CORNFELD:· My question is --       11· ·the court in Massachusetts branded Mr. Shnitzer as
     12· · · · · · · · MR. CEJAS:· Let her answer.            12· ·a drug user based on your test?
     13· · · · · Q.· · (BY MR. CORNFELD)· My question is:     13· · · · · · · · MR. CEJAS:· Objection.· Assumes facts
     14· ·Mr. Goldberg never raised either of those concerns  14· ·not in evidence, foundation.
     15· ·with Averhealth, correct?                           15· · · · · · · · THE WITNESS:· I do not know what
     16· · · · · A.· · Mr. Shnitzer raised concerns with us.  16· ·Massachusetts did with the test result.
     17· ·We do not talk directly with clients.· We provided  17· · · · · Q.· · (BY MR. CORNFELD)· Do you know that
     18· ·his concerns, Mr. Shnitzer's concerns, to           18· ·he got a reputation in the community as being an
     19· ·Mr. Goldberg, and provided additional information   19· ·illegal drug user based on your tests and your
     20· ·to him on why the test results would be between 100 20· ·tests alone?
     21· ·and 500, why you can have a negative and a          21· · · · · · · · MR. CEJAS:· Objection.· Assumes facts
     22· ·positive.                                           22· ·not in evidence, foundation.
     23· · · · · Q.· · All right.· But you didn't -- but you  23· · · · · · · · Subject to that.
     24· ·said nothing about how his result can be as         24· · · · · · · · THE WITNESS:· I do not know what
     25· ·Averhealth reported it when he said he never used   25· ·happened in the community in Massachusetts.

                                                              Page 74                                                        Page 76
     ·1· ·cocaine, correct?                                   ·1· · · · · Q.· · (BY MR. CORNFELD)· If -- if you knew
     ·2· · · · · A.· · Correct.                               ·2· ·that, and I'll ask you to assume that, do you feel
     ·3· · · · · Q.· · That was part of the assistance set    ·3· ·any responsibility for that, for not having told
     ·4· ·forth in your contract with Massachusetts that you  ·4· ·them what the test result really means?
     ·5· ·did not provide, correct?                           ·5· · · · · A.· · We provide the test results and
     ·6· · · · · A.· · No, that is not correct.               ·6· ·provide interpretation when asked.
     ·7· · · · · Q.· · You didn't -- you did not provide      ·7· · · · · Q.· · When asked by -- not when asked by
     ·8· ·assistance on answering Mr. Shnitzer's concern      ·8· ·Mr. Shnitzer, even through the -- through the
     ·9· ·about how he could have had this result when he     ·9· ·Massachusetts official, Mr. Goldberg, correct?
     10· ·never used cocaine, correct?                        10· · · · · A.· · Can you rephrase that?· I don't
     11· · · · · A.· · Mr. Goldberg never asked the           11· ·understand the question.
     12· ·question.                                           12· · · · · Q.· · Well, I think you've answered it.
     13· · · · · Q.· · Mr. Shnitzer asked the question.       13· · · · · A.· · Okay.
     14· · · · · A.· · Mr. Goldberg never asked the           14· · · · · Q.· · And you know Mr. Shnitzer lost
     15· ·question.                                           15· ·unsupervised contact with his children based only
     16· · · · · Q.· · Excuse me.· Mr. Shnitzer asked that    16· ·on your test results?
     17· ·question, correct?                                  17· · · · · · · · MR. CEJAS:· Object to form.· Assumes
     18· · · · · A.· · Yes.· We've established that, but      18· ·facts not in evidence and lacks foundation.
     19· ·Mr. Goldberg --                                     19· · · · · · · · Subject to that, go ahead.
     20· · · · · Q.· · Okay.                                  20· · · · · · · · THE WITNESS:· I'm not aware of what
     21· · · · · A.· · Our -- our contract is that we answer  21· ·caused him to lose supervised visitation with his
     22· ·questions from probation officers, not directly     22· ·children.
     23· ·from clients.· Had Mr. Goldberg asked the question, 23· · · · · Q.· · (BY MR. CORNFELD)· You read the
     24· ·we would have answered it.                          24· ·Complaint, correct?
     25· · · · · Q.· · Yet -- how did Mr. Bailey decide that  25· · · · · A.· · Yes.

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     ·1· · · · · Q.· · And it was in the Complaint, correct?              ·1· ·wasting time by rattling off everything you can
     ·2· · · · · A.· · I have not seen the facts to know                  ·2· ·possibly think of, and -- and if we don't finish by
     ·3· ·that that's the only reason why.                                ·3· ·the deadline, that will be the reason.
     ·4· · · · · Q.· · Okay.· Well, I'd like you to assume                ·4· · · · · Q.· · (BY MR. CORNFELD)· Go ahead.
     ·5· ·that.· Do you feel any responsibility for that,                 ·5· · · · · A.· · We provide our test results back to
     ·6· ·without providing assistance to Massachusetts to                ·6· ·our customers, they have many other information in
     ·7· ·explain what your test really means and doesn't                 ·7· ·addition to our test results and make
     ·8· ·mean?                                                           ·8· ·determinations on how they choose to proceed.
     ·9· · · · · · · · MR. CEJAS:· Object to form.                        ·9· · · · · Q.· · Can you read back the question that
     10· ·Foundation, assumes facts not in evidence.                      10· ·was pending?
     11· · · · · · · · THE WITNESS:· We provide test results 11· · · · · · · · MR. CEJAS:· It was a yes or no.
     12· ·to our customers.· We provide interpretation when 12· · · · · · · · MR. CORNFELD:· Yeah.
     13· ·asked.· And they're the ones that look at the      13· · · · · · · · (A discussion was held off the
     14· ·information and make determinations on it.                      14· ·record.)
     15· · · · · Q.· · (BY MR. CORNFELD)· Do you feel any                 15· · · · · · · · (The preceding question was read
     16· ·responsibility for the fact that Mr. Bailey did not             16· ·back.)
     17· ·answer to Mr. Goldberg about Mr. Shnitzer's                     17· · · · · · · · MR. CEJAS:· Same objections to the
     18· ·concern, that his test results showed up positive               18· ·form.
     19· ·when he said he never used cocaine?                             19· · · · · · · · THE WITNESS:· The test results showed
     20· · · · · · · · MR. CEJAS:· Object to form.                        20· ·that there was cocaine in there.· Whether or not he
     21· · · · · Q.· · (BY MR. CORNFELD)· Do you feel any                 21· ·used cocaine -- just because he said that, we often
     22· ·responsibility that the -- that as a result of                  22· ·see many individuals indicate that they've never
     23· ·that, and because of your test results,                         23· ·used a drug and they actually have.
     24· ·Mr. Shnitzer lost unsupervised contact with his two             24· · · · · Q.· · (BY MR. CORNFELD)· And you could have
     25· ·little daughters?                                               25· ·explained that, or you could have explained that --

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     ·1· · · · · · · · MR. CEJAS:· Object to form.· Assumes               ·1· ·what the test result means, that it just means that
     ·2· ·facts not in evidence, lacks foundation, the                    ·2· ·cocaine was in there and that was it.
     ·3· ·question's compound, and it's asked and answered at             ·3· · · · · · · · But my question was:· Do you feel any
     ·4· ·this point.                                                     ·4· ·responsibility for the fact that based on your
     ·5· · · · · · · · MR. CORNFELD:· You know what, you can              ·5· ·test -- and I'm asking you to assume this -- based
     ·6· ·just say objection to form.· I'll stipulate that                ·6· ·on your test and your tests alone, Mr. Shnitzer
     ·7· ·your objection to form will cover any objection you             ·7· ·lost unsupervised contact with his two little
     ·8· ·later come up with.                                             ·8· ·daughters?
     ·9· · · · · · · · MR. CEJAS:· I'm going to follow the                ·9· · · · · · · · MR. CEJAS:· Same objections.
     10· ·federal rules that's required to give bare bones --             10· · · · · · · · THE WITNESS:· Again, I don't know
     11· · · · · · · · MR. CORNFELD:· Not if I stip- -- not               11· ·that that's the case why my test result and my test
     12· ·if I stipulate -- I could stipulate that you don't              12· ·result alone are why he lost supervision.
     13· ·even need to make a objection and all objections                13· · · · · Q.· · (BY MR. CORNFELD)· I'm asking you to
     14· ·are preserved.                                                  14· ·assume that that was the case.· We'll prove it.
     15· · · · · · · · MR. CEJAS:· Well, I'll --                          15· ·I'm asking you to assume it.· Do you feel any
     16· · · · · · · · MR. CORNFELD:· But I will allow you                16· ·responsibility for that?
     17· ·to say objection to form.                                       17· · · · · · · · MR. CEJAS:· Same objections.
     18· · · · · Q.· · (BY MR. CORNFELD)· Go ahead.                       18· · · · · · · · THE WITNESS:· No.
     19· · · · · · · · MR. CEJAS:· I'm not going to                       19· · · · · Q.· · (BY MR. CORNFELD)· Okay.· Let's look
     20· ·stipulate to that.                                              20· ·at Exhibit 12, the Shnitzer data pack for the test
     21· · · · · Q.· · (BY MR. CORNFELD)· Go ahead.                       21· ·that was collected on September 23, 2019.
     22· · · · · · · · MR. CORNFELD:· You don't have to --                22· ·Actually, let's look at -- let's look at page --
     23· ·excuse me.· You don't have to stipulate.· I made a              23· ·Exhibit 11.
     24· ·one-way stipulation.· Your objection to form will               24· · · · · A.· · Okay.
     25· ·cover any possible objection to form, you're just               25· · · · · Q.· · Which is the test from August of 2019

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     ·1· ·on Mr. Shnitzer.· And if you would look at page --             ·1· ·witness who could testify about these topics.
     ·2· ·it may be cut off on the -- by the staple, but it              ·2· · · · · A.· · Understood.
     ·3· ·is 6226, and it's titled Cocaine Cal Curve.                    ·3· · · · · Q.· · And you got nominated.· I don't know
     ·4· · · · · · · · What does this page show?                         ·4· ·why.· It wasn't our decision, so that's why I'm
     ·5· · · · · A.· · It shows the points on the                        ·5· ·asking you.· Okay?
     ·6· ·calibration curve.                                             ·6· · · · · · · · Let me -- let me ask you:· There's a
     ·7· · · · · Q.· · The calibration curve for cocaine?                ·7· ·table above the -- those calibration curves --
     ·8· · · · · A.· · Correct.                                          ·8· · · · · A.· · Uh-huh.
     ·9· · · · · Q.· · And are those the -- the -- are you               ·9· · · · · Q.· · -- that has headings like index,
     10· ·referring to the two slightly curved lines in the              10· ·sample name, sample type, and so forth.
     11· ·middle of that table, the middle of that chart?                11· · · · · · · · Do you see that?
     12· · · · · A.· · When you say slightly curved lines,               12· · · · · A.· · Uh-huh.
     13· ·these lines here in the middle?· That what you're              13· · · · · Q.· · Yes?
     14· ·talking about?                                                 14· · · · · A.· · Yes.· Sorry, yes.
     15· · · · · Q.· · Yeah, the lines in the -- in the                  15· · · · · Q.· · Are you familiar with what those
     16· ·middle that are under the heading Calibration for              16· ·items are?
     17· ·Cocaine.                                                       17· · · · · A.· · Yes.· The sample name's going to be
     18· · · · · · · · Is that right?                                    18· ·the accession number for the individual specimen.
     19· · · · · A.· · Yes.                                              19· · · · · Q.· · Okay.· What -- what is meant by
     20· · · · · Q.· · All right.· Why are there two curves?             20· ·index?
     21· · · · · A.· · There's transition one and transition             21· · · · · A.· · I'm not sure.
     22· ·two.                                                           22· · · · · Q.· · All right.· What is meant by sample
     23· · · · · Q.· · Can you explain what that means?                  23· ·type?· It says unknown for all of that, for going
     24· · · · · A.· · You're going to -- I'm not a                      24· ·down the column.
     25· ·toxicologist, so you're going to start to get over             25· · · · · A.· · Unknowns typically are the actual

                                                               Page 82                                                                  Page 84
     ·1· ·my expertise to interpret test results, and really,            ·1· ·patient's specimen.· So that's why there's the
     ·2· ·for the best thing to walk through this                        ·2· ·accession numbers.· So the accession number is the
     ·3· ·interpretation would be a toxicologist.                        ·3· ·individual one saying that it's an unknown.· So you
     ·4· · · · · Q.· · You're referring to Dr. Glinn --                  ·4· ·have your calibrators, your controls, and then your
     ·5· · · · · A.· · Yes.                                              ·5· ·unknowns.
     ·6· · · · · Q.· · -- for example?                                   ·6· · · · · Q.· · Okay.· And then there's a column ACQ
     ·7· · · · · · · · All right.· But you're the person                 ·7· ·method name, and that says hair something?
     ·8· ·that Averhealth put up to talk about the data                  ·8· · · · · A.· · Uh-huh.
     ·9· ·packs, so that's why I'm asking you.                           ·9· · · · · Q.· · What's the something, hair -- can you
     10· · · · · A.· · Okay.                                             10· ·read it?
     11· · · · · Q.· · What -- what do you understand the                11· · · · · A.· · I think it's .dam.
     12· ·reason is why there are two curves?                            12· · · · · Q.· · I'm sorry?
     13· · · · · A.· · There's two transitions.· So in any               13· · · · · A.· · I believe it's .dram, D -- dam,
     14· ·drug test, there's transition one and transition               14· ·hair.dam.
     15· ·two.                                                           15· · · · · Q.· · What -- what does -- what is meant by
     16· · · · · Q.· · Okay.· And what is -- what is meant               16· ·that?
     17· ·by transition one and transition two?                          17· · · · · A.· · It's the acquisition method name.· So
     18· · · · · A.· · It's starting to get outside of my                18· ·it's the name of the method that's used to test the
     19· ·expertise.· I'm not comfortable answering the                  19· ·specimens.· So we have very many different methods
     20· ·question.· I know you put me up as the expert.· I'm 20· ·that we use.· So for example, for -- we have our
     21· ·not a toxicologist, so when it comes to specific               21· ·hair test method that we inject the specimen and it
     22· ·results interpretation...                                      22· ·goes through and it looks for -- it's a validated
     23· · · · · Q.· · All right.· I -- I didn't put you up.             23· ·method for hair.· So each method has its own name.
     24· · · · · A.· · Okay.                                             24· · · · · Q.· · All right.· Then there's -- the next
     25· · · · · Q.· · We asked Averhealth to designate a                25· ·column is the component name, and there's cocaine

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     ·1· ·one and cocaine two.                                            ·1· ·being the -- the -- the sequence number of which --
     ·2· · · · · · · · Do you see that?                                   ·2· ·that -- that it sits, then you can see, so each of
     ·3· · · · · A.· · Yes.                                               ·3· ·these specimens are the same specimen that's
     ·4· · · · · Q.· · What is meant by cocaine one and                   ·4· ·injected, and when it's tested, you look for
     ·5· ·cocaine two?                                                    ·5· ·transition one and transition two.
     ·6· · · · · A.· · That's your transition one and your                ·6· · · · · Q.· · All right.· Under sample name, those
     ·7· ·transition two.                                                 ·7· ·are the accession numbers?
     ·8· · · · · Q.· · All right.· The next column is I-S                 ·8· · · · · A.· · Yes, they are.
     ·9· ·name, and it says benzoylecgonine?                              ·9· · · · · Q.· · There's none -- none of those match
     10· · · · · A.· · Benzoylecgonine, yes.                              10· ·the accession number of this test.
     11· · · · · Q.· · All right.· What is meant by I-S                   11· · · · · A.· · They do.· 08508406.
     12· ·name?                                                           12· · · · · Q.· · But --
     13· · · · · A.· · The internal standard.                             13· · · · · A.· · This one that's highlighted matches.
     14· · · · · Q.· · The internal standard that was used                14· ·So we highlighted what was his transition one of
     15· ·in the test?                                                    15· ·his specimen.
     16· · · · · A.· · Correct.                                           16· · · · · Q.· · But on the cover page, the accession
     17· · · · · Q.· · The next column calculated --                      17· ·number of the test ends in 017.
     18· · · · · A.· · Concentration.                                     18· · · · · A.· · So this is the root number, so when
     19· · · · · Q.· · -- concentration?                                  19· ·you look at our specimen numbers, this number
     20· · · · · A.· · Uh-huh.                                            20· ·matches --
     21· · · · · Q.· · And that's the concentration of what?              21· · · · · Q.· · You mean all the numbers before the
     22· · · · · A.· · The quantitative value of the amount               22· ·dash?
     23· ·of that particular drug that was found in the                   23· · · · · A.· · Correct.
     24· ·specimen.                                                       24· · · · · Q.· · What are the three digits after the
     25· · · · · Q.· · All right.· I note that there's one                25· ·dash mean?

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     ·1· ·row that's highlighted in this table on cocaine cal             ·1· · · · · A.· · After the dash, once they get to the
     ·2· ·curve page.· What -- why is there one row that's                ·2· ·laboratory, we have specimens that are -- it gets
     ·3· ·highlighted?                                                    ·3· ·assigned a dash to -- as, like, the primary test
     ·4· · · · · A.· · I believe it's just a matter of when               ·4· ·number, and then when it goes onto the analyzer, it
     ·5· ·pulling up the data that it's -- that it's                      ·5· ·gets the number that's specific to that batch.· So
     ·6· ·highlighted.· That's your transition one.· So                   ·6· ·this one that ends in 215, is the confirmation
     ·7· ·transition is highlighted versus transition two.                ·7· ·accession number that was assigned along with the
     ·8· · · · · Q.· · Well, there are several cocaine ones,              ·8· ·specimen.
     ·9· ·and only one of them is highlighted.                            ·9· · · · · Q.· · Okay.· But -- but on the --
     10· · · · · A.· · Well, they're different accession                  10· · · · · A.· · You just have to look at the root.
     11· ·numbers.· So if you look at here -- so if you look              11· · · · · Q.· · On the -- on the cover page, the
     12· ·at the one that indexes 1338, that accession number 12· ·numbers after the dash are 017.· What --
     13· ·has two.· So 1338 and 1339 is the same accession                13· · · · · A.· · Yeah, that's just its primary number,
     14· ·number, so it's that same 08571391-225.· Okay?· So              14· ·right, so when it gets to the specimen, it goes
     15· ·that is -- that's this -- that is a specimen that               15· ·into a batch to create a batch of specimens.· And
     16· ·we test for, the first transition and the second                16· ·at that point in time, it gets -- it gets assigned
     17· ·transition.                                                     17· ·as 017.
     18· · · · · · · · Then the -- the next two numbers down              18· · · · · · · · And then it goes into a -- it's
     19· ·are, again, a different accession number, so a                  19· ·prepped into a confirmation batch, and when it's
     20· ·different specimen.· So we're showing the two                   20· ·prepped into that confirmation batch, it gets a
     21· ·preceding specimens prior to Mr. Shnitzer's                     21· ·confirmation batch specific number.· And so that's
     22· ·specimen.· So you can see both of those, you see                22· ·the one that's dash 215.· So really, the specimen
     23· ·both transition one and transition two.                         23· ·itself is what's -- precedes the -- the dash.
     24· · · · · · · · And then you get to Shnitzer's, and                24· · · · · Q.· · All right.· So if we looked under
     25· ·so the -- on the actual analyzer, right, and index              25· ·the -- in the calculated concentration column, it

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     ·1· ·looks like, although it's not perhaps as legible as           ·1· · · · · A.· · Again, I'm not a toxicologist, so
     ·2· ·it could be, but the highlighted number looks like            ·2· ·you're starting to get outside of my expertise.
     ·3· ·it matches what is in the --                                  ·3· · · · · Q.· · Have you ever heard the term Gaussian
     ·4· · · · · A.· · The 325.67.                                      ·4· ·referred to a chromatogram?
     ·5· · · · · Q.· · -- the positive result that you --               ·5· · · · · A.· · Yes.
     ·6· · · · · A.· · It's in transition one.                          ·6· · · · · Q.· · What do you understand that is?
     ·7· · · · · Q.· · Okay.                                            ·7· · · · · A.· · I've heard the term, what I
     ·8· · · · · A.· · Correct.                                         ·8· ·understand it to be.· I don't have the expertise to
     ·9· · · · · Q.· · What does the column headed Actual               ·9· ·talk about it.
     10· ·Concentration mean?· It says NA in every cell under           10· · · · · Q.· · All right.· Then there's a column
     11· ·that.                                                         11· ·for -- go back up to the table, the top of the
     12· · · · · A.· · I'm not sure what those three are:               12· ·cocaine cal curve page, and Mr. Shnitzer's data
     13· ·The actual concentration, the accuracy, or the                13· ·pack from August of 2019, there's a column called
     14· ·concentration ratio.                                          14· ·area ratio.· What is that?
     15· · · · · Q.· · When they all say NA, does that mean             15· · · · · A.· · I don't know.
     16· ·not applicable?                                               16· · · · · Q.· · There's a column called -- well, the
     17· · · · · A.· · Correct.                                         17· ·next column -- I'm not sure I can read it.· Can you
     18· · · · · Q.· · And then the next column area, what              18· ·read that?
     19· ·is -- what does that mean?                                    19· · · · · · · · MR. PLEBAN:· Baseline.· Baseline.
     20· · · · · A.· · The area of the peak.                            20· · · · · · · · THE WITNESS:· I don't think the
     21· · · · · Q.· · In the -- in the -- in the                       21· ·height.· Is that the one you're talking about?
     22· ·chromatogram that's on the bottom?                            22· · · · · Q.· · (BY MR. CORNFELD)· Delta/height?
     23· · · · · A.· · Mr. Shnitzer's, uh-huh.                          23· · · · · · · · MR. PLEBAN:· Baseline.
     24· · · · · Q.· · Yes?                                             24· · · · · Q.· · (BY MR. CORNFELD)· And then there's a
     25· · · · · A.· · Yes.                                             25· ·word above that.

                                                              Page 90                                                        Page 92
     ·1· · · · · Q.· · So the -- your two curves on the                 ·1· · · · · A.· · Baseline delta to height.
     ·2· ·bottom, one highlighted and one not highlighted.              ·2· · · · · Q.· · Okay.· What is -- what is shown in
     ·3· · · · · A.· · That's your transition one and your              ·3· ·that column?
     ·4· ·transition two.                                               ·4· · · · · A.· · It's the difference between, I
     ·5· · · · · Q.· · And those curves are the                         ·5· ·believe, the -- the baseline and the height.
     ·6· ·chromatograms of his sample?                                  ·6· · · · · Q.· · Okay.· And the next column, what does
     ·7· · · · · A.· · Yes.                                             ·7· ·that say?
     ·8· · · · · Q.· · And area is the area under the curve?            ·8· · · · · A.· · It says used.
     ·9· · · · · A.· · The area is the area -- the whole                ·9· · · · · Q.· · Used?
     10· ·area of the peak.                                             10· · · · · A.· · Uh-huh.
     11· · · · · Q.· · Okay.· The -- the part of the curve              11· · · · · Q.· · What is meant in that column, shown
     12· ·that's under the peak?                                        12· ·in that column?
     13· · · · · A.· · To make sure I understand what you're            13· · · · · A.· · I'm not sure.
     14· ·saying, it would be the area of this, yes.                    14· · · · · Q.· · The next column is headed Ion Ratio?
     15· · · · · Q.· · Okay.· From where it goes from the               15· · · · · A.· · Yes.
     16· ·baseline up to the peak and then down to the                  16· · · · · Q.· · What is shown in that column?
     17· ·baseline?                                                     17· · · · · A.· · It's -- it shows, I think, the amount
     18· · · · · A.· · Yes.                                             18· ·of the ion ratio.
     19· · · · · Q.· · And that curve is -- the shape of                19· · · · · Q.· · What is the ion ratio?
     20· ·that curve can be called Gaussian, correct?                   20· · · · · A.· · I'm not comfortable answering these
     21· · · · · A.· · Can be called, pardon?                           21· ·questions.
     22· · · · · Q.· · Gaussian, G-A-U-S-S-I-A-N.                       22· · · · · Q.· · There's a column headed Expected Ion
     23· · · · · A.· · I'm not sure.                                    23· ·Ratio.
     24· · · · · Q.· · Have you ever heard of the term                  24· · · · · A.· · Uh-huh.
     25· ·Gaussian referred to a chromatogram?                          25· · · · · Q.· · What is shown in that column?

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     ·1· · · · · A.· · I think it shows 1.0000.               ·1· ·number, collection date December 13, 2021.
     ·2· · · · · Q.· · But what -- what -- what does that     ·2· · · · · · · · Do you see that?
     ·3· ·represent?                                          ·3· · · · · A.· · Yes.
     ·4· · · · · A.· · Similarly, not comfortable answering   ·4· · · · · Q.· · And this is the data pack for the
     ·5· ·the questions.                                      ·5· ·tests -- the test that was positive for Katarzyna
     ·6· · · · · · · · MR. CORNFELD:· Counsel, I think we're  ·6· ·Foulger for her sample that was collected on
     ·7· ·going to need another 30(b)(6) witness.             ·7· ·December 13, 2021, correct?
     ·8· · · · · · · · MR. CEJAS:· On the specifics?          ·8· · · · · A.· · Yes.
     ·9· · · · · · · · MR. CORNFELD:· On these -- yeah, on    ·9· · · · · Q.· · And do you understand this was the
     10· ·the things that Ms. Delagnes is unable to answer.   10· ·only test that Averhealth reported that was
     11· · · · · · · · MR. CEJAS:· On the interpretation of   11· ·positive -- or the only sample that Averhealth
     12· ·the data?                                           12· ·reported that was positive?
     13· · · · · · · · MR. CORNFELD:· Yeah, yeah.             13· · · · · A.· · Yes.
     14· · · · · · · · MR. PLEBAN:· You marked on one of      14· · · · · Q.· · If we could look at the page titled
     15· ·those exhibits, maybe on the front of that, with    15· ·Full Page Lab Report --
     16· ·that little dash.                                   16· · · · · A.· · Yes.
     17· · · · · · · · THE WITNESS:· Oh,· I just was trying   17· · · · · Q.· · -- which is the second page on the
     18· ·to visualize the fact that this actual specimen     18· ·sample.· And do you see that it shows that -- or
     19· ·itself is the first eight numbers, and then there's 19· ·states that this was positive for cocaine in a hair
     20· ·a dash, and those are kind of secondary subnumbers 20· ·sample?
     21· ·that tie back to this.                              21· · · · · A.· · Yes.
     22· · · · · · · · MR. PLEBAN:· We just need to note,     22· · · · · Q.· · And the cutoff is 100 pg/mg, correct?
     23· ·like, put on the record where you marked so we      23· · · · · A.· · Yes.
     24· ·don't think it's the original.                      24· · · · · Q.· · There's no level reported.· Do you
     25· · · · · · · · THE WITNESS:· I boxed --               25· ·see that?
                                                              Page 94                                                        Page 96
     ·1· · · · · · · · MR. CEJAS:· So that the record --      ·1· · · · · A.· · Yes.
     ·2· · · · · · · · MR. CORNFELD:· Wait --                 ·2· · · · · Q.· · It says NA under level?
     ·3· · · · · · · · THE WITNESS:· -- the first nine.       ·3· · · · · A.· · Yes.
     ·4· · · · · Q.· · (BY MR. CORNFELD)· Before you say      ·4· · · · · Q.· · Why is that?
     ·5· ·that, the record you are holding up is Exhibit 11,  ·5· · · · · A.· · This particular customer probably
     ·6· ·correct?                                            ·6· ·does not have levels turned on.· So when the full
     ·7· · · · · A.· · Yes, it is.                            ·7· ·page report is pulled out of the database, it
     ·8· · · · · Q.· · Okay.· And you made some markings on   ·8· ·doesn't reflect the levels.
     ·9· ·the cover page of Exhibit 11.· You underlined a     ·9· · · · · Q.· · The customer turns on something in
     10· ·portion of the accession number, correct?           10· ·your system?
     11· · · · · A.· · I boxed the root accession number.     11· · · · · A.· · Yes.· They have an opportunity to
     12· · · · · Q.· · Okay.· And those -- that's your --     12· ·either have levels reported or not.
     13· · · · · A.· · And that's what we call it, we call    13· · · · · Q.· · So as far as we can tell from this
     14· ·it a root accession number.· So I boxed the root    14· ·report, her -- her result could have been under 500
     15· ·accession number to show for his sample, it is      15· ·for cocaine, correct?
     16· ·always going to be those first eight numbers.· And 16· · · · · A.· · What I can tell from this report is
     17· ·then there's a dash, and there's three digits after 17· ·it would have been above 100.
     18· ·that depending upon the various stages within       18· · · · · Q.· · But you have no idea how far or how
     19· ·testing procedures, those -- those last three       19· ·little?
     20· ·numbers may change.· That's what I was indicating. 20· · · · · A.· · Not on this -- not on this lab
     21· · · · · · · · Thank you.                             21· ·report, no.
     22· · · · · Q.· · Ms. Delagnes, I've handed you what's   22· · · · · Q.· · Is that data available anywhere?
     23· ·been marked as Exhibit 14, which is a document      23· · · · · A.· · Yes, it would be on the
     24· ·numbered 7836 on the first page titled:· Foulger    24· ·chromatograph.
     25· ·data pack accession number, and then there's a long 25· · · · · Q.· · Are you referring to the page headed

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     ·1· ·Drug Cal Curve that is page numbered 7842?                    ·1· ·anyone from Massachusetts tell you that they wanted
     ·2· · · · · A.· · Give me a minute.· This one's                    ·2· ·cutoffs that were the lowest possible level that
     ·3· ·Dr. Glinn needs to look at.                                   ·3· ·Averhealth could detect?
     ·4· · · · · Q.· · I'm sorry?· What -- what --                      ·4· · · · · A.· · It's a vague question.· I'd -- I'd
     ·5· · · · · A.· · I said this one Dr. Glinn will need              ·5· ·have to look into that further.
     ·6· ·to look at with all the charts in here to show                ·6· · · · · Q.· · But you're not aware of it as you sit
     ·7· ·where the actual value of the concentration is.               ·7· ·here?
     ·8· · · · · Q.· · Would that -- and do you see that                ·8· · · · · A.· · I'm not aware of it as I sit here,
     ·9· ·Ms. Foulger's benzoylecgonine was negative?                   ·9· ·no.
     10· · · · · A.· · Yes.                                             10· · · · · Q.· · All right.· I'll -- we'll leave the
     11· · · · · Q.· · Do you have an understanding as to               11· ·record open and you can -- if there's a document or
     12· ·whether a positive cocaine in hair with a negative            12· ·a memo or something, I'd ask that you provide it to
     13· ·benzoylecgonine would indicate the absence of drug            13· ·your counsel and they can provide it to us, and we
     14· ·use?                                                          14· ·can decide whether we need to ask you about it.
     15· · · · · A.· · That's a question for a toxicologist.            15· · · · · A.· · Okay.
     16· · · · · Q.· · If we go through Ms. Foulger's lab               16· · · · · · · · THE WITNESS:· Do I need to take a
     17· ·report --                                                     17· ·note for follow-ups?
     18· · · · · A.· · Uh-huh.                                          18· · · · · Q.· · (BY MR. CORNFELD)· And are there
     19· · · · · Q.· · -- there's a section that is -- that             19· ·documents that --
     20· ·starts on page 1 of 68 or Bates number 7843, and a            20· · · · · A.· · Sorry, I can't wear my reading
     21· ·table that begins on 7844.                                    21· ·glasses and look at you.
     22· · · · · · · · Do you see that?                                 22· · · · · Q.· · Are -- you need -- you need bifocals.
     23· · · · · A.· · I do.                                            23· · · · · A.· · Yeah.
     24· · · · · Q.· · And there's a column entitled Percent            24· · · · · Q.· · Are there -- are there documents
     25· ·Accuracy.                                                     25· ·regarding Averhealth's procedures for changing

                                                              Page 98                                                                Page 100
     ·1· · · · · A.· · Yes.                                             ·1· ·cutoffs?
     ·2· · · · · Q.· · Are you familiar with what's shown in            ·2· · · · · A.· · Not that I'm aware of.
     ·3· ·the column?                                                   ·3· · · · · Q.· · I think I asked you this, but are
     ·4· · · · · A.· · I am.· I mean, I can read the                    ·4· ·there documents regarding Averhealth's change in
     ·5· ·numbers, yes.                                                 ·5· ·the cutoff for cocaine in hair from 500 to 100?
     ·6· · · · · Q.· · Are you familiar with what they                  ·6· · · · · A.· · You asked if we provided
     ·7· ·represent?                                                    ·7· ·communication out to our customers about the cutoff
     ·8· · · · · A.· · A toxicologist needs to get into                 ·8· ·change, and I -- I -- I indicated I don't believe
     ·9· ·details about these numbers.                                  ·9· ·so.· So those are two follow-ups that I have.
     10· · · · · Q.· · Would that be true for the rest of               10· ·Document used for lowest cutoff and did we document
     11· ·the tables in the Foulger data pack and the other             11· ·or send out a change in cutoffs.
     12· ·data packs?                                                   12· · · · · Q.· · Are there -- are there internal
     13· · · · · A.· · Yes.                                             13· ·documents within Averhealth on the change in the
     14· · · · · · · · MR. CEJAS:· I would say whenever                 14· ·cutoff for hair for cocaine in hair from 500 to
     15· ·you're ready to change topics, it would probably be           15· ·100?
     16· ·a good time for a break, so it's up to you,                   16· · · · · A.· · We would have changed -- in our
     17· ·whenever you're ready.                                        17· ·database, we would have made changes, right, to
     18· · · · · · · · MR. CORNFELD:· I was thinking the                18· ·bring that test in-house and to set the cutoffs,
     19· ·same thing.                                                   19· ·and there is an SOP of what our hair testing is and
     20· · · · · · · · THE VIDEOGRAPHER:· The time is 11:35.            20· ·there would be documentation on what we determined
     21· ·We are off the record.                                        21· ·would be the cutoffs of that.
     22· · · · · · · · (A short break was taken.)                       22· · · · · Q.· · All right.· I've -- as I said, I've
     23· · · · · · · · THE VIDEOGRAPHER:· The time is 11:51.            23· ·not seen documentation regarding the change in
     24· ·We are back on the record.                                    24· ·cutoff because I --
     25· · · · · Q.· · (BY MR. CORNFELD)· Ms. Delagnes, did             25· · · · · A.· · Okay.

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     ·1· · · · · Q.· · -- searched for 100 pg/mg.                       ·1· · · · · A.· · Yes.
     ·2· · · · · A.· · Uh-huh.                                          ·2· · · · · Q.· · And it states:· Drug testing
     ·3· · · · · Q.· · So I would ask that if there is such             ·3· ·laboratory shall, and if you skip down to
     ·4· ·documentation, you provide that to your counsel so            ·4· ·subparagraph J, it says:· Provide the Court with
     ·5· ·they can provide it to us and we can decide whether           ·5· ·drug testing data as requested and any explanation
     ·6· ·we need to ask about that.                                    ·6· ·of test results and laboratory policy and
     ·7· · · · · A.· · Okay.                                            ·7· ·procedure.
     ·8· · · · · · · · MR. CORNFELD:· Tammie, would you mark            ·8· · · · · · · · Do you see that?
     ·9· ·that portion of the transcript where I made those             ·9· · · · · A.· · Yes.
     10· ·requests?                                                     10· · · · · Q.· · Did you provide any explanation of
     11· · · · · Q.· · (BY MR. CORNFELD)· You have in front             11· ·Ms. Foulger's test results to Maricopa County?
     12· ·of you Exhibit 15, which bears the number 2239 on             12· · · · · A.· · I'm not aware that they asked of any,
     13· ·the first page and is titled Judicial Branch of               13· ·so no, we did not.
     14· ·Arizona in Maricopa County, Contract Drug and                 14· · · · · Q.· · Well, it doesn't say provide -- oh,
     15· ·Alcohol Testing, Urinalysis Services 190161-RFP.              15· ·it says as requested, and you provide drug testing
     16· · · · · · · · Do you see that?                                 16· ·data as requested and any explanation of test
     17· · · · · A.· · Yes.                                             17· ·results.
     18· · · · · Q.· · Is this the contract that governed               18· · · · · · · · And that doesn't say as requested for
     19· ·the test on -- on Katza [as pronounced] Foulger               19· ·the explanation, correct?
     20· ·that we've been looking at?                                   20· · · · · · · · MR. CEJAS:· Object to form.· Object
     21· · · · · A.· · Yes.                                             21· ·to form.
     22· · · · · Q.· · If you would look at page 5, the page            22· · · · · · · · THE WITNESS:· The words of "as
     23· ·with the Bates number 2265.· Do you see that                  23· ·requested" are not in there, no.
     24· ·there's a section of this contract titled --                  24· · · · · · · · It is standard practice, though, we
     25· · · · · A.· · 5?· I have 2243, 5-5.                            25· ·don't with -- every test result, not just
                                                             Page 102                                                       Page 104
     ·1· · · · · Q.· · Maybe you don't have the same Bates              ·1· ·Averhealth, but any laboratory, as they report test
     ·2· ·number document.                                              ·2· ·results, they respond to questions about those
     ·3· · · · · A.· · Sorry, this has page number 5, but               ·3· ·results.
     ·4· ·it's -- is there another 5 maybe in the -- I'll               ·4· · · · · Q.· · (BY MR. CORNFELD)· Did you provide
     ·5· ·just look for the Bates number.                               ·5· ·any explanation to Maricopa County regarding what
     ·6· · · · · Q.· · Yeah.                                            ·6· ·it means to have a positive cocaine in hair but a
     ·7· · · · · A.· · What's the Bates number?· 22?                    ·7· ·negative benzoylecgonine?
     ·8· · · · · Q.· · 2265.                                            ·8· · · · · A.· · No.
     ·9· · · · · A.· · Okay.· Thank you.                                ·9· · · · · Q.· · And do you have any idea whether
     10· · · · · Q.· · Did I staple two copies together?                10· ·Maricopa County would -- or strike that.
     11· · · · · A.· · Oh, there's two.· It must be two                 11· · · · · · · · Do you have any reason to think that
     12· ·different sections of the document.· Okay.· I'm on            12· ·Maricopa County, without any explanation from
     13· ·the right one now.                                            13· ·Averhealth, would have any idea what it means to
     14· · · · · Q.· · If you look at the page with the                 14· ·have a positive cocaine and negative
     15· ·Bates number 2261.                                            15· ·benzoylecgonine in hair?
     16· · · · · A.· · 2261?· Okay.                                     16· · · · · · · · MR. CEJAS:· Object to form.
     17· · · · · Q.· · Do you see that this is Exhibit B,               17· ·Speculation.
     18· ·Scope of Work?                                                18· · · · · · · · THE WITNESS:· The agency requesting
     19· · · · · A.· · Okay.                                            19· ·this testing has been doing it for a long time and
     20· · · · · Q.· · And they start the page numbering                20· ·is very well versed.· So I -- I can't -- I can't
     21· ·over again with page 1, so page 5 following that,             21· ·respond to that one way or another.· I don't know
     22· ·within Exhibit B, the page with the Bates number              22· ·what Maricopa was thinking.
     23· ·2265 has Section 6, Laboratory Requirements.                  23· · · · · Q.· · (BY MR. CORNFELD)· You're the CEO of
     24· · · · · A.· · Uh-huh.                                          24· ·Averhealth, and at the time of this test, you were
     25· · · · · Q.· · Yes?                                             25· ·the COO, and you just told us you don't know what

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     ·1· ·it means to have a positive cocaine in hair with a            ·1· ·for 365 days from date of collection --
     ·2· ·negative benzoylecgonine.· So do you have any idea            ·2· · · · · A.· · Yes.
     ·3· ·whether you would expect Maricopa County to know              ·3· · · · · Q.· · -- correct?
     ·4· ·that?                                                         ·4· · · · · · · · And so that applied to this test,
     ·5· · · · · A.· · I would expect that they know when to            ·5· ·which was a test of hair, correct?
     ·6· ·ask questions about test results.· It is typical              ·6· · · · · A.· · Yes.
     ·7· ·for our customers, when clients raise concerns                ·7· · · · · Q.· · So you had that obligation not just
     ·8· ·about the test results, that then the customer                ·8· ·in the contract, but in the report you sent to
     ·9· ·comes to us to ask for interpretation.                        ·9· ·Ms. Foulger, correct?
     10· · · · · Q.· · Do you know if -- what Ms. Foulger               10· · · · · A.· · Yes.
     11· ·told Maricopa County about her test results?                  11· · · · · Q.· · Do you see on the test report for
     12· · · · · A.· · I do not.                                        12· ·Ms. Foulger, there's a Certification Statement?
     13· · · · · Q.· · All right.· And if you look at --                13· · · · · A.· · Yes.
     14· ·under Laboratory Requirements, paragraph H, it                14· · · · · Q.· · And the last sentence of this
     15· ·says:· Maintain all positive test specimens for a             15· ·Certification Statement -- or excuse me, not the
     16· ·minimum of one year.                                          16· ·last sentence, but there is a sentence that says:
     17· · · · · · · · Correct?                                         17· ·I acknowledge at submission of false information
     18· · · · · A.· · Yes.                                             18· ·may subject me to prosecution for the criminal
     19· · · · · Q.· · And that was a requirement you had               19· ·offense of perjury?
     20· ·under the contract with Maricopa County, correct?             20· · · · · A.· · I see that statement, yes.
     21· · · · · A.· · Yes.                                             21· · · · · Q.· · And that statement was signed by the
     22· · · · · Q.· · What's the reason for that                       22· ·certification technician Krista Ferando?
     23· ·requirement?                                                  23· · · · · A.· · Yes.
     24· · · · · A.· · Typically, the reason is if the                  24· · · · · Q.· · Who is Ms. Ferando?
     25· ·Court -- sorry, not the Court -- well, I'm using              25· · · · · A.· · She's one of our certifying
                                                             Page 106                                                       Page 108
     ·1· ·the Court as in the customer.· So our customer      ·1· ·scientists.
     ·2· ·often asks us to maintain them in case they want to ·2· · · · · Q.· · So she was certifying, subject to the
     ·3· ·come back and ask for any additional testing.       ·3· ·potential prosecution for the criminal offense of
     ·4· · · · · Q.· · Or have another lab test the sample?   ·4· ·perjury, that nonnegative samples will be sealed in
     ·5· · · · · A.· · Or that.                               ·5· ·the original container, properly marked for
     ·6· · · · · Q.· · Or if the -- if the person being       ·6· ·identification, and locked in storage for 365 days
     ·7· ·tested wants to have another lab test the sample?   ·7· ·from date of collection, correct?
     ·8· · · · · A.· · If the person being tested wants       ·8· · · · · A.· · She's certifying that she reviewed
     ·9· ·another lab to test it, then they need to go        ·9· ·the data, released the test results.
     10· ·through -- our contract is with Maricopa County, so 10· · · · · Q.· · Well, she's certifying that -- that
     11· ·we need Maricopa County's permission to send, and 11· ·submission of false information may subject me to
     12· ·they need to make the request, not the client       12· ·prosecution for a criminal offense, correct?
     13· ·themselves, to have the specimen retested in        13· · · · · A.· · Yes, that statement is in there.
     14· ·another laboratory.                                 14· · · · · Q.· · Not just data, but false information,
     15· · · · · Q.· · And if we would look at the -- the     15· ·and part of the information that she was certifying
     16· ·test result in --                                   16· ·was that nonnegative samples will be sealed in the
     17· · · · · A.· · Which number is that?                  17· ·original container, properly marked for
     18· · · · · Q.· · Exhibit 14.                            18· ·identification, and locked in storage for 365 days
     19· · · · · A.· · Thank you.                             19· ·from the date of collection, correct?
     20· · · · · Q.· · Do you see -- do you have that there?  20· · · · · · · · MR. CEJAS:· Object to the form.
     21· · · · · A.· · I do.                                  21· ·Assumes facts not in evidence.
     22· · · · · Q.· · Okay.· If you look at item 3 under     22· · · · · · · · THE WITNESS:· Yes.
     23· ·Notes, do you see it says:· Nonnegative samples     23· · · · · · · · MR. CEJAS:· Is this 16?
     24· ·will be sealed in the original container, properly  24· · · · · · · · MR. CORNFELD:· Yeah, 16.
     25· ·marked for identification, and locked in storage    25· · · · · Q.· · (BY MR. CORNFELD)· I've handed you

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     ·1· ·what's been marked as Exhibit 16, which is a        ·1· ·50 grams of the sample to go through the testing
     ·2· ·one-page document with the Bates number 38388.· And ·2· ·process.· Part of testing for hair is you need to
     ·3· ·it's an e-mail exchange between Lee Bostic and      ·3· ·take that hair, you need to pulverize it, you need
     ·4· ·Michael Giraldor.                                   ·4· ·to liquefy it, and you need to -- to
     ·5· · · · · · · · Do you see that?                       ·5· ·reconstitute -- so basically, you -- you pulverize
     ·6· · · · · A.· · Yes.                                   ·6· ·the hair, you put in, you know, other chemicals
     ·7· · · · · Q.· · Dated January 12th, 2022?              ·7· ·into the hair to be able to test for it, so you --
     ·8· · · · · A.· · Yes.                                   ·8· ·you make it into a solution that then is prepped
     ·9· · · · · Q.· · And you see the date of Ms. Foulger's  ·9· ·and run on the instrument, and -- once it's
     10· ·test report was January 5th, 2022, correct?         10· ·reported.
     11· · · · · A.· · Yes.                                   11· · · · · · · · So, depending upon how much hair was
     12· · · · · Q.· · So this is within a week afterwards?   12· ·collected, it is -- it is a factual statement that
     13· · · · · A.· · Yes.                                   13· ·through that testing process, all of that hair is
     14· · · · · Q.· · If we start at the bottom for the      14· ·used to be prepped and run on the analyzer.
     15· ·first e-mail, it's by Michael Giraldor, who has an  15· · · · · · · · If all 50 grams were not used, then
     16· ·e-mail address from Averhealth.com.· Who is         16· ·there may still continue to be hair.· But what's
     17· ·Mr. Giraldo -- Giraldor?                            17· ·actually used to test for hair samples is
     18· · · · · A.· · He's a customer service                18· ·completely used, run on the instrument, and so
     19· ·representative.                                     19· ·there's no specimen left.
     20· · · · · Q.· · In Arizona?                            20· · · · · Q.· · So it's true that the hair was
     21· · · · · A.· · He actually resides, or resided --     21· ·destroyed, or hair was destroyed?
     22· ·he's no longer employed with us -- part of our      22· · · · · A.· · Her hair was used in the testing
     23· ·customer service team.· I believe he may have       23· ·process.
     24· ·actually lived in Virginia.                         24· · · · · Q.· · It says -- he said the hair is
     25· · · · · Q.· · Okay -- well, okay.· And he's writing  25· ·destroyed during the testing process.

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     ·1· ·to Lee Bostic.· Who is Lee Bostic?                            ·1· · · · · A.· · It's used up to be tested.
     ·2· · · · · A.· · He was the area manager at the time.             ·2· · · · · Q.· · All right.· And then Mr. Giraldor
     ·3· · · · · Q.· · The area manager for Arizona?                    ·3· ·says:· The test came back positive, and she was
     ·4· · · · · A.· · Yes, that is correct.                            ·4· ·told that the lab kept it if the test comes
     ·5· · · · · Q.· · And the subject is Katarzyna Foulger,            ·5· ·positive.
     ·6· ·and his e-mail states, in full:· The lady is                  ·6· · · · · · · · Do you see that?· He responded that
     ·7· ·calling asking if she can have the hair follicle              ·7· ·same day at 8:27 a.m.
     ·8· ·back because she wants it tested in another lab.              ·8· · · · · A.· · Yes, I do see that.
     ·9· ·Can we help her with that?· And then it has her               ·9· · · · · Q.· · And we know that she was told that
     10· ·name, Katarzyna Foulger and her phone number.                 10· ·because it was on her test report, correct?
     11· · · · · · · · Do you see that?                                 11· · · · · A.· · Yes.
     12· · · · · A.· · Yes.                                             12· · · · · · · · If there's no hair left, right, so we
     13· · · · · Q.· · And Mr. Bostic -- and that was                   13· ·only received 50 grams of specimen, it's not
     14· ·dated -- excuse me, that was dated January 12th,              14· ·physically possible for --
     15· ·2022, at 8:20 a.m., correct?                                  15· · · · · Q.· · My question was --
     16· · · · · A.· · 2020 -- yes.· January 12th, yes,                 16· · · · · A.· · I understand that, but I'm trying to
     17· ·8:20 a.m.                                                     17· ·explain the testing process.
     18· · · · · Q.· · All right.· And Mr. Bostic wrote back            18· · · · · Q.· · You've already explained that.
     19· ·at 10:23 a.m. and says:· The answer to that is no.            19· · · · · A.· · Okay.
     20· ·Our hair follicle screens are one and done.· The              20· · · · · Q.· · My question is simply:· We know she
     21· ·hair is destroyed during the testing process.                 21· ·was told that the lab kept it if the test comes
     22· · · · · · · · Do you see that?                                 22· ·positive because it was on her lab report, correct?
     23· · · · · A.· · I do.                                            23· · · · · A.· · We would have retained any sample
     24· · · · · Q.· · Is that a true statement?                        24· ·that was left --
     25· · · · · A.· · When the sample is received, we need             25· · · · · Q.· · She was --

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     ·1· · · · · A.· · -- if there was any left.                        ·1· ·cocaine?
     ·2· · · · · Q.· · My question was:· She was told in the            ·2· · · · · A.· · I don't --
     ·3· ·lab report what she said to Mr. Giraldor she was              ·3· · · · · · · · MR. CEJAS:· Object to form.
     ·4· ·told, which was that the lab kept it if the test              ·4· ·Foundation.
     ·5· ·comes back positive, correct?                                 ·5· · · · · · · · THE WITNESS:· -- know whether she's
     ·6· · · · · A.· · If there's any specimen left, yes.               ·6· ·used cocaine or not.
     ·7· · · · · Q.· · She -- it did not say if there's any             ·7· · · · · · · · I can understand her being upset for
     ·8· ·specimen left --                                              ·8· ·having a positive cocaine result.
     ·9· · · · · A.· · Okay.                                            ·9· · · · · Q.· · (BY MR. CORNFELD)· And being even
     10· · · · · Q.· · -- did it?· You're just making that              10· ·more upset if it came back positive when she never
     11· ·up.                                                           11· ·used cocaine.
     12· · · · · A.· · I'm not making that up --                        12· · · · · · · · MR. CEJAS:· Object to form.· Assumes
     13· · · · · Q.· · All she --                                       13· ·facts not in evidence.
     14· · · · · · · · MR. CEJAS:· Wait, wait, wait --                  14· · · · · Q.· · (BY MR. CORNFELD)· I'm asking you to
     15· · · · · Q.· · (BY MR. CORNFELD)· You're making that            15· ·assume she never used cocaine.· That's going to be
     16· ·up --                                                         16· ·her testimony.
     17· · · · · A.· · I'm not making that up --                        17· · · · · A.· · That can be her testimony.· I --
     18· · · · · Q.· · -- as part of something --                       18· ·okay.
     19· · · · · · · · COURT REPORTER:· Okay.· Okay.· One at            19· · · · · Q.· · And can you blame her for being very
     20· ·a time, guys.                                                 20· ·upset about getting a positive test result back?
     21· · · · · · · · MR. CEJAS:· You have to --                       21· · · · · A.· · Nobody likes to get a positive test
     22· · · · · Q.· · (BY MR. CORNFELD)· My question had to            22· ·result back and is upset about it.
     23· ·do with what she was told.· You have no knowledge             23· · · · · Q.· · And that's especially true for
     24· ·that she was told it would be -- it would be kept             24· ·someone who's never used cocaine, correct?
     25· ·if there was enough to keep it.· All you know is              25· · · · · · · · MR. CEJAS:· Object to form.· Assumes

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     ·1· ·what it said on the lab report, which was that the            ·1· ·facts not in evidence.
     ·2· ·test would be kept if it was positive, and what was           ·2· · · · · · · · THE WITNESS:· Again, I don't know
     ·3· ·in the agreement in the contract with Maricopa                ·3· ·whether or not she's used cocaine.
     ·4· ·County in which you promised to keep it for a year,           ·4· · · · · Q.· · (BY MR. CORNFELD)· I'm asking you to
     ·5· ·correct?                                                      ·5· ·assume she never used cocaine.· No -- and my
     ·6· · · · · · · · MR. CEJAS:· Object to form.· It's                ·6· ·question is:· They are even more upset -- people
     ·7· ·argumentative and it's compound.                              ·7· ·are even more upset if they get a positive result
     ·8· · · · · Q.· · (BY MR. CORNFELD)· Correct?                      ·8· ·and they never used cocaine, correct?
     ·9· · · · · A.· · Yes.                                             ·9· · · · · A.· · You can't speculate they're more
     10· · · · · Q.· · All right.· And then it says:· She --            10· ·upset.· People are upset for positive test results.
     11· ·she needs to -- retesting -- this is Mr. Giraldor.            11· · · · · Q.· · Okay.· And then Mr. Giraldor says:
     12· · · · · A.· · Uh-huh.                                          12· ·She is asking if you could contact her through her
     13· · · · · Q.· · She needs to retesting and is very               13· ·phone number, and he provides the phone number.
     14· ·upset about it.                                               14· · · · · · · · Correct?
     15· · · · · · · · Do you see that?                                 15· · · · · A.· · Yes.
     16· · · · · A.· · Yes.                                             16· · · · · Q.· · And Mr. Bostic responds again that
     17· · · · · Q.· · Can you blame her for being very                 17· ·same morning -- or that same afternoon and says:
     18· ·upset when she was told it would be kept for a year           18· ·The lab keeps urine if it's positive, not hair.
     19· ·and now she's -- she's told that it wasn't kept at            19· · · · · · · · Do you see he says that?
     20· ·all?                                                          20· · · · · A.· · I do see that, yes.
     21· · · · · A.· · Can you restate that question for me,            21· · · · · Q.· · And he doesn't say not hair unless
     22· ·please?                                                       22· ·there's some left over.· He just makes the blanket
     23· · · · · Q.· · Can you -- can you blame -- first of             23· ·statement, as he did before, when he said it's one
     24· ·all, can you blame her for being very upset that              24· ·and done, saying the laboratory doesn't keep hair.
     25· ·the test came back positive when she never used               25· ·Correct?

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     ·1· · · · · A.· · Yes.                                             ·1· · · · · Q.· · So instead, she just makes the false
     ·2· · · · · Q.· · And he says:· Yes, I'll reach out.               ·2· ·statement that nonnegative samples will be sealed
     ·3· · · · · · · · Do you see that?                                 ·3· ·in the original container, properly marked for
     ·4· · · · · A.· · Yes.                                             ·4· ·identification, and locked in storage for 365 days
     ·5· · · · · Q.· · I'd like you to assume that he never             ·5· ·from date of collection, correct?
     ·6· ·called her.· Nobody ever called her.· Can you blame           ·6· · · · · · · · MR. CEJAS:· Object to the form.
     ·7· ·her for being even more upset?                                ·7· ·Foundation.
     ·8· · · · · · · · MR. CEJAS:· Objection.· Foundation --            ·8· · · · · · · · THE WITNESS:· That statement is on
     ·9· · · · · Q.· · (BY MR. CORNFELD)· Or do you have any            ·9· ·here, yes.
     10· ·idea -- strike that.                                          10· · · · · Q.· · (BY MR. CORNFELD)· And that's a --
     11· · · · · · · · Do you have any idea why he didn't               11· ·that statement is false --
     12· ·call her?                                                     12· · · · · · · · MR. CEJAS:· Object to the form --
     13· · · · · · · · MR. CEJAS:· Objection, foundation.               13· · · · · Q.· · (BY MR. CORNFELD)· -- correct?
     14· ·Assumes facts not in evidence.                                14· · · · · · · · MR. CEJAS:· Object to the form.
     15· · · · · · · · THE WITNESS:· I don't know that he               15· ·Assumes facts not in evidence, foundation.
     16· ·called her or didn't call her.                                16· · · · · · · · THE WITNESS:· It appears to be.
     17· · · · · Q.· · (BY MR. CORNFELD)· Wouldn't the                  17· · · · · Q.· · (BY MR. CORNFELD)· Not just appears
     18· ·responsible thing have been to -- to call her and             18· ·to be.· You think now she should be prosecuted for
     19· ·explain?                                                      19· ·perjury?
     20· · · · · A.· · I don't know that he didn't call                 20· · · · · · · · MR. CEJAS:· Objection.· Calls for --
     21· ·her --                                                        21· · · · · Q.· · (BY MR. CORNFELD)· By following
     22· · · · · Q.· · I'm asking you to assume that she                22· ·your -- I mean, this is a standard form that you
     23· ·didn't -- that he didn't call her because she's               23· ·send out, correct?
     24· ·going to testify that he never called her, nobody             24· · · · · A.· · Yes.
     25· ·ever called her.                                              25· · · · · · · · MR. CEJAS:· Let me -- I'm object to
                                                             Page 118                                                       Page 120
     ·1· · · · · A.· · Okay.                                            ·1· ·the predicate of that question, not the second
     ·2· · · · · · · · MR. CEJAS:· Object to form.· Assumes             ·2· ·part, as calling for a legal conclusion.
     ·3· ·facts not in evidence.                                        ·3· · · · · Q.· · (BY MR. CORNFELD)· I'm sorry, did you
     ·4· · · · · Q.· · (BY MR. CORNFELD)· Wouldn't the                  ·4· ·answer that yes?
     ·5· ·responsible thing have been to call her?                      ·5· · · · · A.· · Yes.
     ·6· · · · · A.· · In here, if he said he would call                ·6· · · · · Q.· · And so the statement about storage,
     ·7· ·her, yes.                                                     ·7· ·that's just part of your form, isn't it?· That goes
     ·8· · · · · Q.· · And -- and wouldn't Ms. Ferando have             ·8· ·in every report, doesn't it?
     ·9· ·known at the time of her report whether there was             ·9· · · · · A.· · I don't believe it goes into every
     10· ·enough hair left over to keep it for a year?                  10· ·report, no.
     11· · · · · A.· · She doesn't know, she doesn't have               11· · · · · Q.· · It's -- it -- it found its way into
     12· ·the original container in front of her.                       12· ·this report because it's part of a form, correct?
     13· · · · · Q.· · She could find out, when she's                   13· · · · · A.· · It is part of this certification
     14· ·certifying subject to a criminal offense, that                14· ·statement, yes.
     15· ·there was -- that the lab would keep the sample for           15· · · · · Q.· · All right.· I mean, she didn't sit
     16· ·365 days, locked in storage, she could find out               16· ·there at the keyboard and type that out.· It just
     17· ·before she certifies that, couldn't she?                      17· ·was built into the form that has her name at the
     18· · · · · · · · MR. CEJAS:· Object to the form.                  18· ·bottom, correct?
     19· · · · · · · · THE WITNESS:· Based on our processes             19· · · · · A.· · Yes.
     20· ·and procedures, she -- she doesn't have the                   20· · · · · Q.· · Do you think she should be the one
     21· ·specimen in front of her.                                     21· ·who is potentially prosecuted for perjury for that
     22· · · · · Q.· · (BY MR. CORNFELD)· No, but she could             22· ·or should it be Averhealth itself for putting into
     23· ·find out, couldn't see?                                       23· ·its form a false statement?
     24· · · · · A.· · Is it possible to find out?· Yes.· Is            24· · · · · · · · MR. CEJAS:· Object to the form.
     25· ·it probable in our processes?· No.                            25· ·Assumes facts not in evidence, calls for a legal

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     ·1· ·conclusion, it's argumentative.                     ·1· ·versus the actual packaging.
     ·2· · · · · · · · THE WITNESS:· No, she should not be    ·2· · · · · · · · The packaging itself, even for Mr. --
     ·3· ·prosecuted.                                         ·3· ·Ms. Foulger's hair, that original packaging with
     ·4· · · · · Q.· · (BY MR. CORNFELD)· It should be        ·4· ·the specimen identifier, the actual package that
     ·5· ·whoever put that into the form when it -- when it   ·5· ·the hair would come in, that is actually retained.
     ·6· ·wasn't true, correct?                               ·6· ·The question is, is there any hair left to be
     ·7· · · · · · · · MR. CEJAS:· Same objection.· Calls     ·7· ·retested or not.
     ·8· ·for a legal conclusion.                             ·8· · · · · · · · So it is not -- it is -- they're --
     ·9· · · · · Q.· · (BY MR. CORNFELD)· Yes?                ·9· ·they're separate and apart two different things.
     10· · · · · A.· · Can you repeat the question, please?   10· ·So we had the -- we had the original packaging
     11· · · · · Q.· · It should be whoever was responsible   11· ·container and identifier on it.
     12· ·for putting that statement -- that false statement  12· · · · · Q.· · (BY MR. CORNFELD)· The statement in
     13· ·into the form --                                    13· ·the report --
     14· · · · · A.· · It's not a false statement.· There --  14· · · · · A.· · Uh-huh.
     15· ·there are times that there is plenty of the sample 15· · · · · Q.· · -- doesn't say only the packaging is
     16· ·there for it to be retested.· It's not a false      16· ·retained for 365 days.· It says nonnegative samples
     17· ·statement.                                          17· ·will be sealed.· Correct?
     18· · · · · Q.· · It's a false statement as applied to   18· · · · · A.· · If we --
     19· ·hair when Mr. --                                    19· · · · · Q.· · Is that what it says?
     20· · · · · A.· · Not always.                            20· · · · · A.· · If we've used up the specimen --
     21· · · · · Q.· · -- when Mr. Bostic said they're just   21· · · · · Q.· · Excuse me.· Is that what it says?
     22· ·not kept.                                           22· · · · · A.· · If we've used up the specimen,
     23· · · · · A.· · This was a general statement.· That's  23· ·there's nothing to retain --
     24· ·not the case.· We do keep it.· We keep the original 24· · · · · Q.· · Did you --
     25· ·container with the initials, the seals, and         25· · · · · A.· · -- the packaging itself remains.

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     ·1· ·everything.· And if there's hair in there, it would           ·1· · · · · Q.· · Does it say nonnegative samples will
     ·2· ·have the opportunity to be sent out to be retested.           ·2· ·be sealed in the original container and not just
     ·3· ·The original container is -- is retained.                     ·3· ·the original container will be kept?
     ·4· · · · · Q.· · Okay.· I -- you're not -- you're not             ·4· · · · · A.· · It says nonnegative samples.
     ·5· ·retracting your testimony that this statement 3               ·5· · · · · Q.· · All right.· And that was false,
     ·6· ·under storage about nonnegative samples being                 ·6· ·wasn't it?
     ·7· ·sealed in the original container, properly marked             ·7· · · · · · · · MR. CEJAS:· Objection.· Asked and
     ·8· ·and -- for identification, and locked in storage              ·8· ·answered.
     ·9· ·for 365 days from date of collection, you're not              ·9· · · · · Q.· · (BY MR. CORNFELD)· Yeah, I think --
     10· ·retracting your statement that that was a false               10· ·you're not retracting your statement that that was
     11· ·statement, are you?                                           11· ·false, are you?
     12· · · · · A.· · The original packaging container --              12· · · · · · · · MR. CEJAS:· Objection.
     13· · · · · Q.· · No, my question is --                            13· · · · · · · · THE WITNESS:· I am --
     14· · · · · · · · MR. CEJAS:· Let -- let her --                    14· · · · · Q.· · (BY MR. CORNFELD)· Are you?· Are you
     15· · · · · Q.· · (BY MR. CORNFELD)· -- are you                    15· ·retracting any of the testimony you gave?
     16· ·retracting your statement that you made about three           16· · · · · · · · MR. CEJAS:· Objection --
     17· ·minutes ago that that was a false statement?                  17· · · · · · · · THE WITNESS:· I am not retracting.
     18· · · · · · · · MR. CEJAS:· Objection.                           18· · · · · Q.· · (BY MR. CORNFELD)· Okay.
     19· ·Argumentative.                                                19· · · · · A.· · I'm clarifying --
     20· · · · · · · · Go ahead and answer.                             20· · · · · Q.· · Then that's --
     21· · · · · · · · THE WITNESS:· So there's a difference            21· · · · · A.· · I'm clarifying the difference between
     22· ·between the liquid specimen that's tested on the              22· ·the sample that gets tested on the analyzer versus
     23· ·analyzer that we talked about, that -- what                   23· ·the original container that the specimen was
     24· ·Mr. Bostic is referring to in this e-mail, that is            24· ·delivered in.
     25· ·the actual liquid form of the hair that's tested              25· · · · · Q.· · We understand what your practices

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     ·1· ·are.· My question had to do with what you told                ·1· · · · · A.· · Because it was all --
     ·2· ·customers.· Did -- do you think you -- you should             ·2· · · · · · · · MR. CEJAS:· Object to the form.
     ·3· ·go back to Arizona and clarify what's in that                 ·3· · · · · · · · THE WITNESS:· -- all used during this
     ·4· ·contract and say that you are not keeping hair                ·4· ·sample process.
     ·5· ·samples for a year?                                           ·5· · · · · Q.· · (BY MR. CORNFELD)· Whatever reason,
     ·6· · · · · A.· · If there's enough sample, we are                 ·6· ·it wasn't maintained for a year, was it?
     ·7· ·keeping hairs -- hair for a year.                             ·7· · · · · A.· · The original packaging was retained
     ·8· · · · · Q.· · Do you think you should go back to               ·8· ·with the label on it.
     ·9· ·Arizona and say we need to modify this contract and           ·9· · · · · Q.· · The specimen wasn't retained as -- as
     10· ·we've been violating the requirement that says that           10· ·the contract requires.· Do you believe that you
     11· ·the laboratory shall maintain negative test                   11· ·have -- that you should go back to Arizona and tell
     12· ·specimens -- excuse me, maintain all positive test            12· ·them we shouldn't have said maintain all positive
     13· ·specimens for a minimum of one year?                          13· ·test specimens, we should say maintain all positive
     14· · · · · · · · MR. CEJAS:· Object to the form.                  14· ·test specimens if there's any left over?
     15· · · · · · · · THE WITNESS:· No.· Because if there's            15· · · · · · · · MR. CEJAS:· Object to the form.· It's
     16· ·sample left, we retain it for a year, and we retain           16· ·argumentative, asked and answered multiple times
     17· ·the original packaging.                                       17· ·now.· One last time and we're moving on.
     18· · · · · Q.· · (BY MR. CORNFELD)· Do you think you              18· · · · · · · · THE WITNESS:· I've made it clear on
     19· ·should go back to Arizona and say that this -- we             19· ·what we retain and what's written down.
     20· ·did not mean to agree that we would maintain all              20· · · · · Q.· · (BY MR. CORNFELD)· I understand that.
     21· ·positive test specimens for a year?                           21· · · · · A.· · Yes.
     22· · · · · · · · MR. CEJAS:· Object to the form.                  22· · · · · Q.· · Do you believe -- do you think you
     23· · · · · · · · THE WITNESS:· Can you rephrase your              23· ·should go back to Arizona and say we shouldn't have
     24· ·question?                                                     24· ·agreed to that because that's not what --
     25· · · · · Q.· · (BY MR. CORNFELD)· Do you see that               25· · · · · A.· · No, I don't.

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     ·1· ·the agreement says maintain all positive test                 ·1· · · · · Q.· · -- we're doing, we need to modify?
     ·2· ·specimens for a minimum of one year?                          ·2· · · · · A.· · No, I don't.· No.
     ·3· · · · · A.· · I do.                                            ·3· · · · · Q.· · And -- and could you have collected
     ·4· · · · · Q.· · And that wasn't true, was it?                    ·4· ·more hair so that you would have enough left over?
     ·5· · · · · · · · MR. CEJAS:· Object to the form.                  ·5· · · · · A.· · Our procedures says to collect
     ·6· ·Asked and answered.                                           ·6· ·50 grams.· It is one of those that it's a balance
     ·7· · · · · · · · THE WITNESS:· My attorney indicated              ·7· ·between not wanting to take out a huge chunk of
     ·8· ·asked and answered.                                           ·8· ·somebody's hair, that people can find invasive
     ·9· · · · · Q.· · (BY MR. CORNFELD)· Go ahead and                  ·9· ·versus having enough to be able to test the
     10· ·answer.· You can answer.                                      10· ·specimen.· So we've chosen to have enough to be
     11· · · · · · · · MR. CEJAS:· You can answer it one                11· ·able to test it, but not so much that we have
     12· ·more time and then we'll move on.· But go ahead.              12· ·invasively, that we leave a huge hole in their
     13· · · · · · · · THE WITNESS:· Okay.· As I've                     13· ·hair --
     14· ·indicated, for hair tests, you have to take out               14· · · · · Q.· · And not --
     15· ·50 grams --                                                   15· · · · · A.· · -- in their head, to test.
     16· · · · · Q.· · (BY MR. CORNFELD)· No.                           16· · · · · Q.· · -- and not so -- you wouldn't put a
     17· · · · · A.· · -- to test that, and that's not                  17· ·big hole in the head if you took a little more.
     18· ·capable to be maintained.· But any other hair and             18· ·There wouldn't be a hole in the head.
     19· ·the original packaging and all of it, and the                 19· · · · · A.· · You're talking about this size,
     20· ·identifiers is maintained for one year.                       20· ·right?· And so to have -- to have -- this size.
     21· · · · · Q.· · Does it say maintain all positive                21· ·Okay?· Thank you.· An eraser -- a little bit larger
     22· ·test spec -- I'm sorry, read that.· Maintaining all           22· ·than an eraser size.· Yes, unfortunately, many
     23· ·positive test specimens, that is not true.                    23· ·people find it very invasive, so we collect enough
     24· ·Ms. Foulger's positive test specimen was not                  24· ·to be able to test the samples and not to be
     25· ·maintained for a minimum of a year.                           25· ·invasive.

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     ·1· · · · · Q.· · And not so that you could comply with            ·1· · · · · A.· · Uh-huh.
     ·2· ·the provision in your contract and the statement in           ·2· · · · · Q.· · Yes?
     ·3· ·your test report that you maintain all test                   ·3· · · · · A.· · Yes.
     ·4· ·specimens for a minimum of a year, correct?                   ·4· · · · · Q.· · And the report date of the lab report
     ·5· · · · · A.· · No.· I -- I've already asked and                 ·5· ·that's in her data pack is dated January 5th, 2022.
     ·6· ·answered that.                                                ·6· · · · · A.· · Yes.
     ·7· · · · · Q.· · And -- and you don't -- you don't                ·7· · · · · Q.· · All right.· Okay.· I want you to
     ·8· ·collect enough so that you can comply with that               ·8· ·assume that she received both of these.· First, she
     ·9· ·provision in the contract, correct?                           ·9· ·received Exhibit 17, and then she received a copy
     10· · · · · A.· · There are times that we do.                      10· ·of the report that's in her data pack.
     11· · · · · Q.· · But you -- not all specimens,                    11· · · · · A.· · Okay.
     12· ·correct?                                                      12· · · · · Q.· · The January 5th report.· Do you have
     13· · · · · A.· · Correct.                                         13· ·any idea why she got two inconsistent reports?
     14· · · · · Q.· · Handing you what's been marked as                14· · · · · A.· · The one that was reported on the 5th
     15· ·Exhibit 17 to this deposition.· It's a one-page               15· ·was updated.
     16· ·exhibit bearing the Bates number FOU00036, and it             16· · · · · Q.· · Do you have any idea why?
     17· ·is headed Aversys Account, Arizona, Maricopa                  17· · · · · A.· · I do not.· I'd need to look into
     18· ·County.· And it's a test report.                              18· ·that.
     19· · · · · A.· · Uh-huh.                                          19· · · · · Q.· · All right.· If you -- if you do that,
     20· · · · · Q.· · Do you have that?                                20· ·can you do that before we finish tomorrow?
     21· · · · · A.· · Yes.                                             21· · · · · A.· · I believe so.· I will try.
     22· · · · · Q.· · And do you see that that is another              22· · · · · Q.· · Okay.
     23· ·test report on Ms. Foulger's sample from December             23· · · · · A.· · Can I write on this or I'm not
     24· ·of 2021?                                                      24· ·supposed to write on exhibits?
     25· · · · · A.· · Which date in December 2021?· If we              25· · · · · Q.· · Yeah, I --
                                                             Page 130                                                             Page 132
     ·1· ·can clarify.· December 13, 2021, collected, yes.              ·1· · · · · · · · MR. CEJAS:· I made a note.· We're
     ·2· · · · · Q.· · And do you see that it bears the same            ·2· ·okay.
     ·3· ·accession number as on Exhibit 14, the data pack              ·3· · · · · · · · THE WITNESS:· Okay.· Sorry about
     ·4· ·from Ms. Foulger's test?                                      ·4· ·that.
     ·5· · · · · A.· · What's the -- is that 14?· Thank you.            ·5· · · · · · · · MR. PLEBAN:· Do you want a copy?
     ·6· · · · · Q.· · Yes.                                             ·6· · · · · · · · THE WITNESS:· That's okay.
     ·7· · · · · A.· · You said 14.· I...                               ·7· · · · · · · · MR. PLEBAN:· Here, just take this
     ·8· · · · · Q.· · Yeah.                                            ·8· ·one.
     ·9· · · · · A.· · Yes, I do.                                       ·9· · · · · · · · THE WITNESS:· Do you want me to
     10· · · · · Q.· · But it's a different test report,                10· ·update the sticker so there's no comment on here?
     11· ·correct?                                                      11· · · · · · · · MR. CEJAS:· No, no, that's fine.· Did
     12· · · · · A.· · It was reported a different time,                12· ·you draw on there?
     13· ·yes.                                                          13· · · · · · · · THE WITNESS:· All I wrote was -- I
     14· · · · · Q.· · And it has different results,                    14· ·started to say why -- I wrote on the back.
     15· ·correct?                                                      15· · · · · · · · MR. CORNFELD:· You wrote on the back?
     16· · · · · A.· · Yes.                                             16· · · · · · · · MR. PLEBAN:· It's fine.
     17· · · · · Q.· · This one's also positive for cocaine             17· · · · · · · · MR. CORNFELD:· You wrote on the back?
     18· ·and also supposedly positive for 6-MAM, correct?              18· ·It's okay.
     19· · · · · A.· · Yes.                                             19· · · · · · · · MR. PLEBAN:· We have it on the record
     20· · · · · Q.· · I want you to assume that Ms. Foulger            20· ·now, so we're good.
     21· ·received Exhibit 17.                                          21· · · · · · · · THE WITNESS:· Okay.
     22· · · · · A.· · Okay.                                            22· · · · · · · · MR. PLEBAN:· You can keep that one
     23· · · · · Q.· · With the -- with the report date --              23· ·for you if you want it.
     24· ·and you see that it has the report date December 2,           24· · · · · · · · THE VIDEOGRAPHER:· Ms. Delagnes, you
     25· ·2022?                                                         25· ·lost your mic.· It's over there.

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     ·1· · · · · · · · THE WITNESS:· Oh, sorry.· Thank you.   ·1· · · · · A.· · It would not be regular mail.· We
     ·2· · · · · · · · THE VIDEOGRAPHER:· It's swirling.      ·2· ·don't send out anything through U.S. mail.
     ·3· · · · · · · · MR. CORNFELD:· Let's go off the        ·3· · · · · Q.· · Oh, okay.
     ·4· ·record.· This would be a good time for lunch.       ·4· · · · · A.· · So it could have been either pulled
     ·5· · · · · · · · THE VIDEOGRAPHER:· Time is 12:29 p.m.  ·5· ·in our database or for -- especially in Maricopa,
     ·6· ·We are off the record.                              ·6· ·for the family departments specifically, a lot of
     ·7· · · · · · · · (A lunch break was taken.)             ·7· ·them are set up on direct results distribution,
     ·8· · · · · · · · THE VIDEOGRAPHER:· The time is         ·8· ·meaning we -- that the results were e-mailed out.
     ·9· ·1:29 p.m.· We are back on the record.               ·9· · · · · Q.· · Okay.· And as far as what reanalysis
     10· · · · · Q.· · (BY MR. CORNFELD)· I just -- I'd like  10· ·they did or whether they --
     11· ·to return just -- for a moment to the -- to the two 11· · · · · A.· · That's what I'm looking into.
     12· ·test reports on Katza Foulger's test.· You said     12· · · · · Q.· · Or whether they --
     13· ·that there was a second test because it was         13· · · · · A.· · That's what I said I would try and
     14· ·updated.· What did you mean by that?                14· ·get back to you by tomorrow.
     15· · · · · A.· · That's what I was looking into, that   15· · · · · Q.· · Okay.· Okay.
     16· ·I said I would follow up.                           16· · · · · · · · All right.· When -- when Averhealth
     17· · · · · Q.· · Oh.                                    17· ·enters into an agreement with a customer --
     18· · · · · A.· · You're hoping that I would have an     18· · · · · A.· · Uh-huh.
     19· ·answer by tomorrow.· So obviously it shows that it 19· · · · · Q.· · -- you expect the customer to live
     20· ·was originally reported on the 2nd, right?· So that 20· ·up to that agreement, right?
     21· ·time frame, and it's what you showed me in          21· · · · · A.· · What do you mean we "expect the
     22· ·Exhibit 17 shows it was reported on 1/2, and then   22· ·customer to live up to that agreement"?
     23· ·it was re-reported on 1/5, if I have -- what was    23· · · · · Q.· · That they're going to abide by the
     24· ·the other document number?                          24· ·provisions of the agreement, do what they said they
     25· · · · · · · · MR. PLEBAN:· 14?                       25· ·would do.

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     ·1· · · · · Q.· · (BY MR. CORNFELD)· Yeah.              ·1· · · · · A.· · Yes.
     ·2· · · · · A.· · 14?· Yeah.· So it was reported,       ·2· · · · · Q.· · Okay.· And -- and of course the
     ·3· ·pulled back, and re-reported.· So I'm trying to    ·3· ·customer would expect Averhealth to do the same,
     ·4· ·figure out why.                                    ·4· ·correct?
     ·5· · · · · Q.· · Okay.· And --                         ·5· · · · · A.· · Yes.
     ·6· · · · · A.· · That's what I'm looking into.         ·6· · · · · Q.· · All right.· And -- and you have no
     ·7· · · · · Q.· · Okay.· And how it was re-reported, do ·7· ·question about that, that the customer would expect
     ·8· ·you --                                             ·8· ·Averhealth to live up to its agreement?
     ·9· · · · · A.· · How it was re-reported?· So the first ·9· · · · · A.· · Yes.
     10· ·one that you showed me has both cocaine and 6-MAM, 10· · · · · Q.· · And is it your view that Averhealth
     11· ·right?· Those were the drugs on there.             11· ·does live up to its agreements?
     12· · · · · Q.· · I'm sorry, I didn't mean the results, 12· · · · · A.· · Yes.
     13· ·but what they did to re-report it?                 13· · · · · Q.· · Despite what we talked about this
     14· · · · · A.· · They would release it back through    14· ·morning?
     15· ·whoever -- however the test results are set up in  15· · · · · A.· · Yes.
     16· ·the database.· So I don't know if it was sent      16· · · · · Q.· · All right.· When -- when you do tests
     17· ·through, if it was just pulled on our database     17· ·for a court or a family agency or someone like that
     18· ·itself, or if it was set up on direct results      18· ·and somebody comes in for the first time, and the
     19· ·distribution, so it would have been e-mailed out.  19· ·result is positive, you know that very often that
     20· ·I don't know, I'd have to go back and look at her  20· ·means they're going to have to come back for more
     21· ·profile.                                           21· ·tests?
     22· · · · · Q.· · Okay.· I -- I don't remember -- I     22· · · · · A.· · Don't -- I don't know that for sure.
     23· ·mean, she received -- Mrs. Foulger received both   23· · · · · Q.· · You --
     24· ·test reports, and I don't recall if it was e-mail  24· · · · · A.· · I don't set their testing, how often
     25· ·or regular mail.                                   25· ·they test.· That's all established by the customer.

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     ·1· · · · · Q.· · Sure, sure.· But you -- you                        ·1· · · · · A.· · That's not true --
     ·2· ·understand that that will happen, correct?                      ·2· · · · · Q.· · It -- it is.
     ·3· · · · · A.· · It doesn't always happen.· Again,                  ·3· · · · · A.· · -- we provided test results for
     ·4· ·it's the -- it's up to our customer to set the                  ·4· ·everything, because there was questions about
     ·5· ·frequency of how they're tested.                                ·5· ·no-shows.
     ·6· · · · · Q.· · Okay.· I -- I didn't ask whether it                ·6· · · · · Q.· · You -- you provided -- no, you
     ·7· ·always happens, but you understand it does happen?              ·7· ·provided the test reports.· We didn't -- if there's
     ·8· · · · · A.· · Sure.                                              ·8· ·a document called test history --
     ·9· · · · · Q.· · Okay.                                              ·9· · · · · A.· · There is not a document.
     10· · · · · A.· · Yes, I guess, not sure.                            10· · · · · Q.· · Okay.
     11· · · · · Q.· · Yes.· Okay.· Yes.· And for example,                11· · · · · A.· · There's not a document, but it would
     12· ·it happened with both Mr. Shnitzer and                          12· ·show that the same day -- she actually had no-shows
     13· ·Mrs. Foulger, they went in for tests the first                  13· ·even before she started doing urine, but she was
     14· ·time, and compared to a cutoff of 100 rather than               14· ·doing urine and hair simultaneously.
     15· ·500, their tests were positive and they ended up                15· · · · · Q.· · She had one hair test, and then if
     16· ·having to go back for tests every week for months,              16· ·she were to testify that the Court said because of
     17· ·even more than a year.                                          17· ·that, you've got to go back weeks -- for weeks and
     18· · · · · A.· · I don't believe that's why they had                18· ·weeks, months, that would mean that because she had
     19· ·to test that frequently.· I believe that they would             19· ·a positive test, she ended up having to do a lot
     20· ·have tested that frequently regardless of what that             20· ·more tests.
     21· ·first test result was.                                          21· · · · · · · · MR. CEJAS:· Object to form.· Assumes
     22· · · · · Q.· · You understand they initially had                  22· ·facts not in evidence.
     23· ·hair tests, and then they had urine tests?                      23· · · · · · · · Subject to that, go ahead.
     24· · · · · A.· · I believe, actually, in some of them,              24· · · · · · · · THE WITNESS:· Okay.· If I recall what
     25· ·they were done simultaneously.· So there was both a 25· ·I read in your Complaint, it was that she didn't

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     ·1· ·hair and a urine collected at the same time.                    ·1· ·show up for tests, which is why the courts ordered
     ·2· · · · · Q.· · Not -- not for Mr. Foulger -- excuse               ·2· ·her for more testing.
     ·3· ·me, Mr. Shnitzer, and I don't believe for                       ·3· · · · · Q.· · (BY MR. CORNFELD)· That was after she
     ·4· ·Mrs. Foulger, they ended up having to do urine                  ·4· ·had the positive hair test and she was ordered to
     ·5· ·tests later.                                                    ·5· ·do more tests.· And Mr. Shnitzer only had urine
     ·6· · · · · A.· · I believe in -- in Kat -- sorry,                   ·6· ·tests after he had the two positive hair tests.
     ·7· ·what -- her --                                                  ·7· · · · · · · · In any event, you know that when
     ·8· · · · · Q.· · Mrs. Foulger?                                      ·8· ·you -- when you reduced his -- the cutoff for
     ·9· · · · · A.· · Yeah.· In her testing, she did both                ·9· ·cocaine in his hair from 500 to 100 resulting in
     10· ·simultaneously.                                                 10· ·those positive -- those tests being positive rather
     11· · · · · Q.· · Okay.· If she were to testify that                 11· ·than negative, if they -- if the cutoff had been
     12· ·that's what the Court said, you got a positive                  12· ·500, Averhealth was able to do dozens more tests on
     13· ·test, now you've got to keep coming back for more,              13· ·him?
     14· ·that would mean that because she had a positive                 14· · · · · A.· · I don't know that --
     15· ·test, she had to keep doing tests for --                        15· · · · · · · · MR. CEJAS:· Objection --
     16· · · · · A.· · If we look at her test history                     16· · · · · · · · THE WITNESS:· -- to be the case.
     17· ·though --                                                       17· · · · · Q.· · (BY MR. CORNFELD)· Well, you know
     18· · · · · Q.· · -- for months.                                     18· ·that they did do dozens more tests on him, correct?
     19· · · · · A.· · Can we pull up her test history? I                 19· · · · · A.· · I don't know that is because of his
     20· ·am almost positive she had urine tests done                     20· ·positive hair test.
     21· ·simultaneously to her hair test, and her frequently 21· · · · · Q.· · Okay.· If he were to testify that
     22· ·was set to that.                                                22· ·that's what the Court did, then that would be
     23· · · · · Q.· · We -- we have not received what                    23· ·because of his positive hair tests, that he had to
     24· ·you're referring to as her test history.· All we                24· ·do the urine test.· And you told us that there are
     25· ·received were the positive tests you did.                       25· ·cases where you get a -- you get an initial

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     ·1· ·positive test, and that means you've got to keep                 ·1· ·and benzoylecgonine.
     ·2· ·going back for more and more tests.                              ·2· · · · · Q.· · True.· But if an expert were to say
     ·3· · · · · A.· · It's --                                             ·3· ·looking at the combination, as long as the cocaine
     ·4· · · · · · · · MR. CEJAS:· Objection --                            ·4· ·is under 500, it doesn't indicate use, would you
     ·5· · · · · Q.· · (BY MR. CORNFELD)· And Averhealth --                ·5· ·disagree with that?
     ·6· ·and Averhealth is -- then gets to do more tests --               ·6· · · · · A.· · No, I don't know that -- I don't -- I
     ·7· · · · · · · · MR. CEJAS:· Object to --                            ·7· ·don't agree with that.· Sorry, I disagree with
     ·8· · · · · Q.· · (BY MR. CORNFELD)· -- correct?                      ·8· ·that.
     ·9· · · · · · · · MR. CEJAS:· Object to form.· Assumes                ·9· · · · · Q.· · Tell me what literature supports
     10· ·facts not in evidence, it's compound.                            10· ·that.
     11· · · · · · · · THE WITNESS:· As I've indicated,                    11· · · · · A.· · There are people that use cocaine
     12· ·Averhealth does not set the testing, the standards, 12· ·that test below a hundred.
     13· ·the frequency that are done.· Correct.                           13· · · · · Q.· · Tell me what literature supports the
     14· · · · · Q.· · (BY MR. CORNFELD)· But you know that                14· ·proposition that a cocaine test, regardless of
     15· ·that happens.· You told me you know that that                    15· ·benzoylecgonine, a cocaine result under 500
     16· ·happens.                                                         16· ·indicates cocaine use.
     17· · · · · A.· · Yes.                                                17· · · · · A.· · It's just a known fact that people
     18· · · · · Q.· · Okay.· And when that happens, if a                  18· ·who use cocaine and you test the specimen, that it
     19· ·test -- initial test is positive because the cutoff              19· ·-- that that positive test result, if they use
     20· ·was lowered, that means Averhealth will get a lot                20· ·cocaine, right, depending upon when they used the
     21· ·more revenue from doing a lot more tests, correct?               21· ·cocaine and when the sample was collected,
     22· · · · · · · · MR. CEJAS:· Object to the form.                     22· ·there's -- their samples are going to be below 500.
     23· ·Assumes facts not in evidence.                                   23· · · · · Q.· · Tell me what studies show that.
     24· · · · · · · · THE WITNESS:· Can I look at -- can I                24· · · · · A.· · It's analytically just possible.
     25· ·go back to Mr. Foulger's [sic] result and look at                25· ·Right, so --

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     ·1· ·something?                                          ·1· · · · · Q.· · That didn't -- can you cite me a
     ·2· · · · · · · · MR. CEJAS:· Go ahead.                  ·2· ·study --
     ·3· · · · · Q.· · (BY MR. CORNFELD)· Well, what -- what  ·3· · · · · A.· · Can I explain what I'm trying to say
     ·4· ·is it you would like to look at?                    ·4· ·regardless of a study?· I use cocaine today, right?
     ·5· · · · · A.· · I'd like to look at -- I believe he    ·5· ·I use it multiple times.· I'm going to be positive
     ·6· ·was positive for both cocaine and benzoylecgonine, ·6· ·for cocaine.· Over time, that amount is going to
     ·7· ·and the benzoylecgonine was at the cutoffs that     ·7· ·continue to degrade.· It will test positive between
     ·8· ·SoFT [sic] required as established cutoffs.· I just ·8· ·500 and 100 for a portion of that time, if you took
     ·9· ·would like to look at --                            ·9· ·my hair every single day.· I used cocaine and it's
     10· · · · · Q.· · I will tell you that is correct on     10· ·going to be below 500.
     11· ·the first test.                                     11· · · · · Q.· · Tell me what studies or what
     12· · · · · A.· · Okay.                                  12· ·literature support that.
     13· · · · · Q.· · Not the second test.                   13· · · · · A.· · The -- if you look at anything -- if
     14· · · · · A.· · Okay.· So on his first test, we        14· ·you look at the half-life of drugs and how they
     15· ·followed what you had presented in evidence as      15· ·eliminate out of your body.
     16· ·appropriate cutoff level for benzoylecgonine, and   16· · · · · Q.· · What --
     17· ·he was above that cutoff.· So it doesn't matter     17· · · · · A.· · They eliminate over time.
     18· ·what -- if -- if you're making the statement that   18· · · · · Q.· · What -- what studies show that over
     19· ·we picked the 100 versus the 500.· We -- correct?   19· ·time, cocaine use can result in a cocaine level in
     20· · · · · Q.· · If -- if an expert were to testify     20· ·hair under 500?
     21· ·that as long as the cocaine is below 500, it        21· · · · · A.· · I would have to look those up.· But
     22· ·indicates that there's no use, you're not qualified 22· ·I'll find some for you.
     23· ·to disagree with that, are you?                     23· · · · · Q.· · Okay.· All right.· I'd like to turn
     24· · · · · A.· · You can't just look at cocaine         24· ·to the topic of chain of custody.
     25· ·itself, you have to look at combination of cocaine  25· · · · · A.· · Okay.

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     ·1· · · · · Q.· · What is chain of custody?                          ·1· ·reporting, ensuring legal defensibility that a
     ·2· · · · · A.· · Chain of custody is the record to                  ·2· ·valid sample is collected, appropriately tested,
     ·3· ·show how -- who touched a sample throughout the                 ·3· ·and accurately reported.· In other words, you
     ·4· ·entire process.                                                 ·4· ·always know the status of the specimen.
     ·5· · · · · Q.· · The entire process beginning with                  ·5· · · · · · · · Do you recognize that?
     ·6· ·collection?                                                     ·6· · · · · A.· · Yes.
     ·7· · · · · A.· · Uh-huh.                                            ·7· · · · · Q.· · And that's a true statement?
     ·8· · · · · Q.· · Yes?                                               ·8· · · · · A.· · Yes.
     ·9· · · · · A.· · Yes.· I'm sorry.                                   ·9· · · · · Q.· · So if the chain of custody from
     10· · · · · Q.· · Through -- through the test report?                10· ·collection to the reporting of test results is not
     11· · · · · A.· · Correct, yes.                                      11· ·preserved, the corollary would be that you can't
     12· · · · · Q.· · And even beyond the test report?                   12· ·defend the test result in court, correct?
     13· · · · · A.· · There are times that, yes, there's                 13· · · · · A.· · That's a very vague statement.· Can
     14· ·documentation about when the sample was destroyed. 14· ·you be more specific?· Do you have a specific cite
     15· · · · · Q.· · Okay.· I take it there can be, but                 15· ·sample you -- or a specific instance you're trying
     16· ·not necessarily.                                                16· ·to...
     17· · · · · A.· · Negatives are not recorded after the               17· · · · · Q.· · Well, I'm just taking it from the
     18· ·fact of when it was destroyed.                                  18· ·statement you had on your website saying that chain
     19· · · · · Q.· · Okay.· Are positives?                              19· ·of custody being preserved from sample collection
     20· · · · · A.· · Yes.                                               20· ·and shipping through laboratory, and analysis and
     21· · · · · Q.· · And is there a chain-of-custody                    21· ·results reporting ensures legal defensibility that
     22· ·document?                                                       22· ·a valid sample is collected, appropriately tested,
     23· · · · · A.· · There is.· We use an electronic chain              23· ·and accurately reported.
     24· ·of custody, so there are -- within our database, it             24· · · · · · · · That was from your web page.
     25· ·shows that chain of custody.                                    25· · · · · A.· · Okay.

                                                               Page 146                                                              Page 148
     ·1· · · · · Q.· · Okay.· And is that the                             ·1· · · · · Q.· · So the -- so the corollary would be
     ·2· ·chain-of-custody document?                                      ·2· ·that if you don't do that, then you haven't ensured
     ·3· · · · · A.· · Yes.                                               ·3· ·legal defensibility, you can't defend the results
     ·4· · · · · Q.· · All right.· And would it be a true                 ·4· ·in court, correct?
     ·5· ·statement that the chain-of-custody document is                 ·5· · · · · A.· · Without specifics, that's an overly
     ·6· ·used to keep track of a specimen throughout the                 ·6· ·broad statement I would like to understand.
     ·7· ·drug-testing process.· It tracks the specimen from              ·7· · · · · Q.· · In what instance, if you didn't have
     ·8· ·the moment the donor provides the specimen to the               ·8· ·a chain of custody, a contemporaneous chain of
     ·9· ·collector until the result is reported back to the              ·9· ·custody from collection to test reporting, could
     10· ·client.· Averhealth captures and tracks its chain               10· ·you still defend the test results in court?
     11· ·of custody documentation electronically.                        11· · · · · A.· · Again, very broad.· Can you give me a
     12· · · · · A.· · Yes.                                               12· ·specific question?
     13· · · · · Q.· · Okay.· I was reading that from                     13· · · · · Q.· · I'm asking you what -- you're
     14· ·Dr. Klette --                                                   14· ·suggesting there are examples where you --
     15· · · · · A.· · Klette.                                            15· · · · · A.· · I'm not suggesting there are
     16· · · · · Q.· · Klette's report?                                   16· ·examples.· I'm saying that's an overly broad
     17· · · · · A.· · Klette, yes.                                       17· ·statement, so...
     18· · · · · Q.· · K-L-E-T-T-E?                                       18· · · · · Q.· · So my question now is:· In what
     19· · · · · A.· · Yes.· Dr. Klette.                                  19· ·instances could you be able to defend the test
     20· · · · · Q.· · I was able to guess right on                       20· ·result in court without a contemporaneous
     21· ·Delagnes, but not that.                                         21· ·chain-of-custody document as we've described?
     22· · · · · · · · All right.· And -- and this is a                   22· · · · · A.· · And what do you mean by
     23· ·statement I got from Averhealth website:· Chain of              23· ·contemporaneous?
     24· ·custody is preserved from sample collection and                 24· · · · · Q.· · With the results -- you know, putting
     25· ·shipping through laboratory analysis and results                25· ·down at the time things happen.· That's how a chain

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     ·1· ·of custody works, right?                                      ·1· ·went back into the -- to the vehicle?
     ·2· · · · · A.· · Yes.                                             ·2· · · · · A.· · We'd have to watch the video again.
     ·3· · · · · Q.· · Okay.                                            ·3· ·I don't believe that it was contemporaneous, but
     ·4· · · · · A.· · Okay.                                            ·4· ·also again, I don't know what was in the water
     ·5· · · · · Q.· · So what -- what kind of circumstances            ·5· ·bottle.
     ·6· ·could there be where you could defend the result in           ·6· · · · · Q.· · Okay.· Did you -- did you notice that
     ·7· ·court without a contemporaneous chain-of-custody              ·7· ·when she opened up the water bottle, you could hear
     ·8· ·document from collections to test report?                     ·8· ·a click, demonstrating that it was a brand new
     ·9· · · · · A.· · I don't know how to answer that.                 ·9· ·water bottle?
     10· · · · · Q.· · Can you think of anything?                       10· · · · · A.· · That doesn't mean that there couldn't
     11· · · · · A.· · No.                                              11· ·have been something injected into it.
     12· · · · · Q.· · Have you ever defended a test result             12· · · · · Q.· · You think she injected something
     13· ·without a contemporaneous chain of custody from               13· ·into -- into the water bottle?
     14· ·collection to test reporting?                                 14· · · · · A.· · I don't know what was in the water
     15· · · · · A.· · Not that I'm aware.                              15· ·bottle.
     16· · · · · · · · MR. PLEBAN:· That's your copy.                   16· · · · · Q.· · Have you -- have you investigated,
     17· ·That's what I'm here for.                                     17· ·assuming that it was pure water, how it could have
     18· · · · · · · · MR. CORNFELD:· Thanks.                           18· ·been that Averhealth reported the result as
     19· · · · · · · · MR. PLEBAN:· Big stuff.                          19· ·fentanyl?
     20· · · · · · · · THE WITNESS:· You don't want to give             20· · · · · · · · MR. CEJAS:· Object to the form.
     21· ·me the tabbed one?                                            21· ·Assumes facts not in evidence.
     22· · · · · Q.· · (BY MR. CORNFELD)· We'll go through              22· · · · · · · · Go ahead.
     23· ·it anyway.· It's just to help me.· And you can see            23· · · · · · · · THE WITNESS:· No.
     24· ·I really need it.                                             24· · · · · Q.· · (BY MR. CORNFELD)· Weren't you
     25· · · · · A.· · Thank you.                                       25· ·curious?

                                                             Page 150                                                             Page 152
     ·1· · · · · Q.· · I've handed you what's been marked as            ·1· · · · · A.· · No.
     ·2· ·Exhibit 18, which has the number -- the Bates                 ·2· · · · · Q.· · You don't give the slightest credence
     ·3· ·number 10155 on the first page and is titled: T               ·3· ·to the fact that this was pure water that she sent
     ·4· ·Padilla data pack, with an accession number and               ·4· ·in?
     ·5· ·collection date 1/13/2021.                                    ·5· · · · · A.· · I do not.
     ·6· · · · · · · · Can you confirm that this is the data            ·6· · · · · Q.· · You think she made it up and she's
     ·7· ·pack for Tiffani Padilla's test for a sample                  ·7· ·just lying?
     ·8· ·collected on January 13, 2021?                                ·8· · · · · A.· · I believe that the specimen that was
     ·9· · · · · A.· · Yes.                                             ·9· ·received at the laboratory -- and one thing that we
     10· · · · · Q.· · Do you recognize Tiffani Padilla as              10· ·cannot see on the video is the actual accession
     11· ·the plaintiff who stated that she sent a water                11· ·number of that sample that came in.· Right?· You
     12· ·sample for testing at Averhealth and the result was           12· ·watch that video, at no point in time does it show
     13· ·reported positive for fentanyl?                               13· ·that on that label, that that accession number, it
     14· · · · · A.· · Yes.· I am aware that she alleged                14· ·was 13167535.· Not once in the video did she show
     15· ·that.                                                         15· ·that.
     16· · · · · Q.· · Have you seen her video?                         16· · · · · Q.· · You -- you read off the accession
     17· · · · · A.· · Yes.                                             17· ·number for the sample of January 13th, 2021,
     18· · · · · Q.· · Do you have an explanation for how               18· ·correct?
     19· ·that could have happened?                                     19· · · · · A.· · Yes.· 13167535.
     20· · · · · A.· · I have no idea what was in the water             20· · · · · Q.· · That -- you know that's not the
     21· ·bottle.                                                       21· ·accession number of the water sample that was
     22· · · · · Q.· · Did you -- did you notice that her               22· ·reported back as fentanyl?
     23· ·video was nonstop from the time she was in her                23· · · · · A.· · Okay.· That's the one that you gave
     24· ·vehicle before the test until the time she left --            24· ·me in this.
     25· ·until the time she left the sample location and               25· · · · · Q.· · I know.· I said this was not the one.

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     ·1· · · · · A.· · Okay.· I thought that you said that              ·1· ·Assumes facts not in evidence.
     ·2· ·it was.                                                       ·2· · · · · · · · Go ahead.
     ·3· · · · · Q.· · Do you have any idea where -- whether            ·3· · · · · · · · THE WITNESS:· All I can do -- attest
     ·4· ·Tiffani Padilla even knew what an accession number            ·4· ·to is the sample that was received at our
     ·5· ·was so that she would know that to prove to your              ·5· ·laboratory, that went through proper chain of
     ·6· ·satisfaction that it was the same sample that was             ·6· ·custody processes, that caused us to test the
     ·7· ·reported with fentanyl, that she should somehow               ·7· ·specimen and report it back.
     ·8· ·video that accession number?                                  ·8· · · · · Q.· · (BY MR. CORNFELD)· So are you saying
     ·9· · · · · A.· · I think that she would know that                 ·9· ·that she's -- she's committing a fraud on the Court
     10· ·there's a number on the label, and that's pretty              10· ·when she filed a complaint that -- that said it was
     11· ·critical to tying specimens together.                         11· ·pure water?
     12· · · · · Q.· · You know that she did the video on               12· · · · · A.· · I'm not saying she's committing
     13· ·January 20th and the date shows up on the video?              13· ·fraud.· I'm telling you what -- what happened.· We
     14· · · · · A.· · Okay.                                            14· ·received a sample with an accession number that we
     15· · · · · Q.· · Which is the -- which is the -- the              15· ·screened, confirmed, and reported back to the
     16· ·collection date of the sample that was reported               16· ·Court.
     17· ·back as fentanyl?                                             17· · · · · Q.· · Has Averhealth ever reported a false
     18· · · · · A.· · Okay.                                            18· ·positive?
     19· · · · · Q.· · So doesn't that not provide any                  19· · · · · A.· · Yes.
     20· ·credence to you to -- so that you'll say, oh, no,             20· · · · · Q.· · And so you're just assuming that this
     21· ·Mrs. Padilla is not lying about this, the fact that           21· ·was not a false positive, and that somehow she
     22· ·she hasn't seen her children in years and was                 22· ·doesn't submit pure water; is that right?
     23· ·really upset about it, so did this test to prove              23· · · · · A.· · I'm saying that we received a
     24· ·that she was not taking drugs?                                24· ·specimen.· I've -- I've answered this multiple
     25· · · · · · · · MR. CEJAS:· Object to the form.                  25· ·times.· We received a specimen, through putting the

                                                             Page 154                                                              Page 156
     ·1· · · · · Q.· · (BY MR. CORNFELD)· Would it give you             ·1· ·data packs together, right, obviously through
     ·2· ·the slightest credence?                                       ·2· ·the -- pulling the information in the data packs
     ·3· · · · · · · · MR. CEJAS:· Object to the form.                  ·3· ·that we've pulled all the information and reviewed
     ·4· · · · · · · · THE WITNESS:· We received a specimen             ·4· ·it.· We show the specimen with an accession number
     ·5· ·from this collection site.· We did an amino assay             ·5· ·that we reported positive as fentanyl was received,
     ·6· ·screen, we did an LC-MS confirmation.· We found               ·6· ·went through our amino assay screening, went
     ·7· ·fentanyl in both the screen and the confirmation              ·7· ·through our LC-MS confirmation, found fentanyl in
     ·8· ·and reported the test result back to Michigan.                ·8· ·both of those, and reported the result back to the
     ·9· · · · · Q.· · (BY MR. CORNFELD)· I understand.                 ·9· ·customer.
     10· ·That wasn't my question.                                      10· · · · · Q.· · Wasn't my question.· Are -- you are
     11· · · · · A.· · Okay.· I don't understand your                   11· ·assuming that there was no mistake and it was not a
     12· ·question.                                                     12· ·false positive?
     13· · · · · Q.· · My question is:· You're not giving               13· · · · · A.· · I'm assuming --
     14· ·her the slightest credence.· You're saying she's              14· · · · · Q.· · Is that right?
     15· ·making this up, she's going to commit a fraud on              15· · · · · A.· · -- that there was no mistake at the
     16· ·the Court by saying she submitted water when it     16· ·laboratory of testing the specimen, yes.
     17· ·wasn't water, even though she videotaped the sample 17· · · · · Q.· · Okay.· Let's look at the chain of
     18· ·from the moment -- or videotaped the event from the 18· ·custody in Exhibit 18.
     19· ·moment she left the car until after she left the              19· · · · · A.· · Okay.· Exhibit 18.· So this is not
     20· ·sample site -- sample selection site?                         20· ·the water bottle specimen?
     21· · · · · · · · MR. CEJAS:· Object to the form.                  21· · · · · Q.· · No.
     22· · · · · Q.· · (BY MR. CORNFELD)· Without -- without            22· · · · · A.· · Okay.
     23· ·stopping, and that you can hear the click on the              23· · · · · Q.· · So the chain of custody starts on
     24· ·bottle when she opened it up?                                 24· ·page 10157, and I just want to ask about a few
     25· · · · · · · · MR. CEJAS:· Object to the form.                  25· ·items on it.· This is the chain of custody, it

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     ·1· ·starts on 10157 and goes through 10162.· That's the              ·1· ·came into the collection site, then they would
     ·2· ·chain-of-custody document.                                       ·2· ·check this client in.· So that's what that is
     ·3· · · · · A.· · Okay.                                               ·3· ·showing you here is Floyd W. changed it from the
     ·4· · · · · Q.· · Yes?                                                ·4· ·order being created to actually checking in that
     ·5· · · · · A.· · Yes.                                                ·5· ·event.
     ·6· · · · · Q.· · Okay.· And the first page is                        ·6· · · · · Q.· · Okay.· And -- but the point of my
     ·7· ·actually -- it starts, it looks like, before she                 ·7· ·question is:· These third-party collectors, they
     ·8· ·came in to give her specimen, correct?                           ·8· ·had access to Averhealth's computer system and
     ·9· · · · · A.· · That is correct.                                    ·9· ·input whatever was occurring into that computer
     10· · · · · Q.· · What -- what is shown on the first                  10· ·system, and then it got recorded in the
     11· ·page?                                                            11· ·chain-of-custody document, correct?
     12· · · · · A.· · That is shown that at one o'clock in                12· · · · · A.· · Correct.
     13· ·the morning, Ms. Padilla was selected to have a                  13· · · · · Q.· · All right.· And so the next item, the
     14· ·collection event.· So this is the order being                    14· ·third item on the second page of the
     15· ·created in the sample -- in the -- in the database.              15· ·chain-of-custody document, Exhibit 18, January 13,
     16· · · · · Q.· · All right.· And if we look at --                    16· ·2021, at 17:58 by Floyd W., that shows status
     17· ·and -- strike that.                                              17· ·updated from scheduled to collected; is that right?
     18· · · · · · · · The -- the second column for each                   18· · · · · A.· · Yes.
     19· ·item on the first page of the chain-of-custody                   19· · · · · Q.· · And so that is a record of when
     20· ·document, it says:· System.                                      20· ·Mrs. Padilla actually turned her sample in and it
     21· · · · · · · · What does that mean?                                21· ·was collected at the site, correct?
     22· · · · · A.· · That's the system creating the random               22· · · · · A.· · That's the time that she showed up at
     23· ·order within the database.                                       23· ·the collection site and they created that event
     24· · · · · Q.· · All right.· And then on the second                  24· ·with -- actually had the accession number be
     25· ·page of the chain-of-custody document, the second                25· ·printed on a label.

                                                                Page 158                                                             Page 160
     ·1· ·line, January 13, 2021, at 17:57 or 5:57 p.m., it                ·1· · · · · Q.· · Okay.· Is that -- is that the -- when
     ·2· ·says Floyd W.                                                    ·2· ·it says collected, which makes me think that that
     ·3· · · · · · · · Who is Floyd W.?                                    ·3· ·means that the sample was collected.
     ·4· · · · · A.· · That would have been a collector at                 ·4· · · · · A.· · Within this time frame, it's being
     ·5· ·Services of Esperenza (Services of Hope).                        ·5· ·collected, yes.
     ·6· · · · · Q.· · Okay.· And you're looking for -- to                 ·6· · · · · Q.· · Okay.· So this is a record when he
     ·7· ·find Services of Hope, you were looking at the test              ·7· ·gets the sample from her, he -- he types in or
     ·8· ·report that says that's where the collection                     ·8· ·presses a button or something, and it says status
     ·9· ·occurred, correct?                                               ·9· ·updated from scheduled to collected, correct?
     10· · · · · A.· · Yes, that's correct.                                10· · · · · A.· · Yes.
     11· · · · · Q.· · Okay.· And that was -- that's a -- a                11· · · · · Q.· · All right.· And then two lines down,
     12· ·third-party collector that was -- Floyd W. was not               12· ·January 13th, 2021, at 19:08, Floyd W. enters Panel
     13· ·an employee of Averhealth?                                       13· ·added to Shipment - Finalize.
     14· · · · · A.· · Correct.                                            14· · · · · · · · Do you see that?
     15· · · · · Q.· · And that's how Michigan worked at the               15· · · · · A.· · I do, yes.
     16· ·time, right?· Collections were done by third                     16· · · · · Q.· · What does that mean?
     17· ·parties such as this organization?                               17· · · · · A.· · That means that that particular
     18· · · · · A.· · Either by third parties, by case                    18· ·specimen was added into a shipment, that shipment
     19· ·managers themselves, or we also had some employees 19· ·was changed to be finalized.· So all the specimens
     20· ·that did work -- that did some collections for us.               20· ·that were collected that day at Services of
     21· · · · · Q.· · Okay.· But whoever it was, they would               21· ·Esperenza were finalized in a shipment.
     22· ·input the event into the computer system to record               22· · · · · Q.· · Okay.· And then the next item, which
     23· ·what was happening for the chain of custody?                     23· ·is that same day, 19:09, or 7:09 p.m., the status
     24· · · · · A.· · They would -- well, the event was                   24· ·is updated from collected to shipped.· Does that
     25· ·created in the system, and then when the individual              25· ·mean that that is when the specimen was shipped to

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     ·1· ·St. Louis?                                                      ·1· ·between the 13th and the 15th.
     ·2· · · · · A.· · Correct.                                           ·2· · · · · Q.· · Why it was two days?
     ·3· · · · · Q.· · All right.· And if we go down about                ·3· · · · · A.· · Yes.
     ·4· ·three lines, we have -- we're two days later,                   ·4· · · · · Q.· · Okay.· Was that true both for when
     ·5· ·January 15, 2021, at 8:38 a.m., and now the person              ·5· ·you were using FedEx and when you were using UPS?
     ·6· ·who's entering it is T. Roberts.                                ·6· · · · · A.· · Yes, there was daily -- there was
     ·7· · · · · · · · Do you see that?                                   ·7· ·daily pickups --
     ·8· · · · · A.· · Yep.                                               ·8· · · · · Q.· · Okay.
     ·9· · · · · Q.· · Who is T. Roberts?                                 ·9· · · · · A.· · -- so they showed up at a specific
     10· · · · · A.· · She is a sessioner who received the                10· ·time frame.
     11· ·package and scanned that package in and changed it 11· · · · · Q.· · So it should be -- it should arrive
     12· ·from shipped to delivered at the laboratory.                    12· ·in St. Louis a day or perhaps two days after --
     13· · · · · Q.· · Okay.· And that -- and that's why                  13· ·after it was shipped; is that right?
     14· ·the -- this item in the chain-of-custody document               14· · · · · A.· · Or on a weekend, it would be longer
     15· ·says status updated from shipped to delivered?                  15· ·than that.
     16· · · · · A.· · That is correct.· Yes.                             16· · · · · Q.· · Okay.· So it could be maybe three
     17· · · · · Q.· · All right.· And T. Roberts, is that                17· ·days --
     18· ·Toshla Roberts?                                                 18· · · · · · · · MR. JENKINS:· Whoa, whoa, whoa, whoa,
     19· · · · · A.· · Yes, it is.                                        19· ·whoa, whoa, whoa, whoa.
     20· · · · · Q.· · And she's an employee at the                       20· · · · · · · · THE WITNESS:· Are you okay?
     21· ·laboratory in St. Louis?                                        21· · · · · · · · MR. CORNFELD:· Let's go off the
     22· · · · · A.· · Yes.                                               22· ·record.
     23· · · · · Q.· · Has she ever been employed in                      23· · · · · · · · THE VIDEOGRAPHER:· Time is 2:02.· We
     24· ·Michigan?                                                       24· ·are off the record.
     25· · · · · A.· · No.· Not that I'm aware of, I should               25· · · · · · · · (A discussion was held off the

                                                               Page 162                                                             Page 164
     ·1· ·say.                                                            ·1· ·record.)
     ·2· · · · · Q.· · Okay.· Okay.· And then at the bottom               ·2· · · · · · · · THE VIDEOGRAPHER:· The time is
     ·3· ·of the second page of the chain-of-custody document             ·3· ·2:03 p.m.· We are back on the record.
     ·4· ·-- before I get to that.                                        ·4· · · · · Q.· · (BY MR. CORNFELD)· Okay.· Go ahead.
     ·5· · · · · A.· · Yes.                                               ·5· · · · · A.· · I answered the question.· I said it
     ·6· · · · · Q.· · How are items shipped from Michigan                ·6· ·could be more than three days if it was collected
     ·7· ·to the laboratory in St. Louis?                                 ·7· ·on a Friday.
     ·8· · · · · A.· · We were at FedEx and we moved to UPS,              ·8· · · · · Q.· · Saturday, Sunday -- strike that.
     ·9· ·and I don't remember the exact time frame.· When we ·9· · · · · · · · Did you have deliveries over the
     10· ·started, specimens were shipped via the courier,                10· ·weekend on Saturday or Sunday?
     11· ·FedEx, and at some point in time, we changed from               11· · · · · A.· · We did not.
     12· ·FedEx to UPS.                                                   12· · · · · Q.· · Okay.· So it could be Saturday,
     13· · · · · Q.· · And what kind of shipment was it?                  13· ·Sunday, Monday, so three days?
     14· ·Was it overnight?                                               14· · · · · A.· · A sample that's collected on Friday
     15· · · · · A.· · Yes.                                               15· ·that missed the shipment would get picked up on
     16· · · · · Q.· · So if it -- if it was shipped on                   16· ·Monday and delivered on Tuesday.
     17· ·Tuesday, it should arrive in St. Louis on                       17· · · · · Q.· · Okay.· So four days, could be four
     18· ·Wednesday?                                                      18· ·days?
     19· · · · · A.· · It is possible that it missed -- that              19· · · · · A.· · Typically.
     20· ·the person at the collection site basically closed              20· · · · · Q.· · Okay.· If you look at the last item
     21· ·and had that package ready for be -- for pickup,                21· ·on the second page of the chain-of-custody document
     22· ·but it missed the pickup window, so it didn't ship              22· ·in Exhibit 18, do you see that this item says
     23· ·the next day.                                                   23· ·status updated from Delivered to Box?
     24· · · · · Q.· · Okay.                                              24· · · · · A.· · Yes.
     25· · · · · A.· · That's why you'd have the time frame               25· · · · · Q.· · What does that mean?

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     ·1· · · · · A.· · That it was placed in position B5 in   ·1· · · · · Q.· · If you could go to the page that --
     ·2· ·the actual box.                                     ·2· ·you may not be able to read it on the bottom, but
     ·3· · · · · Q.· · What is position B5?                   ·3· ·it's number 10161 [sic].· At the top of the page,
     ·4· · · · · A.· · In this batch, right, all of our --    ·4· ·it says:· Overall result updated from quote mark to
     ·5· ·all of our -- all of our -- once the samples are    ·5· ·POS.
     ·6· ·received and going through the accessioning         ·6· · · · · · · · Do you have that page?
     ·7· ·process, they're going to go inside a batch so you  ·7· · · · · A.· · Yes.
     ·8· ·know what place within the trier -- in the case     ·8· · · · · Q.· · The third item down, this is by
     ·9· ·of -- these are oral fluid samples, correct?· So    ·9· ·kkelly@averhealth.· I assume that's an --
     10· ·you have a box, so it's showing you that it was in  10· · · · · A.· · Okay.
     11· ·slot B5.· So if you think about it, it goes -- if   11· · · · · Q.· · -- Averhealth technician?
     12· ·you had a box with slots in it, it goes A, B, C, D, 12· · · · · A.· · Then I'm -- I apologize.· You said
     13· ·E, F, and one, two, three, four, five.· So this     13· ·10161?
     14· ·particular sample was placed in a box in slot B5.   14· · · · · Q.· · 6-0, I'm sorry.
     15· · · · · Q.· · Okay.· And what is -- and B5 is?       15· · · · · A.· · 6-0.· Thank you.· I was looking at
     16· · · · · A.· · It's just a holding place in a box so  16· ·6-1.
     17· ·we know where that sample was put inside that box. 17· · · · · Q.· · If you -- kkelly, is she a
     18· · · · · Q.· · But that's the second-to-last item on  18· ·technician, or was she a technician at Averhealth?
     19· ·the second page of the chain-of-custody document,   19· · · · · A.· · I believe so.
     20· ·correct?· Where it says batch position updated to   20· · · · · Q.· · Okay.· And the -- the third item on
     21· ·B5?                                                 21· ·that page, it says:· IsReportedFromLab updated to
     22· · · · · A.· · Yes.                                   22· ·True.
     23· · · · · Q.· · All right.· What does it mean to be    23· · · · · · · · Do you see that?
     24· ·in a box?                                           24· · · · · A.· · Yes.
     25· · · · · A.· · So you have your original oral fluid   25· · · · · Q.· · What does that mean?
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     ·1· ·container, right?· And then you also have your                 ·1· · · · · A.· · That means the data is coming back.
     ·2· ·batches.· So we -- the -- within a batch, you're               ·2· ·So this is the initial amino assay test, so data is
     ·3· ·going to have a portion of that sample.                        ·3· ·coming back off of the analyzer through the DI.· So
     ·4· · · · · · · · So throughout the entire testing                  ·4· ·the DI is the -- the pipeline, I guess, that takes
     ·5· ·process, we keep the original container, and then              ·5· ·results of off our screening analyzers and pushes
     ·6· ·we're going to pour off portions what are called               ·6· ·it into our database.
     ·7· ·aliquots for -- that is what then gets tested on               ·7· · · · · Q.· · What does "true" mean, looking at the
     ·8· ·the analyzer.                                                  ·8· ·third item on this page?
     ·9· · · · · · · · So when you talk about a batch versus             ·9· · · · · A.· · That -- yes, it was that that event
     10· ·a box, the box is the -- is the actual original                10· ·happened.
     11· ·container, and then batches are going to be when               11· · · · · Q.· · That -- that what happened?
     12· ·we've poured off a portion of that and put it into             12· · · · · A.· · That the data's coming through.· So
     13· ·testing.                                                       13· ·you look here on -- on -- it says so:
     14· · · · · Q.· · So does each specimen have its own                14· ·IsReportedFromLab updated from to true.· So it's
     15· ·box?                                                           15· ·saying yes, true.· That they've pushed a button.
     16· · · · · A.· · No.· Within a given box, there's                  16· · · · · Q.· · And -- and what's true?
     17· ·multiple specimens.                                            17· · · · · A.· · That they've pushed the button for
     18· · · · · Q.· · Oh.· All from -- all from the same                18· ·that action.
     19· ·batch or all to -- that will become part of the                19· · · · · Q.· · For which action?
     20· ·same batch?                                                    20· · · · · A.· · Well, in this case, kkelly said:
     21· · · · · A.· · Yes.                                              21· ·Overall result updated to positive.· This is a
     22· · · · · Q.· · And a batch is simply a -- a                      22· ·screening result.
     23· ·collection of specimens that are tested together,              23· · · · · Q.· · All right.· I've seen, not on this
     24· ·correct?                                                       24· ·data pack, but I've seen chain of custody documents
     25· · · · · A.· · Correct.                                          25· ·where it says false.· What -- what would false

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     ·1· ·mean?                                               ·1· ·probation officer asked for the test.
     ·2· · · · · A.· · I'd have to look at it to -- to know.  ·2· · · · · Q.· · Okay.· That's not Michigan, though,
     ·3· · · · · Q.· · All right.· What -- what does DI       ·3· ·right?
     ·4· ·stand for?                                          ·4· · · · · A.· · That's not Michigan, no, but you
     ·5· · · · · A.· · It is the program Data Innovations     ·5· ·asked generally what this meant --
     ·6· ·that transfers the results from the screening       ·6· · · · · Q.· · Yeah, I understand.· I understand.
     ·7· ·analyzer back into our LIS Aversys.                 ·7· · · · · A.· · -- so I'm answering the question as
     ·8· · · · · Q.· · You -- did you say translates?         ·8· ·you asked.
     ·9· · · · · A.· · Transfers.                             ·9· · · · · Q.· · Right.· I understand.· So in -- in
     10· · · · · Q.· · Transfers?· Okay.                      10· ·Michigan, the picking list would be a list of
     11· · · · · A.· · So you have to get results from the    11· ·specimens that have tested positive on the first
     12· ·analyzer -- sorry, it's really hard for me.· You    12· ·amino assay screen and are then going to go further
     13· ·have to get the results from the analyzer back into 13· ·into a confirmation test, correct?
     14· ·the database.· So the data's being transferred      14· · · · · A.· · In this data pack, yes.
     15· ·through a program called Data Innovations, or DI. 15· · · · · Q.· · Okay.· And -- and that's the process
     16· · · · · Q.· · Okay.· And what does LIS stand for?    16· ·for Michigan, correct?
     17· · · · · A.· · Laboratory Information System.         17· · · · · A.· · It -- it -- it was not always the
     18· · · · · Q.· · That's Aversys?                        18· ·process for Michigan.
     19· · · · · A.· · Yes.                                   19· · · · · Q.· · After the change in November of 2020?
     20· · · · · Q.· · If you look further down the page,     20· · · · · A.· · Yes.
     21· ·there's an entry that says:· PickingListBoxPosition 21· · · · · Q.· · So in what we've been looking at,
     22· ·updated to H4.                                      22· ·Exhibit 18, the -- the chain-of-custody document --
     23· · · · · · · · Do you see that?                       23· · · · · A.· · Uh-huh.
     24· · · · · A.· · I do.                                  24· · · · · Q.· · -- does this show how it -- how it is
     25· · · · · Q.· · What does "picking list" mean?         25· ·supposed to work, or is this how it is supposed to

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     ·1· · · · · A.· · Because the specimen was positive,               ·1· ·work?
     ·2· ·we're going to pull out the positives and separate            ·2· · · · · A.· · Can you be more specific in your
     ·3· ·them from the negatives.· So it gets on a picking             ·3· ·question?
     ·4· ·list for us to go back to that specimen and pull it           ·4· · · · · Q.· · We've looked and seen that there are
     ·5· ·from the initial batch and put it into now what's             ·5· ·contemporaneous records for when the person -- in
     ·6· ·called a positive batch -- a positive box, sorry.             ·6· ·this case, Mrs. Padilla -- entered the collection
     ·7· · · · · Q.· · Is that -- I've also seen the term               ·7· ·site and when the collection occurred, when the
     ·8· ·"pick list."                                                  ·8· ·shipment occurred, when it was received in
     ·9· · · · · A.· · Uh-huh.                                          ·9· ·St. Louis.· We haven't looked at everything, but
     10· · · · · Q.· · Is that just another term for picking            10· ·also when the test was done, when it was reported
     11· ·list?                                                         11· ·back as positive, and so forth.
     12· · · · · A.· · Yes.                                             12· · · · · A.· · Yes.
     13· · · · · Q.· · And does that refer to a list of                 13· · · · · Q.· · And -- and so that's how it's
     14· ·specimens that have tested positive on the amino              14· ·supposed to work; is that right?
     15· ·assay?· In other words, the first screening part of           15· · · · · A.· · That's a very broad question. I
     16· ·the test and are then going to go through the                 16· ·still don't quite understand what you're trying to
     17· ·confirmation process?                                         17· ·ask me.· I mean, I'm not trying to be difficult, I
     18· · · · · A.· · Either to be rescreened, yes, or to              18· ·don't understand the question.
     19· ·go through a confirmation process.                            19· · · · · Q.· · I mean the chain of custody is
     20· · · · · Q.· · Why would they be rescreened?                    20· ·supposed to show all of these things --
     21· · · · · A.· · We have many contracts where they                21· · · · · A.· · Yes.
     22· ·don't want us to do confirmation testing up front.            22· · · · · Q.· · -- on a contemporaneous basis?
     23· ·They want us to do an amino assay screen, and if              23· · · · · A.· · Yes.
     24· ·positive, rescreen it and report those test                   24· · · · · Q.· · And that's what you -- what you
     25· ·results.· And only do confirmations when the                  25· ·create in order to have defensible test results in

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     ·1· ·a court of law --                                              ·1· · · · · A.· · She checked it into the system on
     ·2· · · · · A.· · Yes.                                              ·2· ·November 5th because the sample -- the sample
     ·3· · · · · Q.· · -- correct?                                       ·3· ·arrived at the laboratory on November 5th.
     ·4· · · · · A.· · Thank you.                                        ·4· · · · · Q.· · Where -- where are the pieces of
     ·5· · · · · Q.· · I've handed you what's been marked as             ·5· ·paper that you say must have recorded that part of
     ·6· ·Exhibit 19, which is a document with the number                ·6· ·the chain of custody that occurred in Michigan?
     ·7· ·4769 on the first page entitled:· S Padilla data               ·7· · · · · A.· · We don't store those electronically,
     ·8· ·pack with an accession number and the collection               ·8· ·so by the time we pulled this record, we would not
     ·9· ·date 10/28/21.                                                 ·9· ·have had that paper documentation anymore.
     10· · · · · · · · Do you see that?                                  10· · · · · Q.· · What happened to it?
     11· · · · · A.· · Yes.                                              11· · · · · A.· · We have a retention of two years, so
     12· · · · · Q.· · And S. Padilla is Stephen Padilla,                12· ·it would have been discarded after that time frame.
     13· ·who was Tiffani Padilla's husband.· And if we look             13· · · · · Q.· · So the -- the test was done on
     14· ·at the second page at the lab report, do you see               14· ·November 9th, 2021, so that would have been
     15· ·that this -- this test was scheduled on 10/28/2021,            15· ·November 9th 2023?
     16· ·and the collection date is the same as it shows on             16· · · · · A.· · Yes.
     17· ·the first page of the data pack?                               17· · · · · Q.· · It was thrown away then?
     18· · · · · A.· · Yes.                                              18· · · · · A.· · Yes, that would have been our storage
     19· · · · · Q.· · And the -- it was collected at                    19· ·time frame for it, two years.
     20· ·Catholic Charities of West Michigan?                           20· · · · · Q.· · You know this lawsuit was pending in
     21· · · · · A.· · Yes.                                              21· ·November of 2023?
     22· · · · · Q.· · If you would look at the                          22· · · · · A.· · Okay.
     23· ·chain-of-custody document, which is page 4772, do              23· · · · · Q.· · Do you know that?
     24· ·you see that the first item on the chain-of-custody            24· · · · · A.· · Yes.
     25· ·document is November 5th, 2021?                                25· · · · · Q.· · So why did you throw away documents

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     ·1· · · · · A.· · Yes.                                              ·1· ·related to a test that was at issue in this lawsuit
     ·2· · · · · Q.· · It says:· Panel Created:· Walk-In.                ·2· ·while the lawsuit was pending?
     ·3· · · · · A.· · Yes.                                              ·3· · · · · A.· · It was not done on purpose.
     ·4· · · · · Q.· · And that was entered by Toshla                    ·4· · · · · Q.· · You threw something away by accident?
     ·5· ·Roberts?                                                       ·5· ·I mean, didn't you purposefully throw it away?
     ·6· · · · · A.· · Yes.                                              ·6· · · · · A.· · It would have been with records that,
     ·7· · · · · Q.· · And that was actually a week after                ·7· ·you know, due to our retention time frame, that we
     ·8· ·the collection actually occurred, wasn't it?                   ·8· ·would have discarded.
     ·9· · · · · A.· · Yes.                                              ·9· · · · · Q.· · You know before then, we requested
     10· · · · · Q.· · And there's no record of anything                 10· ·all documents related to this test, correct?
     11· ·that occurred in connection with the collection of             11· · · · · A.· · Yes.
     12· ·this shipment in Michigan, correct?                            12· · · · · Q.· · And rather than produce them to us so
     13· · · · · A.· · That is correct.                                  13· ·that we could review it and check to see if the
     14· · · · · Q.· · Toshla Roberts was an employee at the             14· ·chain of custody creates a legal defensible record,
     15· ·laboratory in St. Louis, and therefore couldn't                15· ·you threw it away?
     16· ·have created a contemporaneous record of the                   16· · · · · A.· · Yes.
     17· ·walk-in, correct?                                              17· · · · · Q.· · And then said that we have everything
     18· · · · · A.· · This would be one that wasn't started
                                                           18· ·that an expert needs to determine whether the test
     19· ·as an electronic chain and must have come with a 19· ·is valid; is that right?
     20· ·piece of paper.                                                20· · · · · A.· · Yes.
     21· · · · · Q.· · Whether it came in as a piece of                  21· · · · · Q.· · And you know that's not true, is it?
     22· ·paper or not --                                                22· ·Because an expert would need to review the chain of
     23· · · · · A.· · Uh-huh.                                           23· ·custody to determine that the test was valid,
     24· · · · · Q.· · -- Toshla Roberts wrote that walk-in              24· ·correct?
     25· ·occurred on November 5th, and it did not, correct?             25· · · · · A.· · We have the information from the time

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     ·1· ·the specimen was received at the laboratory.                     ·1· · · · · A.· · Yes, we did.· And we would have
     ·2· · · · · Q.· · My question is --                                   ·2· ·documented anything that was unusual with the
     ·3· · · · · A.· · I -- I understand your question.                    ·3· ·specimen and not tested it had we seen that the
     ·4· ·What we have is from the time that the specimen was ·4· ·chain of custody was broken.
     ·5· ·received at the laboratory.                                      ·5· · · · · Q.· · Well, you could have said that about
     ·6· · · · · Q.· · I know that.                                        ·6· ·everything in the test and said, well, we
     ·7· · · · · A.· · Okay.                                               ·7· ·documented that everything was on the up-and-up,
     ·8· · · · · Q.· · An expert would need to review the                  ·8· ·we're only giving you the results, we're not giving
     ·9· ·chain of custody beginning when the person walked                ·9· ·you the test data.
     10· ·into the collection site in Michigan in order to                 10· · · · · · · · You know that an expert needs to
     11· ·determine that the test was valid, correct?                      11· ·review all the test data, just like you did, in
     12· · · · · A.· · What we can show --                                 12· ·order to verify whether the test was done properly,
     13· · · · · Q.· · Excuse me.                                          13· ·correct?
     14· · · · · A.· · Yes, I know, I've heard your                        14· · · · · · · · MR. CEJAS:· Objection.· Asked and
     15· ·question.                                                        15· ·answered.
     16· · · · · Q.· · Wouldn't an expert need to review                   16· · · · · · · · Go ahead again.
     17· ·that, just like you reviewed it at the time, or you              17· · · · · · · · THE WITNESS:· Yeah, our standard
     18· ·say you reviewed it at the time?                                 18· ·operating procedures would be that when the
     19· · · · · A.· · Well, we --                                         19· ·specimen was received and checked in by Toshla
     20· · · · · · · · MR. CEJAS:· Objection.· Again, it                   20· ·Roberts, if the seal was not intact or anything
     21· ·calls for speculation as to what an expert would                 21· ·that made sure that we could not defend these test
     22· ·require.                                                         22· ·results, we would have rejected that sample and
     23· · · · · · · · But subject to that, go ahead.                      23· ·reported it as rejected for whatever reason, and
     24· · · · · · · · THE WITNESS:· Sure.· So what we have                24· ·not continued with the testing.
     25· ·is what we documented from the time that the                     25· · · · · Q.· · (BY MR. CORNFELD)· And so any other

                                                                Page 178                                                             Page 180
     ·1· ·specimen was received at the laboratory within our ·1· ·expert just has to take your word for it and can't
     ·2· ·database.                                                        ·2· ·see the same data you saw.· Is that your testimony?
     ·3· · · · · Q.· · (BY MR. CORNFELD)· Doesn't an expert                ·3· · · · · A.· · We can testify to --
     ·4· ·need to review the entire chain of custody from the              ·4· · · · · Q.· · Excuse me.· Is that --
     ·5· ·time that the person entered the facility in                     ·5· · · · · A.· · -- based on our standard operating --
     ·6· ·Michigan to when the test was -- the sample was                  ·6· · · · · Q.· · -- your testimony that -- that any
     ·7· ·collected and what happened with the sample at the               ·7· ·other expert must simply take your word for it,
     ·8· ·collection site and when it was shipped?                         ·8· ·just like they maybe could have taken your word for
     ·9· · · · · · · · MR. CEJAS:· Same objection.                         ·9· ·the fact that this is the result you got without
     10· · · · · · · · Go ahead.                                           10· ·reviewing the underlying data?
     11· · · · · · · · THE WITNESS:· What we've documented                 11· · · · · · · · MR. CEJAS:· Object to the form.
     12· ·is from the time of --                                           12· ·Argumentative.
     13· · · · · Q.· · (BY MR. CORNFELD)· I understand what                13· · · · · · · · Go ahead.
     14· ·you've documented.                                               14· · · · · · · · THE WITNESS:· What I can say is that
     15· · · · · A.· · No, I don't think that -- no, I don't               15· ·we have standard operating procedures that if the
     16· ·think an expert has to have all that information.                16· ·sample didn't come intact, we would have rejected
     17· · · · · Q.· · You had that information when you                   17· ·it and not tested it.
     18· ·reviewed and approved the test, right?                           18· · · · · Q.· · (BY MR. CORNFELD)· We'll get to that.
     19· · · · · A.· · And we would have documented if                     19· · · · · A.· · Okay.
     20· ·any --                                                           20· · · · · Q.· · We'll get to the fact that you didn't
     21· · · · · Q.· · Excuse me --                                        21· ·take photographs of the samples as your -- as your
     22· · · · · A.· · Yes.                                                22· ·sample litigation package shows.· I'm talking about
     23· · · · · Q.· · -- you had --                                       23· ·what happened in Michigan.
     24· · · · · A.· · Yes.· Yes, we did.                                  24· · · · · A.· · Understood.
     25· · · · · Q.· · You had it when --                                  25· · · · · Q.· · Okay.

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     ·1· · · · · · · · MS. KINSEY:· Rick, can I just ask a               ·1· ·answered.
     ·2· ·clarifying question?· Is this -- which succession              ·2· · · · · Q.· · (BY MR. CORNFELD)· And the jury
     ·3· ·is this?· Because he had two tests that same day.              ·3· ·weighs the credibility of everybody.· If you
     ·4· · · · · · · · MR. CORNFELD:· This is 16636898011.               ·4· ·testify at trial, the jury will decide whether you
     ·5· · · · · · · · MS. KINSEY:· Okay.                                ·5· ·are an honest person who is telling the truth or
     ·6· · · · · · · · MR. CORNFELD:· It's 4769.                         ·6· ·whether you are not an honest person who is not
     ·7· · · · · Q.· · (BY MR. CORNFELD)· And don't you                  ·7· ·telling the truth.· They will do that with our
     ·8· ·think the jury ought to be entitled to review the              ·8· ·witnesses also.· They'll do that with the Padillas.
     ·9· ·chain of custody documents?                                    ·9· · · · · · · · Shouldn't the jury get to look at the
     10· · · · · A.· · We don't have it, and what I can --               10· ·evidence to help them decide that question?
     11· ·what I can talk to is what our standard operating              11· · · · · · · · MR. CEJAS:· Same objections.
     12· ·procedures are, that we ensure that before we test             12· · · · · · · · THE WITNESS:· What we could talk to
     13· ·any specimen, that we -- that the sample's intact              13· ·is what we have, which is what I've indicated,
     14· ·and it moves on to testing.                                    14· ·which we don't have the chain of custody anymore.
     15· · · · · Q.· · My -- my question is:· Don't you                  15· ·But what we do have is standard operating
     16· ·think the jury should be entitled to review what               16· ·procedures that we wouldn't have moved on with
     17· ·you reviewed, and say yes, you did it, or no, you              17· ·testing without it.
     18· ·didn't?                                                        18· · · · · Q.· · (BY MR. CORNFELD)· What -- what --
     19· · · · · · · · MR. CEJAS:· Object to the form.                   19· ·what you don't have are the complete
     20· · · · · · · · THE WITNESS:· We can attest to our                20· ·chain-of-custody records to ensure legal
     21· ·standard operating procedures, which is we don't -- 21· ·defensibility that a valid sample was collected
     22· · · · · Q.· · (BY MR. CORNFELD)· My question is:                22· ·appropriately, tested, and accurately reported as
     23· ·Shouldn't the jury --                                          23· ·you said in your -- on your website, correct?
     24· · · · · A.· · I understand that.· I've heard your               24· · · · · A.· · I disagree to the fact that we can
     25· ·question.                                                      25· ·talk about -- and Toshla Roberts can testify that

                                                              Page 182                                                              Page 184
     ·1· · · · · Q.· · Shouldn't the jury -- shouldn't -- I  ·1· ·she followed standard and would not have put a
     ·2· ·know you've heard it, you haven't answered it.     ·2· ·specimen in testing that had a broken chain of
     ·3· ·Shouldn't the jury be entitled to look at those    ·3· ·custody.
     ·4· ·same documents?                                    ·4· · · · · Q.· · That's not the only issue about chain
     ·5· · · · · · · · MR. CEJAS:· Object to the form.       ·5· ·of custody, whether it was collected properly. I
     ·6· ·Asked and answered.· And --                        ·6· ·mean, it -- otherwise, you wouldn't maintain any
     ·7· · · · · · · · MR. CORNFELD:· It's not been          ·7· ·records of what happened in Michigan, you'd just
     ·8· ·answered.                                          ·8· ·say oh, we got a -- we got a specimen, and there
     ·9· · · · · Q.· · (BY MR. CORNFELD)· Go ahead.          ·9· ·was -- there was no broken seal, but you keep
     10· · · · · A.· · We can provide what our standard      10· ·records of what happened in Michigan for a reason.
     11· ·operating procedures are to ensure that we would 11· ·And that's because it is part of the chain of
     12· ·not test a specimen that was not received intact.  12· ·custody that, as you say on your website, ensures
     13· · · · · Q.· · I -- my question is --                13· ·legal defensibility that a valid sample is
     14· · · · · A.· · Okay.                                 14· ·collected, appropriately tested, and accurately
     15· · · · · Q.· · -- shouldn't -- are you going to tell 15· ·reported, correct?
     16· ·the jury, sorry, you don't get to look at it       16· · · · · A.· · And that's what Toshla can testify to
     17· ·because we destroyed the record?                   17· ·is she was the one who received it and checked it
     18· · · · · · · · MR. CEJAS:· Same objection.           18· ·into the database.
     19· ·Argumentative.                                     19· · · · · Q.· · What you don't have is the chain of
     20· · · · · · · · Go ahead.                             20· ·custody that on your -- as you say on your website
     21· · · · · · · · THE WITNESS:· We don't have it.· Yes, 21· ·ensures legal defensibility that a valid sample was
     22· ·I would tell the jury we no longer have it.        22· ·collected, appropriately tested, and accurately
     23· · · · · Q.· · (BY MR. CORNFELD)· And shouldn't the  23· ·reported, correct?
     24· ·jury be entitled to -- to look at it?              24· · · · · A.· · No.· We do.· Because we have her
     25· · · · · · · · MR. CEJAS:· Objection.· Asked and     25· ·following our standard operating procedures and

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     ·1· ·only putting in a specimen into testing that has              ·1· ·it in and --
     ·2· ·not been tampered with, has a tamper seal onto it,            ·2· · · · · Q.· · Excuse me, do you have a
     ·3· ·and that the -- the information is -- is okay to              ·3· ·chain-of-custody document?
     ·4· ·test.                                                         ·4· · · · · A.· · We don't have the external chain of
     ·5· · · · · Q.· · You -- your website doesn't say that             ·5· ·custody, no.
     ·6· ·the fact that we -- we received a sample and put it           ·6· · · · · Q.· · And that's the chain of custody
     ·7· ·on for testing ensures legal defensibility that a             ·7· ·preserved from sample collection and shipping,
     ·8· ·valid sample is collected, appropriately tested,              ·8· ·correct?
     ·9· ·and accurately reported.· You state:· Chain of                ·9· · · · · A.· · I've answered this already.
     10· ·custody is preserved from sample collection and               10· · · · · Q.· · That's what you mean -- that's what
     11· ·shipping through laboratory analysis and                      11· ·you mean by external chain of custody, correct?
     12· ·resulting -- results reporting, ensuring legal                12· · · · · A.· · Correct.· We don't have the external
     13· ·defensibility that a valid sample is collected,               13· ·chain of custody anymore.
     14· ·appropriately tested, and accurately reported.                14· · · · · Q.· · Okay.· How are the documents
     15· · · · · · · · That's what you say, correct?                    15· ·destroyed that are part of the external chain of
     16· · · · · A.· · Yes.                                             16· ·custody, if it comes in on paper?
     17· · · · · Q.· · And you don't have that for                      17· · · · · A.· · They're shredded.
     18· ·Mr. Padilla's test?· I'm showing --                           18· · · · · Q.· · Who does that?
     19· · · · · A.· · I disagree --                                    19· · · · · A.· · Our team on site or we use an
     20· · · · · Q.· · -- so you don't have --                          20· ·external company who will come in and pick -- like,
     21· · · · · A.· · -- because if you read --                        21· ·a document destruction company who will come in and
     22· · · · · Q.· · -- a chain --                                    22· ·pick them up and destroy them.
     23· · · · · A.· · -- the beginning of that --                      23· · · · · Q.· · How often do they do that?
     24· · · · · Q.· · Wait.                                            24· · · · · A.· · I'm not sure.· I'd have to clarify,
     25· · · · · A.· · If -- I disagree.· Because if you                25· ·but I can find out.· I don't want to give

                                                             Page 186                                                                Page 188
     ·1· ·read, based on our SOPs, we -- we had a sample that ·1· ·inaccurate information.
     ·2· ·was appropriately collected, received at the                  ·2· · · · · Q.· · What's your best estimate?
     ·3· ·laboratory, the laboratory technician ensured that            ·3· · · · · A.· · I honestly don't know because it's
     ·4· ·we had a specimen that was testable based on our              ·4· ·not something that I'm responsible for.· I believe
     ·5· ·standard operating procedures, she'll put it into             ·5· ·it's monthly, but I will confirm.
     ·6· ·testing.                                                      ·6· · · · · Q.· · Why didn't Ms. Roberts record the
     ·7· · · · · Q.· · You don't -- for -- for the test in              ·7· ·collection date in -- in the chain-of-custody
     ·8· ·Exhibit 19, you don't have a chain of custody                 ·8· ·document in Exhibit 19?
     ·9· ·preserved from sample collection and shipping                 ·9· · · · · A.· · The way that the computer system
     10· ·through laboratory analysis and results reporting,            10· ·works, that -- it's the time that she checked in.
     11· ·correct?                                                      11· ·So she created that event, and then checking that
     12· · · · · · · · MR. CEJAS:· Objection, asked and                 12· ·into the database, it creates the collection page.
     13· ·answered.                                                     13· ·Part of entering that into the system records the
     14· · · · · · · · Go ahead again.                                  14· ·collection date.· So that's how that date ends up
     15· · · · · · · · THE WITNESS:· I disagree.                        15· ·on the report.
     16· · · · · Q.· · (BY MR. CORNFELD)· You don't have                16· · · · · Q.· · You're saying she transcribed it from
     17· ·that chain of custody.· The chain-of-custody                  17· ·the paper record --
     18· ·document doesn't show anything from Michigan, does            18· · · · · A.· · Yes.
     19· ·it?                                                           19· · · · · Q.· · -- that's now destroyed?
     20· · · · · A.· · It shows that Toshla Roberts received            20· · · · · A.· · Yes.
     21· ·the specimen, ensured that it was a valid specimen,           21· · · · · Q.· · Handing you what's been marked as
     22· ·and put it into testing.                                      22· ·Exhibit 20, which is a document on which the first
     23· · · · · Q.· · Do you have a chain-of-custody                   23· ·page is numbered 6745.· This has the title:
     24· ·document that shows sample collection and shipping?           24· ·S Padilla data pack, with an accession number, and
     25· · · · · A.· · We have that Toshla Roberts checked              25· ·the collection date 8/31/21.

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     ·1· · · · · · · · Do you have that?                      ·1· ·2021, did it?
     ·2· · · · · A.· · Yes.                                   ·2· · · · · A.· · It -- within the database, he's able
     ·3· · · · · Q.· · So this is another test by -- on       ·3· ·to find the prescheduled event that linked it to
     ·4· ·Mr. -- on Mr. Padilla's specimen.· This time when   ·4· ·the date of 8/31/2021.
     ·5· ·it was collected on August 31, '21.· And if we look ·5· · · · · Q.· · But this says -- on the
     ·6· ·at the second page, the full-page lab report, do    ·6· ·chain-of-custody document, it says it happened on
     ·7· ·you see that the collection location was Catholic   ·7· ·September 8, 2021.· And it didn't happen on that
     ·8· ·Charities West Michigan in Muskegon?                ·8· ·date, correct?
     ·9· · · · · A.· · Yes.                                   ·9· · · · · A.· · This says that that's the date that
     10· · · · · Q.· · And it shows a collection date of      10· ·he found that prescheduled event.
     11· ·8/31/21, and it was collected by S.W.               11· · · · · Q.· · So again, this is not a
     12· · · · · · · · Do you see that?                       12· ·contemporaneous record of the collection, is it?
     13· · · · · A.· · Yes.                                   13· · · · · A.· · This was entered on 9/8 for a
     14· · · · · Q.· · So S.W. would have been an employee    14· ·collection event that occurred on 8/31, yes.
     15· ·of Catholic Charities of Western Michigan in        15· · · · · Q.· · And it was -- it was entered by
     16· ·Muskegon, Michigan?                                 16· ·Mr. Grim, who had nothing do with the collection,
     17· · · · · A.· · Yes.                                   17· ·correct?
     18· · · · · Q.· · If you go to the chain-of-custody      18· · · · · A.· · Yes.
     19· ·document, which is number 6748, do you see that the 19· · · · · Q.· · And the date September 8th, 2021,
     20· ·first item is September 8, 2021?                    20· ·couldn't have been the date of collection because
     21· · · · · A.· · Yes.                                   21· ·that was also the date that the test was done in
     22· · · · · Q.· · Which is over a week after the sample  22· ·St. Louis, and it couldn't have possibly been
     23· ·that was collected on 8/31?                         23· ·collected on the same day it's tested in St. Louis,
     24· · · · · A.· · Yes.                                   24· ·correct?
     25· · · · · Q.· · And the person who's listed is         25· · · · · A.· · On the full page lab report, it shows
                                                             Page 190                                                             Page 192
     ·1· ·M. Grim.· Who is that?                                        ·1· ·that the collection date was 8/31/2021.
     ·2· · · · · A.· · That is one of our accessioners at               ·2· · · · · Q.· · I'm talking about the -- what's shown
     ·3· ·the laboratory, Marlo Grim.                                   ·3· ·on the chain-of-custody document.
     ·4· · · · · Q.· · All right.· So he's also an employee             ·4· · · · · A.· · That's showing when it got entered
     ·5· ·in St. Louis?                                                 ·5· ·into the computer system, but the event that was
     ·6· · · · · A.· · Yes.                                             ·6· ·picked, which shows the correct collection date, is
     ·7· · · · · Q.· · So he had -- he made these entries in            ·7· ·8/31/2021.
     ·8· ·St. Louis, correct?                                           ·8· · · · · Q.· · And -- and is it your testimony that
     ·9· · · · · A.· · Yes.                                             ·9· ·the chain of custody in Michigan was recorded on
     10· · · · · Q.· · And we have nothing in the                       10· ·paper and sent to St. Louis?
     11· ·chain-of-custody document from what happened with             11· · · · · A.· · Yes.
     12· ·this specimen in Michigan, correct?                           12· · · · · Q.· · For a test on August 31, 2021,
     13· · · · · A.· · Correct.                                         13· ·meaning it was destroyed on -- the paper
     14· · · · · Q.· · And if we look at the second page of             14· ·chain-of-custody record would have been destroyed
     15· ·the chain-of-custody document, this is page 6749.             15· ·on August 31, 2023?
     16· ·You see this is September 8, 2021.· And again, it's           16· · · · · A.· · Yes.
     17· ·by M. Grim?                                                   17· · · · · Q.· · Again, after we had requested this?
     18· · · · · A.· · Uh-huh.                                          18· · · · · A.· · Yes.
     19· · · · · Q.· · Do you see that?                                 19· · · · · Q.· · Have you -- have you seen the paper
     20· · · · · A.· · Yes.                                             20· ·chain of custody for either of the tests we've
     21· · · · · Q.· · And this time, it says:· Status                  21· ·talked about?
     22· ·updated from PreScheduled to Collected.                       22· · · · · A.· · I personally have not, no.
     23· · · · · · · · Do you see that?                                 23· · · · · Q.· · Do you know if anybody has after the
     24· · · · · A.· · Yes.                                             24· ·test was reported?
     25· · · · · Q.· · That did not happen on September 8th,            25· · · · · A.· · After the test was reported, I don't

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     ·1· ·know.                                                           ·1· · · · · Q.· · My question was only --
     ·2· · · · · Q.· · I'd like you to assume that we found               ·2· · · · · A.· · Yes, we do not have the external
     ·3· ·18 data packs on Plaintiffs' tests in which the                 ·3· ·chain of custody.
     ·4· ·earliest date in the chain of custody, in the                   ·4· · · · · Q.· · For 16 percent of the tests in this
     ·5· ·chain-of-custody document was after the collection              ·5· ·case, correct?
     ·6· ·date on the lab report.                                         ·6· · · · · A.· · Yes.
     ·7· · · · · A.· · Okay.                                              ·7· · · · · Q.· · No contemporaneous chain-of-custody
     ·8· · · · · Q.· · And that in none of those cases was                ·8· ·record --
     ·9· ·there any entry in the chain-of-custody document by             ·9· · · · · A.· · It's not contemporaneous --
     10· ·the person who did the collecting according to the              10· · · · · Q.· · Excuse me.· No --
     11· ·lab report.                                                     11· · · · · A.· · We don't have the external
     12· · · · · A.· · Okay.                                              12· ·chain-of-custody form.
     13· · · · · Q.· · And that no entry in the                           13· · · · · Q.· · Which are the external -- which are
     14· ·chain-of-custody document corresponds to the                    14· ·the contemporaneous -- contemporaneous records of
     15· ·collection date in the lab report.                              15· ·what happened to the samples in Michigan, correct?
     16· · · · · A.· · Okay.                                              16· · · · · A.· · No.· Because we've started the
     17· · · · · Q.· · And that's out of 114 data packs.                  17· ·contemporaneous chain of custody when the sample's
     18· · · · · A.· · Okay.                                              18· ·received at the laboratory.
     19· · · · · Q.· · Actually, they're all from Michigan                19· · · · · Q.· · My -- my question is:· You don't have
     20· ·because they're all third-party collectors.· Is it              20· ·the original chain-of-custody record that provides
     21· ·your testimony that all of those would have been                21· ·a contemporaneous record of what happened to the
     22· ·paper chains of custody from Michigan that                      22· ·samples in Michigan, correct?
     23· ·Averhealth destroyed?                                           23· · · · · A.· · We have --
     24· · · · · A.· · Yes.                                               24· · · · · Q.· · Is that right?
     25· · · · · Q.· · And so out of 114 data packs                       25· · · · · A.· · I've already said we don't have the

                                                               Page 194                                                                Page 196
     ·1· ·altogether, and that includes the ones outside                  ·1· ·external -- I've -- I've already said we don't have
     ·2· ·Michigan, from Massachusetts and Arizona, that                  ·2· ·the external.
     ·3· ·comes to 16 percent of the tests on these                       ·3· · · · · Q.· · Okay.· And that's the -- that was
     ·4· ·plaintiffs where Averhealth destroyed the                       ·4· ·what was written down at the time the events
     ·5· ·contemporaneous chain-of-custody records showing                ·5· ·occurred, correct?
     ·6· ·what happened to the samples from the time the                  ·6· · · · · A.· · Yes.
     ·7· ·plaintiff showed up to give his or her sample to                ·7· · · · · · · · MR. CORNFELD:· How long have we been
     ·8· ·when it was shipped to the lab, correct?                        ·8· ·going?
     ·9· · · · · A.· · I don't know about that -- I disagree              ·9· · · · · · · · MR. CEJAS:· Probably about -- it's
     10· ·with that statement from the fact that I'd already              10· ·over an hour for sure.· So if now is a good time to
     11· ·indicated that we, in our standard operating                    11· ·take a break.
     12· ·procedures, when the specimen is received in the                12· · · · · · · · MR. CORNFELD:· Yeah, yeah.
     13· ·laboratory and our team is checking in those                    13· · · · · · · · THE VIDEOGRAPHER:· Time is 2:42 p.m.
     14· ·samples, they're going to check and ensure that the 14· ·We are off the record.
     15· ·sample is testable and that chain of custody has                15· · · · · · · · (A short break was taken.)
     16· ·not been destroyed, and they start that record                  16· · · · · · · · THE VIDEOGRAPHER:· The time is 3:03.
     17· ·at -- at -- from that point in time.                            17· ·We are back on the record.
     18· · · · · Q.· · My question --                                     18· · · · · Q.· · (BY MR. CORNFELD)· I want to go back
     19· · · · · A.· · I -- I do agree that we don't have                 19· ·to what you said about what Mrs. Padilla might have
     20· ·the external chain of custodies anymore.· Yes, I'm              20· ·done to that water bottle.· You said she might have
     21· ·not disputing that.                                             21· ·injected fentanyl into the bottle, and I wanted to
     22· · · · · Q.· · That was all --                                    22· ·talk to you about how that could possibly be done.
     23· · · · · A.· · We don't have that.                                23· · · · · A.· · I don't know.· I don't know how. I
     24· · · · · Q.· · -- my question was.                                24· ·know that a sample was collected, as I had
     25· · · · · A.· · Okay.                                              25· ·indicated, was shipped, received at the laboratory,

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     ·1· ·we tested it both by an amino assay and an LC-MS ·1· ·the laboratory screened positive and confirmed
     ·2· ·and found fentanyl.                              ·2· ·positive for fentanyl.
     ·3· · · · · Q.· · Okay.· My -- my question is --                     ·3· · · · · Q.· · All right.· But I -- we're talking
     ·4· · · · · A.· · The specimen that we received. I                   ·4· ·about it because you raised the possibility that
     ·5· ·don't know about the water bottle, I have no idea               ·5· ·she might have injected --
     ·6· ·what happened with the water bottle, but the                    ·6· · · · · A.· · I think you raised the possibility.
     ·7· ·specimen that arrived at our laboratory, that's                 ·7· · · · · Q.· · No, I asked you how it -- what --
     ·8· ·what we found.                                                  ·8· · · · · A.· · I think you said --
     ·9· · · · · Q.· · I know that's what you're saying.                  ·9· · · · · Q.· · -- is a possible explanation.
     10· · · · · A.· · Yes.                                               10· · · · · A.· · -- is it, well, then, did she put
     11· · · · · Q.· · I want to go into how you could                    11· ·fentanyl into in the water bottle.
     12· ·possibly inject fentanyl into a water bottle and                12· · · · · Q.· · You -- you -- you --
     13· ·result in a -- in a positive test at Averhealth.                13· · · · · A.· · You asked.
     14· · · · · · · · So first, you'd have to find a needle              14· · · · · Q.· · The record will show.
     15· ·that could inject something into a water bottle, a              15· · · · · A.· · Okay.
     16· ·needle that would be capable of going through the               16· · · · · Q.· · The record will show.· My
     17· ·plastic of the water bottle.                                    17· ·recollection is -- because I hadn't event thought
     18· · · · · · · · Do you have any idea how you would                 18· ·about injecting fentanyl into the water bottle.
     19· ·find out what kind of a needle that would be?                   19· ·You raised the -- that as a possibility, and so I'm
     20· · · · · A.· · I don't know.                                      20· ·just trying to figure out how that could possibly
     21· · · · · Q.· · And then you'd have to figure out how              21· ·be done.
     22· ·much fentanyl to inject into the water bottle so                22· · · · · A.· · I'm pretty sure you made the
     23· ·that you would -- assuming you were dishonest                   23· ·statement, well, was there fentanyl in the water
     24· ·enough to do that -- so that you were going to end              24· ·bottle?· And then you asked, well, did you hear
     25· ·up with a result that was over the cutoff, but not              25· ·that it clicked?· And I said I don't know how
                                                               Page 198                                                     Page 200
     ·1· ·so much that it would be an implausible result,     ·1· ·fentanyl might have gotten in the water bottle.
     ·2· ·like enough fentanyl to kill a rhinoceros.· You'd   ·2· · · · · Q.· · And then --
     ·3· ·have to figure out how much fentanyl to inject,     ·3· · · · · A.· · That's how I recollect --
     ·4· ·correct?                                            ·4· · · · · Q.· · Okay.· And then --
     ·5· · · · · A.· · Sure.                                  ·5· · · · · A.· · -- the conversation occurred.
     ·6· · · · · Q.· · Okay.· How would you -- how would you  ·6· · · · · Q.· · And I mean, we have a transcript.
     ·7· ·go about trying to figure that out?                 ·7· · · · · A.· · Okay.
     ·8· · · · · A.· · I -- I don't know.                     ·8· · · · · Q.· · You raised the possibility of an
     ·9· · · · · Q.· · And -- and you're the -- you're the    ·9· ·injection, and so that's why I'm asking you the
     10· ·head of Averhealth.                                 10· ·question.· If fentanyl was heavier than water, is
     11· · · · · A.· · Okay.                                  11· ·there any way she could have gotten fentanyl on
     12· · · · · Q.· · How do you think Mrs. Padilla, who     12· ·that swab that was shorter -- much shorter than
     13· ·doesn't have even a college education, much less is 13· ·that water bottle?
     14· ·a scientist, how do you think she would figure that 14· · · · · A.· · I believe fentanyl could probably be
     15· ·out?                                                15· ·dissolved into water.
     16· · · · · A.· · I don't know.                          16· · · · · Q.· · You -- but you just told us you
     17· · · · · Q.· · And is fentanyl lighter or heavier     17· ·didn't know that.
     18· ·than water?                                         18· · · · · A.· · Okay.· So then why are you asking the
     19· · · · · A.· · I don't know.                          19· ·questions if I --
     20· · · · · Q.· · I mean --                              20· · · · · Q.· · My question was --
     21· · · · · A.· · And I don't know if it can be put      21· · · · · A.· · -- I don't know.
     22· ·into a solution and dissolved.· I mean, I -- I -- I 22· · · · · Q.· · -- if you think it's heavier.· Okay.
     23· ·don't know even why we're talking about the water 23· · · · · · · · You can't Google how to inject
     24· ·bottle, right?· At this point in time, what I've    24· ·fentanyl into a water bottle so that you'll rig a
     25· ·already indicated, the sample that was received at 25· ·fentanyl test or a drug test and find a plausible

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     ·1· ·amount of fentanyl in the --                                  ·1· · · · · A.· · T. Padilla is 21 and S. Padilla is
     ·2· · · · · A.· · Fentanyl, like other drugs, can be               ·2· ·22.
     ·3· ·heated, liquefied, and injected into the vein.                ·3· · · · · · · · MR. PLEBAN:· T. Padilla is 21, you
     ·4· · · · · Q.· · Right.· But there was no vein in that            ·4· ·said?
     ·5· ·water bottle, was there?                                      ·5· · · · · · · · THE WITNESS:· Yes.
     ·6· · · · · A.· · But it can be turned into liquid is              ·6· · · · · Q.· · (BY MR. CORNFELD)· I've handed you
     ·7· ·my point.                                                     ·7· ·what have been marked as Exhibits 21 and 22.· 21
     ·8· · · · · Q.· · Okay.                                            ·8· ·has the number 11369 on the front page.· It's
     ·9· · · · · · · · THE WITNESS:· Do you know that the               ·9· ·titled:· T Padilla data pack with an accession
     10· ·camera's not up in the back?· I don't know that it            10· ·number, and the collection day 12/3/21.
     11· ·matters --                                                    11· · · · · · · · And Exhibit 22 is titled:· S. Padilla
     12· · · · · · · · MR. CEJAS:· He logged off.                       12· ·data pack with an accession number, and collection
     13· · · · · · · · THE WITNESS:· Gotcha.· So we don't               13· ·date 12/3/21.
     14· ·have to look at me again, which is fine.                      14· · · · · · · · Do you have those?
     15· · · · · Q.· · (BY MR. CORNFELD)· To save time, I'm             15· · · · · A.· · Yes.
     16· ·not going to show you the next series of -- of data           16· · · · · Q.· · All right.· I'd like you to look at
     17· ·packs.· But if I showed you the Tiffani Padilla               17· ·the full-page lab report.
     18· ·data pack from June 11, 2020, that took seven days            18· · · · · A.· · On both?
     19· ·from the date of collection to when it was                    19· · · · · Q.· · Okay.· And do you see that both of
     20· ·received, according to the chain of custody.· It              20· ·those specimens were collected at the Services of
     21· ·was collected June 11th and it was received in the            21· ·Esperenza (Services of Hope) and collected on
     22· ·lab June 18th.                                                22· ·December 23rd, 2021.
     23· · · · · · · · Do you have any explanation for how              23· · · · · A.· · Yes.
     24· ·that could happen?                                            24· · · · · Q.· · And -- and the way it works, you've
     25· · · · · A.· · It could have not been shipped                   25· ·got a collection -- in the lab report, a collection

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     ·1· ·immediately upon collection.                                  ·1· ·date, a date received, a date reported, that's when
     ·2· · · · · Q.· · Because they missed the last delivery            ·2· ·the test result was reported; is that right?
     ·3· ·time, correct?· That's what you've told us before.            ·3· · · · · A.· · Uh-huh.
     ·4· · · · · A.· · That is a possibility, yes.                      ·4· · · · · Q.· · Correct?
     ·5· · · · · Q.· · Okay.· And -- but that wouldn't take             ·5· · · · · A.· · Yes.
     ·6· ·a week.· You said that --                                     ·6· · · · · Q.· · And obviously, the date received,
     ·7· · · · · A.· · Not every location potentially ships             ·7· ·that's the date it was received in the laboratory,
     ·8· ·every single day.· One of the things that we've               ·8· ·correct?
     ·9· ·learned, we often saw in Michigan, that samples               ·9· · · · · A.· · Yes.
     10· ·weren't necessarily shipped every single day.                 10· · · · · Q.· · So that obviously has to be before
     11· · · · · · · · (A discussion was held off the                   11· ·the date reported, correct?
     12· ·record.)                                                      12· · · · · A.· · Yes.
     13· · · · · · · · THE WITNESS:· You gave me two                    13· · · · · Q.· · And do you see that in both of these
     14· ·highlighted.                                                  14· ·instances, it says that the date received is
     15· · · · · · · · MR. CORNFELD:· Okay.· Let me have                15· ·December 9th, 2021, and the date reported was two
     16· ·them back.                                                    16· ·days earlier?
     17· · · · · · · · THE WITNESS:· They're not tabbed,                17· · · · · A.· · Yes.
     18· ·though.                                                       18· · · · · Q.· · December 7th, 2021?
     19· · · · · · · · MR. CORNFELD:· Right.· This will be              19· · · · · A.· · Yes.
     20· ·easy to find.                                                 20· · · · · Q.· · That's false, isn't it?
     21· · · · · · · · (A discussion was held off the                   21· · · · · A.· · Seems to be some sort of
     22· ·record.)                                                      22· ·administrative error, yes.· That is not accurate.
     23· · · · · · · · THE WITNESS:· Thank you.                         23· · · · · Q.· · All right.· It can't have been --
     24· · · · · Q.· · (BY MR. CORNFELD)· T. Padilla is                 24· · · · · A.· · Correct.
     25· ·which one?                                                    25· · · · · Q.· · -- reported before it was received,

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     ·1· ·correct?                                                      ·1· · · · · A.· · Human error happens.
     ·2· · · · · A.· · Yes.                                             ·2· · · · · Q.· · Okay.· So my question is:· If your
     ·3· · · · · Q.· · Shouldn't that be --                             ·3· ·lab can't even get the easy stuff right, can you
     ·4· · · · · · · · MR. PLEBAN:· She just wrote on that.             ·4· ·see why somebody might be skeptical about whether
     ·5· · · · · · · · MR. CORNFELD:· What?                             ·5· ·you get the hard stuff correct, meaning doing these
     ·6· · · · · · · · MR. PLEBAN:· I think she wrote on                ·6· ·very complicated laboratory tests?
     ·7· ·that again.                                                   ·7· · · · · A.· · There -- anything that is an
     ·8· · · · · Q.· · (BY MR. CORNFELD)· Did you write on              ·8· ·administrative error is a rare occurrence.
     ·9· ·that exhibit?                                                 ·9· · · · · Q.· · My question is:· Can you see that --
     10· · · · · A.· · I'm sorry, I boxed the date.· I boxed            10· ·I mean, we've been here less than a day and --
     11· ·the date received.                                            11· · · · · A.· · All humans make mistakes, right?· All
     12· · · · · Q.· · Okay.· In which exhibit?                         12· ·of us have certain things where we make an error.
     13· · · · · A.· · On both.· I boxed the date --                    13· · · · · Q.· · Okay.
     14· · · · · Q.· · Okay.                                            14· · · · · A.· · And it's an isolated event that these
     15· · · · · A.· · -- received on both of them.                     15· ·errors occur.
     16· · · · · Q.· · Okay.                                            16· · · · · Q.· · Can you see why somebody might think
     17· · · · · A.· · Apologize.                                       17· ·if you make isolated errors on something that's
     18· · · · · Q.· · Just so the record will reflect how              18· ·easy --
     19· ·that got there.                                               19· · · · · A.· · No, I don't understand that.
     20· · · · · · · · This should be something pretty                  20· · · · · Q.· · -- it might be -- it might be -- that
     21· ·simple to get right, shouldn't it?                            21· ·it might be -- they might be -- skeptical about --
     22· · · · · A.· · I'm trying to figure out how it                  22· · · · · A.· · No, I don't.
     23· ·reflects that, so give me a minute.· There must               23· · · · · Q.· · -- whether you --
     24· ·have been a transcription error on the date                   24· · · · · · · · COURT REPORTER:· Can you --
     25· ·received because it clearly --                                25· · · · · Q.· · (BY MR. CORNFELD)· Let me finish my

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     ·1· · · · · Q.· · Okay.· But my --                                 ·1· ·question.
     ·2· · · · · A.· · A transcription error on the date                ·2· · · · · · · · COURT REPORTER:· Please.
     ·3· ·received because clearly, on the chain of custody,            ·3· · · · · Q.· · (BY MR. CORNFELD)· Can you see why
     ·4· ·it shows received on the 7th.                                 ·4· ·somebody might be skeptical about whether if you
     ·5· · · · · Q.· · Was this somebody who personally put             ·5· ·can't get the easy stuff right, that you're having
     ·6· ·the date in or does it -- does it happen                      ·6· ·trouble, that you would have trouble getting the
     ·7· ·automatically?· Does it get transferred from one              ·7· ·hard stuff, meaning doing these complicated
     ·8· ·place to the other?                                           ·8· ·laboratory tests, correct?
     ·9· · · · · A.· · I don't know how that was there.· I'd            ·9· · · · · A.· · No.
     10· ·need to do some research on it.                               10· · · · · Q.· · I have some questions I'd like to ask
     11· · · · · Q.· · All right.· But this should be                   11· ·about chromatographs of quality controls and
     12· ·something pretty simple to get correct, shouldn't             12· ·calibrators.
     13· ·it?                                                           13· · · · · A.· · Okay.
     14· · · · · A.· · There are times where if it's a human            14· · · · · Q.· · Are you the person to ask?
     15· ·error, that there might be a transcription where              15· · · · · A.· · I might be able to answer some of it
     16· ·somebody enters a date in incorrectly.· It's not a            16· ·and some of it might be Dr. Glinn.· Until I know
     17· ·common occurrence, but it could happen.                       17· ·the question, I don't know that.· Are you
     18· · · · · Q.· · Okay.                                            18· ·comfortable with if you ask me something and I want
     19· · · · · A.· · But let me investigate this.                     19· ·to defer it, that that's what we do?
     20· · · · · Q.· · Okay.· And we talked about other                 20· · · · · Q.· · I -- I would be comfortable deferring
     21· ·things that ought to be pretty simple, like having            21· ·the whole thing.· I was going to start by asking
     22· ·the correct cutoff levels in your proposals and               22· ·what is integration.· What does that mean?
     23· ·your contracts, that shouldn't be difficult to get            23· · · · · A.· · Okay.
     24· ·right, assuming that you got that wrong there,                24· · · · · Q.· · What does integration mean?
     25· ·correct?                                                      25· · · · · A.· · Can you give a little more context?

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     ·1· ·You're picking one word.                                        ·1· · · · · A.· · Okay.
     ·2· · · · · Q.· · I know.· I've seen that word a lot in              ·2· · · · · Q.· · Acceptable peak integration is from
     ·3· ·Averhealth's documents.· That's why I'm asking you.             ·3· ·trough to trough at the baseline, including
     ·4· · · · · A.· · Okay.· But normally, we don't just                 ·4· ·fronting or tailing as appropriate.
     ·5· ·say the word "integration."                                     ·5· · · · · A.· · Okay.
     ·6· · · · · Q.· · Well, I know --                                    ·6· · · · · Q.· · What does integration mean?
     ·7· · · · · A.· · It's -- it's part of a broader                     ·7· · · · · A.· · Integration is looking at the peak of
     ·8· ·sentence.                                                       ·8· ·that chromatograph, right, and ensuring that if
     ·9· · · · · Q.· · It would be in a sentence, but --                  ·9· ·there is a peak, that from point to point, as that
     10· · · · · A.· · Yes.                                               10· ·indicated, is signaled or identified appropriately.
     11· · · · · Q.· · -- it would refer to the laboratory                11· · · · · Q.· · What -- what does the sentence
     12· ·tests.                                                          12· ·integration of fronting or trailing -- excuse me.
     13· · · · · A.· · Okay.· Can you point me to one of                  13· ·What does integration mean in the sentence from
     14· ·them where it says integration?                                 14· ·that same SOP, integration of fronting or tailing
     15· · · · · Q.· · I don't actually have it because it                15· ·peaks shall be consistent with calibrator or
     16· ·wasn't -- there was no modifier, like high                      16· ·control integration?
     17· ·integration, low integration, whatever.· It was                 17· · · · · A.· · That in that chromatograph, if there
     18· ·just integration in terms of the laboratory tests.              18· ·was tailing, if you're going to truncate that peak,
     19· ·If you can't answer it, that's fine.· I'll defer it             19· ·right, or chop it off to get rid of the tailing,
     20· ·to Dr. Glinn.                                                   20· ·that what you do on this -- on the patient sample
     21· · · · · A.· · I'm not saying I can't.· I can --                  21· ·is going to be the same of what you do on the
     22· · · · · Q.· · Okay.                                              22· ·calibrators or the controls.
     23· · · · · A.· · -- if you give me the full sentence                23· · · · · Q.· · Okay.· What is -- what is calibrator
     24· ·where we used the term "integration."· There's                  24· ·or control integration as used in that sentence?
     25· ·nowhere does it just say the word "integration."                25· · · · · A.· · Can you read the sentence again?

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     ·1· · · · · Q.· · Tell me anything you know about the                ·1· · · · · Q.· · Integration of fronting or tailing
     ·2· ·word, what the word "integration" means.                        ·2· ·peaks shall be consistent with calibrator or
     ·3· · · · · A.· · I need more context.                               ·3· ·control integration.
     ·4· · · · · Q.· · Anything you know.· Without context.               ·4· · · · · A.· · So in all of our batches in testing,
     ·5· ·You can tell me what you understand it to be                    ·5· ·right, when there's the calibrators and the
     ·6· ·without being prompted by a context.                            ·6· ·controls within that batch, if you're going to do
     ·7· · · · · A.· · No, I can't.                                       ·7· ·any kind of trunking or of -- sorry.· If you're
     ·8· · · · · Q.· · Think of a context in which you would              ·8· ·going to get rid of any tailing or fronting of it,
     ·9· ·know what the word "integration" means.                         ·9· ·that you're consistent with the patient samples as
     10· · · · · A.· · Can you ask me a question with a                   10· ·well as the controls or the calibrators.
     11· ·specific reason where you're talking about                      11· · · · · Q.· · So -- so integration there would be
     12· ·"integration"?                                                  12· ·the same for the calibrators or controls as the
     13· · · · · Q.· · If I told you that integration was                 13· ·patient samples, meaning looking at the peak on the
     14· ·the determination of the height and the area of a               14· ·chromatograph?
     15· ·peak in a chromatogram, would that ring a bell?                 15· · · · · A.· · Yes.
     16· · · · · A.· · The integration?· That doesn't make                16· · · · · Q.· · So you would have to have a
     17· ·sense.                                                          17· ·chromatogram of the calibrated or -- and control in
     18· · · · · Q.· · Okay.· I'll read you a sentence                    18· ·order to do that, correct?
     19· ·from -- from the LC-MS/MS quality control --                    19· · · · · A.· · Help me with the context of where
     20· · · · · · · · THE VIDEOGRAPHER:· I'm so sorry, sir.              20· ·you're going with this.· Like, yes, so when you're
     21· · · · · · · · THE WITNESS:· Your mic's --                        21· ·looking at a batch, you're going to ensure that
     22· · · · · · · · MR. CORNFELD:· Oh, shoot.                          22· ·you're going to have consistency in your controls
     23· · · · · Q.· · (BY MR. CORNFELD)· Let me read you a               23· ·and your patient samples and your calibrators.
     24· ·sentence from Averhealth's LC-MS/MS quality control 24· · · · · Q.· · Okay.· So -- so you would look -- in
     25· ·SOP from January 2021.                                          25· ·order to interpret the test result, you would look

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     ·1· ·at the chromatograms of the patient sample and of   ·1· ·not have chromatograms or chromatographs of
     ·2· ·the calibrators and of the control, correct?        ·2· ·calibrators and quality controls on any test
     ·3· · · · · A.· · You would have valid calibrators --    ·3· ·reported as positive on any plaintiff at or near
     ·4· · · · · · · · THE WITNESS:· I lost mine.· Sorry.     ·4· ·the time it conducted and reported the results of
     ·5· · · · · · · · You would have a valid -- a valid      ·5· ·those tests?
     ·6· ·calibration curve, and then you'd have controls and ·6· · · · · A.· · Can you please repeat that question?
     ·7· ·patient samples, yes.                               ·7· · · · · Q.· · I was reading from a request for
     ·8· · · · · Q.· · (BY MR. CORNFELD)· So you'd have the   ·8· ·admissions that we've served on Averhealth and that
     ·9· ·chromatograms of those, correct?                    ·9· ·Averhealth admitted -- and that request for
     10· · · · · A.· · Yes.                                   10· ·admission which Averhealth admitted was:
     11· · · · · Q.· · And you would -- you'd have to look    11· ·Averhealth did not possess chromatograms or
     12· ·at those in order to interpret the test result; is  12· ·chromatographs of calibrators and quality controls
     13· ·that right?                                         13· ·on any test reported as positive on any plaintiff
     14· · · · · A.· · You have to have valid calibration,    14· ·at or near the time it conducted and reported the
     15· ·yes.                                                15· ·results of those tests.
     16· · · · · Q.· · And that means looking at the          16· · · · · · · · That was the first part of the
     17· ·chromatograms of the calibrators and controls as    17· ·statement.· Is that true?
     18· ·well as at -- of the patient sample, correct?       18· · · · · A.· · No.
     19· · · · · A.· · Yes.                                   19· · · · · Q.· · That's not true?
     20· · · · · Q.· · You probably have handy Exhibit 21,    20· · · · · A.· · That we did not have?· You said that
     21· ·the T. Padilla data pack.                           21· ·we did not have?
     22· · · · · A.· · Yes.· If we're going to go down        22· · · · · Q.· · That Averhealth did not possess
     23· ·asking me to look at calibrators and controls,      23· ·chromatograms or chromatographs of calibrators and
     24· ·that's going to have to be deferred to Dr. Glinn.   24· ·quality controls on any test reported as positive
     25· · · · · Q.· · My -- my question was whether you      25· ·on any plaintiff at or near the time it conducted

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     ·1· ·could point to the chromatographs of calibrators or           ·1· ·and reported the results of those tests.
     ·2· ·controls in the data pack.                                    ·2· · · · · A.· · Where is that from?
     ·3· · · · · A.· · If I remember correctly -- Colleen,              ·3· · · · · Q.· · That is from a request for admission
     ·4· ·correct me if I'm wrong -- so originally, we gave             ·4· ·that we asked Averhealth --
     ·5· ·you the chart, which gave you the values --                   ·5· · · · · A.· · Okay.· Can -- can you reference the
     ·6· · · · · Q.· · My --                                            ·6· ·document?
     ·7· · · · · A.· · -- off of it.· Okay?                             ·7· · · · · Q.· · You know, I thought I had it with me.
     ·8· · · · · Q.· · My question is:· Can you point me to             ·8· ·We can get it tomorrow.
     ·9· ·calibrators or to -- to chromatographs of                     ·9· · · · · · · · MR. PLEBAN:· I'll pull it up here.
     10· ·calibrators or controls in the Tiffani Padilla data           10· ·Let's just go off.
     11· ·pack?                                                         11· · · · · · · · THE VIDEOGRAPHER:· The time is 3 --
     12· · · · · A.· · I believe that was a supplemental                12· ·2 -- 3:29 p.m.· We are off the record.
     13· ·request that we provided to you.                              13· · · · · · · · (A discussion was held off the
     14· · · · · Q.· · I --                                             14· ·record.)
     15· · · · · A.· · We originally give it to you in data             15· · · · · · · · THE VIDEOGRAPHER:· Time is 3:29.· We
     16· ·format.                                                       16· ·are back on the record.
     17· · · · · Q.· · Okay.· You did not give us the                   17· · · · · · · · MR. CORNFELD:· Oh, I had it in a
     18· ·chromatographs or controls.· Those are not                    18· ·different folder.
     19· ·contained in the data packs, correct?                         19· · · · · · · · THE VIDEOGRAPHER:· I think the mic
     20· · · · · A.· · We gave you the table that had the               20· ·might have been a casualty again.
     21· ·results --                                                    21· · · · · · · · THE WITNESS:· Every document
     22· · · · · Q.· · My question --                                   22· ·containing data that it had on any --
     23· · · · · A.· · Yes, you are correct.· To answer your            23· · · · · · · · MR. CEJAS:· Just a second.
     24· ·question, yes.                                                24· · · · · · · · MR. PLEBAN:· Yeah, it is.
     25· · · · · Q.· · Is it the case that Averhealth did               25· · · · · Q.· · (BY MR. CORNFELD)· Ms. Delagnes, I've

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     ·1· ·handed you what's been marked as Exhibit 23 --                ·1· ·exhibit?
     ·2· · · · · A.· · Okay.                                            ·2· · · · · · · · MR. CORNFELD:· I'm sorry?
     ·3· · · · · Q.· · -- which is a document on the caption            ·3· · · · · · · · MR. CEJAS:· Did we just mark that as
     ·4· ·of this lawsuit titled Defendant Avertest, LLC,               ·4· ·an exhibit?
     ·5· ·d/b/a Averhealth's Answers to Plaintiff's Second              ·5· · · · · · · · THE WITNESS:· Yeah, 23.
     ·6· ·Set of Request for Admissions.                                ·6· · · · · · · · MR. CORNFELD:· Yeah.
     ·7· · · · · · · · Do you have that?                                ·7· · · · · Q.· · (BY MR. CORNFELD)· What is a
     ·8· · · · · A.· · Yes.                                             ·8· ·litigation package?
     ·9· · · · · · · · THE VIDEOGRAPHER:· Can I have you                ·9· · · · · A.· · It's data that's put together that we
     10· ·clip your mic on?                                             10· ·provide to our customers if they need it for
     11· · · · · · · · MR. CORNFELD:· Oh.                               11· ·litigation package support.
     12· · · · · · · · THE VIDEOGRAPHER:· No, you're good.              12· · · · · Q.· · And did you provide a sample
     13· · · · · Q.· · (BY MR. CORNFELD)· And do you see                13· ·litigation to Dr. Klette?
     14· ·that this contains Averhealth's Answers to Requests           14· · · · · A.· · We did.
     15· ·for Admissions that Plaintiff asked Averhealth to             15· · · · · Q.· · And that was in response to his
     16· ·admit?                                                        16· ·request for the litigation package or the package
     17· · · · · A.· · Yes.                                             17· ·of data that you would provide to courts on the
     18· · · · · Q.· · And Averhealth could admit it, if it             18· ·tests that you conducted, correct?
     19· ·was true; or deny it if it was not true?                      19· · · · · A.· · It was in response to he wanted to
     20· · · · · A.· · Yes.                                             20· ·know what we would put together for him to do an
     21· · · · · Q.· · And if you would look at number 3 on             21· ·audit for us.
     22· ·page 2.                                                       22· · · · · Q.· · He specifically requested a document
     23· · · · · A.· · Okay.                                            23· ·package for a specimen that is sent to court for
     24· · · · · Q.· · It says -- as I was reading:                     24· ·trial prior to September 14, 2020, and after
     25· ·Averhealth did not possess chromatograms or                   25· ·November 3rd, 2020, correct?

                                                             Page 218                                                             Page 220
     ·1· ·chromatographs of calibrators and controls on any             ·1· · · · · A.· · I didn't actually see his request.
     ·2· ·test reported as positive on any plaintiff at or              ·2· ·I've never seen the request of what he -- like,
     ·3· ·near the time it conducted and reported the results           ·3· ·what -- what he requested, if he was that specific.
     ·4· ·of those tests.· And let me stop there.                       ·4· · · · · · · · Thank you.
     ·5· · · · · · · · Is that part of the statement true?              ·5· · · · · Q.· · I've handed you what's been marked as
     ·6· · · · · A.· · This is -- this is something                     ·6· ·Exhibit 24, which is a document, the first page of
     ·7· ·Dr. Glinn -- she knows this data so much better.              ·7· ·which has the Bates number 35319.· And on the first
     ·8· ·So -- I didn't mean to get this far, but I want to            ·8· ·page, this has an e-mail from Jason Herzog to you
     ·9· ·table this question because she'd look at -- and              ·9· ·and Dr. Glinn dated August 11, 2022.
     10· ·our team's looking at -- is used to looking at                10· · · · · · · · Correct?
     11· ·data.                                                         11· · · · · A.· · Yes.
     12· · · · · Q.· · I'm sorry, what was the last part of             12· · · · · Q.· · And he says Kevin -- meaning
     13· ·what you said?                                                13· ·Dr. Klette; is that right?
     14· · · · · A.· · I said -- I said because they are the            14· · · · · A.· · Yes.
     15· ·ones who look at the data prior to reporting it, so           15· · · · · Q.· · Would like to come on site for three
     16· ·I want to leave this question to Dr. Glinn.                   16· ·days next week to review 150 samples.· And he goes
     17· · · · · Q.· · All right.· Would the -- would the               17· ·on.
     18· ·same be true for the second part of the statement,            18· · · · · · · · And Dr. Klette was coming on so that
     19· ·that Averhealth admitted that it did not possess              19· ·he could evaluate Averhealth's testing procedures
     20· ·such chromatograms or chromatographs until it                 20· ·and write a report to be submitted to investigators
     21· ·created them in response to Plaintiffs' requests --           21· ·in Michigan, correct?
     22· · · · · A.· · Yes.                                             22· · · · · A.· · Not to Michigan.· I believe it was to
     23· · · · · Q.· · -- during this litigation?                       23· ·the Department of Justice.
     24· · · · · A.· · Yes.                                             24· · · · · Q.· · You're correct.· But what I meant was
     25· · · · · · · · MR. CEJAS:· Did you mark that as an              25· ·to the U.S. attorney in Michigan.

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     ·1· · · · · A.· · Okay.· Yes, that is correct.                     ·1· · · · · Q.· · All right.· So this is an example of
     ·2· · · · · Q.· · All right.· And then he attaches in              ·2· ·what Averhealth was sending to courts during the
     ·3· ·this e-mail he's sent to you the information that             ·3· ·time period that Dr. Klette requested?
     ·4· ·Dr. Klette was requesting, correct?                           ·4· · · · · A.· · This is not.· This is an outdated
     ·5· · · · · A.· · Yes.                                             ·5· ·document.· As you can see, this was back in 2015.
     ·6· · · · · Q.· · And if you would look at the                     ·6· ·So the person who sent it, the owner on this
     ·7· ·second-to-last page, which is numbered 35323, do              ·7· ·document shows Courtney Clements, who was at the
     ·8· ·you see there's a heading:· Laboratory information            ·8· ·time in charge of proposal writing, and so I don't
     ·9· ·required prior to the inspection audit?                       ·9· ·know why this is what she pulled.
     10· · · · · A.· · Yes.                                             10· · · · · · · · Jason didn't ask neither Michele,
     11· · · · · Q.· · And by "inspection audit," he means              11· ·Dr. Glinn, or myself, for example, what was said
     12· ·his inspection of Averhealth's practices that he              12· ·from court.· And if you look at this document, all
     13· ·was coming to the laboratory to do, correct?                  13· ·of this was printed in 2015.· This is not what we
     14· · · · · A.· · Yes.                                             14· ·were producing during this time frame.· So this is
     15· · · · · Q.· · And the first item is document                   15· ·not an accurate litigation package of what we sent
     16· ·package for a specimen that is sent to court for              16· ·to our customers today or what we were sending to
     17· ·trial prior to September 14, 2020, and after                  17· ·our customers in 2020.
     18· ·November 3rd, 2020.                                           18· · · · · Q.· · All right.· When did you stop using
     19· · · · · · · · Do you see that?                                 19· ·the sample litigation package, the documents based
     20· · · · · A.· · Yes.                                             20· ·on Exhibit 20 -- 25?
     21· · · · · Q.· · So that is what Dr. -- Dr. Klette was            21· · · · · A.· · I don't know the exact date.
     22· ·requesting, and in response to which the sample               22· · · · · Q.· · Approximately.
     23· ·litigation package was sent, correct?                         23· · · · · A.· · I would say probably in 2016 or '17.
     24· · · · · A.· · Yes.                                             24· · · · · Q.· · So is this another administrative
     25· · · · · Q.· · All right.· And I -- you know, I'm               25· ·error that somebody at Averhealth did?

                                                             Page 222                                                               Page 224
     ·1· ·puzzled over these dates, why he would want it                ·1· · · · · A.· · Yes.
     ·2· ·before September 14, 2020, and after November 3rd,            ·2· · · · · Q.· · And something that would have been
     ·3· ·2020.· Those are -- those are the dates when                  ·3· ·easy to get right, correct?
     ·4· ·Dr. Riley was employed by Averhealth, correct?                ·4· · · · · A.· · Should have been.
     ·5· · · · · A.· · Yes.                                             ·5· · · · · Q.· · And she could have just sent
     ·6· · · · · Q.· · I wonder if that was his                         ·6· ·something from an actual case and blacked out the
     ·7· ·transcription error, and he really meant after                ·7· ·identity of the individual, correct?
     ·8· ·September 24, 2020, and before November 3rd, 2020, ·8· · · · · A.· · She could have.
     ·9· ·so he would have it for the time that Dr. Riley was ·9· · · · · Q.· · In fact, that's what was done for
     10· ·employed.                                                     10· ·Dr. Wagner, wasn't it?
     11· · · · · · · · MR. CEJAS:· Objection to the extent              11· · · · · A.· · I believe so.
     12· ·it calls for speculation.                                     12· · · · · Q.· · We'll get to that.
     13· · · · · · · · But if you know, go ahead.                       13· · · · · A.· · Okay.
     14· · · · · Q.· · (BY MR. CORNFELD)· Go ahead.· Go                 14· · · · · Q.· · Unless that will get deferred for
     15· ·ahead.                                                        15· ·Dr. Glinn also.
     16· · · · · A.· · I don't know.                                    16· · · · · · · · Let's look at the first page after
     17· · · · · Q.· · But in any event, in response, what              17· ·the cover page.
     18· ·was sent was a document entitled sample litigation            18· · · · · A.· · Okay.
     19· ·package, correct?                                             19· · · · · Q.· · The cover page says:· Averhealth
     20· · · · · A.· · Yes.                                             20· ·sample litigation package.
     21· · · · · · · · Thank you.                                       21· · · · · · · · Correct?
     22· · · · · Q.· · Handing you what's been marked as                22· · · · · A.· · Yes.· And at the time of 2020, we
     23· ·Exhibit 25.· Is this the sample litigation package            23· ·didn't even go by Avertest.· We'd updated our name
     24· ·we're talking about?                                          24· ·to Averhealth.· So this is an outdated document.
     25· · · · · A.· · Yes, it is.                                      25· · · · · Q.· · Okay.· It has on the second page,

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     ·1· ·page numbered 38144, a letter to whom it may                  ·1· · · · · Q.· · And that shows the titles and the
     ·2· ·concern stating the information included in this              ·2· ·names and whether they were employed of everyone
     ·3· ·litigation package has been reviewed and contains             ·3· ·who was involved in the chain of custody, correct?
     ·4· ·accurate and true copies of relevant data                     ·4· · · · · A.· · Yes.
     ·5· ·concerning the specimen in question.                          ·5· · · · · Q.· · There was nothing like that in the
     ·6· · · · · · · · Correct?                                         ·6· ·data package that you provided the plaintiffs, was
     ·7· · · · · A.· · Yes.                                             ·7· ·there?
     ·8· · · · · Q.· · And it's signed Michele A. Glinn,                ·8· · · · · A.· · No.
     ·9· ·PhD, laboratory director.                                     ·9· · · · · Q.· · If we would look at the second page
     10· · · · · · · · Correct?                                         10· ·of the chain of custody, page 38147, or page 4 of
     11· · · · · · · · MR. CEJAS:· Let me object.· Assumes              11· ·the document, it shows specimen with tamper tape,
     12· ·facts not in evidence.· I don't think that's                  12· ·and then there's a photograph, correct?
     13· ·signed.                                                       13· · · · · A.· · Yes.
     14· · · · · · · · Subject to that, go ahead.                       14· · · · · Q.· · And that provides a verification that
     15· · · · · Q.· · (BY MR. CORNFELD)· It has a signature            15· ·the sample arrived with the seals intact, correct?
     16· ·line for her?                                                 16· · · · · A.· · Yes.
     17· · · · · A.· · It has a signature line, yes.                    17· · · · · Q.· · There was no -- there were no photos
     18· · · · · Q.· · Thank you.                                       18· ·in the data packs of my client's tests, were there?
     19· · · · · · · · MR. CORNFELD:· I'm not going to say              19· · · · · A.· · We didn't have the specimens any
     20· ·feel free to correct my questions, but I appreciate           20· ·longer.
     21· ·that one.                                                     21· · · · · Q.· · You had the -- you had the specimens
     22· · · · · Q.· · (BY MR. CORNFELD)· There's no letter             22· ·when they arrived, correct?
     23· ·like this in the data packs that you produced on              23· · · · · A.· · Yes, but these pictures were not
     24· ·the plaintiffs' tests, is there?                              24· ·taken at the time the specimen was arrived.· These
     25· · · · · A.· · No.                                              25· ·were taken at the time litigation package was put

                                                             Page 226                                                             Page 228
     ·1· · · · · Q.· · There's a table of contents.· That's             ·1· ·together.· We've never taken specimens of -- we've
     ·2· ·on page 38145, correct?                                       ·2· ·never taken pictures of specimens as they've been
     ·3· · · · · A.· · Yes.                                             ·3· ·received.
     ·4· · · · · Q.· · To make it easy for whoever's                    ·4· · · · · Q.· · Why not?
     ·5· ·reviewing to do the review, know what to find and             ·5· · · · · A.· · Because we receive over 8,000 samples
     ·6· ·where to find it, correct?                                    ·6· ·a day.· It's overly burdensome.· No laboratory
     ·7· · · · · A.· · There is a table of contents, yes.               ·7· ·takes pictures of samples as they receive them.
     ·8· · · · · Q.· · And that assists the reader in                   ·8· · · · · Q.· · How do you know that?
     ·9· ·knowing what to find and where to find it, correct?           ·9· · · · · A.· · Okay.· I will -- let me rephrase
     10· · · · · A.· · Yes.                                             10· ·that.
     11· · · · · Q.· · There was no table of contents in the            11· · · · · · · · Of the laboratories that I've been at
     12· ·data packs you provided us, was there?                        12· ·of similar size and similar type of work that we do
     13· · · · · A.· · No.                                              13· ·here, including other CAP- and CLIA-certified
     14· · · · · Q.· · There was a data -- excuse me.· There            14· ·laboratories where we do mutual inspections and
     15· ·was a table of contents in the data packs you                 15· ·where I've personally worked, there was no picture
     16· ·provided to Dr. Wagner, wasn't there?                         16· ·that was taken at the time of receipt of the
     17· · · · · A.· · I'd have to look at one.· I don't                17· ·specimens.· It is not typical.
     18· ·remember what was provided to him.                            18· · · · · Q.· · Was it at the time in 2015 or 2016?
     19· · · · · Q.· · Okay.· Well, we may have a chance to             19· · · · · A.· · No.· This was taken after the fact
     20· ·look at it, unless that will be for Dr. Glinn.· I'm           20· ·when the litigation package was requested.
     21· ·not sure.                                                     21· · · · · Q.· · What happens to the specimen -- to
     22· · · · · · · · The sample litigation package,                   22· ·the specimen packages?
     23· ·Exhibit 25, has a section entitled:· Chain of                 23· · · · · A.· · I don't understand the question.
     24· ·custody.                                                      24· · · · · Q.· · How is it that you had the specimen
     25· · · · · A.· · Yes.                                             25· ·packages to take the photographs in the sample

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     ·1· ·litigation package?                                              ·1· · · · · Q.· · There was a -- there was a complaint
     ·2· · · · · A.· · Because the sample litigation was --                ·2· ·by Mr. Shnitzer.· Couldn't you have taken a
     ·3· ·was requested within the first year.· Right?· So                 ·3· ·photograph then and said see here, everything
     ·4· ·typically, our customers, when they ask for                      ·4· ·was -- was on the up-and-up?
     ·5· ·litigation package, it's going to be within that                 ·5· · · · · A.· · As I'd indicated previously, any --
     ·6· ·year that we have the specimen.· We retain those                 ·6· ·our contract is with the state.· So in this case,
     ·7· ·specimens.                                                       ·7· ·the state of Massachusetts.· So anything having to
     ·8· · · · · · · · In this example, when we put this                   ·8· ·do with testing the specimens needed to be a
     ·9· ·together, we would go back to the -- where that                  ·9· ·request that came from Massachusetts.
     10· ·sample was frozen because, you know, we may -- back 10· · · · · Q.· · Have you ever -- strike that.
     11· ·in 2015, we were probably doing less than ten                    11· · · · · · · · And so you didn't think it would --
     12· ·litigation packages a year.· So when it was                      12· ·it would at all help responding to Mr. Shnitzer's
     13· ·requested, we would go back to where this sample                 13· ·request to show him a photograph of the -- of the
     14· ·was sitting in frozen storage and take a picture of              14· ·package?
     15· ·it.                                                              15· · · · · A.· · We don't provide information back to
     16· · · · · Q.· · How long are the samples kept?· You                 16· ·the client giving the -- or to the patient
     17· ·said a year?                                                     17· ·themselves.· Any requests for information we
     18· · · · · A.· · One year.                                           18· ·provide back to Massachusetts.
     19· · · · · Q.· · One year?                                           19· · · · · Q.· · You didn't --
     20· · · · · A.· · Yes.                                                20· · · · · A.· · So had Massachusetts asked us for
     21· · · · · Q.· · And we filed our requests on -- in                  21· ·pictures of the specimens, we would have provided
     22· ·early 2023, so anything that was within a year, you              22· ·those to them.
     23· ·could have taken a photograph, correct?· At the                  23· · · · · Q.· · And -- and why don't you provide
     24· ·time we filed our request for -- for you to produce              24· ·records to a patient who complains?· Somebody did
     25· ·all the records you had on the tests.                            25· ·respond to Katza Foulger when -- when she made her

                                                                Page 230                                                            Page 232
     ·1· · · · · A.· · Correct.                                            ·1· ·complaint and asked for the sample back.
     ·2· · · · · Q.· · And you didn't produce any, did you?                ·2· · · · · A.· · Because our contract is with the
     ·3· · · · · A.· · No.                                                 ·3· ·state or the county entity.· So with Maricopa
     ·4· · · · · Q.· · And -- and --                                       ·4· ·County or with Massachusetts.
     ·5· · · · · A.· · Because that's not what we provide in               ·5· · · · · Q.· · But why did you respond to
     ·6· ·our litigation packages today.· Like I said, this                ·6· ·Mrs. Foulger and you didn't respond to
     ·7· ·was a package back from 2015.· In litigation                     ·7· ·Mr. Shnitzer?· Do you think it's responsible to get
     ·8· ·packages that we provide to our customers today, we ·8· ·a complaint from him and you have the evidence that
     ·9· ·don't provide a picture of the specimen.                         ·9· ·you say could refute the complaint and you didn't
     10· · · · · Q.· · You know that David Shnitzer                        10· ·provide it to him?
     11· ·complained about his result within days of when he               11· · · · · A.· · We provided the -- we did an
     12· ·got the results back?                                            12· ·investigation and provided a written documentation
     13· · · · · A.· · Okay.                                               13· ·back to Massachusetts.
     14· · · · · Q.· · You know that, don't you?                           14· · · · · Q.· · My question is:· Do you think it's
     15· · · · · A.· · Yes.· I do.                                         15· ·responsible not to provide that to Mr. Shnitzer
     16· · · · · Q.· · And he complained about how it was                  16· ·himself and not to provide him a photograph that
     17· ·collected, didn't he?                                            17· ·could refute his complaint?
     18· · · · · A.· · Yes.                                                18· · · · · A.· · He didn't ask for a photograph, and
     19· · · · · Q.· · You didn't save the photographs, or                 19· ·our contract is not with him, it's with
     20· ·you didn't take photographs, of his samples that                 20· ·Massachusetts.
     21· ·were still pretty fresh, correct?                                21· · · · · Q.· · He didn't -- all he did was make his
     22· · · · · A.· · There was not a request from the                    22· ·complaint.· My question is:· Do you think it's
     23· ·courts for a litigation package.· There was not a                23· ·responsible not to have photographed his -- his
     24· ·request from Massachusetts for a litigation                      24· ·specimens?
     25· ·package.                                                         25· · · · · A.· · I think what we did around his

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     ·1· ·testing is responsible.                                        ·1· ·weekly calibrations?
     ·2· · · · · Q.· · All right.· Have you ever had a                   ·2· · · · · A.· · Yes.
     ·3· ·delivery service deliver something to your house?              ·3· · · · · Q.· · That was not part of the data packs
     ·4· · · · · A.· · Yes.                                              ·4· ·that you provided the plaintiffs with, was it?
     ·5· · · · · Q.· · And take a picture to show that it                ·5· · · · · A.· · It was part of the supplemental.
     ·6· ·arrived and where it is?                                       ·6· · · · · Q.· · No, my question is:· The data packs
     ·7· · · · · A.· · Yes.                                              ·7· ·that you provided to the plaintiffs, that was not
     ·8· · · · · Q.· · They do it, so why don't you do it?               ·8· ·part of it, was it?
     ·9· · · · · A.· · Again, it's to the number of                      ·9· · · · · A.· · The data packs we provided to which
     10· ·specimens that are received in our laboratory on a 10· ·plaintiffs?
     11· ·daily basis.                                       11· · · · · Q.· · Any of the plaintiffs.· You didn't
     12· · · · · Q.· · How many deliveries do you think Uber 12· ·have data on instrument calibration and controls
     13· ·makes a day or DoorDash or UPS?                                13· ·with weekly calibrations.· I mean, take a look at
     14· · · · · A.· · They're a much larger organization                14· ·starting with 38150, all of that data that's headed
     15· ·with many more people.                                         15· ·calibrations.
     16· · · · · Q.· · Because they have many more                       16· · · · · A.· · So I understand it, we provide -- we
     17· ·deliveries.· They have one person per delivery, and            17· ·produced data and then we produced supplemental
     18· ·they -- and they find it -- the ability to take a              18· ·data packs.
     19· ·photograph and send it to the customer.                        19· · · · · Q.· · You did not produce a supplemental
     20· · · · · A.· · It's not common practice in the                   20· ·data pack.· You might have produced data that we
     21· ·industry to take pictures of a sample that was                 21· ·requested, but the data packs that you provided,
     22· ·received at the laboratory.                                    22· ·which are the only data packs we received on any of
     23· · · · · Q.· · Is the reason why you only respond to             23· ·the plaintiffs, they do not have information as in
     24· ·the state or the court and not to the individual --            24· ·this section from the sample litigation package
     25· ·except of course there was Mrs. Foulger's instance             25· ·entitled Weekly Calibrations, correct?

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     ·1· ·-- is that those are the people who are paying you?·1· · · · · A.· · Correct.
     ·2· · · · · A.· · No, it's who -- it's who our contract ·2· · · · · Q.· · And then there's also a section
     ·3· ·is with.                                           ·3· ·entitled Donor Data.· That's at page 13,
     ·4· · · · · Q.· · Have you had -- do -- do any of your  ·4· ·Bates 38156.
     ·5· ·contracts forbid you from communicating with the   ·5· · · · · · · · Do you see that?
     ·6· ·actual person who's being tested?                  ·6· · · · · A.· · Yes.
     ·7· · · · · A.· · I don't believe that there's language ·7· · · · · Q.· · Do you see that on --
     ·8· ·in there to -- to forbid it.                       ·8· · · · · A.· · I said yes.· I'm sorry if you didn't
     ·9· · · · · Q.· · Okay.                                 ·9· ·hear me.
     10· · · · · A.· · But our contract, right, you're going 10· · · · · Q.· · I didn't.
     11· ·to have communication with who you have a contract 11· · · · · A.· · I apologize.· I think I said it
     12· ·with, not with a third-party person.               12· ·softly, yes.
     13· · · · · Q.· · Except in Mrs. Foulger's case.        13· · · · · Q.· · Okay.· All right.· There's no donor
     14· ·Right?                                             14· ·data section in the data packs as there is in the
     15· · · · · A.· · Right.                                15· ·sample litigation package, correct?
     16· · · · · Q.· · And I -- I think there were also      16· · · · · A.· · Yes.
     17· ·direct communications with the Padillas, weren't   17· · · · · Q.· · That is correct?
     18· ·there?                                             18· · · · · A.· · Yes, that is correct.
     19· · · · · A.· · I'm not sure.                         19· · · · · Q.· · And then the next page is Instrument
     20· · · · · Q.· · Okay.· If you look at page 5 of       20· ·Maintenance.
     21· ·Exhibit 25, do you see that Section 2, Screening   21· · · · · · · · Do you see that?
     22· ·Data?                                              22· · · · · A.· · Yes.
     23· · · · · A.· · Yes.                                  23· · · · · Q.· · That's not in the data packs, is it?
     24· · · · · Q.· · And that's a section that provides    24· · · · · A.· · No.
     25· ·data on instrument calibration and controls with   25· · · · · Q.· · And then Section 3 is entitled --

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     ·1· ·that's on page 15.· That's entitled Section 3,      ·1· · · · · Q.· · Page 23 is Section C, Confirmation
     ·2· ·LC-MS/MS Confirmation Data THC.                     ·2· ·Results Summary.
     ·3· · · · · · · · Correct?                               ·3· · · · · A.· · Okay.· That's a header, yes.
     ·4· · · · · A.· · We don't use this form anymore.· This  ·4· · · · · Q.· · And then the data is on page 24?
     ·5· ·is outdated.                                        ·5· · · · · A.· · Yes.
     ·6· · · · · Q.· · What -- and --                         ·6· · · · · Q.· · Is there anything like that in the
     ·7· · · · · A.· · The batch prep sheet that you're       ·7· ·data packs?
     ·8· ·referring to.                                       ·8· · · · · A.· · Yes.
     ·9· · · · · Q.· · I'm referring to Section 3.            ·9· · · · · Q.· · And where -- if you take one of the
     10· · · · · A.· · Okay.· LC-MS Confirmation Data THC.    10· ·data packs --
     11· ·That's just a header.                               11· · · · · A.· · Yes.
     12· · · · · Q.· · Oh.· And then the next page, batch     12· · · · · Q.· · -- and tell me where that is.
     13· ·prep sheet?                                         13· · · · · A.· · Exhibit 22, page 110, where it starts
     14· · · · · A.· · We don't -- this is not in our         14· ·to show the chromatographs.
     15· ·procedures today.· We don't use a batch prep sheet. 15· · · · · Q.· · Page 38168 contains a Section D,
     16· · · · · Q.· · Do you have any record of the batch    16· ·Sequence Table, and it contains a sequence table,
     17· ·prep?                                               17· ·correct?
     18· · · · · A.· · In the database, it's going to be in   18· · · · · A.· · Yes.
     19· ·the chain of custody section.                       19· · · · · Q.· · Why do you do this?
     20· · · · · Q.· · For example, on the batch prep sheet   20· · · · · A.· · To be able to show the information
     21· ·on page 16 of Exhibit 25, the first task is:        21· ·about the controls, and then the sequence of the
     22· ·Poured confirmation samples into microfuge tubes.   22· ·specimens.
     23· · · · · · · · Do you see that?                       23· · · · · Q.· · The sequence of the specimens in the
     24· · · · · A.· · I do.                                  24· ·batch?
     25· · · · · Q.· · And that's not in the data packs, is   25· · · · · A.· · Yes.

                                                             Page 238                                                       Page 240
     ·1· ·it?· That's not in the chain of custody?                      ·1· · · · · Q.· · So not just the patients or the
     ·2· · · · · A.· · We don't use this form anymore.                  ·2· ·individual specimen, the sample you're testing, but
     ·3· · · · · Q.· · But you don't have any information               ·3· ·the other specimens that are in the batch?
     ·4· ·about pouring the confirmation samples into the               ·4· · · · · A.· · Some of them.· I don't know that this
     ·5· ·centrifuge tubes.· Do you?                                    ·5· ·is all.· If you can see, our batches typically were
     ·6· · · · · A.· · No.                                              ·6· ·larger than that.
     ·7· · · · · Q.· · If you would look at the -- page 17,             ·7· · · · · Q.· · Okay.
     ·8· ·Section B, Calibrations and Controls.                         ·8· · · · · A.· · So it shows that the -- it shows the
     ·9· · · · · · · · Do you see that?                                 ·9· ·sequence of the specimen --
     10· · · · · A.· · Yes.                                             10· · · · · · · · THE WITNESS:· Whoops, I'm sorry.· Did
     11· · · · · Q.· · And are those -- are those -- on the             11· ·I pull myself out?
     12· ·first two pages, they contain a -- a -- a                     12· · · · · · · · THE VIDEOGRAPHER:· No, you're still
     13· ·calibration, that's the -- the two lines, slanted             13· ·good.
     14· ·lines?                                                        14· · · · · · · · THE WITNESS:· No?· Okay.
     15· · · · · A.· · Yes.                                             15· · · · · · · · It shows the -- the -- the list
     16· · · · · Q.· · All right.· And then the rest of                 16· ·around the other specimens that are tested.· So
     17· ·those, there are chromatograms?                               17· ·this is not a full sequence of the batch.
     18· · · · · A.· · Yes.                                             18· · · · · Q.· · (BY MR. CORNFELD)· It has -- it has
     19· · · · · Q.· · And those are -- are those                       19· ·25 specimens, correct?
     20· ·chromatograms of the calibrators and controls?                20· · · · · A.· · It does.
     21· · · · · A.· · Yes.                                             21· · · · · Q.· · All right.· And there was no sequence
     22· · · · · Q.· · And that was not part of the data                22· ·table in the data packs that we were provided, was
     23· ·packs?                                                        23· ·there?
     24· · · · · A.· · We provided it in a tabular format,              24· · · · · A.· · There's a partial sequence table on
     25· ·not in the actual peak format.                                25· ·these as well that you can see.

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     ·1· · · · · Q.· · Does have anywhere near 25 items?                 ·1· · · · · Q.· · And Dr. Riley would not be considered
     ·2· · · · · A.· · Correct.· There is --                             ·2· ·an employee of Averhealth?
     ·3· · · · · Q.· · How many --                                       ·3· · · · · A.· · Correct.
     ·4· · · · · A.· · -- it is a partial sequence table.                ·4· · · · · Q.· · Why is that?
     ·5· · · · · Q.· · It had about three items, correct?                ·5· · · · · A.· · My understanding is based on her
     ·6· · · · · A.· · It showed the samples before and                  ·6· ·employment with Saint Louis University, this was
     ·7· ·after so you could look to see if there's potential            ·7· ·her choice, that she wanted us to pay Saint Louis
     ·8· ·carryover.                                                     ·8· ·University, that she could turn around and use that
     ·9· · · · · Q.· · The purpose of the sequence table is              ·9· ·money to hire somebody to work alongside of her
     10· ·to show potential carryover, correct?                          10· ·there.
     11· · · · · A.· · Yes.                                              11· · · · · Q.· · Alongside of her?
     12· · · · · Q.· · And -- and you need more than                     12· · · · · A.· · At SLU.
     13· ·three --                                                       13· · · · · Q.· · Okay.
     14· · · · · A.· · You don't --                                      14· · · · · A.· · She wanted to use it as a stipend.
     15· · · · · Q.· · -- items --                                       15· · · · · Q.· · I'm sorry?
     16· · · · · A.· · -- need more than three because                   16· · · · · A.· · She wanted to use it as a stipend for
     17· ·typically if you're going to show that the sample              17· ·employment for a fellow at Saint Louis University
     18· ·before it was huge, you just need to see the                   18· ·and didn't want to be employed directly.
     19· ·sample -- one or two sample -- preceding samples               19· · · · · Q.· · And she would still be employed at
     20· ·and not more than that.                                        20· ·Saint Louis University?
     21· · · · · Q.· · What -- what is carryover?                        21· · · · · A.· · Yes.
     22· · · · · A.· · Carryover is where the -- the                     22· · · · · Q.· · In her role as professor?
     23· ·specimen before it, the concentration is so high               23· · · · · A.· · Yes.
     24· ·that is there the risk that some -- that that       24· · · · · Q.· · Why did you feel the need to hire a
     25· ·potential sample didn't completely clear out before 25· ·new laboratory director in 2020?

                                                              Page 242                                                               Page 244
     ·1· ·the next sample's injected.                                    ·1· · · · · A.· · Because Dr. Glinn had moved to
     ·2· · · · · Q.· · So that the positive result wasn't                ·2· ·Michigan and we wanted a laboratory director that
     ·3· ·from that sample but from a prior sample?                      ·3· ·could be on site more frequently.
     ·4· · · · · A.· · Correct.                                          ·4· · · · · Q.· · Dr. Glinn was still going to be
     ·5· · · · · · · · MR. CORNFELD:· All right.· Why don't              ·5· ·employed at Averhealth?
     ·6· ·we take a break.                                               ·6· · · · · A.· · Yes.
     ·7· · · · · · · · THE VIDEOGRAPHER:· Time is 4:02 p.m.              ·7· · · · · Q.· · What was her title going to be?
     ·8· ·We are off the record.                                         ·8· · · · · A.· · She continued to assume the role of
     ·9· · · · · · · · (A short break was taken.)                        ·9· ·-- she was moving into a scientist.· I don't
     10· · · · · · · · THE VIDEOGRAPHER:· The time is                    10· ·remember what her actual title was.· She was moving
     11· ·4:30 p.m.· We are back on the record.                          11· ·into a role as a toxicologist.
     12· · · · · Q.· · (BY MR. CORNFELD)· I'd like to ask                12· · · · · Q.· · Did -- was part of the reason why you
     13· ·about Dr. Riley.                                               13· ·wanted a new laboratory director that you wanted
     14· · · · · A.· · Okay.                                             14· ·somebody to improve your procedures?
     15· · · · · Q.· · You -- she was hired on August 28,                15· · · · · A.· · No.
     16· ·2020, correct?                                                 16· · · · · Q.· · Had nothing to do with it?
     17· · · · · A.· · Yes.                                              17· · · · · A.· · Correct.
     18· · · · · Q.· · Handing you Exhibit 26.· Is this the              18· · · · · Q.· · Did the fact that you had failed a
     19· ·letter you sent to her on August 28, 2020 -- or not            19· ·lot of proficiency tests in the previous year have
     20· ·sent to Dr. Riley, but sent to the Department of               20· ·anything to do with it?
     21· ·Pathology at Saint Louis U telling them that                   21· · · · · · · · MR. CEJAS:· Object to the form.
     22· ·Dr. Riley would be joining Averhealth in your                  22· ·Assumes facts not in evidence.
     23· ·St. Louis laboratory in the role of laboratory                 23· · · · · · · · Go ahead.
     24· ·director?                                                      24· · · · · · · · THE WITNESS:· Can you show me the
     25· · · · · A.· · Yes.                                              25· ·fact we'd failed a lot?· We actually didn't fail a

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     ·1· ·lot of proficiency tests.                           ·1· · · · · Q.· · Okay.
     ·2· · · · · Q.· · (BY MR. CORNFELD)· But you had a lot   ·2· · · · · A.· · I'm -- I'm explaining the fact that
     ·3· ·of unacceptable results?                            ·3· ·we found the drug that was present.
     ·4· · · · · · · · MR. CEJAS:· Same objection.· Assumes   ·4· · · · · Q.· · And -- and still had an --
     ·5· ·facts not in evidence.                              ·5· · · · · A.· · What they wanted us to look into is
     ·6· · · · · · · · THE WITNESS:· Our overall percentages  ·6· ·why our results were not in the range that was
     ·7· ·were not failed.· We still were good on our         ·7· ·reported.
     ·8· ·proficiency tests, the overall score.               ·8· · · · · Q.· · And -- and CAP considered them
     ·9· · · · · · · · Thank you.                             ·9· ·unacceptable, correct?
     10· · · · · Q.· · (BY MR. CORNFELD)· I've handed you     10· · · · · A.· · For the range, yes.
     11· ·what's been -- I handed you what's been marked as   11· · · · · Q.· · And part of the exception
     12· ·Exhibit 27, which is a document Bates number on the 12· ·investigation checklist is to analyze why these
     13· ·first page of 21685 titled CAP PT Exception         13· ·were unacceptable, correct?
     14· ·Investigation Checklist.                            14· · · · · A.· · Yes.
     15· · · · · · · · Do you see that?                       15· · · · · Q.· · And for that, in the conclusion
     16· · · · · A.· · I do.                                  16· ·summary, all that's stated is all were acceptable
     17· · · · · Q.· · PT stands for proficiency test?        17· ·upon repeat, correct?
     18· · · · · A.· · Yes.                                   18· · · · · A.· · Correct, yes.
     19· · · · · Q.· · What is a proficiency test?            19· · · · · Q.· · You didn't actually figure out why
     20· · · · · A.· · CAP sends us the spiked samples        20· ·they were unacceptable?
     21· ·that -- of certain drugs of unknown concentration, 21· · · · · A.· · It shows that it was acceptable upon
     22· ·and through that process, we test those alongside 22· ·repeat, yes.
     23· ·of other specimens and we report out the test       23· · · · · Q.· · Now, my clients who had positive
     24· ·results.                                            24· ·results that they say are not accurate, you didn't
     25· · · · · Q.· · And -- and for any unacceptable        25· ·repeat those.· They didn't have the benefit of
                                                               Page 246                                                            Page 248
     ·1· ·results, you have to submit a PT Exception                      ·1· ·having somebody say these were unacceptable so that
     ·2· ·Investigation Checklist, correct?                               ·2· ·you could repeat them and find that they were
     ·3· · · · · A.· · Correct.                                           ·3· ·normal, did they?
     ·4· · · · · Q.· · And this one is from tests that were               ·4· · · · · A.· · The results were accurate.· They --
     ·5· ·done in September 2019?· This one meaning                       ·5· ·they -- we found the positive drug that was spiked
     ·6· ·Exhibit 27?                                                     ·6· ·in there.· What CAP wants us to look at is why the
     ·7· · · · · A.· · Correct.                                           ·7· ·quantitative value is not within the range that
     ·8· · · · · Q.· · And there were five unacceptable                   ·8· ·they had specified.
     ·9· ·results, correct?                                               ·9· · · · · Q.· · My -- my question was:· My clients
     10· · · · · A.· · We found the accurate result, so in                10· ·didn't have the benefit of having somebody say that
     11· ·this case, if you look at these, we found all the               11· ·the results were unacceptable and have you repeat
     12· ·drugs that were spiked in there.· So we found the               12· ·the tests, correct?
     13· ·PCP, the one that's labeled unacceptable result 1;              13· · · · · A.· · They could have asked to have the
     14· ·in UDC result 2, we found the EDDP, which is the                14· ·test repeated.
     15· ·metabolite of methadone.· In result 3, UDC 28, we               15· · · · · Q.· · They -- well, some of them complained
     16· ·found the 6-MAM.· In unacceptable result 4, we                  16· ·about it to you that you didn't repeat the tests.
     17· ·found THC.· And in UDC 23, unacceptable result 5,               17· · · · · A.· · The customer -- they could have gone
     18· ·we found the pH result.                                         18· ·to their -- whoever was contracted for them and
     19· · · · · · · · The -- the question was the results                19· ·asked us to repeat the samples.· And in Michigan,
     20· ·range and whether it was reported within the range 20· ·we had requests for repeats on a regular basis that
     21· ·of us compared to other laboratories.                           21· ·we conducted.
     22· · · · · Q.· · Are you disputing the fact that these              22· · · · · Q.· · Well, Mrs. Foulger, she wanted to
     23· ·were considered -- these five results were                      23· ·have her test repeated, and you said, sorry, we get
     24· ·considered unacceptable?                                        24· ·-- we destroyed all of your hair that we had,
     25· · · · · A.· · I'm not.                                           25· ·correct?

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     ·1· · · · · A.· · Correct.                               ·1· ·foundation.
     ·2· · · · · Q.· · When -- when somebody from Michigan    ·2· · · · · · · · But subject to that, go ahead.
     ·3· ·requested you repeat a test --                      ·3· · · · · · · · THE WITNESS:· I would want to see all
     ·4· · · · · A.· · Uh-huh.                                ·4· ·of our reports to be able to verify that.· So if we
     ·5· · · · · Q.· · -- were there times when they came     ·5· ·want to pull out all of our -- our scoring, then we
     ·6· ·back after having been tested the first time        ·6· ·can go through and I can ensure that all that's
     ·7· ·positive, they came back negative?                  ·7· ·factually correct.
     ·8· · · · · A.· · There were very few instances, less    ·8· · · · · Q.· · (BY MR. CORNFELD)· Okay.· I'd like
     ·9· ·than 1 percent where the drug was still present but ·9· ·you to assume it.· There will be experts on both
     10· ·was below the cutoff due to sample degradation      10· ·sides who will be looking at this.
     11· ·between the timing between when the original test   11· · · · · A.· · Okay.
     12· ·was done and when the secondary test was done.      12· · · · · Q.· · But I'd like you to assume that was
     13· · · · · · · · Besides the one isolated event, that   13· ·the case.· And you're saying that had nothing to do
     14· ·I'm sure we'll -- that we will talk about, which    14· ·with hiring Dr. Riley?
     15· ·was a tray that the samples were put in the         15· · · · · A.· · Correct.
     16· ·incorrect place, so there were 13 results that one  16· · · · · Q.· · Do you know that CAP discussed with
     17· ·client asked us to take a look into.· And through   17· ·you the unacceptable PT results when you were on
     18· ·the investigation, we realized that not only that   18· ·probation?
     19· ·one sample had been incorrectly reported because it 19· · · · · A.· · They discussed with me unacceptable
     20· ·was all on a tray, that we proactively then         20· ·results?· Can you --
     21· ·corrected all the results and notified all the      21· · · · · Q.· · Discussed with Averhealth.
     22· ·caseworkers of that instance of those 13 specimens. 22· · · · · A.· · Can you talk to me about what --
     23· · · · · Q.· · That wasn't an administrative error,   23· · · · · Q.· · We will have an opportunity --
     24· ·was it?                                             24· · · · · A.· · Okay.· Okay.
     25· · · · · A.· · It was a -- no, I didn't say that it   25· · · · · Q.· · Are you -- unless that gets -- also

                                                             Page 250                                                       Page 252
     ·1· ·was an administrative error.                                  ·1· ·gets deferred to D. Riley.
     ·2· · · · · Q.· · I know you didn't, that's why I'm                ·2· · · · · A.· · You mean Dr. Glinn.
     ·3· ·asking.                                                       ·3· · · · · Q.· · I'm sorry, to Dr. Glinn.· But do you
     ·4· · · · · A.· · Okay.                                            ·4· ·recall that, that that happened?
     ·5· · · · · Q.· · It wasn't an administrative error,               ·5· · · · · A.· · Yes.
     ·6· ·was it?                                                       ·6· · · · · Q.· · Okay.
     ·7· · · · · A.· · It was a human error that somebody               ·7· · · · · A.· · I just want to be clear.
     ·8· ·loaded the tray incorrectly.                                  ·8· ·Unacceptable means around the quantitation of it,
     ·9· · · · · Q.· · So I went through the PT tests for               ·9· ·not that we actually found the correct result or
     10· ·the year before Dr. Riley started.                            10· ·not.· So there's no argument on these that we
     11· · · · · A.· · Yes.                                             11· ·didn't find the drug present.· It's about the
     12· · · · · Q.· · And looking at the PT Exception                  12· ·numerical number.
     13· ·Investigation Checklist, and I found in the test of           13· · · · · · · · MR. CORNFELD:· Move to strike as
     14· ·September 22, 2020, there was one unacceptable                14· ·nonresponsive to any question.
     15· ·result; in October, there was one unacceptable                15· · · · · Q.· · (BY MR. CORNFELD)· Was
     16· ·result; there also was in December.                           16· ·Dr. Riley going to be -- excuse me -- was -- yes,
     17· · · · · · · · And there was a second test in -- on             17· ·was Dr. Riley going to be full-time?
     18· ·December 30th of 2019 where the creatinine tests              18· · · · · A.· · No.
     19· ·for all specimens were unacceptable.· There was one           19· · · · · Q.· · She was not full-time, was she?
     20· ·unacceptable in January; five again in February;              20· · · · · A.· · She was not.
     21· ·three in March; two in April; one in May; four in             21· · · · · Q.· · What were her hours?
     22· ·July; and one in 9.· And that was all of them.                22· · · · · A.· · She was supposed to work 20 hours per
     23· · · · · · · · Does that sound familiar?                        23· ·week.· So she would split her time.
     24· · · · · · · · MR. CEJAS:· Let me just object.                  24· · · · · Q.· · By the way, when those PT results
     25· ·Objection.· Assumes facts not in evidence and                 25· ·were unacceptable --

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     ·1· · · · · A.· · Uh-huh.                                            ·1· · · · · Q.· · Was she ever chastised or reprimanded
     ·2· · · · · Q.· · -- that wasn't an administrative                   ·2· ·or was that ever brought to her attention while she
     ·3· ·error, was it?                                                  ·3· ·was working for Averhealth?
     ·4· · · · · A.· · No.· But it wasn't an error at all.                ·4· · · · · A.· · It was not.
     ·5· ·The results were accurately reported.· The question             ·5· · · · · Q.· · Dr. Riley began with Averhealth on
     ·6· ·was about the quantitation.· So it's not an error.              ·6· ·September 14, 2020, correct?
     ·7· ·They were not reported in error.· The drug was                  ·7· · · · · A.· · I'd have to check a document to know
     ·8· ·found.                                                          ·8· ·exactly what date she started.
     ·9· · · · · Q.· · Aren't the levels of my client's                   ·9· · · · · Q.· · We'll see a document to that effect.
     10· ·test, what we're talking about, whether they were               10· ·Just assume for now that it was --
     11· ·above or below the cutoff?                                      11· · · · · A.· · Okay.
     12· · · · · A.· · To determine a specimen to be                      12· · · · · Q.· · -- it was September 14, 2020.
     13· ·positive or negative, yes, there is a established               13· · · · · · · · (A discussion was held off the
     14· ·cutoff.                                                         14· ·record.)
     15· · · · · Q.· · And -- and there are levels that are               15· · · · · · · · MR. CEJAS:· Thank you.
     16· ·either above or below the cutoff?                               16· · · · · Q.· · (BY MR. CORNFELD)· Handing you what's
     17· · · · · A.· · Correct.                                           17· ·been marked as Exhibit 28 --
     18· · · · · Q.· · And for -- how was Dr. Riley trained               18· · · · · A.· · Okay.
     19· ·at Averhealth?                                                  19· · · · · Q.· · -- which is a one-page document with
     20· · · · · A.· · A combination of spending time with                20· ·the Bates number 15724.
     21· ·Dr. Glinn, as well as spending time with other                  21· · · · · · · · Do you see that this is a memorandum
     22· ·laboratory staff on site to learn our processes and22· ·on Averhealth letterhead dated and timed from
     23· ·procedures.· So it would have been some, you know, 23· ·September 13, 2020, from 12 noon to 1:00 p.m. about
     24· ·training -- I believe Dr. Glinn and Dr. Riley spent             24· ·a meeting with you and Dr. Glinn and Dr. Riley?
     25· ·about a week together, and then obviously when she 25· · · · · A.· · Yes.

                                                               Page 254                                                              Page 256
     ·1· ·was on site, it would have been with the team that              ·1· · · · · Q.· · Did Dr. Riley report to you?
     ·2· ·was there.· So Christina Essington, Shannon                     ·2· · · · · A.· · Yes.
     ·3· ·Spencer, and others throughout her time frame.                  ·3· · · · · Q.· · And so this was actually -- would
     ·4· · · · · · · · She was not on site at the 20 hours                ·4· ·have been the day before she started, correct?
     ·5· ·as agreed upon, but actually spent considerably                 ·5· · · · · A.· · I need to look at a calendar if -- I
     ·6· ·less time on site to fully understand our processes             ·6· ·don't -- if we had a meeting from 12:00 to 1:00,
     ·7· ·and procedures.· She committed to be on site for                ·7· ·what day of the week is this?· I would have assumed
     ·8· ·20 hours a week and actually was on site less than              ·8· ·she would have started.
     ·9· ·10 hours a week.                                                ·9· · · · · · · · THE WITNESS:· Can I look at my phone
     10· · · · · Q.· · Did she -- did she clock in and clock              10· ·to look at a calendar?
     11· ·out?                                                            11· · · · · · · · MR. CEJAS:· Sure.
     12· · · · · A.· · She did not.                                       12· · · · · · · · THE WITNESS:· So I know what day of
     13· · · · · Q.· · Was any record kept of what hours she              13· ·the week it is?
     14· ·was on site?                                                    14· · · · · Q.· · (BY MR. CORNFELD)· I can ask Siri.
     15· · · · · A.· · There was not.                                     15· · · · · · · · MR. CEJAS:· I'll have an answer for
     16· · · · · Q.· · Then how do you know that she was not              16· ·you in just a second.
     17· ·on site for more than 10 hours?                                 17· · · · · · · · MR. PLEBAN:· Which is it, 9/13?
     18· · · · · A.· · She had an office across the hall                  18· · · · · · · · THE WITNESS:· 9/13/2020.
     19· ·from Shannon Spencer, who was a full-time employee 19· · · · · · · · MR. PLEBAN:· 2020 is a Sunday.
     20· ·that was there for, you know, 10 to 12 hours a day.             20· ·9/13/2020.
     21· ·And typically, when Dr. Riley was there, she would              21· · · · · · · · MR. CEJAS:· Agreed.
     22· ·have checked in with Shannon and checked out.                   22· · · · · · · · THE WITNESS:· Okay.
     23· · · · · · · · So based on feedback that I received               23· · · · · Q.· · (BY MR. CORNFELD)· And this -- this
     24· ·from employees that were on site, they saw                      24· ·was a division of responsibilities that was
     25· ·Dr. Riley less than 10 hours a week.                            25· ·established during this meeting between Dr. Riley

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     ·1· ·and Dr. Glinn?                                                ·1· ·21671.· This is on the letterhead of Averhealth,
     ·2· · · · · A.· · And myself, the three of us I believe            ·2· ·and it's a letter dated January 4, 2021, to Lena
     ·3· ·were in the meeting together.                                 ·3· ·Portillo of the investigations department of CAP's
     ·4· · · · · Q.· · Right.· What I meant was it was a                ·4· ·accreditation department.· And it is signed by
     ·5· ·division of responsibilities between the two of               ·5· ·Dr. Glinn, if you look on page 21676.
     ·6· ·them?                                                         ·6· · · · · · · · Do you have that?
     ·7· · · · · A.· · Correct.                                         ·7· · · · · A.· · I do.
     ·8· · · · · Q.· · And -- and what their                            ·8· · · · · Q.· · CAP stands for the College of
     ·9· ·responsibilities are for each of them is set forth            ·9· ·American Pathologists, correct?
     10· ·under their names, correct?                                   10· · · · · A.· · Yes.
     11· · · · · A.· · Correct.                                         11· · · · · Q.· · And it's the body that provides
     12· · · · · Q.· · And everybody agreed on that division            12· ·Averhealth with its accreditation as a forensic
     13· ·of responsibility?                                            13· ·laboratory, correct?
     14· · · · · A.· · Yes.                                             14· · · · · A.· · Yes.
     15· · · · · Q.· · And you know that Dr. Riley grew                 15· · · · · Q.· · And we'll get to this letter in more
     16· ·dissatisfied with what was going on in the                    16· ·detail, but if you would look at the third
     17· ·laboratory, correct?                                          17· ·paragraph, the paragraph that starts:· We have
     18· · · · · A.· · Can you be more specific in your                 18· ·tremendous.· Four lines down, she says:· It is
     19· ·question?                                                     19· ·perplexing that Sarah Riley never once raised any
     20· · · · · Q.· · Well, she raised concerns with you               20· ·concerns while working for Averhealth.
     21· ·about the laboratory's practices and procedures,              21· · · · · · · · Do you see that?
     22· ·correct?                                                      22· · · · · A.· · Yes.
     23· · · · · A.· · She sent me an e-mail wanting to make            23· · · · · Q.· · That was not a true statement, was
     24· ·some changes in processes, yes.                               24· ·it?
     25· · · · · Q.· · Well, there was more than that.· She             25· · · · · A.· · She sent one e-mail with quality
                                                             Page 258                                                       Page 260
     ·1· ·had concerns about the practices, not just that she           ·1· ·changes that she wanted to make that she sent to
     ·2· ·wanted to make changes, correct?                              ·2· ·me.
     ·3· · · · · A.· · Yes.                                             ·3· · · · · Q.· · It was not a true statement that she
     ·4· · · · · Q.· · She called them significant concerns,            ·4· ·never once raised any concerns while she was
     ·5· ·correct?                                                      ·5· ·working for Averhealth, was it?
     ·6· · · · · A.· · Those were the words she used, yes.              ·6· · · · · A.· · Correct.
     ·7· · · · · Q.· · Do you know that Averhealth told CAP             ·7· · · · · Q.· · Why did Dr. Riley lie about that?
     ·8· ·that Dr. Riley never once raised any concerns while           ·8· ·Excuse me, why did -- strike that.
     ·9· ·working for Averhealth?                                       ·9· · · · · · · · Why did Dr. Glinn lie about that?
     10· · · · · A.· · I'm -- I'd need to see the verbiage              10· · · · · A.· · I don't know.
     11· ·that was put in there.                                        11· · · · · · · · MR. CEJAS:· Objection.· For the
     12· · · · · Q.· · Well, we will get --                             12· ·record, my objection was assumes facts not in
     13· · · · · A.· · We'll get there?                                 13· ·evidence.
     14· · · · · Q.· · We will get there.· Well, here.                  14· · · · · Q.· · (BY MR. CORNFELD)· It's not -- it's
     15· · · · · · · · MR. CEJAS:· That's your highlighted              15· ·not -- it's not -- I assume it's not Averhealth's
     16· ·copy.                                                         16· ·policy that its employees should tell untruths to
     17· · · · · · · · MR. CORNFELD:· Whoops.                           17· ·anyone, much less its accrediting body, correct?
     18· · · · · · · · THE WITNESS:· Looks like two are                 18· · · · · A.· · Correct.
     19· ·highlighted.                                                  19· · · · · Q.· · When did you first learn that she
     20· · · · · · · · MR. CORNFELD:· Yeah, there are.· You             20· ·said that to CAP?
     21· ·can have the other one.                                       21· · · · · A.· · When did I first learn?
     22· · · · · · · · THE WITNESS:· Thank you.                         22· · · · · Q.· · Yes.
     23· · · · · Q.· · (BY MR. CORNFELD)· I've handed you               23· · · · · A.· · That this was written in this letter?
     24· ·what's been marked as Exhibit 29, a multipage                 24· · · · · Q.· · Yes.
     25· ·document bearing the number on the first page of              25· · · · · A.· · In my recollection, I most likely

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     ·1· ·reviewed it before it went over to CAP.             ·1· · · · · A.· · I believe so.
     ·2· · · · · Q.· · Did you -- did you review it with the  ·2· · · · · Q.· · All right.· And Mr. Herzog was the
     ·3· ·statement that Dr. Riley never once raised any      ·3· ·CEO of Averhealth at the time, correct?
     ·4· ·concerns while working for Averhealth?              ·4· · · · · A.· · That is correct, yes.
     ·5· · · · · A.· · I did.                                 ·5· · · · · Q.· · He was your boss, correct?
     ·6· · · · · Q.· · And you let that go out, too?          ·6· · · · · A.· · Yes, he was.
     ·7· · · · · A.· · I did.                                 ·7· · · · · Q.· · So you were Dr. Riley's boss,
     ·8· · · · · Q.· · Even though you know it's not true?    ·8· ·Mr. Herzog was your boss?
     ·9· · · · · A.· · She had sent me one e-mail wanting to  ·9· · · · · A.· · Correct.
     10· ·make concern -- wanting to make changes to our      10· · · · · Q.· · Correct?· Okay.· And this was -- this
     11· ·processes, and I responded with her that she, yes, 11· ·exchange was initiated by Mr. Herzog on Friday,
     12· ·absolutely, what you've outlined as far as the      12· ·October 30th.
     13· ·changes that you want to make, go ahead and go 13· · · · · · · · And by the way, the letter to CAP
     14· ·forward with those.                                 14· ·said it was one business day.· She actually -- not
     15· · · · · Q.· · No, I'm not talking about wanting to   15· ·that it matters that much, but it was actually two
     16· ·make changes.· I'm talking about her -- her raising 16· ·business days, correct, since she resigned on
     17· ·concerns, what she called significant concerns,     17· ·Tuesday?
     18· ·with -- with you, with Averhealth.· Why did you let 18· · · · · A.· · Correct.
     19· ·this letter go out with this statement that it's    19· · · · · Q.· · All right.· Is that a -- was that
     20· ·perplexing that Sarah Riley never once raised any   20· ·just an administrative error to say it was one day
     21· ·concerns while working for Averhealth?              21· ·rather than two?
     22· · · · · A.· · I was confident in the testing         22· · · · · A.· · I never saw this exchange beforehand,
     23· ·processes that were outlined in our SOPs, and in 23· ·so...
     24· ·the test results that we put out.                   24· · · · · Q.· · You don't know how that error was
     25· · · · · Q.· · That's a different issue.· I know      25· ·made?
                                                               Page 262                                                             Page 264
     ·1· ·that you told CAP that you thought that the testing             ·1· · · · · A.· · I do not.
     ·2· ·processes were proper, and CAP made its own                     ·2· · · · · Q.· · All right.· Mr. Herzog says to
     ·3· ·judgment on that.                                               ·3· ·Dr. Riley:· Sarah, it was a pleasure meeting you
     ·4· · · · · · · · My question is:· Why did you let the               ·4· ·yesterday.· Very much looking forward to learning
     ·5· ·letter go out with the false statement that                     ·5· ·from you and learning with you.· Thanks for joining
     ·6· ·Dr. Riley never once raised any concerns while                  ·6· ·the Averhealth team.
     ·7· ·working for Averhealth?                                         ·7· · · · · · · · Do you see that?
     ·8· · · · · A.· · I don't recall.                                    ·8· · · · · A.· · I do.
     ·9· · · · · Q.· · And then the letter goes on to say:                ·9· · · · · Q.· · That was a very nice e-mail from him
     10· ·Just one work day prior to abruptly resigning,                  10· ·to Dr. Riley, wasn't it?
     11· ·Sarah Riley shared how much she looked forward to               11· · · · · A.· · We'd had a two-day, onsite meeting in
     12· ·working with the team.                                          12· ·Richmond, and had an opportunity for all of us to
     13· · · · · · · · Do you see that?                                   13· ·get together.· And she spent two days side-by-side
     14· · · · · A.· · I do.                                              14· ·with my boss Mr. Herzog, our CFO, and others with
     15· · · · · Q.· · Okay.· Let's look at what I've handed              15· ·the leadership team.
     16· ·you, what's been marked as Exhibit 30, which is a               16· · · · · Q.· · Okay.· My question --
     17· ·document with the Bates number on the first page of             17· · · · · A.· · And not once there did she raise
     18· ·36600.                                                          18· ·concerns about our testing.
     19· · · · · · · · Do you see that this is an exchange                19· · · · · Q.· · My question was:· This is a very nice
     20· ·of e-mails between Dr. Riley and Jason Herzog on                20· ·e-mail --
     21· ·October 30th, 2020?                                             21· · · · · A.· · It is.
     22· · · · · A.· · I do.                                              22· · · · · Q.· · -- from Mr. Herzog to Dr. Riley?
     23· · · · · Q.· · Is this the e-mail that Dr. Glinn was              23· · · · · A.· · It is.
     24· ·referring to when she said she shared how much she              24· · · · · Q.· · She probably felt very good when she
     25· ·looked forward to working with the team?                        25· ·got that, don't you think?

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     ·1· · · · · · · · MR. CEJAS:· I'm going to object to                ·1· ·referring to in the letter to CAP?
     ·2· ·the extent that calls for speculation.                         ·2· · · · · A.· · Yes.
     ·3· · · · · · · · But go ahead, if you know.                        ·3· · · · · Q.· · Can you see why in response to
     ·4· · · · · · · · THE WITNESS:· I don't know how she                ·4· ·Mr. Herzog's very nice welcoming note that she
     ·5· ·felt.                                                          ·5· ·wouldn't want to go over her boss's head and unload
     ·6· · · · · Q.· · (BY MR. CORNFELD)· And then he -- and             ·6· ·all of her complaints to him?
     ·7· ·then he makes kind of a funny line because                     ·7· · · · · A.· · I can't speculate what she was
     ·8· ·Halloween's coming up.· He says:· Hope that you                ·8· ·thinking.· I don't know why she wouldn't.· If she
     ·9· ·have a spooky safe Halloween with your littles.                ·9· ·had serious analytical concerns, you would think
     10· · · · · · · · I assume he means her children?                   10· ·she would voice them to the CEO of the
     11· · · · · A.· · I assume so.                                      11· ·organization.
     12· · · · · Q.· · Okay.· And then he says:· Many                    12· · · · · Q.· · You think she might have thought it
     13· ·thanks, Jason.                                                 13· ·wasn't her place to go over your head, that she
     14· · · · · · · · Do you see that?                                  14· ·should voice them to you first?
     15· · · · · A.· · Yes.                                              15· · · · · A.· · I can't speculate exactly what she
     16· · · · · Q.· · And during that meeting that you had              16· ·was thinking.· But again, I'll go back to if she
     17· ·for two days, did anybody complain about                       17· ·thought that they were serious concerns, you would
     18· ·Dr. Riley's performance?                                       18· ·think that she would have raised them not only to
     19· · · · · A.· · They did not.                                     19· ·myself, but to the CEO of the company.
     20· · · · · Q.· · Mention that, hey, you're not                     20· · · · · Q.· · Well, you said the CFO and other
     21· ·spending enough time at the lab, or you need to                21· ·people were there.· That wouldn't be their role.
     22· ·pick up the time you spent at the lab?                         22· ·She was there to learn, and she came -- and then
     23· · · · · A.· · They did not, but nobody would have               23· ·she came back and it was the next day that she
     24· ·known how much -- of that team, nobody would have 24· ·shared her significant concerns with you, correct?
     25· ·known how much time she was spending at the                    25· · · · · A.· · It was.· It was the two days. I

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     ·1· ·laboratory, being that the leadership team does not ·1· ·believe it was -- if -- if this --
     ·2· ·preside in St. Louis or at the laboratory.          ·2· · · · · Q.· · It was on a Sunday.
     ·3· · · · · Q.· · Weren't you at the meeting?                       ·3· · · · · A.· · It was on a Sunday, and I don't
     ·4· · · · · A.· · I was.                                            ·4· ·believe it was the 30th.· I think it was several
     ·5· · · · · Q.· · Didn't you know?                                  ·5· ·days later.· I don't know what day the 30th was.
     ·6· · · · · A.· · I did not know.                                   ·6· · · · · Q.· · I've handed you what's been marked as
     ·7· · · · · Q.· · Okay.· Dr. Riley responds by saying:              ·7· ·Exhibit 31, which is a document that has the
     ·8· ·Thank you for including me.· I am enjoying CYL.                ·8· ·number 85224 on its first page and is an e-mail --
     ·9· · · · · · · · What does CYL stand for?                          ·9· · · · · A.· · You gave me your highlighted one
     10· · · · · A.· · It was a leadership training that we              10· ·again.
     11· ·did.· It -- Catch Your Limit is what it stands for.            11· · · · · Q.· · Oh.
     12· · · · · Q.· · That was an Averhealth term?                      12· · · · · · · · MR. PLEBAN:· Start putting your
     13· · · · · A.· · No, it's an actual company.                       13· ·initials on these.
     14· · · · · Q.· · Oh.                                               14· · · · · · · · MR. CORNFELD:· Yeah, right.
     15· · · · · A.· · So we hired a third-party company                 15· · · · · Q.· · (BY MR. CORNFELD)· Handing you what's
     16· ·called Catch Your Limit that did leadership                    16· ·been marked as Exhibit 31, which is a -- which
     17· ·training for us.                                               17· ·bears the number 85224 on the first page and is an
     18· · · · · Q.· · Okay.· So she -- she said she's                   18· ·e-mail exchange between you and Dr. Riley, along
     19· ·enjoying CYL and learning a lot.· I've also really             19· ·with an e-mail from you at the top.
     20· ·enjoyed getting to know the team.· I'm looking                 20· · · · · · · · Is this the e-mail in which Dr. Riley
     21· ·forward to working with everyone.· Have a good                 21· ·made her complaints?
     22· ·weekend.· Sarah.                                               22· · · · · A.· · This is where she expressed some
     23· · · · · · · · Do you see that?                                  23· ·concerns, yes.
     24· · · · · A.· · Yes.                                              24· · · · · Q.· · Okay.· And the e-mail that started
     25· · · · · Q.· · And is that what Dr. Glinn was                    25· ·this exchange was dated Sunday, November 1st --

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     ·1· · · · · A.· · Correct.                                         ·1· ·were in Richmond, correct?
     ·2· · · · · Q.· · -- 2020 at 12:42 p.m., correct?                  ·2· · · · · A.· · Yes.
     ·3· · · · · A.· · Yes.                                             ·3· · · · · Q.· · Okay.· And then you see she goes on
     ·4· · · · · Q.· · And her subject is:· Analytical                  ·4· ·and says:· All of the issues have to do with the MS
     ·5· ·concerns and immediate future plans.                          ·5· ·confirmation side of the lab.
     ·6· · · · · · · · Correct?                                         ·6· · · · · · · · Do you see that, at the end of her
     ·7· · · · · A.· · Yes.                                             ·7· ·first full paragraph?
     ·8· · · · · Q.· · And when you read this, did you                  ·8· · · · · A.· · Yes, I do.
     ·9· ·conclude that she had been thinking about these               ·9· · · · · Q.· · What is meant by the MS confirmation
     10· ·things for a long time?                                       10· ·side of the lab?
     11· · · · · A.· · I didn't think about that -- I didn't            11· · · · · A.· · The mass spectrometry.
     12· ·give it any thought.· I read the e-mail for                   12· · · · · Q.· · That's -- that's the second part of
     13· ·context.                                                      13· ·the test, for example, that you do in Michigan, the
     14· · · · · Q.· · Okay.· You can count up the                      14· ·first part being amino assay, and the second would
     15· ·paragraphs, but this is a very long e-mail                    15· ·be the confirmation part, and the MS confirmation
     16· ·containing 15 paragraphs, correct?                            16· ·refers to that?
     17· · · · · A.· · It is.· It's an action plan.· I mean,            17· · · · · A.· · It refers to the confirmation side of
     18· ·part of it is an action plan.· There's five                   18· ·the laboratory, the -- the LC-MS/MS testing side of
     19· ·paragraphs of an action plan.                                 19· ·the lab, yes.
     20· · · · · Q.· · Well, whatever, the e-mail is                    20· · · · · Q.· · Okay.· She says:· The most
     21· ·15 paragraphs long.· It showed that she had devoted           21· ·significant issue is how frequently QCs fail and
     22· ·quite a lot of thought to this, correct?                      22· ·how data is manipulated to get the QCs in, where
     23· · · · · · · · MR. CEJAS:· Let me object.· It calls             23· ·exceptions are made in order to release results.
     24· ·for speculation of what she did or didn't do.                 24· · · · · · · · Do you see that?
     25· · · · · · · · Go ahead.                                        25· · · · · A.· · I see that.

                                                             Page 270                                                           Page 272
     ·1· · · · · · · · THE WITNESS:· She cited some specific ·1· · · · · Q.· · And she said that's not even the only
     ·2· ·things on here and provided an action plan.        ·2· ·significant issue, but that's the most significant
     ·3· · · · · Q.· · (BY MR. CORNFELD)· My question is     ·3· ·issue, correct?
     ·4· ·it's clear from this that she devoted quite a lot  ·4· · · · · A.· · That's what she said, yes.
     ·5· ·of thought to it, didn't she?                      ·5· · · · · Q.· · And when you saw this, did you
     ·6· · · · · · · · MR. CEJAS:· Same objection.           ·6· ·conclude that that was very significant?
     ·7· · · · · · · · THE WITNESS:· Yeah, I can't speculate ·7· · · · · A.· · No, because many of the things that
     ·8· ·how much thought she put into this.· It was -- she ·8· ·she outlines are practices that we still use today,
     ·9· ·provided some feedback and gave an action plan of ·9· ·and they're scientifically valid and appropriate
     10· ·what she wanted to do over the coming weeks.       10· ·practices.
     11· · · · · Q.· · (BY MR. CORNFELD)· And she starts out 11· · · · · Q.· · Well, she -- she provides two
     12· ·by saying:· Hi, Dominique.· Having observed the    12· ·examples.
     13· ·analytical processes for a few weeks, I have some  13· · · · · A.· · She does.
     14· ·significant concerns.                              14· · · · · Q.· · And the first one, she says -- and by
     15· · · · · · · · That's what she said, correct?        15· ·the way, these are practices that she complained
     16· · · · · A.· · Yes.                                  16· ·about to CAP and CAP investigated, correct?
     17· · · · · Q.· · So that's what she starts out is      17· · · · · A.· · Yes.
     18· ·talking about her concerns, what she said were     18· · · · · Q.· · And -- and we'll look at what CAP
     19· ·significant, correct?                              19· ·concluded, but her first example, she says -- it's
     20· · · · · A.· · Yes.                                  20· ·a general example because this happens fairly
     21· · · · · Q.· · And she says:· I want to lay them out 21· ·frequently.
     22· ·here in an e-mail because I don't want to forget   22· · · · · · · · Do you see that?
     23· ·anything during a phone call.                      23· · · · · A.· · I do.
     24· · · · · · · · And it would have had to have been a  24· · · · · Q.· · And she gives three examples of this
     25· ·phone call because she was in St. Louis and you    25· ·example.· They are changing the IS -- and that

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     ·1· ·stands for internal standard, correct?                          ·1· ·meaning the patient sample, was done accurately,
     ·2· · · · · A.· · Yes.                                               ·2· ·correct?
     ·3· · · · · Q.· · Changing the regression of the                     ·3· · · · · A.· · Correct.
     ·4· ·calibration curve, and using historical QCs,                    ·4· · · · · Q.· · And it can be in, meaning it came out
     ·5· ·correct?                                                        ·5· ·the way it's supposed to be; or it can be out,
     ·6· · · · · A.· · That's what these words say, yes.                  ·6· ·meaning it didn't come out the way it's supposed to
     ·7· · · · · Q.· · That's what she told you, what her                 ·7· ·be, and therefore, there was likely a problem with
     ·8· ·most significant concerns out of the first                      ·8· ·the patient sample test, correct?
     ·9· ·example --                                                      ·9· · · · · A.· · That there was a likely problem with
     10· · · · · A.· · That was her -- yes, that is what she              10· ·the patient sample test?
     11· ·said, yes.                                                      11· · · · · Q.· · The test of the patient sample.
     12· · · · · Q.· · Okay.· And then she says that Jen --               12· ·There was a problem -- likely a problem with the
     13· ·who is Jen?                                                     13· ·test, if the QC does not come in.
     14· · · · · A.· · Jen Andre, one of the certifying                   14· · · · · A.· · You need QC -- acceptable QCs to
     15· ·scientists.                                                     15· ·report a result.
     16· · · · · Q.· · Okay.· And she says:· Jen tells                    16· · · · · Q.· · Right.· Well, maybe that's a simpler
     17· ·Christina.                                                      17· ·way of what I thought I was saying, but...
     18· · · · · · · · Who is Christina?                                  18· · · · · · · · And QC -- for the QC to be referred
     19· · · · · A.· · Christina Essington.                               19· ·to as being in, that would mean an acceptable QC
     20· · · · · Q.· · Okay.· So she says:· In one Teams                  20· ·result, correct?
     21· ·message -- that's referring to your communication               21· · · · · A.· · Yes.· That's the word I just used.
     22· ·system through Microsoft?                                       22· · · · · Q.· · Okay.· Okay.· And Dr. Riley says: A
     23· · · · · A.· · Yes.                                               23· ·well-validated, well-cared for assay should be
     24· · · · · Q.· · In one Teams message, Jen tells                    24· ·robust and reproducible and no magic should be
     25· ·Christina to, quote, work her magic, unquote, to                25· ·necessary.
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     ·1· ·get QCs in.· This is a problem.· As a                           ·1· · · · · · · · What was Ms. Essington doing to bring
     ·2· ·well-validated, well-cared-for assay should be                  ·2· ·a QC that was out, to bring it in?
     ·3· ·robust and reproducible and no magic should be                  ·3· · · · · · · · MR. CEJAS:· Objection.· Assumes facts
     ·4· ·necessary.· The QCs are supposed to be the canaries ·4· ·not in evidence.
     ·5· ·in the mine for the assay, indicators of whether or ·5· · · · · · · · Subject to that, go ahead.
     ·6· ·not the prep and analysis processes are working as              ·6· · · · · · · · THE WITNESS:· So she was using
     ·7· ·validated.                                                      ·7· ·scientifically appropriate ways to process data.
     ·8· · · · · · · · Do you see that?                                   ·8· ·So here, she talks about these manipulation include
     ·9· · · · · A.· · I do.                                              ·9· ·change in the IS.· We still, in our SOPs -- and CAP
     10· · · · · Q.· · And by -- assay, she's referring to a              10· ·has looked at them thoroughly -- are changing the
     11· ·laboratory test.· Is that right?                                11· ·IS.
     12· · · · · A.· · By assay, she's referring to -- sure,              12· · · · · · · · It talks about changing the
     13· ·the laboratory test, yes.                                       13· ·regression of the calibration curve.· In our SOPs
     14· · · · · Q.· · And before you read that, did you                  14· ·today -- and CAP obviously, as you know, has done a
     15· ·know that Christina was being asked to work --                  15· ·tremendous amount looking into our practices.· We
     16· ·quote, work her magic, unquote, to get QCs in?                  16· ·are able to change the regression of calibration.
     17· · · · · A.· · I don't believe Christina was working              17· ·So things that she's pointing out here are
     18· ·any magic.· I think that was a term, a colloquial               18· ·practices that we still do in the laboratory today.
     19· ·term that was used in a chat.                                   19· · · · · · · · They're not working -- they're not
     20· · · · · Q.· · Okay.· To get QCs in, what it means                20· ·working any kind of magic, and they're
     21· ·is QC stands for quality control, correct?                      21· ·scientifically valid practices that are used not
     22· · · · · A.· · Correct.                                           22· ·only by Averhealth, but by others as well, and are
     23· · · · · Q.· · And you get -- you get the result of               23· ·allowable by CAP and CLIA.
     24· ·the quality control and that's supposed to help you             24· · · · · · · · MR. PLEBAN:· I think she just marked
     25· ·decide whether the test of the unknown sample,                  25· ·some paper.

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     ·1· · · · · · · · Did you mark again?                              ·1· · · · · Q.· · And then Dr. Riley says:· I know
     ·2· · · · · · · · THE WITNESS:· Yes.                               ·2· ·there was a lot of pressure to get results out, and
     ·3· · · · · · · · MR. PLEBAN:· We'll need to do --                 ·3· ·I believe that has an impact in the quality. I
     ·4· · · · · Q.· · (BY MR. CORNFELD)· Did you mark up               ·4· ·don't think people feel like there is a lot of time
     ·5· ·the exhibit?                                                  ·5· ·to troubleshoot, and so Band-Aids and workarounds
     ·6· · · · · A.· · I underlined two things.                         ·6· ·are being used instead.
     ·7· · · · · Q.· · The underlining on?                              ·7· · · · · · · · Do you see that?
     ·8· · · · · A.· · I underlined the IS used and the                 ·8· · · · · A.· · She made -- yes, I do.
     ·9· ·changing of regression calibration curve.· Kind of            ·9· · · · · Q.· · Do you see that?
     10· ·the two points I just made.                                   10· · · · · A.· · And she may have thought it was a lot
     11· · · · · · · · MR. PLEBAN:· It's just for this                  11· ·of pressure.· She came from a much smaller
     12· ·written record --                                             12· ·laboratory that was doing less than 100 samples a
     13· · · · · · · · THE WITNESS:· Okay.· I apologize.                13· ·day to our laboratory that was doing 8,000 samples
     14· · · · · · · · MR. PLEBAN:· -- because you're going             14· ·a day.· So she may have felt that pressure.
     15· ·to have a highlight on an original, and then we               15· · · · · Q.· · So she felt that there was pressure
     16· ·sort of have an explanation for it.                           16· ·that whereas in her laboratory at Saint Louis
     17· · · · · · · · THE WITNESS:· You should take my pens            17· ·University, she was able to take the time and do
     18· ·away from me.                                                 18· ·the work the way it should be done, and that it
     19· · · · · Q.· · (BY MR. CORNFELD)· Dr. Riley goes on             19· ·could not be -- occur at Averhealth.· That's what
     20· ·to talk about Exhibit [sic] 2, which she says is a            20· ·she's telling you, correct?
     21· ·specific example of an incident where exceptions              21· · · · · A.· · No.
     22· ·were made to reduce a result.                                 22· · · · · · · · MR. CEJAS:· Object to form.
     23· · · · · · · · Do you see that?                                 23· · · · · · · · THE WITNESS:· I don't believe that --
     24· · · · · A.· · To release a result, yes.                        24· ·she's saying she felt pressure.
     25· · · · · Q.· · Yeah, to release a result.                       25· · · · · Q.· · (BY MR. CORNFELD)· Right.· She feels

                                                             Page 278                                                              Page 280
     ·1· · · · · · · · And she -- and she describes that                ·1· ·pressure and that keeping the test results --
     ·2· ·example.· And then she says in the next paragraph:            ·2· ·excuse me.· Keeping the test practices from being
     ·3· ·I'm not going to beat around the bush.· If I was              ·3· ·done the way they should be.· That's what she
     ·4· ·called in as an expert witness, and given the data            ·4· ·believed, correct?
     ·5· ·from these runs, I would be able to tear them to              ·5· · · · · · · · MR. CEJAS:· Object to form.· Calls
     ·6· ·pieces.                                                       ·6· ·for speculation.
     ·7· · · · · · · · Do you see that?                                 ·7· · · · · · · · Go ahead.
     ·8· · · · · A.· · Yes.· But can we go back to example 2            ·8· · · · · · · · THE WITNESS:· Yeah, I don't know what
     ·9· ·that she gave and give some context to that?                  ·9· ·she was thinking.
     10· · · · · Q.· · No, I'm asking you about this.                   10· · · · · Q.· · (BY MR. CORNFELD)· That's what she
     11· · · · · A.· · Okay.· Those are the words she used.             11· ·was saying, correct?
     12· · · · · Q.· · Did that cause you concern when your             12· · · · · A.· · I don't know if that's exactly what
     13· ·laboratory director said that the results you were            13· ·she was saying, how you took her words and said
     14· ·getting, the testing you were doing was so bad that           14· ·that that's what her thought process was.
     15· ·if she was called as an expert witness, and given             15· · · · · Q.· · Well, she's saying she was getting
     16· ·the data from these tests, she would be able to               16· ·pressure and they can't get the tests done right.
     17· ·tear them to pieces?                                          17· ·That's what she's telling you, correct?
     18· · · · · A.· · I had confidence in the practices                18· · · · · · · · MR. CEJAS:· Object to form.
     19· ·that we set upon us.· We'd been through many CAP 19· ·Misstates the record.
     20· ·and CLIA inspections, and Dr. Glinn's been in the             20· · · · · Q.· · (BY MR. CORNFELD)· Isn't that --
     21· ·industry forever.· So I looked at that -- this that           21· ·isn't that what she's saying?
     22· ·Dr. Riley came in with a different set of eyes and            22· · · · · A.· · She said:· I know that there's a lot
     23· ·wanted to make some changes to potentially make               23· ·of pressure to get results out, and I believe this
     24· ·things better, but no, I did not think that we                24· ·has an impact on quality.· That was her viewpoint
     25· ·could be torn apart.                                          25· ·of it.

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     ·1· · · · · Q.· · Yeah, and she sincerely believed                   ·1· ·right?
     ·2· ·that, didn't she?                                               ·2· · · · · A.· · Yes.
     ·3· · · · · A.· · I don't know what she believes or                  ·3· · · · · Q.· · And you never said you disagreed with
     ·4· ·doesn't believe.                                                ·4· ·anything she told you, did you?
     ·5· · · · · Q.· · You don't have any reason to think                 ·5· · · · · A.· · I did not.
     ·6· ·that she's making this up.· You don't have any                  ·6· · · · · Q.· · She -- you said:· Thank you very much
     ·7· ·reason to think --                                              ·7· ·for all of the information below.· This is in your
     ·8· · · · · A.· · Practices that she's outlined here                 ·8· ·e-mail to her on Sunday afternoon, November 1st at
     ·9· ·are practices that we still do today.· I believe                ·9· ·3:44.
     10· ·that she did not have a thorough understanding and 10· · · · · · · · Correct?
     11· ·look at enough data, based on our volume and our                11· · · · · A.· · Correct.
     12· ·amount, to appropriately be able to determine our               12· · · · · Q.· · And then you asked her a question,
     13· ·practices and whether it was hurting the quality of             13· ·wanting to tap into her expertise.· You said:· We
     14· ·test results that were going out.                               14· ·currently conduct a dilute-and-shoot method.· Does
     15· · · · · Q.· · My -- my -- my question was whether                15· ·that have any factor in the inconsistent QC issues?
     16· ·she sincerely believed what she was telling you.                16· · · · · · · · Do you see that?
     17· ·You have no reason to think that she didn't                     17· · · · · A.· · Yes.
     18· ·sincerely believe that, do you?                                 18· · · · · Q.· · What is a dilute-and-shoot method?
     19· · · · · A.· · It's the words she used.                           19· · · · · A.· · Dilute-and-shoot method is the way
     20· · · · · Q.· · So you have no reason to think --                  20· ·that we do the sample cleanup before it goes on to
     21· · · · · A.· · Yes, I have no -- I have no reason to              21· ·the LC-MS/MS instrument.
     22· ·believe that.                                                   22· · · · · Q.· · And then you said to Dr. Riley: I
     23· · · · · · · · I want to go back to example 2,                    23· ·appreciate the action plan and what you outlined
     24· ·though, because you didn't give me an opportunity.              24· ·will be very beneficial, correct?
     25· ·You read it and you did not give me an opportunity              25· · · · · A.· · Yes.

                                                               Page 282                                                              Page 284
     ·1· ·to comment on it.                                               ·1· · · · · Q.· · And our action plan was an action
     ·2· · · · · Q.· · Okay.· Tell me what you want to say                ·2· ·plan to try to correct the problems she saw.· Isn't
     ·3· ·about it.                                                       ·3· ·that right?
     ·4· · · · · A.· · Okay.· Sure.· So she talks about                   ·4· · · · · A.· · The action plan was to make some
     ·5· ·specifically in the hair batch, and that basically              ·5· ·quality improvement, also some projects that we had
     ·6· ·the quantitative values of the morphine was an                  ·6· ·going on, yes.
     ·7· ·educated guess.                                                 ·7· · · · · Q.· · Okay.· But it was to correct the
     ·8· · · · · · · · In this specific example, the level                ·8· ·problems that she saw, wasn't it?
     ·9· ·of morphine was reported above the upper limit of               ·9· · · · · A.· · It was also just some general
     10· ·linearity.· So on -- on any of our validations, we              10· ·projects that we had going on in the company.
     11· ·go through that process, and if it's above that                 11· · · · · Q.· · And it was also an action plan to
     12· ·number, we report it as greater than.· So greater               12· ·correct the problems she saw, wasn't it?
     13· ·than 1,600.                                                     13· · · · · A.· · It was an action plan that she
     14· · · · · · · · So the number in this case really                  14· ·thought would give us better quality test results.
     15· ·doesn't matter.· She didn't deny that there wasn't              15· · · · · Q.· · To correct the problems she saw,
     16· ·morphine in there.· She said that there was.· Just              16· ·correct?
     17· ·that the number was an educated guess.· But we                  17· · · · · A.· · That she believed that were problems,
     18· ·didn't release a number.· We reported it as greater 18· ·yes, to give us better quality assurance.
     19· ·than the highest calibrator.                        19· · · · · Q.· · All right.· Then you said:· I agree
     20· · · · · Q.· · All right.· Then Dr. Riley presented               20· ·there is pressure to get results out.
     21· ·a plan that she believed could help correct these               21· · · · · · · · You said that, right?
     22· ·issues that she saw, correct?                                   22· · · · · A.· · Yes.
     23· · · · · A.· · She did, yes.                                      23· · · · · Q.· · And in the next line, you said:· We
     24· · · · · Q.· · All right.· And you responded to her               24· ·need to balance how we get the work out right now
     25· ·within just a couple of hours that same Sunday,                 25· ·and take up the time of the team to resolve the

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     ·1· ·issues, correct.                                    ·1· · · · · Q.· · -- that's not --
     ·2· · · · · · · · Do you see that?                       ·2· · · · · A.· · -- are practices that we use today.
     ·3· · · · · A.· · I'm trying to find that paragraph,     ·3· · · · · Q.· · That's not my question.
     ·4· ·so...                                               ·4· · · · · A.· · Okay.
     ·5· · · · · Q.· · It's three lines down in the           ·5· · · · · Q.· · My question was:· In your response to
     ·6· ·paragraph that begins:· I agree that there is       ·6· ·Dr. Riley, when she told you about her significant
     ·7· ·pressure to get results out.                        ·7· ·concerns that were so bad that if she were an
     ·8· · · · · A.· · I see that part.· I did not --         ·8· ·expert witness called against you, she could tear
     ·9· · · · · Q.· · I'm sorry, the next line, you said:    ·9· ·the results apart, you didn't disagree with
     10· ·We need to balance how we get the work out right    10· ·anything she said, did you?· You had the
     11· ·now and take up the time of the team to resolve the 11· ·opportunity to, but you didn't disagree with
     12· ·issues.                                             12· ·anything she said, did you?
     13· · · · · A.· · Yes.                                   13· · · · · A.· · I didn't put it in writing, no.
     14· · · · · Q.· · And do you see how Dr. Riley would     14· · · · · Q.· · You didn't say, "I am fully confident
     15· ·interpret that to mean we can't fully correct the   15· ·in our results," did you?
     16· ·accuracy concern right now?                         16· · · · · A.· · I did not put that in writing, no.
     17· · · · · · · · MR. CEJAS:· Object to the form.        17· · · · · Q.· · Did you call her up and tell her
     18· ·Speculation as to what she understood.              18· ·that?
     19· · · · · · · · THE WITNESS:· I don't know how she     19· · · · · A.· · We did have a conversation before she
     20· ·would think that because I had confidence in our    20· ·left --
     21· ·test results getting reported.· I looked at this as 21· · · · · Q.· · And my --
     22· ·she was looking for some additional improvement, 22· · · · · A.· · -- and resigned -- I'm trying -- you
     23· ·which we're always looking to improve.              23· ·asked me a question, I'm trying to remember the
     24· · · · · Q.· · (BY MR. CORNFELD)· Well, she -- she    24· ·conversation that we had over the phone.
     25· ·didn't say just additional improvement as we talked 25· · · · · Q.· · We will get to that.

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     ·1· ·about.· She had significant concerns that were so             ·1· · · · · A.· · Okay.· But you asked a question, I
     ·2· ·bad that she said she could tear the results apart            ·2· ·was answering.
     ·3· ·if she were called as an expert witness on it.                ·3· · · · · Q.· · Did you call -- when you -- when you
     ·4· · · · · · · · So my question is:· When you said we             ·4· ·got her e-mail --
     ·5· ·need to balance how we get the work out right now             ·5· · · · · A.· · Yes.· I did not call her on Sunday,
     ·6· ·and take up the time with the team to resolve the             ·6· ·no.
     ·7· ·issues, can't you see that that was interpreted to            ·7· · · · · Q.· · And say what -- "What in the world
     ·8· ·mean that you couldn't fully correct the accuracy             ·8· ·are you talking about?· Everything we do is
     ·9· ·concern right now?                                            ·9· ·accurate.· I don't know what in the world you're
     10· · · · · A.· · I was not concerned that we were                 10· ·talking about."· You didn't do anything like that,
     11· ·incorrectly reporting test results.                           11· ·did you?
     12· · · · · Q.· · You didn't say that in your e-mail,              12· · · · · A.· · I did not.
     13· ·did you?                                                      13· · · · · Q.· · And then Dr. Riley wrote back to you
     14· · · · · A.· · I didn't say what?                               14· ·that evening, Sunday evening, and if you look at
     15· · · · · Q.· · That you weren't concerned that you              15· ·that e-mail, she said she would take your concern
     16· ·were inaccurately reporting test results.                     16· ·about turnaround time into account, correct?
     17· · · · · A.· · No, that's not written in my e-mail.             17· · · · · A.· · She said:· I totally agree with the
     18· · · · · Q.· · And as we already -- you already                 18· ·need to balance, and I don't plan on impacting
     19· ·admitted, you didn't take any issue with what she             19· ·turnaround time with -- with resolutions right now.
     20· ·said were her concerns when you responded to her              20· · · · · Q.· · And that's TAT, turnaround time?
     21· ·e-mail, did you?                                              21· · · · · A.· · Yes.
     22· · · · · A.· · As I indicated, though, some of these            22· · · · · Q.· · And she says:· The plan I outlined
     23· ·things that she outlined that were --                         23· ·was by priority.
     24· · · · · Q.· · Excuse me --                                     24· · · · · · · · Do you see that?
     25· · · · · A.· · -- her concerns and issues --                    25· · · · · A.· · Yes.

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     ·1· · · · · Q.· · And -- and she discusses what she      ·1· ·state of Michigan wanted to be retested?
     ·2· ·thinks the priority should be, and then she says -- ·2· · · · · A.· · There was not a large -- there was
     ·3· ·she answers your question about dilute and shoot.   ·3· ·not an issue, but they were requesting retests as
     ·4· ·She says:· I don't think the dilute and shoot is    ·4· ·we had talked about previously.· And so this is
     ·5· ·the problem.· I think it's inconsistency with prep. ·5· ·where there's a batch of retests.
     ·6· · · · · · · · What does -- what does she mean?· Do   ·6· · · · · Q.· · And -- and the -- on retests, the
     ·7· ·you see that?                                       ·7· ·results were inconsistent with the first time,
     ·8· · · · · A.· · I do.                                  ·8· ·correct?
     ·9· · · · · Q.· · What does she mean by "prep"?          ·9· · · · · A.· · That is not correct.
     10· · · · · A.· · The -- during the sample prep          10· · · · · Q.· · The results were different from the
     11· ·process, what the technicians were doing to prep    11· ·first time, correct?
     12· ·the specimens.                                      12· · · · · A.· · I'd have to read through this. I
     13· · · · · Q.· · And specimens have to be prepped       13· ·don't see where the results are different.· It
     14· ·before they're -- they're tested, correct?          14· ·actually says here at one point that the retests --
     15· · · · · A.· · Yes.                                   15· ·the results from previous testing are pretty
     16· · · · · Q.· · And she thought that that was          16· ·consistent for cocaine, BE, and THC.· It says BEG
     17· ·resulting in inaccurate test results, correct?      17· ·-- which would again be benzoylecgonine.
     18· · · · · A.· · Not inaccurate test results, no.       18· · · · · Q.· · Yeah, I won't take the time to go
     19· · · · · Q.· · Well --                                19· ·through all this.· I'll look at it tonight and we
     20· · · · · A.· · She's talking -- no.· She never says   20· ·can talk about that.
     21· ·it made the results wrong.· She was talking about   21· · · · · A.· · Okay.· Okay.
     22· ·that as far as the QCs and the acceptance of those. 22· · · · · Q.· · But let's look at Dr. Riley's e-mail
     23· · · · · Q.· · Well, the QCs, that means you can't    23· ·on November 3rd, the one on the first page.· She
     24· ·be reporting out results, and she said that she     24· ·says:· I do not want to report the things that are
     25· ·complained about what she perceived Ms. Essington   25· ·positive now.· These, quote, new, unquote,

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     ·1· ·doing in working her magic that resulted in                   ·1· ·positives are probably due to the differing lowest
     ·2· ·reporting out results that shouldn't have been                ·2· ·calibrator mentioned in an earlier e-mail or
     ·3· ·reported out, correct?                                        ·3· ·evaporation, but these issues are hard to explain,
     ·4· · · · · · · · MR. CEJAS:· Object to the form.                  ·4· ·and I think it would add to the confusion.· I would
     ·5· ·Calls for speculation.                                        ·5· ·need to see the chromatography and calibrators from
     ·6· · · · · · · · THE WITNESS:· And again, what she's              ·6· ·the original run before I would be comfortable
     ·7· ·citing is concerns are practiced -- are                       ·7· ·reporting the new positives.
     ·8· ·scientifically valid practices that we use today.             ·8· · · · · · · · Do you see that?
     ·9· ·So that's her opinion in looking at very small                ·9· · · · · A.· · I do.
     10· ·amounts of data within the organization.                      10· · · · · Q.· · And so there were new positives.· And
     11· · · · · · · · Thank you.                                       11· ·doesn't that look to you like these were results
     12· · · · · Q.· · (BY MR. CORNFELD)· I've handed you               12· ·that were different?
     13· ·what's been marked as Exhibit 32, which is a                  13· · · · · A.· · There's analytical variance that
     14· ·document bearing the number 85232 on the first                14· ·especially if a drug is right around the cutoff,
     15· ·page.· And this is an e-mail exchange between --              15· ·that when it's run from batch to batch, if it's
     16· ·it's an e-mail exchange between Dr. Riley and                 16· ·right below the cutoff in one run, it may now be
     17· ·others.· Dr. Riley's most recent e-mail is from               17· ·right above the cutoff.· So yes, it's entirely
     18· ·November 3rd, 2020, and the e-mails go back to                18· ·possible.
     19· ·October 23rd, 2020.                                           19· · · · · Q.· · That there could be different
     20· · · · · · · · Do you see that?                                 20· ·results --
     21· · · · · A.· · Yes.                                             21· · · · · A.· · Yes.
     22· · · · · Q.· · Have you seen these e-mails before?              22· · · · · Q.· · -- in a test and a retest.· And
     23· · · · · A.· · Yes.· I'm copied on them.                        23· ·that's what she's addressing, correct?
     24· · · · · Q.· · Okay.· Do you recall if there was an             24· · · · · A.· · Yes.
     25· ·issue regarding a large number of tests that the              25· · · · · Q.· · And can -- can you sense Dr. Riley's

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     ·1· ·frustration from this e-mail?                                   ·1· · · · · Q.· · -- on November 3rd.
     ·2· · · · · A.· · No.· I don't, actually.                            ·2· · · · · A.· · I recall us going through the e-mail
     ·3· · · · · Q.· · You don't think this shows any                     ·3· ·that she sent and walking through the action plan.
     ·4· ·frustration?                                                    ·4· · · · · Q.· · So --
     ·5· · · · · A.· · I don't.                                           ·5· · · · · A.· · That's the most that I recall. I
     ·6· · · · · Q.· · What --                                            ·6· ·don't remember in detail what was discussed.
     ·7· · · · · A.· · I think it's her learning our                      ·7· · · · · Q.· · Do you recall whether you told her
     ·8· ·processes and how things work.                                  ·8· ·about the amount of time she would have to rectify
     ·9· · · · · Q.· · And that she's being frustrated by                 ·9· ·the situation --
     10· ·those processes.                                                10· · · · · A.· · I do not.
     11· · · · · A.· · I don't read frustration in here.                  11· · · · · Q.· · -- that she -- you -- do you
     12· · · · · · · · Thank you.                                         12· ·recall --
     13· · · · · Q.· · I've handed you what's been marked as              13· · · · · A.· · I don't recall.
     14· ·Exhibit 33, which bears the Bates number 16111.· Do             14· · · · · Q.· · Do you recall telling her that there
     15· ·you see this is an e-mail from you personally to                15· ·was no time right now to do that?
     16· ·Dr. Riley on November 3rd, 2020, at 11:44 p.m.?                 16· · · · · A.· · No, I don't.
     17· · · · · A.· · No, this is not -- that's not what I               17· · · · · Q.· · Do you recall whether you'd said that
     18· ·read.                                                           18· ·at all or not?
     19· · · · · Q.· · Wait.· What did I get wrong?                       19· · · · · A.· · No, I don't.
     20· · · · · A.· · There's not an e-mail.                             20· · · · · Q.· · Other than reviewing the e-mail she
     21· · · · · Q.· · Oh, this is not an e-mail when it                  21· ·sent you, do you recall anything else that happened
     22· ·says from Dominique Delagnes to Sarah Riley?                    22· ·at that meeting?
     23· · · · · A.· · It's not an e-mail, no.                            23· · · · · A.· · I don't.
     24· · · · · Q.· · What is it?· What is it?                           24· · · · · Q.· · Dr. Riley submitted her resignation
     25· · · · · A.· · It's a reoccurring meeting event.                  25· ·that night, correct?

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     ·1· · · · · Q.· · Okay.· And this was a meeting that                 ·1· · · · · A.· · She never actually sent it to us.· It
     ·2· ·was scheduled for November 3rd at three o'clock for             ·2· ·was not received until Thursday.
     ·3· ·approximately half an hour?                                     ·3· · · · · Q.· · How was it received on Thursday?
     ·4· · · · · A.· · For 40 minutes, correct.                           ·4· · · · · A.· · Because I had learned that she had
     ·5· · · · · Q.· · All right.· 40 minutes.                            ·5· ·called up to one of the judges in the state of
     ·6· · · · · · · · And what was -- what was the purpose               ·6· ·Michigan, so I reached out to her to understand
     ·7· ·of that meeting on November 3rd?                                ·7· ·what was going on.· I was in complete surprise.
     ·8· · · · · A.· · She and I had already had had                      ·8· · · · · · · · I believe it was in her draft e-mail,
     ·9· ·scheduled reoccurring meetings to catch up once a               ·9· ·and based on my conversation of me reaching out to
     10· ·week.· And one of the things that she wanted to do, 10· ·her to ask her, you know, what was her conversation
     11· ·obviously, is she had sent that e-mail on Sunday,               11· ·with the judge, what had she said, what was going
     12· ·and one of the items was to go through her action               12· ·on, actually two days later, we had received it
     13· ·plan of what she had written out about what she                 13· ·from her SLU e-mail.
     14· ·wanted to do.                                                   14· · · · · · · · So I believe it sat in her draft
     15· · · · · Q.· · Did you discuss the concerns she had               15· ·e-mail.· I never received her resignation on that
     16· ·addressed to you?                                               16· ·day.· Actually, then later learned that she'd sent
     17· · · · · A.· · We went through the action plan.                   17· ·a text message to Shannon Spencer that she had
     18· · · · · Q.· · Did you discuss the concerns that she              18· ·resigned, but I didn't learn about it until
     19· ·had sent to you?                                                19· ·Thursday.
     20· · · · · A.· · I can't -- I honestly cannot recall                20· · · · · Q.· · All right.· I --
     21· ·everything that we discussed.· That was four years              21· · · · · A.· · And she never returned any of my
     22· ·ago.                                                            22· ·phone calls about it.
     23· · · · · Q.· · Tell me everything you can recall                  23· · · · · Q.· · Do you know whether she thought she
     24· ·about the meeting you had with Dr. Riley --                     24· ·sent it or not?· I mean, I can't tell you --
     25· · · · · A.· · I don't --                                         25· · · · · A.· · I have no idea.

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     ·1· · · · · Q.· · I mean, I -- I can't tell you how                ·1· · · · · Q.· · I've handed you what's been marked as
     ·2· ·many times I find an e-mail in my outbox that I               ·2· ·Exhibit 35, which bears the Bates number 415.
     ·3· ·thought I sent and I didn't, and I'm sure I'm not             ·3· · · · · · · · Do you recognize this as an e-mail
     ·4· ·the only person that happens to.                              ·4· ·that Dr. Riley wrote to you and Mr. Herzog
     ·5· · · · · A.· · Well, I didn't receive it.                       ·5· ·submitting her resignation?
     ·6· · · · · Q.· · Okay.                                            ·6· · · · · A.· · Yes.
     ·7· · · · · A.· · I did not receive it from her.                   ·7· · · · · Q.· · And that was dated November 3rd,
     ·8· · · · · Q.· · Well, let's -- before we look at                 ·8· ·2020, at 7:14 p.m.?
     ·9· ·that, let's look at the letter you sent to her in             ·9· · · · · A.· · Yes, but it was received on
     10· ·response.                                                     10· ·November 5th at 12:57.
     11· · · · · A.· · Thank you.                                       11· · · · · Q.· · Right.· Right.· Well, you already
     12· · · · · Q.· · I've handed you Exhibit 34, Bates                12· ·told us that.
     13· ·number 15703 addressed to Sarah Riley dated                   13· · · · · · · · And do you see that she thanks you
     14· ·November 6th, 2020, and a place for your signature,           14· ·for the offer of lab director and says the business
     15· ·Dominique Delagnes, correct?                                  15· ·has some good people, but she doesn't think she's a
     16· · · · · A.· · Yes.                                             16· ·good fit.· Correct?
     17· · · · · Q.· · Do you see that?                                 17· · · · · A.· · Yes.
     18· · · · · · · · And is this the letter that you sent             18· · · · · Q.· · And in the third paragraph, she says:
     19· ·to Dr. Riley on November 6th?                                 19· ·The lab has deep seated quality issues that will
     20· · · · · A.· · Yes.                                             20· ·require a significant effort to remedy.· It has
     21· · · · · Q.· · And you start out:· Dear, Sarah.· As             21· ·been explained to me several times that there is no
     22· ·you know, you resigned on Tuesday evening via                 22· ·time to rectify these issues and I think the
     23· ·e-mail, which was received by Jason and me on                 23· ·business growth is outpacing the laboratory's
     24· ·November 5th, 2020.                                           24· ·ability to produce quality, meaningful data.· I am
     25· · · · · · · · So the day before you sent this                  25· ·not comfortable being the director of the lab until

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     ·1· ·letter, correct?                                   ·1· ·the right opportunity comes to work on the
     ·2· · · · · A.· · Correct.                              ·2· ·analytical problems.
     ·3· · · · · Q.· · And in the next sentence, you say:    ·3· · · · · · · · Did I read that correctly?
     ·4· ·While we are disappointed our relationship has     ·4· · · · · A.· · Those were her words, yes.
     ·5· ·ended, we understand your decision.                ·5· · · · · Q.· · And you have no reason to think she
     ·6· · · · · · · · Do you see that?                      ·6· ·-- this was not her sincere belief, do you?
     ·7· · · · · A.· · I do.                                 ·7· · · · · A.· · That was her words.· That was her
     ·8· · · · · Q.· · So you did understand her decision    ·8· ·belief.
     ·9· ·and why she made it?                               ·9· · · · · Q.· · Then -- all right.· And then she
     10· · · · · A.· · I understand that people choose to    10· ·says:· The pace at which the lab is driven and the
     11· ·resign from -- from positions.                     11· ·level of micromanaging is also concerning.
     12· · · · · Q.· · And you understand why, because she   12· · · · · · · · She says that, correct?
     13· ·told you --                                        13· · · · · A.· · Yes.
     14· · · · · A.· · No, I didn't understand why.· She     14· · · · · Q.· · And she was telling the truth as she
     15· ·didn't tell me why.                                15· ·saw it, wasn't she?
     16· · · · · Q.· · You go on to say you recognize that   16· · · · · A.· · That was her opinion of what she saw.
     17· ·these are extraordinarily difficult times.         17· · · · · Q.· · All right.· And by the level of
     18· · · · · · · · What did you mean by that?            18· ·micromanaging, was she referring to the fact that
     19· · · · · A.· · That this might not have been the     19· ·you were not allowing her to take the time that
     20· ·position for her, and that it was something that   20· ·would be needed to rectify the problems?
     21· ·she didn't want to do.· But I did not in any way   21· · · · · A.· · I don't believe that that's the case.
     22· ·believe that we were incorrectly reporting test    22· · · · · Q.· · You don't believe you weren't giving
     23· ·results.· The scale of our laboratory versus       23· ·her the time, but do you think that's what she
     24· ·laboratories that she had worked in previously was 24· ·meant?
     25· ·quite different.                                   25· · · · · A.· · I don't know what she meant.

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     ·1· · · · · Q.· · That that was -- that that's what                ·1· ·was at three o'clock?
     ·2· ·she -- you don't know what she meant by the level             ·2· · · · · A.· · Yes.
     ·3· ·of micromanaging?                                             ·3· · · · · Q.· · All right.· Don't you think she would
     ·4· · · · · A.· · No, I do not.                                    ·4· ·have wanted to take time to reflect on it and make
     ·5· · · · · Q.· · Also, in your -- in your letter the              ·5· ·sure that was what she really wanted to do and how
     ·6· ·day after you received her resignation e-mail --              ·6· ·to explain it?
     ·7· · · · · A.· · Which document is that, just so I can            ·7· · · · · A.· · I would have --
     ·8· ·find it quickly?                                              ·8· · · · · · · · MR. CEJAS:· Same objection.
     ·9· · · · · Q.· · Yeah, Exhibit 34.                                ·9· · · · · · · · THE WITNESS:· I would have thought in
     10· · · · · A.· · Thank you.                                       10· ·our conversation where we spoke for 40 minutes, she
     11· · · · · Q.· · You -- in the third paragraph, you               11· ·would have indicated to the fact that she wasn't
     12· ·say four lines down, we would like to discuss your            12· ·comfortable with our practices.
     13· ·concerns directly.· Please contact me as soon as              13· · · · · Q.· · (BY MR. CORNFELD)· Well, you told me
     14· ·possible to discuss your concerns.                            14· ·you don't remember what she said during that
     15· · · · · · · · Do you see that?                                 15· ·meeting.· Is that right?
     16· · · · · A.· · I do.                                            16· · · · · A.· · If she had told me that she wanted to
     17· · · · · Q.· · Hadn't you already talked about her              17· ·resign or had serious concerns, it would have
     18· ·concerns with her?                                            18· ·resonated, but yes, I cannot tell you exactly what
     19· · · · · A.· · She had sent the one e-mail with an              19· ·the conversations were in that meeting.
     20· ·action plan of what she wanted to do from a quality 20· · · · · Q.· · Other than you went over her -- her
     21· ·control.· But again, as I had stated previously, I            21· ·e-mail --
     22· ·had confidence that our test results that we put              22· · · · · A.· · Action plan.
     23· ·out were scientifically valid procedures and                  23· · · · · Q.· · -- her e-mail that it was not just --
     24· ·accurate.                                                     24· ·you keep referring to it as an action plan.· The
     25· · · · · · · · So I was surprised that she would                25· ·title -- the subject was:· Analytical concerns.

                                                             Page 302                                                                  Page 304
     ·1· ·leave, not make a -- not call me, talk to me about  ·1· · · · · · · · And the first portion of the e-mail,
     ·2· ·it, and just in our conversation that we had had,   ·2· ·all but five paragraphs, meaning eight
     ·3· ·right, the day that she resigned where we talked    ·3· ·paragraphs -- or nine paragraphs were on her
     ·4· ·40 minutes, not once did she tell me she was too    ·4· ·significant concerns that were so bad that if she
     ·5· ·uncomfortable to work at the laboratory and wanted ·5· ·were an expert witness, she could tear apart your
     ·6· ·to resign.                                          ·6· ·procedures.
     ·7· · · · · Q.· · Well, she didn't make that decision    ·7· · · · · A.· · And they're --
     ·8· ·until after she reflected on your conversation,     ·8· · · · · Q.· · Correct?
     ·9· ·correct?                                            ·9· · · · · A.· · -- practices and procedures that we
     10· · · · · A.· · I don't know.                          10· ·have in place today.
     11· · · · · Q.· · I mean, she -- she wrote her           11· · · · · Q.· · Excuse me.· That is what she --
     12· ·resignation letter several hours later, correct?    12· ·that's what her e-mail was --
     13· · · · · A.· · Yes.                                   13· · · · · A.· · That is --
     14· · · · · Q.· · It's not like she walked out of that   14· · · · · Q.· · -- it was not just an action plan,
     15· ·meeting with you and immediately said I'm quitting. 15· ·which is all you want to refer to it as.· It was
     16· · · · · · · · MR. CEJAS:· Well, I'll object --       16· ·her description of the significant quality concerns
     17· · · · · Q.· · (BY MR. CORNFELD)· Did she?            17· ·she saw at Averhealth --
     18· · · · · · · · MR. CEJAS:· -- it calls for            18· · · · · · · · MR. CEJAS:· Object --
     19· ·speculation.                                        19· · · · · Q.· · (BY MR. CORNFELD)· -- correct?
     20· · · · · Q.· · (BY MR. CORNFELD)· Did she?            20· · · · · · · · MR. CEJAS:· Object to the form.
     21· · · · · · · · MR. CEJAS:· Calls for speculation.     21· ·Argumentative.
     22· · · · · · · · Go ahead, if you know.                 22· · · · · · · · THE WITNESS:· She outlines some
     23· · · · · · · · THE WITNESS:· The e-mail was drafted   23· ·things that are still in place today.
     24· ·at 7:14 p.m.                                        24· · · · · Q.· · (BY MR. CORNFELD)· Excuse me --
     25· · · · · Q.· · (BY MR. CORNFELD)· And your meeting    25· · · · · A.· · So in my opinion, they were not

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     ·1· ·serious concerns.                                               ·1· ·faulty today?
     ·2· · · · · Q.· · You -- you may not think they were                 ·2· · · · · A.· · No.
     ·3· ·serious concerns, but she thought they were serious             ·3· · · · · · · · MR. CEJAS:· Object to form.
     ·4· ·concerns.                                                       ·4· · · · · Q.· · (BY MR. CORNFELD)· How -- how are
     ·5· · · · · A.· · Okay.                                              ·5· ·they different from the practices that were faulty
     ·6· · · · · Q.· · Didn't she?                                        ·6· ·in 2020 if they're the same practices today?
     ·7· · · · · A.· · Yes, she did.                                      ·7· · · · · · · · MR. CEJAS:· Object to form.· Assumes
     ·8· · · · · Q.· · So serious that she -- and we'll talk              ·8· ·facts not in evidence.
     ·9· ·about this in a moment or maybe tomorrow.· She went ·9· · · · · · · · Go ahead.
     10· ·to CAP with those concerns, correct?                10· · · · · · · · THE WITNESS:· I'm stating that the
     11· · · · · A.· · She did.                               11· ·two things that she outlined specific, that she
     12· · · · · Q.· · All right.· And in your letter to                  12· ·said were serious practices or concerns, are
     13· ·Dr. Riley on November 6th, your letter in response              13· ·practices that we have today.
     14· ·to her e-mail to you, or resignation, rather --                 14· · · · · · · · The examples she cited, there's --
     15· · · · · A.· · Yes.                                               15· ·she gave very specific examples, and those are
     16· · · · · Q.· · -- you said you understood her                     16· ·allowable practices that we have in our procedures
     17· ·decision, you asked her to contact you to talk                  17· ·today, that have been reviewed by CAP, by CLIA, by
     18· ·about her concerns.· But one thing you didn't say               18· ·Dr. Klette, by Dr. Wagner, by everybody else.
     19· ·was, "You are wrong and we have total confidence in             19· · · · · · · · (A discussion was held off the
     20· ·our procedures," correct?                                       20· ·record.)
     21· · · · · A.· · Correct.                                           21· · · · · Q.· · (BY MR. CORNFELD)· Did you make any
     22· · · · · Q.· · You didn't disagree with anything she              22· ·of the changes that Dr. Riley suggested in her
     23· ·brought to you?                                                 23· ·action plan?
     24· · · · · A.· · I didn't say -- it's not written in                24· · · · · A.· · What's that exhibit again?· Is that
     25· ·this.· I disagree with you, but it is not in                    25· ·29?· No, it's not 29.

                                                               Page 306                                                             Page 308
     ·1· ·writing in this letter.                                         ·1· · · · · · · · MR. PLEBAN:· 31.
     ·2· · · · · Q.· · You never sent her a letter that                   ·2· · · · · · · · THE WITNESS:· 31.· Thank you.· Number
     ·3· ·disagreed with her.· You never sent her an e-mail               ·3· ·one, we never implemented the screening cutoffs at
     ·4· ·or a letter, and you can't recall if you ever said              ·4· ·the lower levels.· We did work with the state of
     ·5· ·verbally that you disagreed with her, correct?                  ·5· ·Michigan, they raised their cutoff levels.· So we
     ·6· · · · · A.· · Correct.                                           ·6· ·introduced amino assay screening at that time.
     ·7· · · · · Q.· · If -- if somebody believed that                    ·7· · · · · · · · I believe there were some method
     ·8· ·what -- that Dr. Riley's concerns were valid and                ·8· ·improvements made with the hair tests.
     ·9· ·were substantiated, and you were -- have those same             ·9· · · · · · · · Number three, she wanted to look for
     10· ·procedures in place today, then wouldn't that                   10· ·a summary of QCs.· I know we've -- you know, we
     11· ·person have to conclude that your procedures today              11· ·continuously do training with data reviewers.· She
     12· ·are faulty?                                                     12· ·talks about developing a training presentation, so
     13· · · · · A.· · That is too broad of a question.· Can              13· ·if -- we didn't have that, but obviously they have
     14· ·you be more specific.                                           14· ·continuous education and training on data
     15· · · · · Q.· · Well, if Dr. Riley raised concerns,                15· ·reviewing.
     16· ·you said that her concerns pertained to practices               16· · · · · · · · And then Christina asked for some
     17· ·that you still have in place today.                             17· ·additional training, that Sarah talks about, she
     18· · · · · A.· · Yes.                                               18· ·found Sciex courses that could be used as
     19· · · · · Q.· · If somebody agreed with Dr. Riley's                19· ·continuing education.
     20· ·concerns and then found out that you have those                 20· · · · · Q.· · (BY MR. CORNFELD)· Handing you what's
     21· ·same practices in place today, and that was                     21· ·been marked as Exhibit 36, which bears the Bates
     22· ·somebody knowledgeable in the field of forensic                 22· ·number 413.· This is an e-mail exchange between you
     23· ·toxicology, wouldn't that person have to conclude,              23· ·and Dr. Riley, along with Christina Essington on
     24· ·if they agreed that Dr. Riley raised concerns that              24· ·November 3rd and November 4th.
     25· ·your practices were faulty, that they're still                  25· · · · · · · · Do you see that?

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     ·1· · · · · A.· · Yes.                                             ·1· ·one of your testing machines?
     ·2· · · · · Q.· · And the most recent e-mail was sent              ·2· · · · · A.· · It is.
     ·3· ·-- she sent it to you on November 4th, 2020, at               ·3· · · · · Q.· · Okay.· And she went back to it to
     ·4· ·12:57 in the morning, correct?                                ·4· ·check the THC.· THC is -- is a drug that you're
     ·5· · · · · A.· · Pardon?· I'm sorry?                              ·5· ·testing for?
     ·6· · · · · Q.· · Dr. Riley --                                     ·6· · · · · A.· · Correct.
     ·7· · · · · A.· · Can you repeat what you said?                    ·7· · · · · Q.· · To check the THC pending from that
     ·8· · · · · Q.· · Dr. Riley sent you the e-mail at the             ·8· ·batch.· And she gives the batch number.· And none
     ·9· ·top of the page, which is the most recent in this             ·9· ·of the accession numbers that are sitting in the
     10· ·thread --                                                     10· ·queue are in the batch on MultiQuant.
     11· · · · · A.· · Okay.                                            11· · · · · · · · Correct?
     12· · · · · Q.· · -- on November 4th, 2020, at 12:57.              12· · · · · A.· · Yes.
     13· · · · · A.· · Yes.                                             13· · · · · Q.· · MultiQuant is your software program?
     14· · · · · Q.· · That's 12:57 a.m., correct?                      14· · · · · A.· · It's the Sciex software program
     15· · · · · A.· · Yes.                                             15· ·that's tied to the LC-MS instruments, yes.
     16· · · · · Q.· · And so that was the same night she               16· · · · · Q.· · Okay.· And was this after she had
     17· ·wrote her resignation, correct?                               17· ·written her resignation letter, and she still
     18· · · · · A.· · Tuesday, November 3rd was from me.               18· ·thought she ought to go in the lab to fix an issue,
     19· · · · · Q.· · She sent that e-mail about                       19· ·correct?
     20· ·seven o'clock in the evening on November 3rd, and             20· · · · · A.· · I don't know what time she came back
     21· ·this is after midnight that same night, correct?              21· ·to the lab, I just know what time it was sent to
     22· · · · · A.· · Yes, I'm trying to reconcile the time            22· ·me.
     23· ·frame.· Yes.                                                  23· · · · · Q.· · After midnight.· Correct?
     24· · · · · Q.· · All right.· And this --                          24· · · · · A.· · The e-mail was sent after midnight.
     25· · · · · A.· · So she sent an e-mail after she                  25· ·I don't know what time she was physically at the

                                                             Page 310                                                       Page 312
     ·1· ·resigned?                                           ·1· ·lab, though.
     ·2· · · · · Q.· · Do you recall this e-mail?             ·2· · · · · Q.· · Well, once she -- once she resigned,
     ·3· · · · · A.· · I didn't recall it until looking at    ·3· ·she could have said forget it, it's your problem,
     ·4· ·it now.                                             ·4· ·you deal with it, right?
     ·5· · · · · Q.· · And do you recall it now?              ·5· · · · · A.· · Could have.
     ·6· · · · · A.· · Yes.                                   ·6· · · · · Q.· · And she didn't.· Whether she drove to
     ·7· · · · · Q.· · All right.· And this had to do with    ·7· ·the lab at midnight or just sent her e-mail to you
     ·8· ·an issue in one of her batches, correct?· Actually, ·8· ·at midnight, did you ever thank her for that, for
     ·9· ·two of her batches.                                 ·9· ·doing that after she resigned?
     10· · · · · A.· · Issue, no.· The results weren't        10· · · · · · · · MR. CEJAS:· Object to the form.
     11· ·actually released, so it was when she went to       11· ·Assumes facts not in evidence.
     12· ·upload the results in Aversys and released them,    12· · · · · · · · THE WITNESS:· I don't believe so.
     13· ·they still sat in pending.                          13· · · · · Q.· · (BY MR. CORNFELD)· Instead, in the
     14· · · · · Q.· · Well, the reason I use the word        14· ·months ahead, you smeared her to CAP, correct?
     15· ·"issue," is that in your e-mail initiating this     15· · · · · · · · MR. CEJAS:· Objection.· Assumes facts
     16· ·thread, you said:· Good evening, Sarah.· Two of the 16· ·not in evidence, argumentative.
     17· ·batches you did yesterday seem to have an issue.    17· · · · · Q.· · (BY MR. CORNFELD)· Correct?
     18· · · · · · · · Correct?                               18· · · · · A.· · No.
     19· · · · · A.· · That's the word I used, yes.           19· · · · · Q.· · What's not correct?
     20· · · · · Q.· · All right.· And what she says in her   20· · · · · A.· · That we did not smear her to CAP.
     21· ·e-mail after midnight was:· I came into the lab and 21· · · · · Q.· · Well, we'll look at the --
     22· ·fixed the dextromethorphan.                         22· · · · · A.· · Okay.
     23· · · · · A.· · Methorphan.                            23· · · · · Q.· · -- names you called her to CAP.
     24· · · · · Q.· · Methorphan issue.· Those should be     24· · · · · A.· · Thank you.
     25· ·released now.· I went back Superman -- Superman was 25· · · · · Q.· · I've handed you what's been marked as

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     ·1· ·Exhibit 37, which is a Microsoft Teams chat between           ·1· · · · · · · · But if you know, go ahead.
     ·2· ·two Averhealth employees that was produced by                 ·2· · · · · · · · THE WITNESS:· I don't know.
     ·3· ·Averhealth to us.                                             ·3· · · · · Q.· · (BY MR. CORNFELD)· You have no idea?
     ·4· · · · · · · · Are you familiar with this document?             ·4· · · · · A.· · I don't.
     ·5· · · · · A.· · Yes.                                             ·5· · · · · Q.· · And you don't remember what response
     ·6· · · · · Q.· · All right.· Is this the -- the                   ·6· ·you had in that meeting that you held with her?
     ·7· ·message that you said Dr. Riley sent to Shannon               ·7· · · · · A.· · I don't.
     ·8· ·Spencer that you saw subsequently?                            ·8· · · · · Q.· · Or any of the other conversations she
     ·9· · · · · A.· · I never actually saw the text                    ·9· ·refers to when she says we've had a few
     10· ·message, but yes.                                             10· ·conversations about it?
     11· · · · · Q.· · I'm sorry?                                       11· · · · · A.· · No, I don't.
     12· · · · · A.· · I've never seen the actual text                  12· · · · · Q.· · Do you know if Ms. Spencer responded
     13· ·message that went from Dr. Riley to Shannon                   13· ·to Dr. Riley?
     14· ·Spencer.                                                      14· · · · · A.· · I don't know.
     15· · · · · Q.· · Okay.· Ms. Spencer copied that text              15· · · · · Q.· · All right.· You know that the day
     16· ·message in her e-mail, or excuse me, in her chat              16· ·after Dr. Riley resigned from Averhealth, she filed
     17· ·with Ellen Tomko, correct?                                    17· ·a former -- a formal complaint against Averhealth
     18· · · · · A.· · Yes.                                             18· ·with the College of American Pathologists, or CAP?
     19· · · · · Q.· · Ellen Tomko being another Averhealth             19· · · · · A.· · I know there was a complaint filed.
     20· ·employee?                                                     20· ·I didn't know the exact date.
     21· · · · · A.· · Yes.                                             21· · · · · Q.· · Well, you know it was shortly after
     22· · · · · Q.· · When did you see this document?                  22· ·she resigned, correct?
     23· · · · · A.· · In the last several weeks.                       23· · · · · A.· · I believe so.
     24· · · · · Q.· · In preparation for the deposition?               24· · · · · · · · MR. CEJAS:· Just as reminder, Rick,
     25· · · · · A.· · Yes.                                             25· ·we've got about 30 minutes, I think, roughly on the

                                                             Page 314                                                       Page 316
     ·1· · · · · Q.· · The e-mail that -- that Ms. Spencer    ·1· ·seven hours.
     ·2· ·copied from Dr. Riley says:· Hi, Shannon.· I wanted ·2· · · · · · · · MR. CORNFELD:· 30 minutes left?
     ·3· ·to let you know that I just resigned.· I'm too      ·3· · · · · · · · MR. CEJAS:· Roughly.· It's about
     ·4· ·uncomfortable with the quality issues and with      ·4· ·six o'clock now.
     ·5· ·Dominique's response to me bringing them up.· We've ·5· · · · · · · · MR. PLEBAN:· You're saying 6:30 is
     ·6· ·had a few conversations about it, and I just don't  ·6· ·our cutoff, or 7:00?
     ·7· ·think I'm a good fit.· I think you are awesome and  ·7· · · · · · · · MR. CEJAS:· I think it's right around
     ·8· ·I'm really sorry it turned out like this.· Please   ·8· ·6:30.
     ·9· ·stay in touch.                                      ·9· · · · · · · · MR. PLEBAN:· Thank you.
     10· · · · · · · · Do you see that?                       10· · · · · Q.· · (BY MR. CORNFELD)· I've handed you --
     11· · · · · A.· · I do.                                  11· ·no, I haven't.· I'm handing you what's marked
     12· · · · · Q.· · Have you talked to Ms. Spencer about   12· ·Exhibit 38, which bears the Bates number on the
     13· ·this?                                               13· ·first page 56436, and is an e-mail from Amanda
     14· · · · · A.· · I have not had a conversation since    14· ·Doane of the Michigan Department of Health and
     15· ·looking at this through discovery with Ms. Spencer 15· ·Human Services to you, among others.
     16· ·about it, no.                                       16· · · · · · · · Correct?
     17· · · · · Q.· · Or an e-mail exchange or a chat?       17· · · · · A.· · Yes.
     18· · · · · A.· · No.                                    18· · · · · Q.· · And that's dated November 5th,
     19· · · · · Q.· · You haven't communicated with her?     19· ·correct?
     20· · · · · A.· · (Witness indicated.)                   20· · · · · A.· · I mean, the original e-mail, yes.
     21· · · · · Q.· · What do you think Dr. Riley meant by   21· · · · · Q.· · And she's calling a Microsoft Teams
     22· ·the quality issues and with Dominique's response to 22· ·meeting, correct?
     23· ·me bringing them up?                                23· · · · · A.· · Yes.
     24· · · · · · · · MR. CEJAS:· Objection.· Calls for      24· · · · · Q.· · And she attaches as part of the
     25· ·speculation.                                        25· ·thread an e-mail, if you look at page 56438, an

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     ·1· ·e-mail from Terence Ackert, dated Wednesday                   ·1· ·concerns.
     ·2· ·November 4th, 2020, to a number of people.                    ·2· · · · · Q.· · Right.· I understand that.
     ·3· · · · · · · · Correct?                                         ·3· · · · · A.· · I don't believe we were following
     ·4· · · · · A.· · Yes.                                             ·4· ·them.
     ·5· · · · · Q.· · And do you understand that Terence               ·5· · · · · Q.· · I'm sorry?
     ·6· ·Ackert was a judge in Michigan?                               ·6· · · · · A.· · I don't believe that -- that what she
     ·7· · · · · A.· · Yes.                                             ·7· ·said we were doing caused our test results to be
     ·8· · · · · Q.· · All right.· And he says:· Greetings.             ·8· ·reported inaccurately.
     ·9· ·I received a telephone call today from Dr. Sarah              ·9· · · · · Q.· · All right.· But I understand that
     10· ·Riley, the former director of labs at Averhealth.             10· ·you're saying you disagree with Dr. Riley, with her
     11· · · · · · · · Do you see that?                                 11· ·expert opinion as a toxicologist, which you are
     12· · · · · A.· · Yes.                                             12· ·not.· But considering that she had those concerns,
     13· · · · · Q.· · And that telephone call today would              13· ·you have no quarrel with her bringing them to the
     14· ·have been November -- Wednesday, November 4th,                14· ·attention of CAP, do you?
     15· ·meaning the day after she -- she wrote out her                15· · · · · · · · MR. CEJAS:· Object to the form.
     16· ·resignation, correct?                                         16· ·Argumentative.
     17· · · · · A.· · Yes.                                             17· · · · · · · · Go ahead.
     18· · · · · Q.· · And then in the next paragraph, Judge            18· · · · · · · · THE WITNESS:· She needs to do what
     19· ·Ackert says:· Dr. Riley informed me that last                 19· ·she believes.
     20· ·night, she terminated her position as lab director            20· · · · · Q.· · (BY MR. CORNFELD)· All right.
     21· ·of Averhealth because of her serious concerns that            21· ·Otherwise, she'd be guilty of a cover-up, right?
     22· ·Averhealth has failed to follow standard testing              22· · · · · · · · MR. CEJAS:· Object to the form to the
     23· ·procedures and is not compliant with the standards            23· ·extent you're implying there's something criminal.
     24· ·developed by the College of American Pathologists.            24· · · · · · · · MR. CORNFELD:· I'm not implying that
     25· · · · · · · · Do you see that?                                 25· ·it's criminal.· That's not for me to decide.

                                                             Page 318                                                       Page 320
     ·1· · · · · A.· · Yes.                                             ·1· · · · · Q.· · (BY MR. CORNFELD)· But --
     ·2· · · · · Q.· · And then at the end of that                      ·2· · · · · A.· · There is no cover-up.
     ·3· ·paragraph, he says:· Dr. Riley advised me that she            ·3· · · · · Q.· · -- a cover up -- no, she would be
     ·4· ·had -- has filed a formal complaint against                   ·4· ·guilty of a cover-up if she didn't bring those
     ·5· ·Averhealth with the College of American                       ·5· ·concerns to CAP, wouldn't she?
     ·6· ·Pathologists, correct?                                        ·6· · · · · · · · MR. CEJAS:· Same objection.
     ·7· · · · · A.· · Yes.                                             ·7· · · · · · · · Go ahead.
     ·8· · · · · Q.· · And you were copied on this -- not on            ·8· · · · · · · · THE WITNESS:· I -- there was nothing
     ·9· ·this e-mail, but you were sent a copy in the e-mail           ·9· ·to cover-up.
     10· ·from Ms. Doane --                                             10· · · · · Q.· · (BY MR. CORNFELD)· But --
     11· · · · · A.· · Yes.                                             11· · · · · A.· · We had been --
     12· · · · · Q.· · -- correct?· So you knew at the time             12· · · · · Q.· · -- don't you think she would believe
     13· ·that the day after Dr. Riley resigned, she                    13· ·she'd be guilty of a cover-up?· She had serious
     14· ·submitted that formal complaint with CAP?                     14· ·concerns about problems with Averhealth's quality
     15· · · · · A.· · Yes.                                             15· ·that were not being addressed, and she kept those
     16· · · · · Q.· · And considering that Dr. Riley                   16· ·to herself and didn't bring them to the attention
     17· ·sincerely believed that Averhealth had deep seated            17· ·of the courts in Michigan or to the College of
     18· ·quality problems that it was not addressing, don't            18· ·American Pathologists, that she'd be guilty of a
     19· ·you agree that you would have been obligated to               19· ·cover-up?
     20· ·bring those to the attention of CAP?                          20· · · · · · · · MR. CEJAS:· Object to the form.
     21· · · · · A.· · Yes.                                             21· ·Calls for speculation as to what some other witness
     22· · · · · Q.· · So you don't have any complaint with             22· ·believed.
     23· ·her about going to CAP about this, do you?                    23· · · · · · · · THE WITNESS:· I don't know what she
     24· · · · · A.· · If she had concerns, she needs to                24· ·would -- what she would have believed.
     25· ·raise them.· It doesn't mean I agree with her                 25· · · · · Q.· · (BY MR. CORNFELD)· You don't know

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     ·1· ·that she would think, oh, I can't cover this up,              ·1· · · · · A.· · They were allegations about our
     ·2· ·I've got to do something?                                     ·2· ·processes.
     ·3· · · · · · · · MR. CEJAS:· Same objection.                      ·3· · · · · Q.· · Were they serious?
     ·4· · · · · · · · THE WITNESS:· No, I don't know what              ·4· · · · · A.· · They were allegations.· I mean, who's
     ·5· ·she would believe.                                            ·5· ·to determine whether they're serious or not.
     ·6· · · · · Q.· · (BY MR. CORNFELD)· I've handed you               ·6· · · · · Q.· · I'm asking what Averhealth thought
     ·7· ·what's been marked as Exhibit 39, which bears the             ·7· ·when it saw this.· Didn't it think oh, my gosh,
     ·8· ·Bates number on the first page 17080 and is a                 ·8· ·this is really serious?
     ·9· ·letter on the letterhead of College of American               ·9· · · · · A.· · They were concerning.
     10· ·Pathologists dated November 11, 2020, to Michele              10· · · · · Q.· · And serious with -- they were
     11· ·Glinn, PhD at Averhealth, and is signed by Earle              11· ·serious, they were concerning because they were
     12· ·S. Collum, M.D., Complaints and Investigations                12· ·concerns, but they were serious, weren't they?
     13· ·Committee Chair of the CAP accreditation program.             13· · · · · · · · MR. CEJAS:· Objection.· Asked and
     14· · · · · · · · Do you have that?                                14· ·answered.
     15· · · · · A.· · Yes.                                             15· · · · · Q.· · (BY MR. CORNFELD)· Didn't Averhealth
     16· · · · · Q.· · All right.· And Collum is spelled                16· ·consider this was serious?
     17· ·C-O-L-L-U-M.                                                  17· · · · · A.· · We had confidence in our test results
     18· · · · · · · · This -- this is the letter in which              18· ·to receive this.· We knew that we needed to go
     19· ·CAP informed Averhealth of Dr. Riley's complaints,            19· ·through and show that our processes that we used
     20· ·correct?                                                      20· ·provided us to have scientifically valid results.
     21· · · · · A.· · Yes.                                             21· · · · · Q.· · That's not my question.· My question
     22· · · · · Q.· · And it relates to complaint number,              22· ·is --
     23· ·if you look at the upper right-hand corner, 10219,            23· · · · · A.· · Okay.
     24· ·correct?                                                      24· · · · · Q.· · -- when you saw this, didn't you
     25· · · · · A.· · Yes.                                             25· ·think, my gosh, this is really serious?

                                                             Page 322                                                               Page 324
     ·1· · · · · Q.· · And Dr. Collum states that:· The                 ·1· · · · · · · · MR. CEJAS:· Objection.· Asked and
     ·2· ·College of American Pathologists, or CAP,                     ·2· ·answered.
     ·3· ·accreditation program has received a complaint                ·3· · · · · · · · Go ahead one last time.
     ·4· ·containing the following allegations.                         ·4· · · · · · · · THE WITNESS:· We knew that we needed
     ·5· · · · · · · · Correct?                                         ·5· ·to show that our processes were valid.
     ·6· · · · · A.· · Yes.                                             ·6· · · · · Q.· · (BY MR. CORNFELD)· You didn't
     ·7· · · · · Q.· · And then he lists four allegations               ·7· ·consider this frivolous or something you could blow
     ·8· ·concern with regard to mass spectrometry                      ·8· ·off.· This was really -- and you spent a lot of
     ·9· ·confirmatory testing.· That's number one.                     ·9· ·time --
     10· · · · · · · · Number two, failure to follow                    10· · · · · A.· · Anything --
     11· ·procedures as written.                                        11· · · · · Q.· · -- and a lot of work --
     12· · · · · · · · Number three, concerns regarding                 12· · · · · A.· · -- from the regulatory bodies is
     13· ·instrument calibrations.                                      13· ·something that we know that we can't just blow off.
     14· · · · · · · · And four, concerns regarding the                 14· ·Right.
     15· ·review of quality control results.                            15· · · · · Q.· · And it's serious, isn't it, when a
     16· · · · · · · · Correct?                                         16· ·regulatory body comes and says they've gotten the
     17· · · · · A.· · Yes.                                             17· ·following -- these following allegations, including
     18· · · · · Q.· · These were serious allegations,                  18· ·failure to follow your procedures, concerns with
     19· ·weren't they?                                                 19· ·your mass spectrometry confirmatory testing, your
     20· · · · · A.· · They were allegations.                           20· ·instrument calibrations, your review of quality
     21· · · · · Q.· · They were serious allegations,                   21· ·control results, you won't admit that those are
     22· ·weren't they?                                                 22· ·serious?
     23· · · · · A.· · They were allegations.                           23· · · · · · · · MR. CEJAS:· Objection.· Asked and
     24· · · · · Q.· · Did you consider them serious or                 24· ·answered.· It's argumentative at this point.
     25· ·frivolous?                                                    25· · · · · · · · Go ahead.

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     ·1· · · · · · · · THE WITNESS:· As I've indicated                    ·1· · · · · · · · Go ahead.
     ·2· ·before, we had confidence in our test results we                ·2· · · · · · · · THE WITNESS:· We looked into these,
     ·3· ·put out.· Yes, these allegations were there and we              ·3· ·we responded, and we showed that we had solid
     ·4· ·needed to show the American -- the College of                   ·4· ·procedures that had us accurately report test
     ·5· ·American Pathologists that we had practices that                ·5· ·results.
     ·6· ·resulted in accurate test results.                              ·6· · · · · Q.· · (BY MR. CORNFELD)· Okay.· Is that
     ·7· · · · · Q.· · (BY MR. CORNFELD)· I don't understand              ·7· ·your answer to the Court and jury about whether you
     ·8· ·why you won't admit that these are serious.· Would              ·8· ·considered these allegations serious?
     ·9· ·you look at the camera, tell the jury that you are              ·9· · · · · A.· · I indicated anything that we received
     10· ·not agreeing that these are serious allegations?                10· ·from the College of American Pathologists we take
     11· · · · · · · · MR. CEJAS:· Object to the form.· It's              11· ·seriously.
     12· ·argumentative.· She's asked and answered it five                12· · · · · Q.· · I didn't ask that.
     13· ·different times.                                                13· · · · · A.· · Okay.· Well, you did because you said
     14· · · · · Q.· · (BY MR. CORNFELD)· Go ahead.· Tell                 14· ·that it came from the College of American
     15· ·them -- tell the jury whether you considered these              15· ·Pathologists --
     16· ·serious allegations.                                            16· · · · · Q.· · When they sent you -- when they sent
     17· · · · · · · · MR. CEJAS:· Same objections.                       17· ·you the -- the proficiency test materials, you take
     18· · · · · Q.· · (BY MR. CORNFELD)· And also the                    18· ·that -- anything they send you, you take serious.
     19· ·Court.                                                          19· ·I'm asking about the allegations, whether you
     20· · · · · · · · MR. CEJAS:· Same objections.· Asked                20· ·considered them serious allegations.
     21· ·and answered, argumentative.                                    21· · · · · A.· · Serious as any other time that we
     22· · · · · · · · THE WITNESS:· Anytime CAP has written              22· ·receive written correspondence from the College of
     23· ·to us about somebody who has raised a concern, we 23· ·American Pathologists.
     24· ·take it very seriously and we look into it.                     24· · · · · Q.· · When they said that you failed to
     25· · · · · Q.· · (BY MR. CORNFELD)· You take it very                25· ·follow procedures as written, is that a serious

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     ·1· ·seriously because these were serious allegations,               ·1· ·allegation?
     ·2· ·correct?                                                        ·2· · · · · A.· · It's concerning, yes.
     ·3· · · · · · · · MR. CEJAS:· Objection.· Asked and                  ·3· · · · · Q.· · All right.· And then he -- Dr. Collum
     ·4· ·answered, argumentative.· She just answered the                 ·4· ·elaborates on one of those -- one of those
     ·5· ·question again.                                                 ·5· ·allegations.
     ·6· · · · · Q.· · (BY MR. CORNFELD)· Go ahead.                       ·6· · · · · A.· · Okay.
     ·7· · · · · · · · MR. PLEBAN:· No, it wasn't.                        ·7· · · · · Q.· · In his bullet point, he says: A
     ·8· · · · · · · · MR. CEJAS:· Go ahead.                              ·8· ·concern was raised in regard to mass spectrometry
     ·9· · · · · · · · THE WITNESS:· Okay.· Do you want me                ·9· ·testing.· The concerns pertain specifically to how
     10· ·to state again what I've already stated?                        10· ·quality controls, internal standards defined cutoff
     11· · · · · Q.· · (BY MR. CORNFELD)· I want you to tell              11· ·and calibration data are interpreted prior to the
     12· ·the jury whether or not you considered this                     12· ·release of patient results.· There are also
     13· ·serious, not whether you took it seriously --                   13· ·concerns that practice does not follow laboratory
     14· · · · · A.· · Anytime we receive anything from a                 14· ·procedures.
     15· ·governing body, we take it very seriously.                      15· · · · · · · · Was it serious that he had those
     16· · · · · Q.· · I'm not asking whether you take it                 16· ·concerns?
     17· ·seriously.                                                      17· · · · · · · · MR. CEJAS:· Objection.· Calls for
     18· · · · · A.· · Okay.                                              18· ·speculation to whether these are his concerns or
     19· · · · · Q.· · Of course you take it seriously when               19· ·someone else's, assumes facts not in evidence.
     20· ·they ask you to send them all this information they             20· · · · · · · · Go ahead, subject to that.
     21· ·asked you in this letter.· I'm asking whether you               21· · · · · · · · THE WITNESS:· He was reporting of
     22· ·considered these to be serious allegations.                     22· ·concerns that were raised by Dr. Riley to the
     23· · · · · · · · MR. CEJAS:· Objection.· Asked and                  23· ·College of American Pathologists.
     24· ·answered now many times.· It's argumentative.· One              24· · · · · Q.· · (BY MR. CORNFELD)· All right.· And
     25· ·last time and then we're moving on.                             25· ·then, he wants to investigate those concerns, so he

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     ·1· ·asked you to provide a long list of information,              ·1· ·judges and officials of the Michigan Department of
     ·2· ·didn't he?                                                    ·2· ·Health and Human Services to present its story
     ·3· · · · · A.· · Yes.                                             ·3· ·about the -- the complaint that was made to CAP,
     ·4· · · · · Q.· · And they dealt with specific CAP                 ·4· ·correct?
     ·5· ·requirements?                                                 ·5· · · · · A.· · There were questions in Michigan,
     ·6· · · · · A.· · Yes.                                             ·6· ·based on the phone call that Dr. Riley had had with
     ·7· · · · · Q.· · Some of them dealt with tests on                 ·7· ·Judge Ackert, and so they were asking us -- I think
     ·8· ·specific dates and even a specific test by                    ·8· ·in one of the messages, it indicated that we needed
     ·9· ·accession number, correct?                                    ·9· ·to get on a phone call, and so yes, we wanted to
     10· · · · · A.· · Yes.                                             10· ·make sure that we could respond to questions around
     11· · · · · Q.· · Do you know why he selected those?               11· ·test results.
     12· · · · · A.· · I do not know why he selected those.             12· · · · · Q.· · All right.· If we look at Exhibit 43,
     13· · · · · · · · MR. CEJAS:· My numbers are off.                  13· ·Mr. Herzog's memo to Judge Ackert.
     14· · · · · · · · MR. CORNFELD:· Yeah, I didn't give               14· · · · · A.· · Yes.
     15· ·them to you in order.                                         15· · · · · Q.· · He starts out by saying:· The
     16· · · · · · · · MR. CEJAS:· You skipped some.                    16· ·allegation raised by Sarah Riley -- who he calls
     17· · · · · · · · MR. CORNFELD:· Well, I didn't. I                 17· ·Riley -- are very concerning.
     18· ·just got them out of order.· I'll read off what               18· · · · · · · · Correct?
     19· ·they are.· This is 44.                                        19· · · · · A.· · Yes.
     20· · · · · · · · MR. CEJAS:· Is there no 41?                      20· · · · · Q.· · By the way, is there a reason why
     21· · · · · · · · MR. PLEBAN:· No, not yet.                        21· ·Averhealth never refers to Dr. Riley as Dr. Riley?
     22· · · · · · · · MR. CORNFELD:· I'm sorry, 41, I                  22· · · · · A.· · This is --
     23· ·misread it.                                                   23· · · · · Q.· · It's always Sarah Riley, never
     24· · · · · · · · MR. PLEBAN:· This one is 41?                     24· ·Dr. Riley.
     25· · · · · · · · MR. CORNFELD:· Yeah.                             25· · · · · A.· · This is from Jason, so I'm not sure

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     ·1· · · · · · · · MR. PLEBAN:· There you go.· Good?      ·1· ·why he indicated that in this memo.
     ·2· · · · · · · · MR. CEJAS:· I'm good.· Thank you.      ·2· · · · · Q.· · I'm not talking about just this memo.
     ·3· · · · · Q.· · (BY MR. CORNFELD)· This is 44.         ·3· · · · · A.· · Okay.
     ·4· · · · · A.· · 44.· Mrs. Delagnes, I just marked and  ·4· · · · · Q.· · I have never seen any document in
     ·5· ·handed you five exhibits.· Exhibit 40 is a memo on  ·5· ·which Averhealth ever referred to Dr. Riley by her
     ·6· ·Averhealth's letterhead from Mr. Herzog to Thomas   ·6· ·title Dr. Riley.
     ·7· ·Boyd, the state court administrator of Michigan     ·7· · · · · A.· · I don't know.
     ·8· ·Supreme Court.                                      ·8· · · · · Q.· · You don't know why that is?
     ·9· · · · · · · · Exhibit 41 is an e-mail from           ·9· · · · · A.· · Correct.
     10· ·Mr. Herzog to Colin Parks and Amanda Doane dated 10· · · · · Q.· · She is -- she is a PhD, she is
     11· ·November 13, 2020.                                  11· ·entitled to the title doctor, correct?
     12· · · · · · · · · Exhibit 42 is a memo on Averhealth   12· · · · · A.· · She is a PhD.
     13· ·letterhead by Mr. Herzog to Colin Parks, manager of 13· · · · · Q.· · As a father of a PhD, I think that's
     14· ·Michigan's Child's Protective Service program       14· ·very important that they always be given that
     15· ·office dated November 12th, 2022.                   15· ·title.· And maybe that's just me and not
     16· · · · · · · · Exhibit 43 is a memo from Mr. Herzog   16· ·Mr. Herzog.
     17· ·to Judge Ackert on Averhealth stationary dated      17· · · · · · · · MR. CEJAS:· Object to the form.· Not
     18· ·November 12th, 2020.                                18· ·a question.
     19· · · · · · · · And Exhibit 44 is an e-mail from       19· · · · · Q.· · (BY MR. CORNFELD)· All right.· He --
     20· ·Austin Cady to Shelly Hunter dated December 3rd,    20· ·in -- at the end of the second paragraph of
     21· ·2020.                                               21· ·Exhibit 43, Mr. Herzog tells Judge Ackert:· The
     22· · · · · · · · Do you have those?                     22· ·false allegations -- and he's referring to
     23· · · · · A.· · I do.                                  23· ·Dr. Riley's allegations as false; is that right?
     24· · · · · Q.· · All right.· So Averhealth took no      24· · · · · A.· · Yes.
     25· ·time in sending these e-mails and messages to       25· · · · · Q.· · And he says that the false

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     ·1· ·allegations reported to CAP, FDT -- and FDT refers            ·1· · · · · A.· · The fact that she was indicating that
     ·2· ·to the Forensic Drug Testing arm of CAP, correct?             ·2· ·our results were wrong 20 to 30 percent of the time
     ·3· · · · · A.· · It does.                                         ·3· ·was not a factual statement and not accurate --
     ·4· · · · · Q.· · All right.· And that's the specific              ·4· · · · · Q.· · I understand -- I understand you --
     ·5· ·arm of CAP that regulates Averhealth, correct?                ·5· ·you disagree with -- with her beliefs.· But they
     ·6· · · · · A.· · I'm sorry, can you say that again? I             ·6· ·weren't unknown, she had her reasons, didn't she?
     ·7· ·was reading and I didn't fully hear your question.            ·7· ·And so what Mr. Herzog told Judge Ackert was false,
     ·8· ·I apologize.                                                  ·8· ·wasn't it?
     ·9· · · · · Q.· · CAP FDT, meaning College of American             ·9· · · · · · · · MR. CEJAS:· Objection.· Asked and
     10· ·Pathologists Forensic Drug Testing, that's the                10· ·answered.
     11· ·specific part of CAP that regulates Averhealth,               11· · · · · · · · Go ahead.
     12· ·correct?                                                      12· · · · · · · · THE WITNESS:· I'm rereading how the
     13· · · · · A.· · Yes.                                             13· ·sentence is written.· Just bear with me for a
     14· · · · · Q.· · All right.· And he says:· The false              14· ·minute.
     15· ·allegations were reported to CAP FDT, and he means 15· · · · · Q.· · (BY MR. CORNFELD)· The sentence
     16· ·by Dr. Riley, correct?                             16· ·states:· For unknown reasons, Riley appears to have
     17· · · · · A.· · Yes.                                             17· ·become disgruntled.
     18· · · · · Q.· · And he says:· And we are confident               18· · · · · · · · He didn't say she has her reasons,
     19· ·that CAP FDT will deem the allegations as                     19· ·but we think she's wrong.· He said that she didn't
     20· ·unsubstantiated, correct?                                     20· ·have reasons.· For unknown reasons, she appears to
     21· · · · · A.· · Yes.                                             21· ·have become disgruntled.
     22· · · · · Q.· · And that's what he told Judge Ackert?            22· · · · · A.· · Can I reread it without -- sorry, I
     23· · · · · A.· · Yes.                                             23· ·apologize.· Can I just read it myself?
     24· · · · · Q.· · Correct?                                         24· · · · · · · · But it says:· For unknown reasons,
     25· · · · · · · · And then in the next paragraph, he               25· ·Riley appears to have become disgruntled.

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     ·1· ·says:· For unknown reasons, Riley appears to have             ·1· · · · · Q.· · Right.· And that wasn't true, because
     ·2· ·become disgruntled.                                           ·2· ·you told her --
     ·3· · · · · · · · Do you see that?                                 ·3· · · · · A.· · The question was why she became
     ·4· · · · · A.· · I do.                                            ·4· ·disgruntled, right?
     ·5· · · · · Q.· · That wasn't true, that there were                ·5· · · · · Q.· · She became disgruntled because she
     ·6· ·unknown reasons.· You knew why Dr. Riley was                  ·6· ·thought that the practices were so bad that if she
     ·7· ·unhappy.· She told you.                                       ·7· ·were an expert witness against Averhealth, she
     ·8· · · · · A.· · She had raised some analytical                   ·8· ·could tear them to pieces.· That's not unknown, is
     ·9· ·concerns that we had indicated that she could put             ·9· ·it?
     10· ·in an action plan.                                            10· · · · · · · · MR. CEJAS:· Object to form.· Calls
     11· · · · · Q.· · I understand, but these were not                 11· ·for speculation.
     12· ·unknown reasons why she became disgruntled.· They 12· · · · · · · · Go ahead.
     13· ·were very well known by Averhealth because        13· · · · · · · · THE WITNESS:· We believed in the
     14· ·Dr. Riley told you, didn't she?                               14· ·practice that we had, so we didn't understand why
     15· · · · · A.· · She raised some -- in-process                    15· ·she became disgruntled.
     16· ·improvements she wanted to make, yes.                         16· · · · · Q.· · (BY MR. CORNFELD)· That's not --
     17· · · · · Q.· · So why did Mr. Herzog tell Judge                 17· ·that's not -- she told you why she became
     18· ·Ackert in Michigan that they were unknown reasons?            18· ·disgruntled.
     19· · · · · A.· · I don't know.                                    19· · · · · A.· · Okay.
     20· · · · · Q.· · That wasn't true, was it?                        20· · · · · Q.· · Didn't she?
     21· · · · · A.· · You -- I mean, tell me you're going              21· · · · · A.· · Yes.
     22· ·to ask Mr. Herzog.                                            22· · · · · Q.· · All right.· So it wasn't unknown, was
     23· · · · · Q.· · I'll ask him why he said that.· I'm              23· ·it?· You might have disagreed, you might have
     24· ·asking you, it wasn't true that they were unknown,            24· ·thought she was all wrong, but she had her reasons
     25· ·was it?                                                       25· ·and Mr. Herzog told something that was false when

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     ·1· ·he said the reasons were unknown.· Correct?                      ·1· ·plan to implement.
     ·2· · · · · · · · MR. CEJAS:· Objection.· Asked and                   ·2· · · · · A.· · Yes.
     ·3· ·answered.                                                        ·3· · · · · Q.· · Do you see that?· Why didn't he
     ·4· · · · · · · · Go ahead.                                           ·4· ·mention her significant concerns and that she said
     ·5· · · · · · · · THE WITNESS:· The root unknown of why               ·5· ·your practices were so bad that she could tear them
     ·6· ·she thought that we had such quality issues when we ·6· ·to pieces?· She did more than just write about four
     ·7· ·were confident in what we reported, that's --                    ·7· ·continuous improvement ideas and a plan to
     ·8· ·that's what we're trying to state here.                          ·8· ·implement.· Why didn't he tell her -- tell him
     ·9· · · · · Q.· · (BY MR. CORNFELD)· That's not what he               ·9· ·that?
     10· ·said, did he?· He didn't say --                                  10· · · · · A.· · That was her opinion, and we had
     11· · · · · A.· · That is not what he said.· That was                 11· ·confidence in the practices that we had in place.
     12· ·the intention of what was written in here.                       12· · · · · Q.· · I understand that, but why -- when
     13· · · · · Q.· · He could have easily said she came to               13· ·he's summarizing what happened, why didn't he tell
     14· ·us with her concerns and we don't believe they are               14· ·Judge Ackert anything more than she had some
     15· ·real concerns.                                                   15· ·continuous improvement ideas, and why he thought --
     16· · · · · A.· · Okay.                                               16· ·she thought they needed improvement, and that's
     17· · · · · Q.· · That's not what he said, is it?· He                 17· ·because your practices were so terrible?
     18· ·said for unknown reasons, and he knew that reasons.              18· · · · · A.· · We didn't believe that they were so
     19· · · · · · · · MR. CEJAS:· Objection.                              19· ·terrible.
     20· ·Argumentative.· Also calls for speculation as to                 20· · · · · Q.· · Why didn't he tell --
     21· ·what he knew or didn't know.                                     21· · · · · A.· · We had --
     22· · · · · Q.· · (BY MR. CORNFELD)· Go ahead.                        22· · · · · Q.· · If he told Dr. -- Judge Ackert about
     23· · · · · A.· · As I've indicated previously, we --                 23· ·Dr. Riley's e-mail, why didn't he tell him the
     24· ·we didn't understand why she had become so                       24· ·complete story about it?· Why did he pick and
     25· ·disgruntled when we were confident in our test                   25· ·choose what he preferred to say?

                                                                Page 338                                                             Page 340
     ·1· ·results, so to that, that was unknown to us.                     ·1· · · · · A.· · I don't know.
     ·2· · · · · Q.· · She told you what the reasons were,                 ·2· · · · · Q.· · All right.· Take a look at the e-mail
     ·3· ·didn't she?                                                      ·3· ·from Exhibit 41, the e-mail from Mr. Herzog to
     ·4· · · · · A.· · She -- she -- she wrote down reasons                ·4· ·Colin Parks.· And by the way, the -- the memo that
     ·5· ·in an e-mail.                                                    ·5· ·Mr. Herzog sent to Averhealth, that was an official
     ·6· · · · · Q.· · All right.                                          ·6· ·statement on behalf of the company, correct?
     ·7· · · · · · · · MR. CEJAS:· And we are at seven                     ·7· · · · · · · · MR. PLEBAN:· To Michigan?
     ·8· ·hours, Rick, so I'm not stopping you right now, but              ·8· · · · · · · · THE WITNESS:· The e-mail that he sent
     ·9· ·we need to wrap up in, like, the next five minutes.              ·9· ·to Averhealth?
     10· · · · · · · · MR. CORNFELD:· Okay.· Let me -- let                 10· · · · · Q.· · (BY MR. CORNFELD)· No, the memo.· The
     11· ·me just finish these.                                            11· ·memo that Dr. -- that Mr. Herzog sent to Judge
     12· · · · · · · · MR. CEJAS:· How much longer?· That's                12· ·Ackert, Exhibit 43.
     13· ·fine, you can ask a couple questions.· How much                  13· · · · · A.· · Uh-huh.
     14· ·longer do you think?                                             14· · · · · Q.· · He wasn't just expressing his own
     15· · · · · · · · MR. CORNFELD:· Five, ten minutes                    15· ·view.· That was an official statement on behalf of
     16· ·maybe.                                                           16· ·Averhealth, wasn't it?
     17· · · · · · · · MR. CEJAS:· Five minutes is fine.                   17· · · · · A.· · It was.
     18· · · · · Q.· · (BY MR. CORNFELD)· Let's take a look                18· · · · · Q.· · If you look at Exhibit 41,
     19· ·at -- strike that.                                               19· ·Mr. Herzog's e-mail to Colin Parks and Amanda
     20· · · · · · · · If you look on Exhibit 43, do you see               20· ·Doane, they're employees of the Michigan Department
     21· ·that he refers to his table -- he refers to                      21· ·of Health and Human Services, which was your
     22· ·Dr. Riley's e-mail to you in the first -- the first              22· ·customer in Michigan?
     23· ·line?· He says:· Riley e-mailed Dominique Delagnes               23· · · · · A.· · Correct.
     24· ·-- who he calls -- he calls you Delagnes --                      24· · · · · Q.· · And he refers to a meeting that was
     25· ·regarding four continuous improvement ideas and her 25· ·going to take place that day?

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     ·1· · · · · A.· · Correct.                                         ·1· ·talking on the meeting.
     ·2· · · · · Q.· · That was a meeting to explain                    ·2· · · · · Q.· · All right.· Take a look at Exhibits
     ·3· ·Averhealth's position regarding Dr. Riley's                   ·3· ·40 and 42.
     ·4· ·complaint; is that right?                                     ·4· · · · · A.· · Okay.
     ·5· · · · · A.· · Not Dr. Riley's complaint, because we            ·5· · · · · Q.· · And by the way, who was at the
     ·6· ·didn't know what the specific complaint was, but to           ·6· ·meeting?· Was it judges or officials with MDHHS, or
     ·7· ·address the -- what we had learned, whatever        ·7· ·who?
     ·8· ·attachment that you'd indicated of what was sent to ·8· · · · · A.· · I don't remember.
     ·9· ·Dr. Ackert -- Judge -- sorry, Judge Ackert.         ·9· · · · · Q.· · And it wasn't a private meeting, so
     10· · · · · Q.· · Did you know about -- had you                    10· ·anything that Averhealth said at the meeting would
     11· ·received the letter from CAP at that point?                   11· ·be public, correct?
     12· · · · · A.· · So this was the 13th, the letter from            12· · · · · A.· · It was not an internal meeting, if
     13· ·CAP was 11th.                                                 13· ·that's your question.
     14· · · · · · · · MR. PLEBAN:· 39.                                 14· · · · · Q.· · Okay.· Then if you look at Exhibits
     15· · · · · · · · THE WITNESS:· What number was it?                15· ·40 and 42.· Exhibit 40, an official memo on behalf
     16· ·31?                                                           16· ·of Averhealth sent by Mr. Herzog to Judge Boyd, who
     17· · · · · · · · MR. PLEBAN:· 9.                                  17· ·was the state court administrator of the Michigan
     18· · · · · · · · THE WITNESS:· 39.                                18· ·Supreme Court, and to Colin Parks, Exhibit 42, to
     19· · · · · Q.· · (BY MR. CORNFELD)· Which was                     19· ·Colin Parks, manager of the Child Protective
     20· ·November 11th.                                                20· ·Service of Michigan, both dated November 12th,
     21· · · · · A.· · Which was the 11th.                              21· ·2020, correct?
     22· · · · · Q.· · Sent by express mail.                            22· · · · · A.· · Correct.
     23· · · · · A.· · Uh-huh.                                          23· · · · · Q.· · And they -- they look pretty similar,
     24· · · · · Q.· · So you would have had that at that               24· ·but I just want to call your attention to a couple
     25· ·point, correct?                                               25· ·of statements.· At the end of the paragraph that

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     ·1· · · · · A.· · I'm not sure if we had it in our                 ·1· ·starts November 2020, Mr. Herzog again says:· We
     ·2· ·hands yet, but I can certainly confirm that, if it            ·2· ·are confident that CAP FDT will deem the
     ·3· ·wasn't sent by express mail.                                  ·3· ·allegations as unsubstantiated.
     ·4· · · · · Q.· · You would have received that on the              ·4· · · · · · · · Did you see that?
     ·5· ·12th, then, right?                                            ·5· · · · · A.· · I do.
     ·6· · · · · A.· · I'm not sure if we had.                          ·6· · · · · Q.· · And you said Averhealth is
     ·7· · · · · Q.· · Okay.                                            ·7· ·considering legal options.
     ·8· · · · · A.· · This was to address the conversation             ·8· · · · · · · · Do you see that?
     ·9· ·and the e-mail that Amanda Doane had sent.                    ·9· · · · · A.· · I do.
     10· · · · · Q.· · All right.· And Mr. Herzog says at               10· · · · · Q.· · All right.· And what did Averhealth
     11· ·the second-to-last bullet:· They are also confident           11· ·mean by that?· What legal options?
     12· ·-- this is a talking point.· So I assume he's                 12· · · · · A.· · I honestly am not sure.
     13· ·referring to Averhealth, when he says:· They are              13· · · · · Q.· · Were you considering suing Dr. Riley?
     14· ·also confident that CAP FDT will find these                   14· · · · · A.· · I don't -- I'm not sure.
     15· ·allegations to be unsubstantiated.                            15· · · · · Q.· · You didn't sue Dr. Riley, did you?
     16· · · · · · · · Is that right?                                   16· · · · · A.· · No.
     17· · · · · A.· · Yes.                                             17· · · · · Q.· · And in the last paragraph of each of
     18· · · · · Q.· · Are these talking points that he                 18· ·these Averhealth memos, the one to Judge Boyd of
     19· ·expects Mr. Parks and Ms. Doane to -- to express?             19· ·the Michigan Supreme Court and one to the manager
     20· · · · · A.· · I don't understand the question.                 20· ·of the Child Protective Service in Michigan, he
     21· · · · · Q.· · Who is going to provide these talking            21· ·says:· Perhaps unlike others, we fully embrace
     22· ·points at the meeting?                                        22· ·transparency.
     23· · · · · A.· · Who's going to talk on the meeting?              23· · · · · · · · Do you see that?
     24· · · · · Q.· · Yes.                                             24· · · · · A.· · I do.
     25· · · · · A.· · I -- I don't recall who did the                  25· · · · · Q.· · And we self-report our mistakes.

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     ·1· · · · · · · · Do you see that?                                 ·1· ·allegations unsubstantiated turned out not to be
     ·2· · · · · A.· · I do.                                            ·2· ·true?
     ·3· · · · · Q.· · Do you consider that Averhealth fully            ·3· · · · · A.· · When CAP came through and inspected
     ·4· ·embraces transparency?                                        ·4· ·us, there were some things that they did find that
     ·5· · · · · A.· · I do.                                            ·5· ·were substantiated.
     ·6· · · · · · · · MR. CEJAS:· Even your own watch is               ·6· · · · · Q.· · Did you go back to these people and
     ·7· ·cutting you off.· I don't have to say anything.               ·7· ·say, you know what, we were wrong?
     ·8· · · · · Q.· · (BY MR. CORNFELD)· And look at                   ·8· · · · · A.· · We did not.
     ·9· ·Exhibit 44, that's --                                         ·9· · · · · Q.· · Is that the kind of the transparency
     10· · · · · · · · MR. PLEBAN:· Did you get an answer?              10· ·that Averhealth believes in?
     11· · · · · Q.· · (BY MR. CORNFELD)· -- from Austin                11· · · · · A.· · It's with -- what goes on between us
     12· ·Cady to --                                                    12· ·and our regulatory body is something that, I mean,
     13· · · · · · · · MR. PLEBAN:· Did you get an answer to            13· ·we still had confidence.· One of the things that
     14· ·your last question?                                           14· ·they looked at --
     15· · · · · · · · MR. CORNFELD:· I think I did.                    15· · · · · · · · MR. CEJAS:· Go ahead.
     16· · · · · · · · THE WITNESS:· I did.· I said I do.               16· · · · · · · · THE WITNESS:· -- when they came on
     17· · · · · · · · MR. PLEBAN:· Okay.· I'm sorry.                   17· ·was the four -- the -- of the six things that they
     18· · · · · · · · THE WITNESS:· No problem.                        18· ·looked at when they came on site, one of them was
     19· · · · · Q.· · (BY MR. CORNFELD)· From Austin Cady              19· ·that we consistently reported incorrect or false
     20· ·of Averhealth to Shelly Hunter.· And Shelly Hunter            20· ·positive test results, and that was not
     21· ·is a representative of an Averhealth client,                  21· ·substantiated.
     22· ·correct?· She's -- she's with St. Vincent Catholic            22· · · · · Q.· · (BY MR. CORNFELD)· That --
     23· ·Charities in Lansing, Michigan, if you look at the            23· · · · · A.· · So we were confident in the test
     24· ·second page.                                                  24· ·results that we continued to report.
     25· · · · · A.· · Okay.· I was going to say...                     25· · · · · Q.· · That was not one of Dr. Riley's

                                                             Page 346                                                              Page 348
     ·1· · · · · Q.· · And -- and he also says, as                      ·1· ·allegations, was it?
     ·2· ·Mr. Herzog said:· The false allegations reported to           ·2· · · · · A.· · She said our results were wrong 20 to
     ·3· ·CAP FDT, and we are confident that CAP FDT will               ·3· ·30 percent of the time.
     ·4· ·deem the allegations as unsubstantiated.                      ·4· · · · · Q.· · That -- that was not the -- well,
     ·5· · · · · · · · Correct?                                         ·5· ·we'll go through -- we'll go through that.
     ·6· · · · · A.· · Correct.                                         ·6· · · · · · · · My question is:· When CAP found that
     ·7· · · · · Q.· · Did it turn out that confidence that             ·7· ·her allegations were substantiated, and you did not
     ·8· ·CAP would deem the allegations unsubstantiated, did           ·8· ·go back to these people, don't you think they must
     ·9· ·it turn out that that confidence was well-founded?            ·9· ·have thought, oh, CAP must have found that
     10· · · · · A.· · CAP threw it -- had come and looked              10· ·Dr. Riley was all wrong?
     11· ·at several things.· There were parts of their                 11· · · · · · · · MR. CEJAS:· Object to the form.
     12· ·checklist that they wanted us to change.· There               12· ·Foundation, assumes, facts not in evidence.
     13· ·were some of the allegations that were not                    13· · · · · · · · Go ahead.
     14· ·substantiated, and there are others that were.                14· · · · · · · · THE WITNESS:· The one big thing that
     15· · · · · Q.· · Did they find that Dr. Riley's                   15· ·she said out there was that our results were wrong
     16· ·allegations were substantiated?                               16· ·20 to 30 percent of the time.
     17· · · · · A.· · Not all of them.· Not all.                       17· · · · · Q.· · (BY MR. CORNFELD)· I'm not talking
     18· · · · · Q.· · Some of them?                                    18· ·about one big thing.
     19· · · · · A.· · Yes.                                             19· · · · · A.· · And that is a huge thing.
     20· · · · · Q.· · Some of the serious concerns that                20· · · · · Q.· · I'm not talking about --
     21· ·she -- and we'll look at that.                                21· · · · · A.· · That is our test results and the
     22· · · · · A.· · Okay.                                            22· ·accuracy of those test results.
     23· · · · · Q.· · So what -- what Mr. Herzog told all              23· · · · · Q.· · I'm not talking about that.
     24· ·of these judges and officials in Michigan that you            24· · · · · A.· · And our -- CAP did not find that our
     25· ·were confident that Averhealth [sic] would deem the           25· ·test results were wrong.

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     ·1· · · · · Q.· · My -- my question is:· Don't you                 ·1· ·back tomorrow and do individual.
     ·2· ·think that the judges and the officials in                    ·2· · · · · · · · MR. CORNFELD:· Well, subject to the
     ·3· ·Michigan, after Dr. Herzog said that you were                 ·3· ·issues regarding the -- that she was not able to
     ·4· ·confident they'd find the allegations                         ·4· ·answer.· But yes, yes.· And subject to the fact
     ·5· ·unsubstantiated, they must have thought, yeah, that           ·5· ·that we just got almost a thousand pages of
     ·6· ·must have happened since CAP -- since Averhealth,             ·6· ·documents on Friday that we may need to ask about.
     ·7· ·which believes in transparency, didn't come and               ·7· · · · · · · · MR. PLEBAN:· We're good on the video.
     ·8· ·tell us that?                                                 ·8· · · · · · · · MR. CEJAS:· We're good on the video.
     ·9· · · · · · · · MR. CEJAS:· Objection.· Calls for                ·9· · · · · · · · THE VIDEOGRAPHER:· Time is 6:43, and
     10· ·speculation.                                                  10· ·we're off the record.
     11· · · · · · · · THE WITNESS:· And I don't understand             11· · · · · · · · MR. CEJAS:· And just for the record,
     12· ·the question.· That was -- what are you -- can you            12· ·the written record, my position is you have seven
     13· ·rephrase your question?· I don't understand it.               13· ·hours under the rule for the corporate rep.· The
     14· · · · · Q.· · (BY MR. CORNFELD)· When the -- when              14· ·seven hours is over and finished with.· However,
     15· ·the judges and the officials with Michigan's Child            15· ·you do have the ability to, you know, depose both
     16· ·Protection Agency were told by Averhealth that you            16· ·Dominique and Michele in their individual
     17· ·were confident that CAP would find the allegations            17· ·capacities, and we can revisit that later if we
     18· ·unsubstantiated and they never came back to them              18· ·need to.
     19· ·and said, hey, they did find that Dr. Riley's                 19· · · · · · · · MR. CORNFELD:· All right.
     20· ·allegations were substantiated, don't you think               20· · · · · · · · MR. PLEBAN:· And it could be that --
     21· ·that they would have concluded, oh, I guess they              21· ·I think we're good.
     22· ·found that Dr. Riley was wrong?                               22
     23· · · · · · · · MR. CEJAS:· Object to the form.                  23
     24· ·Calls for speculation.· Assumes facts not in                  24
     25· ·evidence.                                                     25

                                                             Page 350                                                            Page 352
     ·1· · · · · · · · Go ahead.                                        ·1· · · · · · · · · ·NOTARIAL CERTIFICATE

                                                                        ·2
     ·2· · · · · · · · THE WITNESS:· Based on CAP's
                                                                        ·3· · · · ·I, Tammie A. Heet, Registered Professional
     ·3· ·checklist, they came in, they investigated us, as
                                                                        ·4· ·Reporter, certified Shorthand Reporter for the
     ·4· ·you indicated earlier very thoroughly, and there
                                                                        ·5· ·State of Illinois, and Certified Court Reporter for
     ·5· ·were some updates that they wanted us to make to
                                                                        ·6· ·the state of Missouri and a duly commissioned
     ·6· ·our SOPs to further define things, based on what
                                                                        ·7· ·Notary Public within and for the States of Missouri
     ·7· ·she had raised.
                                                                        ·8· ·and Illinois, do hereby certify that the witness
     ·8· · · · · Q.· · (BY MR. CORNFELD)· My question has to
                                                                        ·9· ·whose testimony appears in the foregoing deposition
     ·9· ·do with the judges and the officials in Michigan
                                                                        10· ·was duly sworn by me; that the testimony of said
     10· ·who you told you were confident that CAP would find
                                                                        11· ·witness was taken by me to the best of my ability
     11· ·all the allegations unsubstantiated.· When they
                                                                        12· ·and thereafter reduced to typewriting under my
     12· ·didn't hear anything more about that from you,
                                                                        13· ·direction; that I am neither counsel for, related
     13· ·don't you think they would have concluded that, oh.           14· ·to, nor employed by any of the parties to the
     14· ·CAP -- Averhealth must be right, CAP must have                15· ·action in which this deposition was taken, and
     15· ·found they were all unsubstantiated, or CAP, which            16· ·further that I am not a relative or employee of any
     16· ·believes -- or Averhealth, which believes in                  17· ·attorney or counsel employed by the parties
     17· ·transparency, would have come and told us that?               18· ·thereto, nor financially or otherwise interested in
     18· · · · · · · · MR. CEJAS:· Objection.· Calls for                19· ·the outcome of the action.
     19· ·speculation.                                                  20

     20· · · · · · · · THE WITNESS:· I don't know what the              21

     21· ·judges would have thought.                                    22· · · · · · · · · ·_____________________________

     22· · · · · · · · MR. CORNFELD:· All right.· We can                · · · · · · · · · · ·Tammie A. Heet, RPR, CSR, CCR

     23· ·break for the day.                                            23

     24· · · · · · · · MR. CEJAS:· Well, we're done with the            24

     25· ·corporate representative deposition and we'll come            25



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     ·1· · · · · · · · · · · Lexitas Legal                               ·1· · · · · · · · · · · · · · · DOMINIQUE DELAGNES
     · · · · · · · · · · 711 North 11th Street                           · · · · · · · · · · · · · · · · ·NAME OF DEPONENT
     ·2· · · · · · · · St. Louis, Missouri 63101                         ·2
     · · · · · · · · · · · Phone 314/644-2191                            · · · · · · · · ·DEPOSITION CORRECTION SHEET
     ·3                                                                  ·3
     ·4                                                                  · · ·IN RE:· Katarzyna Foulger, et al. v. Avertest, LLC
     ·5· ·July 15, 2024                                                  ·4· ·d/b/a Averhealth
     ·6· ·Mr. Nicholas P. Cejas                                          ·5· ·Reported by:· TAH
     · · ·ARMSTRONG TEASDALE, LLP                                        ·6· ·Upon reading the deposition and before subscribing
     ·7· ·7700 Forsyth Boulevard, Suite 1800                             · · ·thereto, the deponent indicated the following
     · · ·St. Louis, Missouri 63105                                      ·7· ·changes should be made:
     ·8                                                                  ·8· ·Page· · Line· · Should Read:
     ·9· ·IN RE:· Katarzyna Foulger, et al. v. Avertest, LLC             · · · ·Reason assigned for change:
     · · ·d/b/a Averhealth                                               ·9
     10
                                                                         10· ·Page· · Line· · Should Read:
     11· ·Dear Mr. Cejas:
                                                                         · · · ·Reason assigned for change:
     12· ·Please find attached your copy of the video-recorded
                                                                         11
     · · ·deposition of Dominique Delagnes taken on July 8,
                                                                         12· ·Page· · Line· · Should Read:
     13· ·2024, in the above-referenced case.· Also enclosed
                                                                         · · · ·Reason assigned for change:
     · · ·is the original signature page and errata sheets.
                                                                         13
     14
                                                                         14· ·Page· · Line· · Should Read:
     · · ·Please have the witness read your copy of the
                                                                         · · · ·Reason assigned for change:
     15· ·transcript, indicate any changes and/or corrections
                                                                         15
     · · ·desired on the errata sheets, and sign the
                                                                         16· ·Page· · Line· · Should Read:
     16· ·signature page before a notary public.
                                                                         · · · ·Reason assigned for change:
     17· ·Please return the errata sheets and notarized
     · · ·signature page to Lexitas Legal, ATTN: Production              17
     18· ·Department, 711 N. 11th Street, St. Louis, Missouri            18· ·Page· · Line· · Should Read:
     · · ·63101 within 30 days of receipt of this letter.                · · · ·Reason assigned for change:
     19                                                                  19
     · · ·Sincerely,                                                     20· ·Page· · Line· · Should Read:
     20                                                                  · · · ·Reason assigned for change:
     21· ·Tammie A. Heet, RPR, CSR, CCR                                  21
     22· ·Enclosures                                                     22· ·Page· · Line· · Should Read:
     23· ·cc:· ·Mr. Richard Cornfeld                                     · · · ·Reason assigned for change:
     · · · · · ·Lexitas Legal Production                                 23
     24                                                                  24· · · · · · · · · · · ·__________________________
     25                                                                  25· · · · · · · · · · · · · · SIGNATURE OF DEPONENT

                                                              Page 354
     ·1· ·STATE OF _______________· )

     · · · · · · · · · · · · · · ·)

     ·2· ·CITY OF _______________· ·)

     ·3

     ·4· · · · ·I, DOMINIQUE DELAGNES, do hereby certify:

     ·5· · · · ·That I have read the foregoing deposition;

     ·6· · · · ·That I have made such changes in form and/or

     ·7· ·substance to the within deposition as might be

     ·8· ·necessary to render the same true and correct;

     ·9· · · · ·That having made such changes thereon, I

     10· ·hereby subscribe my name to the deposition.

     11· · · · ·I declare under penalty of perjury that the

     12· ·foregoing is true and correct.

     13

     14· ·Executed this __________ day of ______________,

     15· ·20_____, at ___________________________________.

     16

     17

     18· · · · · · · · · · · · · ·______________________

     · · · · · · · · · · · · · · ·DOMINIQUE DELAGNES

     19

     20· ·My Commission Expires:· · ______________________

     21· ·Notary Public:· · · ·_______________________

     22

     23

     24

     25



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